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      Exhibit 91 Corrected Class
 Certification Expert Report of Steven
            Schwartz, Ph.D.

                  (Dkt. No. 316-7)

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                               UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE




                                                                Case No. 2:21-cv-00563-JCC
     IN RE: VALVE ANTITRUST
     LITIGATION                                                 CORRECTED CLASS
                                                                CERTIFICATION EXPERT
                                                                REPORT OF
                                                                Steven Schwartz, Ph.D.




                                      Steven Schwartz,

                                          March 21, 2024




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         1.           Introduction

         1.1.         Credentials

 (1)    I am an economist and Managing Director with Intensity, a Secretariat company ("Intensity"),1

        based in Dallas, TX. I have been employed by Intensity since January 2021. Until December

        31, 2020, I was an economist and Vice President with Charles River Associates, Inc. ("CRAI");

        I joined CRAI in June 2015. Prior to my employment at CRAI, I was a Managing Director and

        head of the economics practice with Alvarez & Marsal Global Forensics and Disputes ("A&M-

        GFD"), based in New York, NY. I was employed by A&M-GFD from December 2011 until June

        2015. Before joining A&M-GFD, I was an economist and Senior Vice President (final title) with

        NERA Economic Consulting ("NERA"), based in White Plains, NY.                                    I began working at NERA

        in July 1984.


(2)     I received my Bachelor’s Degree from Wesleyan University (Middletown, CT) in 1976.                                                      I

        graduated cum laude and with Departmental Honors in Economics.                                        I earned my M.A. and

        Ph.D. degrees in Economics from the University of Maryland (College Park, MD) in 1978 and

        1980, respectively.           After I completed my graduate studies, I served as a member of the

        economics        faculty at Miami             University       (Oxford,     OH)     from     1980-1984.           My complete

        educational and employment history is set forth in my CV, attached to this report as

       Attachment A-1. My CV contains a list of all publications I have authored in the past 10 years

       and a list of all cases in which, during the past 4 years, I have testified as an expert at trial or

       by deposition.



        1.2.        Nature of engagement and assignment

(3)    Intensity has been retained by Plaintiffs’ Counsel on behalf of Wolfire Games, LLC ("Wolfire"),

       Dark Cart Studios Holdings, Inc. ("DCS Holdings"), Dark Catt Studios Interactive LLC ("DCS

       Interactive") (together with DCS Holdings, "Dark Catt"), and a putative class of Plaintiffs

       (together, "Plaintiffs") in the above-captioned litigation against Valve Corporation ("Valve").

       The putative class is defined as follows:~




                On February 1, 2023, Intensity, LLC was acquired by Secretariat International and began operating as Intensity, a Secretariat
               Company.     On January 1, 2024, my employment was transferred to Secretariat Advisors; for now, Intensity continues to
               operate as Intensity, a Secretariat Company. That is likely to change during the first or second quarters of 2024, at which
               point Intensity will operate as Secretariat Advisors.

               Consolidated Second Amended Class Action Complaint, 3/23/2023, !1 375.




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                  All persons or entities who, directly or through an agent, paid a commission to
                  Valve in connection with the sale or use of a game on the Steam platform on or
                  after January 28, 2017, and continuing through the present until the effects of
                  its scheme are eliminated (the ~’Class Period"), and where either (1) the person
                  or entity was based in the United States and its territories or (2) the game was
                 purchased or acquired by a United States-based consumer during the Class
                 Period.     Excluded from the Class are (a) Defendant, its parents, subsidiaries,
                 affiliate entities, and employees, and (b) the Court and its personnel.


(4)    The putative class members in this case are those who directly paid commissions (referred to

       as revenue share by Valve3) to Valve.                    In many cases, these are game publishers.                       Game

       publishers support game developers by providing funding for game developers to bring creative

       visions to life, distributing developed games on platforms like Steam and Epic Games Store,

       and assisting in developing strategies for monetization of games through downloadable

       content and microtransactions.4 Game developers are persons or organizations that create a

       game’s storyline and look, while ’~programmers within the organization write the code and

       create the artwork to implement the developer’s vision behind the game."s Sometimes, a single

       entity assumes both the game publisher and developer roles.6


      I was asked to evaluate and, if called upon, to testify concerning the following three issues:


                 Are economic methodologies available to define an appropriate relevant market and
                 assess Valve’s market power in that relevant market?

                 Are there economic methodologies that can be used to demonstrate the class-wide
                 impact of Valve’s conduct on putative class members?




              See, for example:

              NC Interactive, Steam Distribution Agreement with Valve, 5/1/2020 (NCl_Valve_0001245-61, at NCl_Valve_0001251). (See
              Section 6 of the Agreement.)

              Valve, "Valve Corporation Steam Distribution Agreement- Online Version," undated (VALVE_ANT_0000008-1S, at
              VALVE_ANT_0000011), available at Erik Peterson, Dep. Tr., 11/15/2023, Exhibit 295. (See Section 6 of the Agreement.)

              Polydin Studio, Unveiling the Roles of Game Developers and Publishers, https://polydin.com/game-developers-and-
              publishers/(accessed 10/18/2023).

              Microtransactions refer to small, one-off in-game purchases of items such as "upgrades, coins, or cosmetic enhancements."
              See:

              Economics Online, "The Economics of Microtransactions," 8/3/2023, https://www.economicsonline.co.uk/definitions/the-
              rise-of-microtransactions-in-video-games.html/.

              HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
              takes/game-developers-vs-game-publishers.

              Consolidated Second Amended Class Action Complaint, 3/23/2023, I1 3.      ("In the PC gaming industry, the ’developer’ is
              typically the entity that creates the game while the entity that markets the game is typically referred to as the game
              ’publisher.’ Sometimes a single company undertakes both of these functions.")




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             ¯      Are economic methodologies available to calculate class-wide damages?


{6}     As detailed herein, I conclude the answer to all three questions is yes.


{7}     Intensity is currently being compensated at a rate of $1,100 per hour for my work in this

        matter.        Prior to January 2024, Intensity was compensated at an hourly rate of $1,050.

        Intensity is being compensated for time spent by others on my team at rates that are lower

        than my hourly rate.               Intensity’s compensation is not dependent on either my conclusions,

        the substance of my testimony, or the outcome of this matter.




        1.3.          Overview of materials considered

(8)     In carrying out my assignment, I considered and relied upon my education, professional

        background and experience and, as well, the documents and data cited throughout this report

        and the accompanying exhibits. In forming my opinions, I, and members of my team working

       under my supervision and direction reviewed documents and data produced by both parties

       in discovery, deposition testimony, and the expert reports, and written testimony.7                                              I held

       discussions with Dr. Joost Rietveld, Ph.D., Associate Professor at University College London

       School of Management; David Rosen, CEO and Lead Programmer at Wolfire Games; and John

       Robb, CEO at Dark Catt Studios.                        I have also considered documents and other materials,

       which are cited herein and/or listed in Attachment A-2.


(9)    My analysis is ongoing, and my conclusions are based on information currently available to

       me.       If any additional information or testimony--including from any of the experts in this

       matter--becomes available to me, I reserve the right to consider such information or testimony

       and to supplement this report and my opinions, as appropriate.                                      I also reserve the right to

       supplement my report in light of any additional fact discovery, analysis and opinions set forth

       by other experts, and/or trial testimony, and to respond to other experts and the testimony

       of any fact witnesses.


(10)   In addition, should I be asked to testify to my opinions at the trial of this matter, I reserve the

       right to prepare exhibits that summarize portions of my analysis and my opinions and to

       prepare demonstrative exhibits that help to explain elements of my analysis and opinions.                                               I

       have not yet selected any exhibits I may ultimately use. In addition, I reserve the right to use




                 In the discussion that follows describing the analytical process or materials reviewed, references to ’T’ should be interpreted
                 as referring to me and members of my team working under my supervision and direction.




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        animations, demonstratives, enlargements of actual attachments, and other information in

        order to convey my opinions.


(11)    The entirety of my report, including attachments and referenced/considered materials,

        provides the basis for my analysis and conclusions. The organizational structure of the report

        is for convenience.           To the extent that facts, economic analysis, and other considerations

        overlap, I generally discuss such issues only once for the sake of brevity. Neither the specific

        order in which each issue is addressed nor the organization of my report or attachments

        affects the ultimate outcome of my analysis.




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        2.           Summary of Conclusions

(!2)    In the report below, I present my analysis and conclusions.                          A summary of some of my

        principal conclusions is set forth here.

        a.   Valve’s pricing and content policies function as a platform most favored nation policy
              ("PMFN Policy").         Valve enforces the PMFN on both pricing and content, including by
             delisting titles from Steam that do not adhere to the PMFN Policy.

        b.   The relevant antitrust market for purposes of my analysis is a worldwide market for third-
             party digital PC game distribution via platforms.

             Valve has monopoly power in the relevant market, evidenced by its high and sustained
             market share, high and sustained profitability, and Valve-imposed barriers to entry to the
             market through the PMFN Policy, all of which allow Valve to charge a supracompetitive
             rate to publishers.         Valve’s monopoly power harms competition in the market, including
             through its ability to set and sustain that supracompetitive price to publishers, deter entry
             and/or reduce the competitiveness of potential platforms, and reduce the variety, choice,
             and innovation in the market.

       do    Valve’s exercise of its monopoly power--through its enforcement of the Steam PMFN
             Policy--has harmed and continues to harm competition in the market, by enabling Valve
             to set and sustain supracompetitive prices, reduce output, and reduce variety, choice, and
             innovation in the market.

             Valve’s exercise and maintenance of its monopoly power has harmed and continues to
             harm putative class members, i.e., the publishers listing their games on Steam.

             Absent the PMFN Policy, vigorous competition would exist within the market, leading to
             lower, more competitive commission rates for all or virtually all class members.                   This
             conclusion is supported by analyses based on several different analytical methods,
             including: (1) my Platform Competition Model, (2) my yardstick analysis, and (3) my
             empirical analysis.         My Landes and Posner model--used for damages--further confirms
             my conclusion that all or virtually all class members are harmed.

             Absent the PMFN Policy, the lower commission rates would result in publishers passing
             through some savings from the lower commission rates to consumers in the form of lower
             game prices. Lower fees to publishers and lower prices to users result in a net lower price
             across the platform.

             Absent the PMFN Policy, the but-for commission rate would be 17.7%, resulting in class-
             wide damages of between $2.9 billion and $3.1 billion.

             The issues I analyze in this case can be analyzed using evidence common across putative
             class members. In particular, damages from the commission overcharge can be calculated
             in a formulaic way using standard economic approaches that rely on evidence common to
             the putative class.




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        3.           Background

        3.1.         Overview

(13)    In this section, I introduce several industry and market concepts that are relevant throughout

        my report.       I start with an overview of video games and then discuss the distribution of PC

        games--the type of video game most relevant to this case. I also discuss the Steam platform,

        which is at issue in this case, Steam’s content and price parity policies, and the effects of

        those parity policies on the putative class.




        3.2.         Video games

(14)   A video game is an "electronic or computerized game" that displays images on a screen when

       the game is being played.8                    Beside the visual display, video games use "other systems to

       provide interaction and information to the player[,]" including sound through speakers and

       vibration.9       Modern video games have a combination of"3D art, computer-generated effects,

       architecture,          artificial     intelligence            (AI),     sound     effects,   dramatic     performances,       music,

       storytelling, and, most importantly, interactivity."1°                                This interactivity enables video game

       players to explore a range of different environments such as "simulated reality" and "artistic

       expressions[.]"11         Video games are played on personal computers ("PC"), hand-held devices,

       such as the Nintendo Switch Lite and Sony’s PlayStation Portal, and consoles, including

       Sony’s PlayStation and Microsoft’s Xbox.~2




               Encyclopedia,     Video      Game,        https://www.encyclopedia.com/education/culture-magazinesvideo-game          (accessed
               10/20/2023).

               New    World      Encyclopedia,      Video      Game,         https://www.newworldencyclopedia.org/entry/Video_game   (accessed
               10/20/2023).

       10
               New    World      Encyclopedia,      Video      Game,         https://www.newworldencyclopedia.org/entry/Video_game   (accessed
               10/20/2023).

               New    World      Encyclopedia,      Video     Game,          https://www.newworldencyclopedia.org/entry/Video_game   (accessed
               10/20/2023).

               Encyclopedia,     Video      Game,        https://www.encyclopedia.com/ed ucation/cultu re-magazinesvideo-ga me       (accessed
               10/20/2023).

               Nintendo Website, Nintendo Switch Lite, https://www.nintendo.com/us/store/products/nintendo-switch-lite-turquoise/
               (accessed 2/5/2024).

               PlayStation    Website,     PlayStation     Portal,    https://www.playstation.com/en-us/accessories/playstation-portal-remote-
               player/(accessed 2/5/2024).

               NY Times, "The Best Game Consoles," 11/22/2023, https://www.nytimes.com/wirecutter/reviews/best-game-consoles/.




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(15)    Video games are categorized into genres based on "factors such as method of game play, types

        of goals, and more."13 Valve categorizes games on Steam as: Action, Adventure, Arcade, Card,

        Casual, Early Access, Free-to-play, Family, First-person shooter, Indie, Massively multiplayer

        online, Platformer, Puzzle, Role-playing game, Real-time strategy, Simulation, Sports, and

        Strategy. 14



        3.2.1.        History and overview of video game industry

(16)    There are several ways for users to play a video game.                           PC gaming includes games that are

        designed for and played on PCs.is These games typically cannot be played on other devices

        such as consoles and mobile devices unless the user purchases a second copy/version that

        is compatible with the non-PC device.16                    PC games are played on both laptop and desktop

        computers and on various operating systems (e.g., Windows, MacOS, Linux).17



        13
                New       World   Encyclopedia,   Video   Game,    https://www.newworldencyclopedia.org/entry/Video_game       (accessed
                I 0/20/2023).
        14
                Valve, App Genre Data, c. 2023 (VALVE_ANT_2579263.xlsx).

                F2P stands for free-to-play. See: Techopedia, "What is Free-to-Play (F2P)?," 9/12/2023,
                https://www.techopedia.com/definition/27039/free-to-play-f2p. ("Free-to-play (F2P) is a gaming model that allows a
                user to download and play without needing a subscription or having to buy it upfront.")

                FPS stands for first-person shooter. See: Techopedia, "First Person Shooter," 10/4/201 I,
                https://www.techopedia.com/definition/241/first-person-shooter-fps. ("A first person shooter (FPS) is a genre of action
                video game that is played from the point of view of the protagonist.")

                MMO stands for massively multiplayer online. See: Plarium, "What Is an MMO, What Is an MMORPG and the Difference
                Between Them," 11/20/2023, https://plarium.com/en/blog/difference-between-mmo-and-mmorpgs/.              ("An MMO is a
                ’Massively Multiplayer Online’ game.")

                RPG stands for Role-playing game. See: TechTarget Website, Role-Playing Game (RPG),
                https://www.techtarget.com/whatis/definition/role-playing-game-RPG (accessed 1/22/2024). ("A role-playing game
               (RPG) is a game in which each participant assumes the role of a character that can interact within the game’s imaginary
               world.")

               RTS stands for Real-time strategy. See: Techopedia, "Real-Time Strategy," 4/21/2015,
               https://www.techopedia.com/definition/1923/real-time-strategy-rts. ("Real-time strategy (RTS) refers to a time-based
               video game that centers around using resources to build units and defeat an opponent.")

       15
               CellularNews, "What is Personal Computer Game (PC Game)?," 9/21/2023, https://cellularnews.com/definitions/what-is-a-
               personal-computer-pc/.

               Note that certain game distribution methods may allow a game to be played on a console and a PC. See, for example:

               Xbox, Xbox Play Anywhere, https://www.xbox.com/en-US/games/xbox-play-anywhere (accessed 12/8/2023).

               Yahoo Finance, "Global PC Games Market Size Analysis, Share Revenue Estimated to Grow at a CAGR of 1.21%," 6/29/2023,
               https://finance.yahoo.com/news/global-pc-games-market-size-124000948.html. ("A personal computer game or PC game
               is a form of video game that is to be played on a personal desktop or a laptop.")

               RoyalCDKeys, "The Best Operating System for Gaming PC," 10/10/2022, https://royalcdkeys.com/en-us/blogs/news/the-
               best-operating-system-for-gaming-pc.       ("Besides all the choices you have to make while choosing a gaming PC, the
               operating system is surely of great importance." "Of the options, three different Operating Systems are, by far, the most
               used. They are Microsoft Windows, Linux, and Mac OS.")




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            3.2.2.       PC gaming distribution

(17)    Initially, PC games were distributed using physical media, such as floppy disks or CD-ROMs. 18

        Physical PC games were especially popular in the mid to late-1990s.19 Released in 1994, Myst

        was the first CD-ROM game to sell in excess of one million copies and has been credited with

        driving the adoption of CD-ROMs as a gaming medium.2°                                    Physical PC game sales have

        declined significantly since 1996, falling from 41% to just 6% of console and PC physical game

        sales in 2016.21


(18)    Today, digital distribution dominates the PC game market.22                               In 2014, DFC Intelligence, a

        market research company, reported that, globally, approximately 92% of PC games sold were

        distributed digitally.23 In 2020, 98% of total sales revenue for the global PC gaming industry

        came from digital PC game sales.24 Data from PwC show that in the US PC gaming market,

        physical PC game sell-through revenue has declined whereas digital PC game sell-through

        revenue has increased.2s



        18
                 WIRED, "Sept. 24, 1993: Beautiful Ushers in Era of CD-ROM Gaming," 9/23/2008, https://www.wired.com/2008/09/sept-
                 24-1993-beautiful-ushers-in-era-of-cd-rom-gaming/.

                 Issuu Website, CD-ROM Games, https://issuu.com/cmfoto8/docs/the_video_game_explosion_a_history (accessed
                 1/3/2024). ("While it became a standard relatively recently, disc-based storage goes a long way back in the history of
                 video game distribution. The term encompasses a wide range of technologies, from magnetic floppy discs, analog
                 laserdiscs, and a variety of digital optical media. Of the latter, the CD-RQM enjoyed the strongest following and the
                 longest life span; as of 2006, a significant number of PC games are still burned on CDs.")

       19
                 Issuu    Website,   CD-ROM     Games,    https://issuu.com/cmfoto8/docs/the_video_game_explosion    a history   (accessed
                 1/3/2024). ("When it became the most common video game distribution format in the mid-1990s, the compact disk was
                 already standard in the music industry.")

       2O
                 Kent, Steven L. (2001), The Ultimate History of Video Games: from Pong to Pok#mon and Beyond, 1 st ed., New York: Three
                 Rivers Press, at 456-457. ("In 1994, Broderbund released a PC version. It became a hit, too. Myst went on to become the
                 first CD-ROM game to sell over one million units. It remained on the computer game’s bestsellers list for three years.
                 Broderbund eventually sold four million copies of the game.")

                Van Dreunen, Joost (2020), One Up: Creativity, Competition, and the Global Business of Video Games, 1st ed., New York
                 City: Colum bia U niversity Press, at 131-132.

       22
                GameRant, "91% of 2020’s Game Industry Revenue Was Digital," 12/24/2020, https://gamerant.com/2020-game-industry-
                 revenue-digital/.   ("The vast majority of PC gaming has been digital for a long time through sites like GOG, Steam, and
                dev-specific stores like the Epic Games Store. Only about 2% of its revenue came from boxed PC games. Most PC titles
                don’t even have a physical release anymore or have a very limited one.")

       23
                IGN Website, "Analyst: 92 Percent of PC Game Sales Are Digital," 8/19/2014,
                https://me.ign.c~m/en/pc/87259/news/ana~yst-92-percent~~f.pc.game.sa~es.are-digita~.

       24
                GameRant, "91% of 2020’s Game Industry Revenue Was Digital," 12/24/2020, https://gamerant.com/2020-game-industry-
                revenue-digital/. ("The vast majority of PC gaming has been digital for a long time through sites like GOG, Steam, and
                dev-specific stores like the Epic Games Store. Only about 2% of its revenue came from boxed PC games. Most PC titles
                don’t even have a physical release anymore or have a very limited one.")

       25
                Venture Beat, "Traditional Gaming Shrinks to 26.7% of Game and Esports Revenue as Overall U.S. Sales Head to $72B By
                2027,"     6/18/2023,    https://venturebeat.com/games/u-s-game-and-esports-revenue-to-grow-from-54-1b-to-72b-by-




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(19)    The PC game market was originally dominated by brick-and-mortar retailers such as

        GameStop and Best Buy.                            In the early 2000s, digital PC game distributors entered the

        marketplace and began to compete with brick-and-mortar retailers.26 The emergence of these

        digital competitors was due, in part, to improvements in high-speed internet.27 In 2001, the

        first such competitor, Stardock, released Stardock Central, the first digital distribution

        platform.28 However, it wasn’t until Valve’s transition to digital distribution with the launch

        of Steam in 2003 and its release of Half-Life 2 the following year that users began to widely

        utilize digital distribution.29 See Section 3.3.1 for further discussion of Steam’s launch. Other

        digital distribution platforms for PC games entered the marketplace around the same time,

        including Direct2Drive (2004), GamersGate (2006), Games for Windows - Live (2007), Good

        Old Games (~’GOG") (2008), Impulse (2008), and Green Man Gaming (2009).30                                                                      These early




                2027-pwc/. (Referencing a 2023 PwC report: The sell-through revenue of physical PC games in the US has decreased since
                2018,   and   will    continue     to     decrease      until    reaching    zero    in    2025.     Revenue    from       digital    PC     games   and
                online/microtransaction has increased since 2018 and will continue to grow.)

        26
                Van Dreunen, Joost (2020), One Up: Creativity, Competition, and the Global Business of Video Games, 1st ed., New York
                City: Columbia University Press, at 135-137.

       27
                CNET, "Game Makers Testing Online Distribution," 4/1/2006, https://www.cnet.com/tech/gaming/game-makers-testing-
                online-distribution/.

                Van Dreunen, Joost (2020), One Up: Creativity, Competition, and the Global Business of Video Games, 1st ed., New York
                City: Columbia University Press, at 4, 137.

                Gameopedia,          "The     Decline      of       Physical     Games       and     the      Rise   of   Digital      Distribution,"         9/26/2022,
                htt ps://www.ga meopedia.com/decline-of- physical-ga rues/.

       28
                Gameopedia,        "The       Decline     of        Physical     Games       and     the      Rise   of   Digital      Distribution,"         9/26/2022,
                htt ps://www.ga meopedia.com/decline-of-physical-ga m es/.

       29
               Gameopedia,         "The       Decline     of        Physical     Games       and     the      Rise   of   Digital      Distribution,"         9/26/2022,
                https://www.ga meopedia.com/decline-of- physical-ga rues/.

               Teknos Associates, The Battle for Digital Gaming Distribution, https://www.teknosassociates.com/the-battle-for-digital-
               gaming-distribution/(accessed 1/30/2023).

               Linkedln,    "The      Rise    of   Steam:       A    Case       Study   on   the     Most     Dominant     Force      in   Gaming,"          11/11/2021,
               https://www.~inkedin.c~m/pu~se/rise-steam-case~study-m~st-d~minant~f~rce-gaming-ryan-yuen/.

       3O
               IGN, "IGN Entertainment Launches Direct2Drive Digital Retail Store," 9/7/2004, https://corp.ign.com/press/press/2OO4/ign-
               entertainment-launches-direct2drive-digital-retail-store.

               See also: Wolfire, Emails Regarding Overgrowth, 7/30/2009-9/11/2009 (WOLFIRE_00053558-72, at WOLFIRE_00053570).
               ("Launched in October 2004, D2D allows consumers to conveniently purchase and download the latest premium PC
               games[.]")

               GamersGate,         Buy       and   Play     Games,          accessed     via       Internet     Archive   (as       displayed        on      6/13/2006),
               https://web.archive.org/web/20060613001742/https://www.gamersgate.com/(accessed 12/14/2023).                                          (The earliest date
               for GamersGate website’s copyright is 2006 and the website was copyrighted by Paradox Interactive, as shown by "© 2006
               Paradox Interactive AB.")

               Forbes, "An Interview With Paradox Interactive CEO Fred Wester On ’lndie’ Publishing and the Future of the Video Game
               Industry," 1/16/2013, https://www.forbes.com/sites/erikkain/2013/01/16/an-interview-with-paradox-interactive-ceo-fred-
               wester~~n~indie~pub~ishing-and~the-future-~f-the~gaming~industry/?sh=38~3f32265c5.                                   ("What    was      the    reasoning




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         market participants, along with newer platforms, make up a small share of the overall PC

        gaming market at issue in this matter and are discussed in Section 4.1.2.


(20)    The vast majority of PC games currently sold through (physical) retailers such as GameStop,

        GAME, and Amazon are actually merely download codes that users can redeem on their PCs.31

        These codes allow consumers to download the game directly onto their PCs or access the game

        on a digital platform such as Steam.                               Valve’s Chief Operating Officer, Scott Lynch, testified

        that this form of physical distribution is still different from digital distribution, because users

        buying a PC game at retail have to "either physically go somewhere to purchase it or it could

        be shipped to their home" versus digital distribution "where you would [just] download it[.]"32

        While some games are still sold on physical media such as discs, they are limited and expected

        to continue declining.~




                behind launching GamersGate? Has it been a success? We wanted to reach gamers directly. When I launched GamersGate
                in 2006, people still believed digital download was 10 years into the future.")

                Microsoft,      "Microsoft    Unites     Xbox   and   PC    Gamers   with    Debut    of Games      for Windows --    LIVE,"   3/14/2007,
                h ttps://news.micr~s~ft.com/2~7/~3/14/micr~s~ft~unites~xb~x~and~pc-gamers-with-debut-~f-games-f~r-wind~ws.live/.

                CD Projekt, Company History, https://www.cdprojekt.com/en/capital-group/history/(accessed 12/15/2023).

                Stardock, "Impulse to Deliver Next-Generation PC Platform," 6/14/2008, https://www.stardock.com/blog/314940/impulse-
                to-deliver-next-generation-pc-ptatform. ("Impulse is being launched in three phases: Phase t: The initial launch on June
                17th to coincide with the release of The Political Machine 2008 (www.politicalmachine.com) will have the features described
                in the guided tour.")

                See     also:   Wolfire,     "Impulse:    the    Next      Generation     Digital   Platform,"   undated   (WOLFIRE_00053407-22,       at
                WOLFIRE_00053408).           ("Launched in 2008, Impulse is a digital distribution platform for the Windows PC that has been
                designed to directly address many of these problems for both developers and consumers.")

                Green     Man     Gaming,      About     Green    Man      Gaming,      https://corporate.greenmangaming.com/about-us/         (accessed
                12/15/2023). ("The idea for Green Man Gaming sprung up in 2009 when our founder, Paul, was catching up with Lee, one
               of the founding members of the company, at the ’Green Man’ pub in Riding House Street in London." "An entrepreneur
               since 2001, Paul founded Green Man Gaming in 2009[.]")

       31
               Scott Lynch, Dep. Tr., 10/12/2023, at 80:8-23. ("Q. I know Valve doesn’t [distribute their games at retail]. My question is
               about the consumer’s perspective. If they have an option to buy from GameStop versus Steam, my question is you have
               no idea what those differences are today?              A. It just depends on what they’re buying.        Q. A game.   A. Like a Nintendo
               Switch game or a PC game at retail? Q. Yeah, PC game. A. I don’t know what people do at retail. I don’t think there are
               many retail packaged goods. I think that usually buying a game is getting a code now for PC. So they get a code.")

               See also: Expert Report of Joost Rietveld ("Rietveld Report"), 2/8/2024, §XI.C.

       32
               Scott Lynch, Dep. Tr., 10/12/2023, at 80:24-81:8.               ("Q. A consumer who’s buying at retail has to either physically go
               somewhere to purchase it or it could be shipped to their home; right?                     A. Yeah.   Q. And that’s different from online
               distribution where you would download it; right? A. Yeah. The transaction, you know, payment and getting the thing and
               what other things you might get with the game at retail, you know, are different, the physical parts of it and where you do
               the transaction.")

               VentureBeat, "Traditional Gaming Shrinks to 26.7% of Game and Esports Revenue as Overall U.S. Sales Head to $728 by
               2027 I PwC," 6/18/2023, https://venturebeat.c~m/games/u~s-game~and-esp~rts-revenue~t~-gr~w-fr~m~54~1b-t~-72b~
               by-2027-pwc/. (See "Physical PC games sell-through ($ mn)" line item; it is forecasted to reach $0 million in 2025.)




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(21)    Physical game distribution requires manufacturing infrastructure and a viable supply chain,

        as it involves producing copies of the game in physical media that the user can purchase

        though a retail outlet and use directly with a device.34                              Digital distribution is comparatively

        simple: the game is downloaded to a device via an online gaming platform and no physical

        version exists.3s          This difference has important marketing and financial implications.                                      For

        example, when Valve was modeling the distribution of its digital content through Steam, it

        modelled digital distribution having high margins and %ery few fixed costs[.]"36                                             In a 2003

        email, Valve’s then Chief Financial Officer and Treasurer, Pat Goodwin, remarked that Valve’s

        margin on a physical game is ~ compared to a~ margin on the Steam

        version.~7      He said: "Steam derives profit




(22)    According to Mr. Lynch, physical distribution is also more costly and complicated than

        digital.~9 For example, physical distributors have to "put the game on a piece of plastic, CD-

        ROM, DVD, and then [they’ve] got to put it in a box and make it in a factory. And then [they]

        have to ship those boxes to all over the world. Eventually they have to get onto store shelves.

       Then [they] have to kind of make sure those store shelves are kind of organized and they’re

       doing a good job in terms of presentation.                         [They] have to worry about the inventory kind of




               Screen Rant, "You’re Not Buying Video Games, You’re Buying IOUs," 1!/13/2022, https://screenrant.com/video-game-
                physical-disc-validation-key-digital-download/. ("For PC gaming fans, the switch to digital purchases is more universal, as
               storefronts like Steam have almost entirely replaced physical PC disc sales.")

       34
               Gameopedia,       "The   Decline     of      Physical   Games   and      the   Rise   of   Digital   Distribution,"    9/26/2022,
               https://www.gameopedia.com/decline-of-physical-games/.              ("A physical game copy refers to any game whose data is
               stored in physical media like cartridges, floppy discs, CDs, DVDs or Blu-ray discs.")

       35
               Gameopedia,       "The   Decline     of      Physical   Games   and     the    Rise   of   Digital   Distribution,"    9/26/2022,
               https://www.gameopedia.com/decline-of-physical-games/. ("A digital game refers to any title downloaded from a digital
               delivery service such as Steam, a console manufacturer’s online store, or smartphone app stores. Digital game data can
               be installed on devices like internal hard disks, solid-state drives and even removable storage.")

       36
               Valve,   Emails     Regarding      Valve’s     Financial   Model,     12/9/2003-12/10/2003      (VALVE_ANT_0050975-76,         at
               VALVE_ANT_0050975), available at Scott Lynch, Dep. Tr., 10/12/2023, Exhibit 132.

       37
               Valve, Emails Rec        Retail and Steam Mark-U           10/24/2003           ANT 0051858). ("Our margin on a retail box is
                                                                                              This corn ~ares to the Steam version
               Steam derives



       38
               Valve, Emails Regarding Retail and Steam Mark-Ups, 10/24/2003 (VALVE_ANT_0051858).

               Linkedln, Pat Goodwin, https://www.linkedin.com/in/patrickgoodwincfo (accessed 11/12/2023).

       39
               Scott Lynch, Dep. Tr., 10/12/2023, at 8:9-10, 35:15-37:1, 38:9-18.




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        being there in all the different stores when people go there and being out of inventory."4°
        Publishers also perceive the two distribution modes as different, because for digital
        distribution, they just "put [their] games up online[,]" but they go through a different process
        for physical distribution.41



        3.2.3.      PC game developers and publishers42

(23)    PC video games that can be downloaded or played online are created by game developers.43

        Game developers are responsible for "designing, creating, and bringing video games to life."44

        According to Game Developers Conference’s ("GDC’s") 2023 survey, 65% of video game

        developers develop PC games.4s


(24)   There are three common types of developers: indie, large-scale, and third-party.46                                                 Indie

        developers usually consist of teams of 1-100 individuals that work on smaller games, with a

        single or limited portfolio of games.47 Large-scale developers, sometimes referred to as AAA or

       Triple-A,4B consist of teams of hundreds of individuals that work on different games for

       multiple platforms; examples of such Triple-A developers include Riot Games ("Riot"), Epic

       Games ("Epic"), and Activision Blizzard.49 Third-party developers are contracted by video game




       40
               Scott Lynch, Dep. Tr., 10/12/2023, at 8:9-10, 35:15-37:1.

       41
               Scott Lynch, Dep. Tr., 10/I 2/2023, 37:20-38:3. ("Q. It’s also different -- retail and online distribution are also different from
               the developer’s perspective; right? A. Yeah. Yeah. I mean, it’s a different process to, you know, put your game up online
               versus, you know, going through the process of, you know, retail distribution, yeah.")

       42
               As will be discussed in this section, the game "developer" and game "publisher" serve different functions, whether those
               functions are accomplished by a single entity or multiple ones, that is sometimes a single company undertakes both
               functions. In this report, the terms are used interchangeably (unless otherwise noted) to describe the entity that is actually
               paying the Steam commissions to Valve and are part of the putative class.

       43
               Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
               https://www.j uegostudio.com/blog/difference- between-mobile-a nd- pc-ga me-development.

       44
               Polydin Studio, Unveiling the Roles of Game Developers and Publishers, https://polydin.com/game-developers-and-
               publishers/(accessed I0/18/2023).

       45
               GDC, "State of the Game Industry 2023," 3/20/2023-3/24/2023, at 5.

       46
               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

       47
               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

       48
               Valve, Emails Regarding Competitor Analysis, I/31/2020-2/I 3/2020 (VALVE_ANT_0167817-20, at VALVE_ANT_0167817).

               Valve, Email Regarding Competitor Analysis, 2/I 9/2021 (VALVE_ANT_0061386-89, at VALVE_ANT_0061388).

       49
               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.




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        publishers to develop games, as publishers may conceive of games "but have priorities

        elsewhere."s°        In such an arrangement, the publisher "determines the game’s goals, and

        creative control is never fully given to the developer."sl


(25)    Game publishers are the entities that actually bring games to the market for users to play.S2

        Game publishers include Valve, Activision Blizzard, Electronic Arts (~’EA"), and Ubisoft, all of

        which also operate digital platforms and develop games, s3 Some game developers do not have

        the resources to also publish games, as that requires the ability "to produce, deliver, and

        support a game all on their own servers.’’s4 Testimony from Dark Catt employeess Jason Owens

        also indicates that financial constraints may prevent small developers from publishing their

        own games. 56


(26)    Game publishers support game developers by providing funding that allows game developers

       to create the games.             Publishers may also generate funding for developers by distributing

       developed games on platforms like Steam and Epic Games Store ("EGS").57                                    Publishers also

       assist in monetization of games through downloadable content and in-game advertising. 58 The

       relationship between developer and publisher is symbiotic. A game developer benefits from a

       game publisher’s "financial support, marketing expertise, and distribution channels[,]" while

       the publisher relies on the developer’s creativity and technical expertise to create "compelling




       5O
               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

       52
               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

               HP, "Game Developers vs Game Publishers: What’s the Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
               takes/game-developers-vs-game-publishers.

               Jason Owens, Dep. Tr., 12/5/2023, at 16:20-21. ("Q. And then where did you work after 2014? A. For Dark Catt Studios.")

               Linkedln, Jason Owens, https://www.linkedin.com/in/jason-owens-6914a8153 (accessed 12/15/2023).

       56
               Jason Owens, Dep. Tr., 12/5/2023, at 95:18-96:2. ("Q. You know, since we’re just - did Dark Catt ever consider working
               with a publisher? A. Yes. Q. Why? A. Well, we’re a small company. Publishing is difficult -- Q. Sorry. Go ahead. A. --
               expensive." Q. Needed money? A. Yes.)

       57
               Polydin Studio, Unveiling the Roles of Game Developers and Publishers, https://polydin.com/game-developers-and-
               publishers/(accessed 10/18/2023).

       58
               Polydin Studio, Unveiling the Roles of Game Developers and Publishers, https://polydin.com/game-developers-and-
               publishers/(accessed 10/18/2023).




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        and marketable games."s9 Sometimes, a single company undertakes both the game publisher

        and developer roles.6°                A publisher can create an in-house development team to develop

        games,61 as in the case of Annapurna Interactive, a game publisher that created an internal

        development studio in 2022 to develop games.62


(27)    Publishers may also distribute games through their own proprietary website. One prominent

        example of a publisher/developer that sells games directly to consumers via its own website

        is Blizzard, who merged with Activision in 2008 to create Activision Blizzard.63                                                         Blizzard

        developed popular titles such as World of Warcraft, Overwatch, Diablo, and StarCraft.64 The

        company has historically offered its PC games exclusively through its Battle.net platform

        (although the company recently announced that, as of August 10, 2023, the company would

        distribute on Steam for the first time).6S Some developers distribute their games both through

        their own platforms and non-proprietary platforms like Steam.                                            For example, CD Projekt,

        makers of The Witcher series and Cyberpunk 2077, offer games both through their own GOG

        platform66 and through Steam.67




       $9
                Polydin Studio, Unveiling the Roles of Game Developers and Publishers, https://polydin.com/game-developers-and-
                publishers/(accessed 10/18/2023).

       6O
                Consolidated Second Amended Class Action Complaint, 3/23/2023, ¶ 3.                 ("In the PC gaming industry, the ’developer’ is
                typically the entity that creates the game while the entity that markets the game is typically referred to as the game
                ’publisher.’ Sometimes a single company undertakes both of these functions.")

       61
                HP, "Game Developers vs Game Publishers: What’s The Difference?," 7/19/2020, https://www.hp.com/us-en/shop/tech-
                takes/game-developers-vs-game-publishers.         ("Some of the larger gaming publishers crossover as developers.                     These
                publishers can either field in-house teams or contract out a new game to an independent developer.")

       62
               Game      Developer,      "Annapurna       Interactive        Now      has    an    Internal    Development          Studio,"      6/6/2022,
                https://www~gamedeve~oper~com/business/annapurna-interactive-now-has-an-interna~-deve~pment-studio~

       63
               Blizzard Battle.net Website, How to Download a Blizzard Game, https://us.battle.net/support/en/article/15893 (accessed
               8/30/2023).

               Activision Blizzard Press Release, "Vivendi and Activision Complete Transaction to created Activision Blizzard," 7/10/2008,
               https://invest~r.activisi~n.com/news-re~eases/news-re~ease-details/vivendi-and-activisi~n-comp~ete-transacti~n-create-
               activision.

       64
               Blizzard Website, All Games, https://www.blizzard.com/en-us/games (accessed 8/30/2023).

       65
               Keen    Gamer,    "Blizzard   PC   Games    Coming       to   Steam,    Overwatch    2   Revealed    to    Release    First.,"    7/21/2023,
               h ttps://www.keengamer.com/artic~es/news/b~izzard-pc-games-coming-to-steam-~vervvatch-2-revealed-to-re~ease-~rst/.

       66      The    Verge,    "GOG   is    Losing    Money   and      Refocusing      on   ’Handpicked      Selection   of   Games’,"         11/29/2021,
               https://www.theverge.com/2021/11/29/22808199/cd-projekt-gog-losses-restructuring-earnings-2021.

       67
               See, for example:

               Steam, The Witcher 3 Wild Hunt, https://store.steampowered.com/app/292030/The_Witcher_3_Wild_Hunt/ (accessed
               8/30/2023).




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(28)        GDC conducts an annual survey of developers regarding the type of platforms (e.g., PC,

         PlayStation, Xbox) for which they make games.68 The PC platform has been the "focus for over

        half of dev[eloper]s for years[.]"69                 Since 2017, an increasing majority of developers surveyed

        reported developing games for PC, rising from 53% in 2017 to 66% in 2024.70 As GDC noted

        in its 2024 report, PC game development remains the "dominant platform" and "the main

        platform of choice for [developers]."71



        3.3.          Valve’s Steam platform

        3.3.1.        Overview

(29)    Steam is a platform and application developed by Valve for distributing video games online.72

        After creating a Steam account (for free}, users can purchase games, add-ons, and expansion




        68
                 See, for example:

                GDC, "State of the Game Industry 2017," 2/27/2017-3/3/2017, at 3-12.

                GDC, "State of the Game Industry 2024," 2023, at 3-26.

        69
                PC Gamer, "PC is the Most ’Dominant’ it’s Been this Decade as Two-Thirds of Devs Say They’re Targeting the Platform,"
                1/19/2024, https://www.pcgamer.c~m/pc.is.the-m~st-d~minant-its-been-this-decade.as.tw~-thirds-~f-devs-say-theyre.
                targeting-the-platform/.

       7O
                GDC, "State of the Game Industry 2017," 2/27/2017-3/3/2017, at 3.

                GDC, "State of the Game Industry 2018," 3/19/2018-3/23/2018, at 3.

                GDC, "State of the Game Industry 2019," 3/18/2019-3/22/2019, at 12.

                GDC, "State of the Game Industry 2020," 2020, at 3.

                GDC, "State of the Game Industry 2021," 7/19/2021-7/23/2021, at 4.

                GDC, "State of the Game Industry 2022," 3/21/2022-3/25/2022, at 2.

                GDC, "State of the Game Industry 2023," 3/20/2023-3/24/2023, at 5.

                GDC, "State of the Game Industry 2024," 2023, at 5-6.

       71       GDC, "State of the Game Industry 2024," 2023, at 5-6.

       72       Android Authority, "What is Steam: The Popular Gaming Platform Explained," 10/17/2023,
                https://www.and roidauthority.co m/what-is-steam-3254981/.

                Steam also offers a mobile app, Steam Mobile, that users can access the social features of Steam and buy games. Game
                play is not a feature of Steam Mobile and is described as an app used to "[b]uy games, protect your Steam account, and
                get the latest news from your games and the community." See:

                Android Authority, "What is Steam: The Popular Gaming Platform Explained," 10/17/2023,
                https://www.a nd roidaut hority.com/what-is-stea m-3254981/.

                Steam Store, The Ultimate Online Gaming Platform, https://store.steampowered.com/mobile (accessed 10/17/2023).

                See   also:   Apple   App   Store,   Steam   Mobile,   https://apps.apple.com/us/app/steam-mobite/id495369748   (accessed
                10/t 7/2023).




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            packs on the Steam Store that are then stored in their Steam Library.73                                   Steam also offers

            social features that allow users to interact with other players, view user-created content, and

        live-stream playing sessions.~4


(30)    Steam is a platform.              Economists define a platform as an entity that facilitates interaction

        between one or more groups of users, like consumers and producers.~S Here, Steam connects

        game publishers/developers to game players, facilitating transactions between the two.

        Digital platforms, like Steam, take the ~orm of "website[s], app[s] or other digital venue[s] that

        interact commercially with one or more group of users.’’~6 While platforms that connect groups

        of users directly to people like them are called "one-sided" or "single-sided" platforms,

        platforms such as Steam, that connect two or more different groups of users in a physical or

        virtual space are called two-sided or multi-sided platforms. 7~ Platforms often exhibit network

        effects.     Economists define network effects as an attribute of a product or platform, in which

        the product or platform’s value changes as the number of users of that product or platform

        changes.78 "Direct" or "same-side" network effects exist if, as more users join a platform, the




                 Steam also offers the Steam Link app that is available for major devices including phones (e.g., iPhones, Android), PCs (e.g.,
                 Windows, Mac, Linux), and other devices (e.g., smart TVs, tablets, Raspberry Pi).         Users can remote play games by
                 connecting, or linking, these devices through the Steam Link app to a PC that is running Steam. While this allows mobile
                 (or other device) game play, it must still be linked, and powered through, a user’s PC running Steam. See:

                 Steam Store, Steam Link, https://store.steampowered.com/app/353380/Steam_Link/(accessed 10/17/2023).

                 Steam Store, Remote Play, https://store.steampowered.com/remoteplay#anywhere (accessed 10/17/2023).

       73
                 Android Authority, "What is Steam: The Popular Gaming Platform Explained," 4/20/2023,
                 https://www.androidauthority.com/wha~-is-steam-3254981/.

       74
                 Android Authority, "What is Steam: The Popular Gaming Platform Explained," 4/20/2023,
                 https://www.a nd roidauthority.com/what -is-stea m-3254981/.

       75
                 Parker, Geoffrey G., Marshall W. Van Alstyne, and Sangeet Paul Choudary (2016), Platform Revolution, New York, NY: W.
                 W. Norton & Company, at 5. ("A platform is a business based on enabling value-creating interactions between external
                 producers and consumers.")

                 Hovenkamp, Herbert J. (2020), "Antitrust and Platform Monopoly," Yale Law Journal 130: 1952-2273, at 1957.

       76
                 Hovenkamp, Herbert J. (2020), "Antitrust and Platform Monopoly," Yale Law Journal 130: 1952-2273, at 1957.

       77
                 Platform Chronicles, "What Are Platform Businesses?" 1/26/2021, https://platformchronicles.substack.com/p/what-are-
                platform-businesses. ("Platforms can be one-sided, i.e. have one type of customer...")

                Evans, David S. and Richard Schmalensee (2016), Matchmakers: The New Economics of Multisided Platforms, Boston, MA:
                Harvard Business Review Press, at 210.      ("Multisided platform: A business that operates a physical or virtual place (a
                platform) to help two or more different groups find each other and interact. The different groups are called ’sides’ of the
                platform.")

       78       Shapiro, Carl and Hal R. Varian (1998), Information Rules: A Strategic Guide to the Network Economy, Brighton, MA: Harvard
                Business Review Press, at 13.   ("When the value of a product to one user depends on how many other users there are,
                economists say that this product exhibits network externalities, or network effects .... Technologies subject to strong
                network effects tend to exhibit long lead times followed by explosive growth. The pattern results from positive feedback:
                as the installed base of users grows, more and more users find adoption worthwhile.")




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        value of that platform increases to all users on that same side of the platform.79 "Indirect" or

        "cross-side" network effects exist if, as more users of a different group join a platform, the

        value of the platform increases to the first group of users.8°


(31)    In 2000, Valve was "primarily a video game developer[.]"81                            In 2002, Valve had an average of

        3.4 billion player minutes per month and had published two successful computer games: Half-

        Life and Counter-Strike.~2               Before Valve transitioned to distribution of first-party games on

        Steam in 2003, Half-Life and Counter-Strike were published by Sierra’s World Opponent

        Network ("WON"), which Valve acquired in 2001.83                                 Valve’s development of Steam was

        prompted both by a need to streamline its game update system, as well as to provide "anti-

        cheat protection" in games.84 Following Valve’s release of Counter-Strike in 2000, the company




       79
                Farrell, Joseph, and Paul Klemperer (2007), "Coordination and Lock-in: Competition with Switching Costs and Network
                Effects," in M. Armstrong and R. Porter eds., Hondbook of Industrial Organization, Volume 3, Elsevier B.V, at 1974. ("A good
                exhibits direct network effects if adoption by different users is complementary, so that each user’s adoption payoff, and
                his incentive to adopt, increases as more others adopt. Thus users of a communications network or speakers of a language
                gain directly when others adopt it, because they have more opportunities for (beneficial) interactions with peers.")

       8O
                Parker, Geoffrey G., Marshall W. Van Alstyne, and Sangeet Paul Choudary (2016), Platform Revolution, New York, NY: W.
                W. Norton & Company, at 29. ("... cross-side effects are network effects created by the impact of users from one side of
                the market on users from the other side of the market.")

                A canonical example is the Yellow Pages directory, which exhibits network effects as its value depends on the number of
                consumers using it. Consumers value the Yellow Pages more highly when they contain greater amounts of information
                and advertising, while retailers increase advertising in the Yellow Pages when there are greater numbers of consumers.
                See:

                Rysman, Marc (2002), "Competition Between Networks: A Study of the Market for Yellow Pages," Boston University Industry
               Studies Project Working Paper, 1-43, at 1-2.

               Scott Lynch, Dep. Tr., 10/12/2023, at 17:17-19, 22:25-23:2.      ("Q. When you began at Valve, Valve was primarily a video
               game developer; is that fair? A. Yeah.")

       82
               Valve,   "Valve Unveils Steam at 2002 Game            Developer’s Conference," 3/21/2022         (VALVE_ANT_0046416-18, at
               VALVE_ANT_0046416-18).

               Scott Lynch, Dep. Tr., 10/12/2023, at 15:11-12, 18:6-11, 29:18-25, 32:5-7. ("Q. So in ’94 or ’95, you began at Sierra On-
               Line? A. Yeah."    "Q. How did you come to work for Valve? A. Well, I had met Gabe in probably ’96, ’97 at Sierra and did --
               we did a publishing deal together for Half-Life.     So we were the publisher of Half-Life. Worked with Valve as they were
               building Half-Life. Launched Half-Life in probably November of ’98.")

               PC Gamer, "A Brief History of Online Gaming on the PC," 2/22/2017, https://www.pcgamer.com/a-brief-history-of-online-
               gaming-on-the-pc/.

               Valve, Emails Regarding Game Licensing, 10/23/2003-10/28/2003 (VALVE_ANT_0046299-301, at VALVE_ANT_0046299).

       84
               Linkedln,   "The    Rise   of   Steam:   A   Case   Study   on   the   Most   Dominant   Force    in   Gaming,"   11/1t/2021,
               https://www.~inkedin.c~m/pu~se/rise-steam-case-study-m~st-d~minant-f~rce~gaming-ryan-yuen/.

               Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/! 2/2013, https://kotaku.com/steam-is-10-today-remember-
               when-it-sucked-1297594444.




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            struggled to curb rampant cheating and to consistently deliver game updates.8s                                                   To update

        the game, Valve had to shut down its online services for multiple days at a time, and users

        were responsible for searching the internet to find the most recent update.86                                                  According to

        Scott Lynch, in 2003, Valve would distribute patches and updates for its games through "a

        number of places" and "people would put it up on their download sites and people would

        download it."87             After polling its user base and finding that over 75% of their users had

        broadband connections, Valve announced the development of Steam to be a new online

        content delivery system. 8~


(32)    Valve officially launched Steam on September 12, 2003.s9                                              Based on an internal Valve

        document from October 2003, after its launch, Valve used Steam to automatically update its

        games such as Half-Life, Counter-Strike, and Day of Defeat. 9o Scott Lynch testified that Valve

        started distributing its games through Steam because there were "a bunch of benefits" to

        Valve and its customers.91                    Internal Valve communications from December 2003 state that

        Steam had "tremendous upside potential" and show that Valve employees recognized "the

        magnitude of the opportunity if [Valve could] get even modest numbers of players to purchase




       85
                 Linkedln,   "The    Rise   of   Steam:     A     Case     Study   on    the   Most    Dominant    Force    in   Gaming,"     11/11/2021,
                 https://www~inkedin.c~m/pu~se/rise~steam-case-study-m~st~d~minant~f~rce-gaming-ryan~yuen/.

                 Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is-10-today-remember-
                when-it-sucked-1297594444.

       86
                 Linkedln,   "The    Rise   of   Steam:     A     Case     Study   on    the   Most    Dominant    Force    in   Gaming,"    11/11/2021,
                https://www.~inkedin.c~m/pu~se/rise~steam-case~study-m~st-d~minant~f~rce-gaming-ryan-yuen/.

       87
                Scott Lynch, Dep. Tr., 10/12/2023, at 32:14-33:12.

       88
                ExtremeTech, "Valve Changes Online Gaming Rules," 3/22/2002, https://www.extremetech.com/computing/50650-valve-
                changes-online-gaming-rules.

                Gameopedia,         "The    Decline    of       Physical    Games       and    the    Rise   of   Digital   Distribution,"    9/26/2022,
                https://www.ga m eopedia.com/decline-of- physical-ga mes/.

                Linkedln,    "The    Rise   of   Steam:     A     Case     Study   on   the    Most    Dominant    Force    in   Gaming,"    11/11/2021,
                https://www~~inkedin~c~m/pu~se/rise-steam-case-study-m~st-d~minant-f~rce-gaming-ryan-yuen/~
       89
                Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is-10-today-remember-
                when-it-sucked-1297594444.

                See also: Scott Lynch, Dep. Tr., 10/12/2023, at 31:11-13. (’Q. Okay. Steam was released in September of 2003; right? A.
                Yep.")

       90
                Valve, Emails Regarding Game Licensing, 10/23/2003-10/28/2003 (VALVE_ANT_0046299-301, at VALVE_ANT_0046299).

       91
                Scott Lynch, Dep. Tr., 10/12/2023, at 38:24-39:13. ("Q. But Valve ultimately did start distributing its first-party games
                online; right? A. Yeah. We did do online distribution and retail. Q. And you started online distribution because you
                thought it had some benefit to Valve to do so; right? A. We thought -- we thought online distribution would have benefits
                to Valve and to customers. That’s why we started -- you know, we started down that path pretty -- pretty early in the
                internet. So you had to hope a lot of things would get better. But, yeah, that -- you know, the original theory was we
                thought there was a bunch of benefits to online distribution. That’s why we started doing it.")




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        products via Steam."92                  Valve continued using both Steam and WON until it announced in

        2004 that it would be shutting down WON servers in July of that year.93


(33)    The popularity of Valve’s Half-Life 2 jumpstarted Steam’s online digita! distribution platform

        growth.      Millions of Half-Life 2 purchasers were required to become Steam users in order to

        play the game. When Valve released Half-Life 2 in 2004, it offered both physical distribution

        through brick-and-mortar outlets and digital distribution through SteamP4                                               However, Valve

        required all users--even those who purchased physical copies of the game at brick-and-mortar

        retailers--to create a Steam account to play the game.9s                                      In a 2003 email correspondence,

        Valve stated that its plan was ~to go into production with Steam on or around Monday[,]

        August 18th, to our customer base of around 2-3 million people.                                          We’ll be forcing all of our

        existing customers to create accounts on our system (i.e. in Berkeley DB) and forcing them to

        authenticate via Steam to play our games (which they have already paid for). We have players

        all around the world, so the system needs to run 24/7 from the start."96 Half-Life 2 sold over

        4 million copies in its first two years. 97


(34)   In 2005, Valve expanded its digital distribution platform by reaching agreements with external

       publishers.98 Within two years, Valve had secured deals with major publishers to distribute




       92
               Valve,      Emails    Regarding      Valve’s    Financial     Model,         12/9/2003-12/10/2003     (VALVE_ANT_0050975-76,       at
               VALVE_ANT_0050975), available at Scott Lynch, Dep. Tr., 10/12/2023, Exhibit 132.

       93
               Valve, Emails Regarding WON and Steam, 12/19/2003-12/20/2003 (VALVI:_ANT_0046639-40, at VALVE_ANT_0046639).

               Valve, Email Regarding WON Servers, 7/15/2004 (VALVE_ANT_0293433).

       94
               Linkedln,     "The   Rise   of    Steam:   A   Case   Study    on      the     Most   Dominant    Force   in   Gaming,"   11/tl/2021,
               https://www~~inkedin.c~m/pulse/rise-steam-case-study-m~st-d~minant-f~rce-gaming-ryan-yuen/.

               Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is- 10-today-remember-
               when-it-sucked- 1297594444.

       95
               Linkedln,     "The   Rise   of    Steam:   A   Case   Study    on      the     Most   Dominant    Force   in   Gaming,"   11/11/2021,
               https://www.~inkedin.c~m/pu~se/rise-steam-case-study-m~st-d~minant-f~rce-gaming-ryan-yuen/.

               Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is-10-today-remember-
               when-it-sucked- 1297594444.

       96
               Valve,      Emails   Regarding      Product     Launch      Schedule,        8/5/2003-8/13/2003     (VALVE_ANT_0407102-106,        at
               VALVE_ANT_0407105).

       97
               Linkedln,     "The   Rise   of   Steam:    A   Case   Study    on      the    Most    Dominant    Force   in   Gaming,"   11/11/2021,
               https://www.linkedin.com/pulse/rise-stea m-case-study- most-domina nt-force-ga ming-ryan-yuen/.

       98
               Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is-10-today-remember-
               when-it-sucked- 1297594444.

               See also: Scott Lynch, Dep. Tr., 10/12/2023, at 29:12-16. ("Q. When did Valve decide to distribute games for third parties?
               A. When did we decide? We decided, I think, when we did our first third-party game deal, which I think was in 2005.")




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        games, including id Software, Activision, Eidos, and Capcom.99 A 2008 PC Gaming Alliance

        report noted that "[d]igital distribution is the replacement of traditional disc-based media," as

        "publishers look for ways to boost their profit, cutting out expensive box retail SKUs[.]"1°° In

        2008, Steam had 15 million users and supported "over 250 game titles[.]"1°1                                                              In that same

       year, most major publishers were distributing PC games on Steam, including Epic, Atari,

       Activision, Eidos, 2K, Ubisoft, Sega, THQ, Bethesda, and EA.~°2 By 2009, 48% of all unit sales

        of PC games were downloaded online. 103 Online sales of PC games exceeded physical sales by

       three million for the first six months of 2010.~°4                                          By 2013, digital sales "represent[ed] a

       whopping 92 percent of all PC game sales across the world[.]"l°s                                                 In the years following, sales

       of physical games continued to decline, largely because of the increasing availability of faster

       internet connections.


(35)   Steam’s catalogue has grown significantly over time. According to the transaction data Valve

       provided in this matter, the number of new games released on Steam has grown considerably

       from 2005 through 2022.107 As of February 2024, Steam has approximately 90,000 titles on

       the platform.~°~         The estimated number of new users on Steam has grown from 820,000 in




       99
               Kotaku, "Steam is 10 Today. Remember When it Sucked?," 9/12/2013, https://kotaku.com/steam-is-10-today-remember-
               when-it-sucked- 1297594444.

       100
               PC Gaming Alliance, "The PCGA Presents: The PC Gaming Industry in 2008," c. 2009, at 10.

       101
               PC Gaming Alliance, "The PCGA Presents: The PC Gaming Industry in 2008," c. 2009, at 10.

       I02
               Valve,    Transaction       Data       ("Valve      Transaction         Data"),      1/1/2008-12/31/2008.             (VALVE_ANT_0753 t83-3573,
               VALVE_ANT_1589681-88, VALVE_ANT_2579263-68). See "07_Publishers in 2008.R."

       103
               CNBC, "Digital Downloads Encroach on Brick and Mortar Territory," 7/22/2010, https://www.cnbc.com/2010/07/22/digital-
               downloads-encroach-on-brick-and-mortar-territory.html.

               Softpedia     News,   "PC    Digital     Game       Sales   on    Par     with      Brick    and    Mortar     Retailers   in    2009,"    7/21/2010,
               https://news.s~ftpedia.c~m/news/PC-Digita~-Game-Sa~es-~n-Par-with-Brick-and-M~rtar-Retai~ers-in-2~~9-
               148553.shtml.

       104
               Forbes,   "Digital vs.   Physical:     PC    Game    Downloads      Surpass         Retail   Unit   Sales    By 3M,    Says     Survey,"   9/20/2010,
               https://www.f~rbes.c~m/sites/oliverchiang/2~1~/~9/2~/digital-vs-physica~-pc-game-downloads-surpass-retail-unit-
               sales-by-3m-says-survey/?sh = 5d5f606e2b60.

       105                                                        o
               PC Retail Website, Digital Downloads Account for 92~ of PC Game Sales, accessed via Internet Archive (as displayed on
               8/20/2014),     https://web.archive.org/web/20140820180620/https://pcr-online.biz/news/read/digital-sales-make-up-92-
               of-global-game-revenues/034551 (accessed 12/8/2023).

       106
               Gameopedia,      "The       Decline     of       Physical   Games         and       the      Rise   of      Digital    Distribution,"      9/26/2022,
               https://www.gameopedia.com/decline-of-physical-ga mes/.

       107     See Attachment G-2.

       108
               Steam                              Website,                                Titles                               on                            Steam,
                                                                                o     o
               https://store.stea m powered.com/search/,? category 1 =998&os=win~2Cmac~2Clinux&supportedlang=20nglish&ndl=1
               (accessed 2/1/2024).




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        2003 to over 60 million by 2017.l°9 See Figure 1. A 2020 joint~ presentation reports

        that Steam had an estimated ~ registered accounts.11°                                          Similarly, third-party content

        sales on Steam grew considerably from ~ between 2005 and 2021.111


                                          Figure 1: Steam New Users Per Year, 2003-2017112




                                    NEW USERS BY YEAR

                                                                                                                   47.682.000




                                                                                                           36.9!5.000




(36)   Valve is a U.S.-based corporation,113 but it operates Steam across the world.TM                                            As of June

       2022, 39% of Steam publishers’ lifetime revenues came from the United States, followed by

       Japan (18%), the United Kingdom (11%}, and France (7%).1~5 Only 24% of Steam publishers




       109
               Galyonkin, "Steam in 2017," 4/4/2018, https://galyonk.in/steam-in-2017-129c0e6be260.

       110
               Valve, "Joint Business Review," 10/2020 (VALVE_ANT_0052792- 829, at VALVE_ANT_0052816).

       111
               See Attachment D-3.

       112
               Galyonkin, "Steam in 2017," 4/4/2018, https://galyonk.in/steam-in-2017-129c0e6be260.

       113
               Valve Website, Press Inquiries, https://www.valvesoftware.com/en/press/inquiries (accessed 1/5/2024).                ("Valve is an
               entertainment software and technology company founded in 1996 and based in Bellevue, Washington.")

       114
               According to Steam’s website, "in most cases, there are no region restrictions on products purchased directly from the
               Steam store." See:

               Steam    Website,    Steam   Support,     https://help.steampowered.com/en/faqs/view/58D3-BSOD-2943-3CC6                  (accessed
               2/5/2024).

       1!5
               Video   Game   Insights,   "Steam    Publishers   Landscape   -   Concentration   and    Dominance       of the   US,"   6/13/2022,
               h ttps://vginsights.c~m/insights/artic~e/steam-pub~ishers-~andscape-concentrati~n-and~d~minance-~f-the-us.




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        were from the United States as of June 2022.116 Games are written in multiple languages for

        Steam,117 and Steam’s global traffic map shows purchase and gameplay activity worldwide.

        As of 2021, Steam had approximately 132 million active players, with approximately 69 million

        daily active players.l~9



        3.3.2.       Steam Wallet

(37)    Steam Wallet is a digital wallet that Valve released in 2010.~2° Users can add funds to their

        wallets (using credit cards) in five different amounts: $5, $10, $25, $50, $100.12~                                          Users can

        also add funds to their wallets through Steam Wallet Codes; according to Steam, "you can

        find physical Steam Wallet cards that contain codes which can be redeemed into your Steam

        account at many electronics retailers, convenience stores, game stores and grocery stores.

       You can also purchase Steam Wallet codes printed directly on a receipt or delivered via

        SMS/text message or email through various kiosks, cyber cafes and eCommerce websites.

       Codes are also available directly from PayPal."~22                                With their Wallet funds, users can buy

       "games, software and any other item you can purchase on Steam.’’~23 However, Steam Wallet

       funds cannot be gifted, ’~withdrawn to a bank account[,]" or transferred to another Steam




       116     Video    Game    Insights,    "Steam    Publishers    Landscape    -   Concentration   and   Dominance   of the   US,"    6/13/2022,
               h ttps://vginsights.com/insig h ts/article/steam-pu b lishers-landscape-concentration-and-dominance-of-the-us.

       117     Valve, "Steam Platform Update 2023," c. 2023 (VALVE_ANT_2925532.pptx, at slide 11).

               See     also:   DemandSage,      "Steam        Statistics   For   2024   (Users,   Popular   Games   &    Market),"      12/27/2023,
               https://www.dem andsage.com/stea m-statistics/.

       118     Steam Store, Steam Download Stats, https://store.steampowered.com/stats/content/(accessed 10/18/2023).

               World Population Review, Steam Users by Country 2023, https://worldpopulationreview.com/country-rankings/steam-
               users-by-cou ntry (accessed 10/18/2023).

       119     Steam Website, "Steam - 2021 Year in Review," 3/8/2022,
               htt ps://store.stea m powered.com/news/g rou p/4145017/view/3133946090937137590.

       120     Steam, "Steam Wallet and In-Game Transactions are Here," 9/30/2010, https://store.steampowered.com/oldnews/4406.

       121     Steam,    Add    Funds   to    Your    Steam     Wallet,    https://store.steampowered.com/steamaccount/addfunds#          (accessed
               12/7/2023).

       122     Steam, Steam Wallet, https://help.steampowered.com/en/faqs/view/78E3-7431 - 1E88-AD59 (accessed 12/7/2023).

       123     Steam, Steam Wallet, https://help.steampowered.com/en/faqs/view/78E3-7431-1 E88-AD59 (accessed 12/7/2023).

               Steam,    Add   Funds    to   Your     Steam     Wallet,    https://store.steampowered.com/steamaccount/addfunds#         (accessed
               12/7/2023).




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        account. 124 While users have the option to use funds in their Steam Wallet to purchase full

        games, they are required to use their Steam Wallet for in-game purchases.12s



        3.3.3.       Marketing benefits

(38)    Valve offers publishers curated marketing opportunities on Steam, including takeovers,

        spotlights, and daily deals. 126 Takeover marketing has a "very high bar to qualify" and is the

        "highest level of featuring offered on Steam."u7                       Spotlight marketing, or spotlights, includes

        midweek and weekend deal promotions [that] "are featured in [Steam’s] ’Special Offers’




       124
               Steam, Steam Wallet, https://help.steampowered.com/en/faqs/view/78E3-7431-1 E88-AD59 (accessed 12/7/2023).

       125
               Steam, Add Funds to Your Steam Wallet, https://store.steampowered.com/steamaccount/addfunds# (accessed
               12/7/2023). ("Funds in your Steam Wallet may be used for the purchase of any game on Steam or within a game that
               supports Steam transactions.")

               Steamworks Website, Microtransactions (In-Game Purchases),
               https://partner.steamgames.com/doc/features/microtransactions (accessed 1/3/2024). ("For any in-game purchases,
               you’ll need to use the microtransaction API so Steam customers can only make purchases from the Steam Wallet.")

       126     Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 38-39), available at Augusta Butlin, Dep.
               Tr., 10/11/2023, Exhibit 124. ("Curated promotions (Daily Deals, Midweek Madness, Weekend Deals, front page takeovers)
               are all driven by customer interest[.]" "Takeover, Curated [...] Spotlights, Curated [...] Daily Deals, Curated[.]")

       127
               Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
               10/11/2023, Exhibit 124.

               Takeover marketing refers to game promotion at the very top of Steam Store’s front page. See, for example:

               Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
               10/11/2023, Exhibit 124.

               Augusta Butlin, Dep. Tr., 10/11/2023, at 152:17-153:16. ("Q. There are four different categories. Takeover, main capsule,
               spotlights, daily deals. Do you see that? A Yes. Q Describe for us what a takeover is. Takeover is a high level of marketing
               on Steam. And the picture of the slide, there is an image of Marvel’s Spiderman Remastered now available .... A takeover
               is a very prominent marketing spot on the front page. As you can see, it’s at the very top of the store .... ")




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        section.’’128      According to Valve, "[t]he bar for these promotions is high."129                                    Daily deals

        marketing is a "24-hour promotion on the front page [of Steam,]" and it has a lower bar for

        qualification than spotlights marketing. 130


(39)    Augusta Butlin, who is a member of Valve’s business development team, testified that "a

        takeover is a very prominent marketing spot on the front page. [...]                                    So it’s not something

        that we do for every game or every promotion.                          So it’s kind of a rare marketing opportunity"

        that has a "prominent placement" at the top of Steam, and a lot of users see it.131 Ms. Butlin

        further testified that for spotlights marketing, "there are games that we reach out to and say,

        your game has a lot of customer interest" and ask for their participation; she went on to

        remark that "a midweek or a weekend deal are more than just being in the spotlight. So it’s

        part    of one       of the       curated      marketing things            that    happens        in   those     two     particular




        128
                Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
                10/I 1/2023, Exhibit 124.

                Augusta Butlin, Dep. Tr., 10/11/2023, at 156:16-21. ("Q. And what is the significance of having a game in the spotlight?
                A. We use spotlights for midweek deals. In this slide, we had called them Midweek Madnesses, but we have updated our
                terminology, so midweek deals and weekend deals.")

                Spotlight marketing refers to Valve highlighting mid-week and weekend special deals/offers on the Steam Store home
                page under "Special Offers." See, for example:

                Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
                10/11/2023, Exhibit 124.

                Augusta Butlin, Dep. Tr., 10/11/2023, at 156:8-21. ("Q What are spotlights? A Spotlights are the first two square images
                here on the bottom of this slide [under ’Special Offers] .... We use spotlights for midweek deals. In this slide, we had called
                them Midweek Madnesses, but we have updated our terminology, so midweek deals and weekend deals.")

       129
               Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
                10/11/2023, Exhibit 124.

               Augusta Butlin, Dep. Tr., 10/I 1/2023, at 156:16-21. ("Q. And what is the significance of having a game in the spotlight?
               A. We use spotlights for midweek deals. In this slide, we had called them Midweek Madnesses, but we have updated our
               terminology, so midweek deals and weekend deals.")

       !30
               Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE_ANT_2925530-32, at PDF 39), available at Augusta Butlin, Dep. Tr.,
               10/11/2023, Exhibit 124.

       131
               Augusta Butlin, Dep. Tr., 10/11/2023, at 25:14-16.     (’Q. And for how long did you work with the business development
               team at Valve?    A. I still do.")

               Augusta Butlin, Dep. Tr., 10/11/2023, at 153:9-16. ("Q. In your experience at the business development group at Valve, is
               a takeover important to a developer? A. A takeover is a very prominent marketing spot on the front page. As you can see,
               it’s at the very top of the store. So it’s not something that we do for every game or every promotion. So it’s kind of a rare
               marketing opportunity.")

               Augusta Butlin, Dep. Tr., 10/11/2023, at 154:4-13. ("Q. And what’s your understanding as to why developers would like to
               have their game featured as a takeover? A. Well, I couldn’t speculate to all the reasons, but it looks pretty cool, and it’s at
               the -- it’s at the top of the store, so it’s kind of a nice prominent placement. Q. A lot of eyes will see it? A Yeah. I would
               say so. Being at the top of the store, sure.")




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        promotions.’’~32         Additionally, Ms. Butlin testified that the daily deal marketing is "another

        curated promotional opportunity [for developers] to have their game be featured on Steam."133


(40)    Valve’s curated marketing opportunities are important to developers as they boost a game’s

        visibility on Steam and drive game revenue.~34 For example, in an email to a developer, a Valve

        employee states: "[T]akeovers represent what is by far the biggest marketing exposure

        available on Steam-each takeover generates between ~ impressions."3s As

        another example, an internal Valve presentation demonstrates that ~ 2018 free

        weekends resulted in ~ impressions that generated ~ in revenue.136


(41)    Valve also offers algorithmic marketing on Steam. Algorithmic marketing offers personalized

        visibility to users.!37         According to Valve, Steam "automatically customizes elements of the

        store for every user[,]" so there is "no one algorithm."138 Steam’s "algorithms" respond to player

        preferences       and interests.139             Hence,     Steam is personalized for users,                      letting "player




        132
                Augusta Butlin, Dep. Tr., 10/11/2023, at 156:16-157:13. ("Q. And what is the significance of having a game in the spotlight?
                A. We use spotlights for midweek deals. In this slide, we had called them Midweek Madnesses, but we have updated our
                terminology, so midweek deals and weekend deals.         Q. Are these opportunities that developers request, and then the
                business development team either gives it to them or does not? A. There are partners who will reach out and want to
                coordinate a promotion and see if a midweek or a weekend deal fits their timing. Additionally, there are games that we
                reach out to and say, your game has a lot of customer interest. Is this something you might be interested in? Q. And do
                you find that developers treat an opportunity for their game to be in the spotlight as something that’s quite positive to
                their marketing efforts? A. A midweek or a weekend deal are more than just being in the spotlight. So it’s part of one of
                the curated marketing things that happens in those two particular promotions.")

       133
                Augusta Butlin, Dep. Tr., 10/I 1/2023, at 157:22-25. ("Q. And what is the significance of a daily deal to a developer? A. It’s
                another curated promotional opportunity to have their game be featured on Steam.")

       134
                Interview with David Rosen, 2/1/2024.

       135
               Valve, Emails Regarding ¯ Takeover, 10/24/2016-10/25/2016 (VALVE_ANT_0373867-871, at VALVE_ANT_0373869).

       136
               Valve, "Steam Update," c. 6/2018 (VALVE_ANT_1444189-4220, at VALVE_ANT_1444206).

       137
               Steamworks, "Steam Visibility: How Games Get Surfaced to Players," 2023, at 12, available at: https://steamcdn-
               a.akamaihd.net/steamc~mmunity/pub~ic/images/steamw~rks-d~cs/eng~ish/Steam visibi~ity1~2~23.pdf.

               See also: Valve, "Steam Discovery 2.0 Analysis," c. 2017 (VALVE_ANT_0415783-86, at VALVE_ANT_0415783). ("As Steam
               became a more diverse worldwide platform, we knew manual curation would not meet the needs of all customers. We
               needed a solution that could scale with the growth of Steam, reacting to serve new and engaging content to users with
               unique interests. Over the past two years, Discovery 1.0 and 2.0 have made major updates to the way we highlight games
               for customers, providing a more personalized experience tailored to individual tastes.")

               Interview with David Rosen, 2/I/2024.

       138
               Steamworks, "Steam Visibility: How Games Get Surfaced to Players," 2023, at 31, 33, available at: https://steamcdn-
               a.akamaihd.net/steamc~mmunity/pub~ic/images/steamw~rks-d~cs/english/Steamvisibi~ity1~2~23.pdf.

       139
               Steamworks, "Steam Visibility: How Games Get Surfaced to Players," 2023, at 32-33, available at: https://steamcdn-
               a~akamaihd~net/steamcommunity/public/images/steamworks-d~cs/eng~ish/~team Visibi~ity1~2~23~pdf.




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        preferences drive the visibility to make recommendations relevant."14°                                   For example, Steam

        Store’s New & Trending, Top Sellers, Popular Upcoming, and Specials tabs are all driven by

        algorithmic visibility. ~41



        3.3.4.         Valve’s commission system on Steam

(42)    Game publishers are required to sign Valve’s Steam Distribution Agreement ("SDA") and agree

        to pay a commission to Valve on all sales (both game and in-game) made by publishers through

        the Steam platform.14~ Historically, Valve has charged a base commission of 30%. 143 According




        140
                Steamworks, "Steam Visibility: How Games Get Surfaced to Players," 2023, at 33, available at: https://steamcdn-
                a~akamaihd~net/steamcommunity/pub~ic/images/steamworks-d~cs/eng~ish/~teamVisibi~ity1~2~23~pdf~
       141
                Steamworks, "Steam Visibility: How Games Get Surfaced to Players," 2023, at 23-29, available at: https://steamcdn-
                a~akamaihd~net/steamcommunity/pub~ic/images/steamw~rks-d~cs/eng~ish/steam Visibi~ity1~2~23~pdf~

       142
                See, for example:

                Valve,   SDA    Between          and                      6/13/2011            ANT 0042484-97      at   VALVE ANT
                VALVE ANT 0042489




                See also the preamble and section 6,1 of Valve’s agreement with                   Valve, SDA Between Valve and Capcom,
                3/1/2020 (VALVE_ANT_0020235-50, at VALVE_ANT_0020235, VALVE_ANT_0020240-41).

       143
               Scott Lynch, Del~. Tr., 10/12/2023, at 89:15-90:2, 141:15-18. ("Q. Did there come a time that Valve stopped~
                                    and instead switched to 70/30s?   A. I don’t think there was this stop. I mean, eventually, deals started
               being 70/30 predominantly.       Q. When did that start to occur? When did they become predominantly 70/30? A. That’s
               going way back. It could have been 2010 maybe, sometime in that timeframe. Q. And from that point forward, the deals
               were predominantly 70/30?        A. I think from that point going forward, a lot of deals were 70/30, yeah."; "Q. And the
               predominant revenue share for Steam is 30 percent; right? A. During 2018, yeah, the majority would be 30 percent.")

               Valve initially experimented with~ commission rates. These commission rates were set during a period
               when Valve exercised market power, and likely reflect Valve’s experimentation with finding the optimal monopoly price
               for its platform. See, for example:

                                                                 ANT 0019722-731 at VALVE ANT 0019724). ~



               Valve, SDA for                                 10/11/2005              ANT 0038381-392 at VALVE ANT




                                                          10/10/2005           ANT 0042738-749 at VALVE ANT 0042741




               Valve                                           11/14/2005             ANT                  at VALVE ANT 0019735




               Valve, SDA for                     12/2/2005           ANT                   at VALVE ANT




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        to Mr. Lynch, Valve’s commission charged to the majority of publishers was 30% for sales

        made through the Steam Store until 2018.1~


(43)    Valve initially set its commission rate to be consistent with brick-and-mortar retailers.14s This

        allowed it to generate high profits on Steam because, as I noted above, costs for digital sales

        are materially lower than for brick-and-mortar distribution.


(44)    In late 2018, Valve modified its commission system and implemented a tiered structure.~46

        For the first $10 million in total revenue for a particular game (starting from October 1, 2018),

       Valve charged a 30% commission. 1~7 For all game revenue greater than $10 million and less

       than $50 million, Valve’s commission dropped to 25%.~48                                          For all game revenue over $50




       144
                                  ~. Tr., 10/12/2023, at 89:15-90:2, 141:15-18. ("Q. Did there come a time that Valve stopped ~
                                   and instead switched to 70/30s? A. I don’t think there was this stop. I mean, eventually, deals started
                being 70/30 predominantly.       Q. When did that start to occur? When did they become predominantly 70/30? A. That’s
                going way back. It could have been 2010 maybe, sometime in that timeframe. Q. And from that point forward, the deals
                were predominantly 70/30?        A. I think from that point going forward, a lot of deals were 70/30, yeah."; "Q. And the
                predominant revenue share for Steam is 30 percent; right? A. During 2018, yeah, the majority would be 30 percent.")

                The   Verge,   "Valve’s   New    Steam     Revenue      Agreement      Gives   More   Money    to    Game   Developers,"   11/30/2018,
                https://www.theverge.com/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-new-rules-competition.

       t45
               A chairman of the gaming firm Paradox Interactive argues that the 30% "fee baseline" in the video game industry takes its
                roots from the "economics of the home video market in the 1970s[.]" See:

               Ars       Technica,          "Paradox           Exec:       Steam’s        30%         Fee       is      ’Outrageous,’"       7/I/2019,
                https://arstechnica.c~m/gaming/2~19/~7/parad~x~exec-steams-3~-percent-fee-is-~utrage~us/. (accessed 2/8/2024).

               Valve,    Emails    Regarding                            Distribution   Agreement,      4/13/2007      (VALVE_ANT_2788947-953,       at
               VALVE_ANT_2788948), available at Scott Lynch, Dep. Tr., 10/12/2023, Exhibit 133. ("70% of Steam revenues puts you in a
               better position unit-for-unit than you would receive selling at retail.")

       146     Steam,    "New     Revenue    Share Tiers and           Other Updates to        the   Steam   Distribution Agreement,"      11/30/2018,
               https://steamc~mmunity.c~m/gr~ups/steamw~rks/ann~uncements/detai~/169719126793~1~7838. ("Today, we updated
               the Steam Distribution Agreement with several important changes .... With that in mind, we’ve created new revenue share
               tiers for games that hit certain revenue levels. Starting from October 1, 2018 (i.e. revenues prior to that date are not
               included), when a game makes over $10 million on Steam, the revenue share for that application will adjust to 75%/25%
               on earnings beyond $10M. At $50 million, the revenue share wilt adjust to 80%/20% on earnings beyond $50M. Revenue
               includes game packages, DLC, in-game sales, and Community Marketplace game fees.")

       147
               Steam,   "New      Revenue    Share     Tiers   and     Other   Updates   to    the   Steam   Distribution   Agreement,"    11/30/2018,
               https://steamcom munity.com/groups/steamworks/announcements/detail/1697191267930157838.

               See also: Scott Lynch, Dep. Tr., 10/12/2023, at 97:13-19. ("Q. The new revenue share that Steam introduced is 70/30 unless
               you sell more than $10 million of games; right? A. That is correct. Not -- no, it’s not $10 million of games. It’s for games
               -- for a game that does in excess of 10 million, then the revenue share changes.")

       148
               Steam,   "New      Revenue    Share     Tiers   and     Other   Updates   to    the   Steam   Distribution   Agreement,"    11/30/2018,
               https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838.

               Scott Lynch, Dep. Tr., 10/12/2023, at 90:3-18. ("Q. And then in the fall of 2018, Valve introduced a new revenue sharing
               system? A. Yes. I think that was -- I think that was 2018. Q. And that system was for games that sold more than 10 million,
               they would receive a 25 percent revenue share -- A. Yes. Q. - 75/25? A. Yes. Q. And for games that sold more than 50
               million, there would be a 80/20 revenue share? A. Yeah. 80 percent to the developer, 20 percent to Valve, yes. Q. Is that
               still in place today? A. Yes.")




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       million, Valve reduced the commission to 20%.149                                Game revenue includes "game packages,

       DLC [(downloadable content)], in-game sales and Community Marketplace game fees."is°



       3.3.5.        Steam Keys

(45)   Valve also provides publishers with Steam Keys which are "single-use, unique, alphanumeric

       codes that customers can activate on Steam to add a product license to their account."1sl

       Steam Keys differ from games purchased directly on Steam, allowing publishers to sell their

       games "on other stores and at retail[.]"152                         Valve does not take a commission on game sales

       made with Steam Keys.~53                  When redeeming a Steam Key, users log in through their Steam

       account and add the game to their Steam Library, so subsequent in-game purchases are

       subject to Valve’s commission rate.~54




       149
               Steam,    "New    Revenue    Share    Tiers   and   Other    Updates    to     the    Steam   Distribution   Agreement,"    11/30/2018,
               https://steamc~mmunity.c~m/gr~ups/steamw~rks/ann~uncements/detai~/169719126793~157838.                             ("Revenue includes
               game packages, DLC, in-game sales, and Community Marketplace game fees.")

               The   Verge,   "Valve’s    New    Steam   Revenue    Agreement     Gives       More    Money    to   Game    Developers,"   11/30/2018,
               htt ps://www.t heverge.co m/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-new-rules-competition.

               Scott Lynch, Dep. Tr., 10/12/2023, at 90:3-18. ("Q. And then in the fall of 2018, Valve introduced a new revenue sharing
               system? A. Yes. I think that was -- I think that was 2018. Q. And that system was for games that sold more than 10 million,
               they would receive a 25 percent revenue share -- A. Yes. Q. - 75/257 A. Yes. Q. And for games that sold more than 50
               million, there would be a 80/20 revenue share? A. Yeah. 80 percent to the developer, 20 percent to Valve, yes. Q. Is that
               still in place today? A. Yes.")

       150
               Steam,   "New     Revenue    Share    Tiers   and   Other    Updates   to      the    Steam   Distribution   Agreement,"    11/30/2018,
               https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838.

       151
               Steamworks Website,        Steamworks     Documentation: Steam         Keys,    https://partner.steamgames.com/doc/features/keys
               (accessed 10/18/2023).

       152
               Steamworks Website, Steamworks Documentation: Steam Keys, https://partner.steamgames.com/doc/features/keys
               (accessed 10/18/2023).

       153
               Steamworks Website,        Steamworks     Documentation: Steam         Keys,    https://partner.steamgames.com/doc/features/keys
               (accessed 10/18/2023). ("Steam Keys are a free service we provide to developers as a convenient tool to help you sell your
               game on other stores and at retail, or provide for free for beta testers or press/influencers.")

       154
               Rebellion Website, What is a Steam Key and How Do I Download a Game?, https://support.rebellion.com/hc/en-
               gb/articles/4403980176913-What-is-a-Steam-key-and-how-do-l-download-a-game- (accessed 2/13/2023).

               Valve, Emails Regarding ~ Distribution, 8/10/2022-9/23/2022 (VALVE_ANT_0557762-791, at VALVE_ANT_0557776).
               ("Valve gets no royalties and charges no fees for Steam keys, full stop--but when a customer activates a Steam key, they
               own the game on Steam. Which means that if they go on to make in-game transactions, they’re just playing via Steam
               like any other user[.]")




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(46)    Valve limits the number of Steam Keys distributed to publishers.~s If a publisher requests a

        number of Steam Keys that Valve deems excessive, it may refuse to provide the Steam Keys

        to that publisher,ls6 Valve’s policies state that ~’[a] request will usually be rejected if there’s

        an imbalance that suggests the developer is not making an offer to Steam customers that is

        comparable to what Steam Key purchasers are offered."1s7


(47)    Providing a limited number of Steam Keys to publishers helps Valve protect its current market

        position. Since Steam Keys can be sold outside of Steam,ls8 they can be received by consumers

        who do not normally use Steam. Because Steam Keys can only be activated and used to play

        games on Steam,~s9 new customers are brought into Steam.                                 Thus, Steam Keys provide an




        15S
                Steamworks Website,      Steamworks Documentation:      Steam   Keys,   https://partner.steamgames.com/doc/features/keys
                (accessed 10/18/2023). ("FAQ[:] Q: How many Steam Keys can I get for my game? A: Games and applications launching
                on Steam may receive up to 5,000 Default Release Steam Keys to support retail activities and distribution on other stores.
                After that, all Steam Key requests are reviewed on a case-by-case basis .... Q: Why was my key request denied? A: When
                reviewing Steam Key requests, we typically look at the level of customer interest on Steam, the total number of keys that
                have been issued and activated for the game and the additional number that are being requested. A request will usually
                get rejected if there’s an imbalance that suggests the developer is not making an offer to Steam customers that is
                comparable to what Steam Key purchasers are offered.")

       156
                Steamworks Website,     Steamworks     Documentation: Steam     Keys,   https://partner.steamgames.com/doc/features/keys
                (accessed 10/18/2023). ("When reviewing Steam Key requests, some of the things we typically look at include the level of
               customer interest on Steam, the total number of keys that have been issued and activated for the game and the additional
                number that are being requested. A request will usually be rejected if there’s an imbalance that suggests the developer is
               not making an offer to Steam customers that is comparable to what Steam Key purchasers are offered.           For instance, a
               game with a few hundred units of lifetime sales requesting tens of thousands of keys, or more.")

       157     Steamworks Website,      Steamworks     Documentation: Steam     Keys,   https://partner.steamgames.com/doc/features/keys
               (accessed 10/18/2023). ("When reviewing Steam Key requests, some of the things we typically look at include the level of
               customer interest on Steam, the total number of keys that have been issued and activated for the game and the additional
               number that are being requested. A request will usually be rejected if there’s an imbalance that suggests the developer is
               not making an offer to Steam customers that is comparable to what Steam Key purchasers are offered.           For instance, a
               game with a few hundred units of lifetime sales requesting tens of thousands of keys, or more.")

       !58
               Steamworks, Steamworks Documentation: Steam Keys, https://partner.steamgames.com/doc/features/keys (accessed
               10/18/2023).   ("Steam Keys are single-use, unique, alphanumeric codes that customers can activate on Steam to add a
               product license to their account. Steam Keys are a free service we provide to developers as a convenient tool to help you
               sell your game on other stores and at retail[.]")

               Alden Kroll, Dep. Tr., 11/16/2023, at 151:18-152:1. ("Q. I’m not sure we’ve talked about this yet, but what are Steam Keys?
               A. Steam Keys are codes that developers can request that they can distribute outside of Steam, whether they sell them or
               give them as review copies or give them as test copies, etcetera, to user - players that then activate those codes on Steam
               to add that game to their Steam library and download that through Steam and play it through Steam.")

               Kristian Miller, Dep. Tr., 10/3/2023, at 59:18-25. ("Q. Is one of Valve’s business objectives in distributing Steam Keys that
               Valve will reach customers, buyers of games, who are not on Steam? A. I can’t speak to Valve’s goal of -- at large, but it’s
               really a publisher ask that the publisher wants to reach customers who aren’t necessarily on Steam.")

       159
               Steamworks, Steamworks Documentation: Steam Keys, https://partner.steamgames.com/doc/features/keys (accessed
               10/18/2023).   ("Steam Keys are single-use, unique, alphanumeric codes that customers can activate on Steam to add a
               product license to their account. Steam Keys are a free service we provide to developers as a convenient tool to help you
               sell your game on other stores and at retail[.]")




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 opportunity for Valve to monetize game sales even when the original sale of the game occurs

 on other platforms or digital stores.




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        4.          Relevant Market Definition and Monopoly Power

(48)    I understand that one of the elements that the putative class plaintiffs need to establish is

        that Valve has market power in the relevant market.                                 In this section, I apply economic

        principles to determine the product and geographic dimensions of the relevant product

       market.       I conclude that the relevant product market in this matter is the market for third-

       party digital PC game distribution via platforms and the relevant geographic market is

       worldwide. I then demonstrate that Valve has market power in the relevant market.




       4.1.         Defining the relevant market

       4.1.1.       Implementing the HMT/SSNIP and Brown Shoe factors

(49)   In economics, a market is an environment in which buyers and sellers interact for the purpose

       of buying and selling goods and/or services and in which the terms and conditions of trade

       are established, including the price at which the exchange will take place.16°                                     Firms often

       compete in many markets; however, which of those markets is relevant to the issues being

       considered and constitutes a relevant antitrust market is a subject for analysis ("relevant

       market"). A relevant market "is composed of products that have reasonable interchangeability

       for the purposes for which they are produced--price, use and qualities considered.’’161                                        Put

       differently, a relevant market includes the set of products to which consumers can turn as

       reasonable economic substitutes when the relative prices of goods change.


(50)   Defining a relevant market involves analyzing two components: (a) the product dimension and

       (b) the geographic dimension.162 As noted herein, the product dimension includes products

       that are reasonable substitutes for one another within the market and are related to the

       plaintiffs’ claims,m3         Products are economic substitutes if an increase in the price of one




       160     Stigler, George J. and Robert A. Sherwin (1985), "The Extent of the Market," Journal of Legal Studies 28(3): 555-585 at 555.

       161     United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 404 (1956).

               ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 225.

       162
               U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines," 12/18/2023, § 4.3, available at:
               https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-NEW-MERGER-GUIDELINES.pdf.

               For purposes of this report, I adopt the usual convention of referring to these as the product market and the geographic
               market.

       163
               FTC v. Qualcomm Inc., No. 5:17-cv-00220-LHK, Proposed Findings of Fact, at 11¶ 71-72 (N.D. Cal. 2019). ("The starting place
               for defining a relevant market is a reference product-- a product or a set of products that is offered by the firm that




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        product, Product B, increases quantity demanded for the other product, Product A.164                                            The

        percentage change in quantity demanded of Product A for a given percentage change in the

        price of Product B is the cross-price elasticity of demand--a metric used to determine the level

        of substitutability between two products. 16s The relevant geographic market includes all the

        geographic areas to which consumers can reasonably turn for the product at issue.~66 While

        a particular good or service might be available in a wide geographic area, the geographic

        market that is relevant to an antitrust inquiry only encompasses the areas to which customers

        might reasonably turn to acquire those goods or services if prices change.


(51)    The goal of a market definition analysis is to define the set of products and geographies within

        which competition occurs for the products at issue. 167 One approach to market definition is

        to analyze the seven "Brown Shoe factors," associated with the Supreme Court’s 1962 decision

        in Brown Shoe Co. v. United States. ~68 There, the court laid out seven "practical indicia" that




                engaged in the anticompetitive conduct. The selection of the candidate market does not, however, change the test or
                pre-determine the outcome.")

                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 224-5.        ("To
                determine whether monopoly power exists, it is necessary to define the relevant market in which the power over price or
                competition is to be appraised .... The boundaries of a relevant product market are determined principally by the
                reasonable interchangeability of use of the produces; products that are reasonably interchangeable in use generally
                compete with each other and are thus part of the same market.")

                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
                611-12, 612. CA proper definition of the product dimension of a market should include all those products that are closed
                demand or supply substitutes.")
       164      Pindyck, Robert S. and Daniel L Rubinfeld (2001), Microeconomics, 5th ed., Upper Saddle River, NJ: Prentice-Hal!, Inc., at
               22. ("Changes in the price of related goods also affect demand. Goods are substitutes when an increase in the price of
               one leads to an increase in the quantity demanded of the other.")

       165
               Just because a very large price increase in one product creates a small increase in demand for the other product does not
               necessarily mean that the two products are in the same market. Products that are not sufficiently comparable are, thus,
               not included in the relevant market, either due to product attributes, perceptions, or geography.

               See:

               U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines," 12/18/2023, § 4.4, available at:
               https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-NEW-MERGER-GUIDELINES.pdf.             ("iT]he competitive significance
               of the parties may be understated by their share when calculated on a market that is broader than needed to satisfy the
               considerations above, particularly when the market includes products that are more distant substitutes, either in the
               product or geographic dimension, for those produced by the parties.")

       166
               ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 226. ("The relevant
               geographic market comprises all physical territories in which actual or potential producers are located and to which
               customers can reasonably turn for sources of supply.")

       167     Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
               611-12, 612.   CA market definition specifies the competing products and geographic area in which competition occurs
               that determines the price for a given product.")

       168
               Brown Shoe Company v. United States, 370 U.S. 294 (1962), at 325.        ("The outer boundaries of a product market are
               determined by the reasonable interchangeability of use or the cross-elasticity of demand between the product itself and




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        may be instructive, but not necessary, for defining what is referred to as a "submarket," but

        is understood as and synonymous with a "market"169: (i) industry recognition of a submarket;

        (ii) the product’s peculiar characteristics and uses; (iii) unique production facilities; (iv)

        distinct customers;            (v) distinct prices;          (vi) sensitivity to price changes;                  (vii) specialized

       vendors.17°          In practice, the Brown Shoe indicia are often useful as "evidentiar~l proxies for

        direct prool~ofsubstitutabilitq."171             In that sense, a Brown Shoe analysis allows the fact finder

       to determine the substitutability between products without explicitly calculating a cross-price

       elasticity.


(52)   One common analytical tool that is used to define relevant markets in merger analysis is the

       Department of Justice’s and Federal Trade Commission’s Hypothetical Monopolist Test

       ("HMT"). The HMT considers a small but significant non-transitory increase in price ("SSNIP")

       of the product at issue and defines the relevant market as that in which a hypothetical

       monopolist           could   profitably      impose       a    SSNIP.172         The     SSNIP      test    captures       economic




                substitutes for it. However, within this broad market, well defined submarkets may exist which, in themselves, constitute
                product markets for antitrust purposes. United States v. E.I. du Pont de Nemours & Co., 353 U. S. 586, 353 U. S. 593-595.
               The boundaries of such a submarket may be determined by examining such practical indicia as industry or public
                recognition of the submarket as a separate economic entity, the product’s peculiar characteristics and uses, unique
               production facilities, distinct customers, distinct prices, sensitivity to price changes, and specialized vendors.")

       169
               It is generally understood that the use of the term "submarket" in Brown Shoe is synonymous with "market." See, for
               example:

               Francis, Daniel and Cristopher Jon Sprigman (2023), Antitrust: Principles, Coses, and Materiels, American Bar Association,
               Antitrust Law Section, at 80. ("In the following extract, and in some other cases, the Court uses the term ’submarket.’ Do
               not be led astray by this confusing term, which crops up from time to time but could probably be banned without doing
               any harm (and, thus, probably should be banned in the interests of clarity). It is best understood to simply mean ’market.’")

       170
               Brown Shoe Compony v. United States, 370 U.S. 294 (1962), at 325.           ("The outer boundaries of a product market are
               determined by the reasonable interchangeability of use or the cross-elasticity of demand between the product itself and
               substitutes for it. However, within this broad market, well defined submarkets may exist which, in themselves, constitute
               product markets for antitrust purposes. United States v. El. du Pont de Nemours & Co., 353 U. S. 586, 353 U. S. 593-595.
               The boundaries of such a submarket may be determined by examining such practical indicia as industry or public
               recognition of the submarket as a separate economic entity, the product’s peculiar characteristics and uses, unique
               production facilities, distinct customers, distinct prices, sensitivity to price changes, and specialized vendors.")

               See, also:

               FTC v. Swedish Match, 131 F. Supp. 2d 151 (D.D.C. 2000), at 159. ("The Court in Brown Shoe provided a series of factors or
               ’practical indicia’ for determining whether a submarket exists including ’industry or public recognition of the submarket as
               a separate economic entity, the product’s peculiar characteristics and uses, unique production facilities, distinct customers,
               distinct prices, sensitivity to price changes, and specialized vendors.’ 370 U.S. at 325, 82 S. Ct. 1502. As ’practical indicia,’
               these factors are not necessarily criteria to be rigidly applied.")

               Francis, Daniel and Cristopher Jon Sprigman (2023), Antitrust: Principles, Cases, and Materials, American Bar Association,
               Antitrust Law Section, at 98. ("Since the Court described these factors as ’practical indicia’ rather than requirements,
               subsequent cases have found that submarkets can exist even if only some of these factors are present[.]")

       171
               RotheryStorage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, at 218 & n.4, 219 (D.C. Cir. 1986) (emphasis added).

       172
               U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines," 12/18/2023, § 4.3 available at:
               https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-NEW-MERGER-GUIDELINES.pdf.




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        considerations of substitutability by considering potential substitution among competing

        products following the small, non-transitory change in price. The Merger Guidelines suggest

        the consecutive application of the HMT to define the relevant product market and then again

        to define the relevant geographic market. 173


(53)    The HMT/SSNIP test is difficult to implement quantitatively, in general.                                I do not conduct a

        quantitative SSNIP test in connection with my analysis of the relevant market; instead, I draw

       upon the concept of reasonably substitutable products underlying the SSNIP test and that is

        at the heart of the relevant market analysis, as set forth in Brown Shoe.                                    In defining the

        relevant market in this matter, I focus on the fundamental question in market definition

       analysis: what is the set of products to which customers can and do readily turn as reasonable

       substitutes for the product at issue?                       In other words, "[a]lthough courts and antitrust

       enforcement agencies consider a range of factors, the single most important consideration in

       antitrust relevant market definition is the consumer’s ability and propensity to substitute one

       product for another."174


(54)   In a case where economists can observe changes in relative prices between two (potentially

       substitutable) products, observing consumer behavior, specifically changes over time in

       purchasing behavior, can provide insights into the extent to which those two products are

       substitutable and, sometimes, the strength of that substitution relationship.


(55)   One     economically         reasonable        approach        to   determining       substitutability        is   to   examine

       consumer substitution at the borders of a candidate market and to analyze how entry by

       various types of potential competitors into that market affects the performance (and behavior)

       of an incumbent. 175           This entry can function as a "natural experiment" that may identify

       purchasing patterns between candidate goods.~76 If an incumbent firm is impacted by a new

       entrant, or reacts to that entity’s entrance, this is evidence that the two firms may compete in




       173
               U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines," 12/18/2023, § 4.3 available at:
               https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-NEW-MERGER-GUIDELINES.pdf.

       174
               Newberg, Joshua A. (2000), "Antitrust for the Economy of Ideas: The Logic of Technology Markets," HarvardJournol of Law
               & Technology 14(1): 83-137, at 90-91.

       175
               See, for example:

               FTC v. Whole Foods Mkt, Inc., 548 F.3rd 1028 (D.C. Cir. 2008).

       176
               Coate, Malcolm B. (2013), "The Use of Natural Experiments in Merger Analysis," Journal of Antitrust Enforcement ! (2): 437-
               467, at 447-449.




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        the same market.177 This would be a necessary condition for two firms to compete in the same

        market, but it is not a sufficient condition.


(56}    Theoretical and empirical findings in economics suggest that incumbent firms also respond

        to even the belief that a rival firm or product may enter their market when they perceive that

        the threat of entry is a credible threat.17~                    For example, economists have shown that when

        incumbent airline companies believe a lower-cost option may provide future service on a route

        they travel, these incumbents routinely lower their prices for trips on those routes in

        response. 179


(57)    Steam is a two-sided platform, and these market definition tools must be applied to both sides

        of the platform to properly determine the relevant market.l~° Historically, Valve has charged




        177
                Coate, Malcolm B. (2013), "The Use of Natural Experiments in Merger Analysis," Journal of Antitrust Enforcement 1 (2): 437-
                467, at 447. ("The core study identified an impact for the entry of another premium, natural, organic, supermarket (PNOS)
                on the margins of the incumbent PNOS competitor, while showing the entry of normal supermarkets did not affect PNOS
                margins. The plaintiff interpreted this data as substantiating both the narrow market definition and the competitive
                concern stemming from the merger[.]")

       178
                See, for example:

                Salop, Steven C. (1979), "Strategic Entry Deterrence," The American Economic Review 69(2): 335-338, at 335. C[A] strategic
                entry barrier is purposely erected to reduce the possibility of entry.")

                Goolsbee, Austan and Chad Syverson (2008), "How Do Incumbents Respond to the Threat of Entry? Evidence from the
                Major Airlines," Quarterly Journal of Economics 123(4): 1611-1633.

                Tenn, Steven and Brett W. Wendling (2014), "Entry Threats and Pricing in the Generic Drug Industry," The Review of
                Economics and Statistics 96(2): 214-228.
       179
                Goolsbee, Austan and Chad Syverson (2008), "How Do Incumbents Respond to the Threat of Entry?             Evidence from the
                Major Airlines," Quarterly Journal of Economics 123(4): 1611-1633, at 1611. ("We find that incumbents cut fares significantly
               when threatened by Southwest’s entry. Over half of Southwest’s total impact on incumbent fares occurs before Southwest
               starts flying. These cuts are only on threatened routes, not those out of non-Southwest competing airports.")

               This effect has also been shown in the pharmaceutical industry and, in some instances, in the cable TV industry. See:

               Tenn, Steven and Brett W. Wendling (2014), "Entry Threats and Pricing in the Generic Drug Industry," The Review of
               Economics and Statistics 96(2): 214-228, at 214. ("In smaller drug markets, we find that price falls in response to an increase
               in potential competition.")

               Seamans, Robert C. (2012), "Threat of Entry, Asymmetric Information, and Pricing," Strategic Management Journal 34: 426-
               444 at 426. CI then study pricing in the U.S. cable TV industry to show that pricing patterns of incumbent cable TV systems
               are consistent with limit pricing when the relationship between the incumbent and potential entrant is characterized by
               asymmetric information.")

       180
               Evans, David S. (2003), "The Antitrust Economics of Two-Sided Markets," Yole Journal on Regulation 20(2): 1-89, at 63. ("In
               the case of mergers, the U.S. Department of Justice and Federal Trade Commission have developed techniques for
               determining whether a firm is in the market. They start with the firm(s) under consideration and add competitors to the
               market. The market boundary results (in a geographic or product dimension) when the collection of firms could, acting as
               a monopolist, raise price by a small but significant non-transitory amount (often taken to be 5-10 percent). If the collection
               of firms could do so, then presumably the firms ’outside of the market’ do not constrain the firms ’inside the market’ much.
               For two-sided markets, this analysis must pay attention to both sides. It should consider firms that currently supply both
               sets of customers.")




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        and collected Steam fees on purchases of games and other game content by taking a

        commission of sales from the publisher side of the market.                        In considering the principles

        underlying a proper market definition analysis, I assume that this pricing structure that Valve

        implements in the actual world would not change given a change in the level of Steam’s prices.

        That is, Steam would not add any new fee types and would only change its existing

        commission fee if it is imposing a price increase. It would not charge a fee to game purchaser

        users.



        4.1.2.      Reference product and candidate market

(58)    Based on my expertise as an economist, my experience, and the facts of the case, my candidate

        market is the market for third-party digital PC game distribution via platforms, where the two

        sides of the platform are (a) game publishers, on the one hand, and (b) game players, on the

        other. From the point of view of publishers, the product at issue is access to the platform. By

       buying access to the platform through an agreement to pay a commission to Steam for all

       transactions, developers are able to offer games to the user/gamer side of the platform.                    For

       users/gamers, the product they seek to acquire is games (and various in-game features).

       These platforms host both the publishers and gamers on the platform, connecting the two

       sides and facilitating transactions between them and gameplay. I recognize that some courts

       have described similarly structured platforms as "transaction" platforms or "transaction"

       markets, where the product at issue to both sides is a "transaction."181 Whether the product

       at issue is framed as a "transaction" or, alternatively, as access to the platform (publishers)

       and the purchase of a game (game players), the analysis is the same.                      Regardless, there are

       two sides to the market, married by a simultaneous purchase and sale of a good (a game).


(59)   A "third-party digital PC game distribution platform" is a platform that allows PC game

       publishers--specifically publishers other than the platform operator--to digitally distribute

       and sell games. A third-party digita! PC game distribution platform on which users can also

       play the game allows for continuous interaction between player and publisher, including

       during gameplay.            Examples of third-party digital PC game distribution platforms include

       Steam, EGS, and GOG Galaxy. See Table 1.




               Ohio v. Am. Expre~s Co.,138 S. Ct. 2274, 2280 (U.S. Supreme Court 2018).




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                                 Table 1: Third-Party Digital PC Game Distribution Platforms182



                                      Platform                                       Publishers                       Launch Year


                                                                       Valve and other publishers (2005-
                                       Steam                                                                              2003
                                                                                      present)

                                        EGS                                 Epic and other publishers                     2018

                                    GOG Galaxy                          CD Projekt and other publishers                   2014

                                                                         EA and other publishers (2011-
                              EA App (f/k/a Origin)                                                                       2011
                                                                                        2022)

                                                                          Ubisoft and other publishers
                       Ubisoft Connect (f/k/a Uplay)                                                                      2009
                                                                                 (2013-c. 2024)IB3

                  Microsoft Store (f/k/a Windows Store)                  Microsoft and other publishers                   2012


                                       Itch.io                                   Other publishers                         2013


                                                                          Discord and other publishers
                                    Discord Store                                                                         2018
                                                                                    (2018-2019)


(60)   Valve considers these third-party digital PC game distribution platforms to be Steam’s

       competitors. 1B4 For example, a Valve email discussing the launch of EGS states: "The entrance




       182
               See Attachment B-1.

       183
               I understand that as of the date of this report, Ubisoft no longer offers third-party games on Ubisoft Connect.          In 2023,
               the Ubisoft Store only had~ of third-pa~ty sales in the U.S. across both PC and console. See:

               Ubisoft, Sales Data, c. 2023 (HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY Valve Subpoena data 29Nov23.xlsx,, at tab
               ’QI B’). See also:

               Rietveld Report, 2/8/2024, §VII.B.i.

       184
               For additional examples, see:

               Valve, Emails Regarding § SDA, 7/23/2019-4/27/2020 (VALVE_ANT_2814301-311, at VALVE_ANT_2814309),
               available at Kassidy Gerber, Dep. Tr., I0/S/2023, Exhibit 102. (When discussing the "material parity" requirement of Valve’s
               SDA, Valve made it clear that it is only concerned with the PC version of games on Steam relative to those offered on
               competing PC platforms, stating that "If a game on Steam is going to be materially different from the game on other PC
               platforms, we’d rather just not have the game on Steam in the first place[.]")

               Erik Johnson                      testified that


                                                                                Mr. Johnson further testified that i : a game was offered on EGS
               but not on Steam some customers would              o to EGS to           ame.    Further   set of 2019 internal emails also show
               that Valve                                                                                                                  See:




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 of a strong competitor to the market absolutely has our attention."~Ss As another example, a

 Valve statement discussing the PC gaming "landscape" states that the ~



 Similarly, in an internal email chain discussing points for the 2020 GDC, Valve considered

 EGS a competitor.187 Valve deposition testimony also demonstrates that Valve competes with

 third-party digital PC game distribution platforms.                             For example, Valve employees Jason

 Ruymen, Erik Johnson, and DJ Powers testified that EGS and/or Discord are competitors to

 Steam. 188




         Erik Johnson             9/26/2023, at 203:22-205:1(     214:24-216:10.


                                                          ¯ Q. So your understanding of Epic exclusivity was not that the game would
         be exclusive to the Epic Games Store but that it would not be on the Steam Store; is that correct? A. Functionally, that’s
         what ended up happening .... "; "Q. So if a product was available on Epic Games Store but was not available on Steam,
         would you anticipate that a customer would go get it from the Epic Games Store? A. Some would, some wouldn’t .... ")

        Valve, Emails Regarding Upcoming Games, 1/28/2019-2/6/2019               VALVE ANT 2712829-31        at VALVE ANT 2712830
                                         Tr., 9/26/2023 Exhibit 23.



        Valve, Emails Regarding Game Giveaway, 11/6/2017-11/29/2017              VALVE ANT 0189171-73        at VALVE ANT
                                       De    Tr., 11/8/2023 Exhibit 265.




185
        Valve, Email Regarding Valve’s Statement On Epic’s Entry, 1/28/2019 (VALVE_ANT_0405724-26, at VALVE ANT 0405726).

186
        Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442-44, at VALVE_ANT_1221442)¯

187
        Valve, Emails Regarding 2020 Steam Business, 1/31/2020-3/2/2020 (VALVE_ANT_2417069-73, at VALVE_ANT_2417071-
        72), available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 49.

188
        Jason Ruymen, Dep. Tr., 9/19/2023, at 143:2-7. ("Q. Epic also has the Epic Games Store; is that accurate? A. Yes. Q. And
        does the Epic Games Store compete with Steam store? A. Yes.")

        Erik Johnson, Dep. Tr., 9/26/2023, at 248:13-18. ("Q. So it looks like there was a lot of questions about Discord’s -- and
        their announcement of a game store and how that would potentially impact Steam. Is that fair? A. I would just frame this
        as a conversation about a competitor.")

        See also: Erik Johnson, Dep. Tr., 9/26/2023, at 244:11-13, 246:1-24.           ("Q. So you met with ~ prior to their
        announcement of about a launch of its own game store? A. Yes."; "Q. They were meeting with you to talk with you about
        their future plans to open up a competing game store? A. I think so, yeah .... ")

        See also: Valve, Emails Regarding Discord Store, 8/9/2018 (VALVE_ANT_0060458-62), available at Erik Johnson, Dep. Tr.,
        9/26/2023, Exhibit 27.

        Valve, Email Regarding Epic, 1/25/2019 (VALVE_ANT_2417190-93, at VALVE_ANT_2417190), available at DJ Powers, Dep.
        Tr., 9/28/2023, Exhibit 47.

        DJ Powers, Dep. Tr., 9/28/2023, at 142:19-143:17. ("Q. And this email is notes or thoughts on those meetings, and your
        thoughts on sort of the issues that you guys discussed; is that fair? A. Yeah. It’s a -- partly a recap of conversations we had,
        and it’s partly -- it’s partly getting down in one place our thoughts about a new competitor entering the market. Q. Oh,
        and the new competitor entering the market is Epic? A. ¥eah. And Discord. Q. And with Epic we’re talking specifically about
        the Epic Game Store -- A. Yeah .... ")




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(61)    Popular publications also acknowledge that third-party digital PC game distribution platforms

        compete with Steam in this market.                          For example, a 2011 CNET article claims that EA is

        "tak[ing] aim at Steam" with the launch of Origin, and that Origin "is EA’s answer to Steam[.] 189

        In 2018, a Morgan Stanley analyst report stated that Epic’s launch of EGS would undercut

        "Steam’s headline take rate by more than half (12% vs. 30%).                                              We see these signs of

        competition as bullish for content owners vs. game distribution platforms[.]"~9° In addition, a

        2018 Verge article discussing the launch of the Discord platform states: "Discord... is now

        using its       pervasiveness             in the     PC    ecosystem to           start competing with Valve’s               Steam

        marketplace, which is far and away the largest PC game distribution platform."1~                                            A 2021

        Verge article discusses both Microsoft’s and Epic’s attempts to compete with Steam using a

        reduced commission rate to entice developers to the respective platforms.l~2


(62)    In my analysis, I also consider whether including third-party distribution of digital PC games

        through non-gameplay platforms should be a part of the relevant market.                                             This includes

        distribution through online retail stores (e.g., BestBuy.com, Target.com) and sales platforms

        {e.g., Humble Store). Examples of digital platforms without gameplay include:


                  Humble Bundle: Launched in 2010, Humble Bundle is a digital platform that sells PC
                  games and digital content.l~3 Humble is a publisher and sells other publishers’ games
                  either      individually         or      through     Bundles,       which       often    rely    on   game    keys   that
                  participating publishers get from such a platform as Steam.~4




       189
               CNET, "EA Launches Origin, Takes Aim at Steam," 6/3/201 I, https://www.cnet.com/tech/gaming/ea-launches-origin-takes-
               aim-at-steam/.
       190
               Morgan       Stanley,   "Shutoff   Valve?   What   Epic’s   Game   Store   Signals,"   12/4/2018   (VALVE_ANT_0059565-570,   at
               VALVE_ANT_005956S).

               See, also:

               Forbes, "’Fortnite’ Developer Epic Is Launching a Huge Steam Competitor With A Better Cut for Devs," 12/4/2018,
               https://www.forbes.com/sites/insertcoin/2018/12/04/fortnite-developer-epic-is-launching-a-huge-steam-com petitor-
               with-a-better-cut-for-devs/. ("Epic has announced the Epic Store, a direct competitor to Steam that undercuts the rate
               Valve’s service gives to developers.")

       191
               The Verge, "Discord’s Game Store Launches Globally Today With Indie Gems Like Hollow Knight and Dead Cells,"
               10/16/2018,                https://www.theverge.com/2018/10/16/17980810/discord-digital-game-distribution-store-steam-
               competitor-nitro-subscription-service.

       192
               The Verge, "Microsoft Shakes Up PC Gaming by Reducing Windows Store Cut to Just 12 Percent," 4/29/2021,
               https://www.theverge.c~m/2~21/4/29/22 4~9285/Micr~s~ft-st~re-cut-wind~ws-pc-games-12-percent.

       193
               Humble Bundle, What is Humble Bundle, https://www.humblebundle.com/about (accessed 12/17/2023).

               While the platform itself was launched in 2010, Humble Bundle as a company was incorporated in 2011. See:

               Jeffrey Rosen, Dep. Tr., 11/17/2023, at 43:12-17. ("Q. Okay. You said that Humble Bundle Incorporated, was organized in
               2011; is that correct? A. Correct. Q. Okay. And were you a cofounder of Humble Bundle, Incorporated? A. Correct.")

       194
               Humble Bundle, What is Humble Bundle, https://www.humblebundle.com/about (accessed 12/17/2023).




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                  Green Man Gaming {"GMG"): Launched in 2010, GMG is digital platform that sells PC
                  game keys that can be redeemed on platforms like Steam.19s                                 GMG offers publishing
                  and distribution services. ~%

                  WinGameStore: Launched in 2014, WinGameStore is a digital platform that distributes
                  "digital download games for Windows and Linux."~7                               The platform is an authorized
                  digital retailer of "officially licensed games direct from over 1000+ different publishers"
                  and sells games in over 240 countries. 198

                  GamersGate: Launched in 2004, GamersGate is a digital platform that is an "officially
                  licensed store,"!~9 selling "official keys."2°° GamersGate claims that it has "teamed up
                  with many publishers from around the world" and has a focus on offering games as
                  cheaply as possible.~°~


(63)   These platforms differ from Steam in that they are sales platforms; users cannot play games

       on the platform.            These sales platforms rely on game-play platforms, in that they sell game

       keys (e.g., Steam Keys) to games that consumers then redeem on those other platforms (e.g.,

       Steam).~°~ As such, while they facilitate the transaction between a publisher and a consumer,

       only the purchase is facilitated. All other interactions and transactions between the two sides

       of the platform occur on game-play platforms. Arguably, these sales platforms should not be

       included within the relevant market.                       However, in order to be conservative, I include these




       195
               Green Man Gaming Website, We’re Green Man Gaming, https://www.greenmangaming.com/who-we-are/ (accessed
               9/18/2023).

               Games     Beat,     "Green     Man      Gaming’s    New    Program    Simplifies   the    Publishing   Process,"     1/24/2020,
               https://venturebeat.c~m/games/green-man-gamings-new-pr~gram-simp~ifies-the-pub~ishing~pr~cess/~               ("[GMG] works
               with companies like Steam, Uplay, Origin, and the Epic Games Store to sell game keys that customers then redeem on
               those respective platforms.")

       196
               Venture Beat, "Steam Competitor Green Man Gaming Launches Its Own Publishing Arm, Green Man Loaded," 9/30/2014,
               https://venturebeat.com/games/green-man-loaded/.

               Green Man Gaming Website, Publishing, https://corporate.greenmangaming.com/publishing/(accessed 6/13/2023).

       197
               WinGameStore, About WinGameStore, https://www.wingamestore.com/information/About/(accessed 11/13/2023).

       198
               WinGameStore, About WinGameStore, https://www.wingamestore.com/information/About/(accessed 1 I/I 3/2023).

       199
               GamersGate     Website,      Help    Center,   https://www.gamersgate.com/support/general/is-gamersgate-legit/       (accessed
               1/30/2024).

       200
               GamersGate Website, About Us, https://www.gamersgate.com/about-us/(accessed 1/30/2024).

       207
               GamersGate Website, About Us, https://www.gamersgate.com/about-us/(accessed 1/30/2024).

       202
               See, for example:

               Humble Bundle, What is Humble Bundle, https://www.humblebundle.com/about/                (accessed 12/17/2023).    ("When you
               purchase something on Humble Bundle, you’ll get a key to redeem on Steam, Ubisoft Connect Desktop App, GOG, or
               another platform.")

               Green Man Gaming, About Us, https://www.greenmangaming.com/who-we-are/ (accessed                       1/25/2024).     ("When
               purchasing with us you’ll instantly get your key for games that have already been released.")




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        platforms in the relevant market--including additional entities in the relevant market only

        serves to understate, rather than overstate, Valve’s market share and market power.



        4.1.3.         Considerations of potentially substitutable products in the relevant
                       market

(64)   The candidate market is the market for third-party digital PC game distribution via platforms,

       where the two sides of the transaction are game publishers and game players who transact

       through the platform. Thus, potential substitutable options for publishers and gamers must

       also allow for the facilitation of these transactions between PC game publishers and PC

       gamers.


(65)   In making distribution choices, publishers will consider a variety of factors, in addition to the

       ability of garners to be able to access and play the game. These include, for example, the size

       of the user base, the availability of other services from the platform operator, including game

       development tools, marketing support, and the like. For example, Valve provides a large global

       user base through the Steam platform, but also provides developer access to Steamworks

       tools and services. Valve highlights the importance of these characteristics.                                        For example, a

       2015 Valve presentation states that Steam is used by "[a]ll major game developers and

       publishers" and provides developers with "[a] suite of game development tools" and access to

       a "robust community" where developers can connect with customers.2°3 Additionally, emails

       between Valve employees highlight Steam’s user base stating, "Valve operates Steam, which

       is the dominant PC gaming platform in the industry" with "65 million monthly unique visitors

       on average" and "14 million peak concurrent users on any given day[.]"2°4 The Steamworks




       203
               Valve, Valve Overview, c. 2015 (VALVE_ANT_0711725.pptx, at slides 3-4, I0).

       204
               Valve, Valve Quick Facts, 11/29/2018 (VALVE_ANT_1747293).

               Other internal Valve emails and documents discuss the importance of Steam’s user base, see, for example:

               Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE_ANT_0019400-02, at VALVE_ANT_0019401), available at Scott
               Lynch, Dep. Tr., 10/13/2023, Exhibit 156. ("Success can happen for anyone on Steam, from Triple-A to the tiniest Indie[.]
               The global reach of Steam is huge and still growing, for all tastes[.] Developers from everywhere and anywhere [distribute
               games on Steam.]")

               Valve,    Emails    Regarding     Concepts     for   Indie    Talks,   212512020-311012020        (VALVE_ANT_0813962-65,         at
               VALVE_ANT_0813964).         (Listing points worth highlighting to indie developers, which include: "despite all the talk of
               ’indieapocalypse,’ more and more games (and many nobody has ever head of in the press) are finding sustainable success
               on Steam" and "the ever increasing global reach of Steam means you might find an audience you’d never thought of
               specifically catering to[.]")

               Valve                and Steam," undated (VALVE_ANT_2971871 .pptx, at slides 3-4). ("Size of Channel[:] Steam sales account
               for             total sales (retail + online). Generally bigger than any individual retailer[.] ... Steam’s install base represents
               a significant % of game buyers. Steam exposure and marketing drives both online and retail.")




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       webpage currently advertises that developers distributing on Steam can reach Steam’s

        growing global audience, boost their marketing power by "[t]ak[ing] advantage of Steam’s 1

        trillion impressions a day[,]" manage their game’s business, and enhance player experience.2°s


(66)    Similarly, other third-party digital PC game distribution platforms advertise and offer such

       developer benefits.                  For example, Epic and GOG webpages advertise the tools and services

       that they provide developers for game development and distribution. 206 For example, an Epic

       webpage advertises that EGS allows developers to "Jr]each a [g]lobal [a]udience" by providing

       "[d]irect distribution to over 230 million Epic users across 187 countries with 16 languages

       supported."2°7             Non-gameplay platform distributors also promote their user base to entice

       publishers.2°B


(67)   When considering their game distribution options, publishers may consider distributing

       games through, for example, third-party physical PC game distribution, such as through

       brick-and-mortar stores; first-party digital PC game distribution, in which the publishers

       distribute the games themselves; or non-PC game distribution, in which games are written to

       be played on devices such as consoles or smartphones. For a game publisher, value is realized




               Valve, ’~ and Steam," undated (VALVE_ANT_2971872.pptx, at slides 3-4).

               Valve, ’~ and Steam," undated (VALVE_ANT_2971873.pptx, at slides 3-4).

       205
               Steamworks Website, Home Page, https://partner.steamgames.com/(accessed 10/26/2023).

       206
               Epic Games Website, Epic Games Store Offers App, Software and Game Distribution, https://store.epicgames.com/en-
               US/distribution (accessed 10/30/2023).           ("’Epic offers an ecosystem of tools, services, and communities to help anyone
               create, power, and distribute software. With a single Epic Games account, anyone can create with Unreal Engine, enhance
               with Epic Online Services and Kids Web Services, and distribute PC games on the Epic Games Store.[’]")

               Epic Games Website, Online Services, https://dev.epicgames.com/en-US/services (accessed 2/7/2024).                     ("Epic Online
               Services is an open and modular set of online services for game development. Continuously evolving to serve all games
               and their players, today it gives creators freedom to distribute their games across all platforms, and their players access to
               all friends.")

               GOG.com,         "Benefits    of   Releasing   Your   Game   on   GOG   -   A   Guide   for   Indie   Game   Developers,"   6/7/2023,
               https://www~~og~com/b~og/benefits-~f-re~easing-your-game-on-gog-a-guide-for-indie-game-deve~opers/~                          CGOG’s
               commitment to providing efficient, developer-friendly solutions ensures that your experience on our platform is smooth,
               rewarding, and optimized for success.             Using our intuitive tools allows you to create a dedicated GOG build fast,
               streamlining the release process.")

       207
               Epic Games Website, Epic Games Store Offers App, Software and Game Distribution, https://store.epicgames.com/en-
               US/distribution (accessed 10/30/2023).

       2o8
               See, for example:

               Humble Website, What is Humble Bundle, https://www.humblebundle.com/about (accessed 6/13/2023). ("12,000,000+
               customers[:] The Humble community has reached over 12 million customers from around the globe.")

               Green Man Gaming Website, Store, https://corporate.greenmangaming.com/store/(accessed 6/13/2023). ("We’ve learned
               a lot in our time, so sorting out regional pricing, fraud protection and selling through over 140 payment methods to
               support our millions of customers worldwide is our standard.")




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        when garners have the opportunity to find a game; thus, publishers want to maximize access

        to their games to PC gamers.


(68)    Publishers do not have to make a distribution choice that is exclusive; publishers will often

       consider (and may choose) to publish a game through multiple distribution channels. When

       a publisher chooses to publish a game across multiple distribution channels {or multiple

       outlets within one channel), it is a form of "multihoming."                           Multihoming across distribution

       options can be consistent with these options being substitutes; if publishers could (or do)

       profitably switch to a new distribution method in response to an increase in the cost of selling

       games on through one channel of distribution, that suggests a possible substitutable

       relationship.         However, multihoming is competitively meaningful only if it results in a

       publisher (or gamers) reducing their engagement with the first channel of distribution,

       affecting the profitability of that first channel and engendering a competitive response. That

       would imply a substitutable relationship between the options.                                       However, rather than

       necessarily implying a substitutable relationship, multihoming can allow publishers to

       increase reach and capture different, complementary groups of garners. As I discuss below, I

       conclude that these alternative distribution channels--such as brick-and-mortar PC game

       distribution, first-party digital PC game distribution, and non-PC game distribution--are

       overwhelmingly complementary to third-party digital PC game distribution via platforms and

       are not competitively meaningful substitutes. 209 Moreover, these complementary distribution

       avenues are not readily available to all developers.



       Other third-party PC game distribution


(69)   Publishers       can    choose      physical       distribution         rather   than     third-party digital         PC     game

       distribution via platforms. I conclude that physical distribution is not in the relevant market,

       because it is not an adequate substitute for digital third-party PC game distribution services.

       Because the user experience in a digital shopping environment is so different from a physical

       environment, users are unlikely to regard digital shopping and brick-and-mortar stores as

       substitutes for game purchases. In addition, a publisher distributing games through physical

       distribution avenues incurs (non-trivial) costs and frictions not found on digital third-party




       209
               Any substitution is not the appropriate economic standard for consideration of the bounds of a relevant market.          For
               example, while in theory someone might substitute milk for beer in some contexts, what matters is the cross-elasticity of
               demand between the two goods.        If a hypothetical beer monopolist raised prices above competitive levels by a small
               percentage, it is exceedingly unlikely that party hosts, bars, and restaurants would begin serving milk. Instead, they would
               likely absorb the price increase and continue to serve beer.      This example illustrates how there must be meaningful
               substitution to the alternative product in the presence of a small price increase in order for the alternative product to be
               potentially included in the relevant market.




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         distribution platforms.               Given that, developers would not likely view these options to be

        reasonable substitute channels of distribution for their games. This conclusion is consistent

        with the move away from physical distribution and towards digital distribution.                                         A small

        change in price is very unlikely to lead users to switch away from digital distribution and

        towards physical distribution, much less sufficient enough switching to render a price

        increase unprofitable.


(70)    For users, the game shopping experience on third-party digital PC game distribution platforms

        is much more flexible than with physical distributors.                              For example, digital third-party PC

        game distribution platforms are continuously available to users online, while traditional retail

        is   restricted       to     certain    operating       hours.           Unlike    physical     retail    stores,   users     can

        instantaneously download and play purchased games on third-party digital PC game

        distribution platforms. Users can pause and resume shopping at any time without having to

        travel to stores, and users can search for and save games to a personal wish list to purchase

        later.      Indeed, digital third-party distribution platforms advertise wish lists as a way for

        developers to boost their game’s visibility and connect with customers.~1°                                     This feature is

        important to users, and thus to publishers looking to distribute their games.211


(71)    In   addition,       user search is             different    on      digital   platforms     versus      physical   third-party

       distributors in ways that are economically meaningful to consumers.                                       When searching for

       games on Steam, for example, users can filter games by price, tag,212 number of players, and

       supported languages; users can sort those search results based on relevance, release date,




                 See, for example:

                 Steamworks Website, Wishlists, https://partner.steamgames.com/doc/marketing/wishlist (accessed 11/2/2023).

                 Epic   Games      Website,   Product    Marketing   Tips,     https://dev.epicgames.com/docs/epic-games-store/publishing-
                 tools/publishing-process/best-practicefor-store-presence/(accessed 11/2/2023).

                 Green Man Gaming, "New Site Feature: Get Equipped with The Want List," 8/2/2016,
                 https://www.green ma nga mi ng.com/blog/the-lowdown-the-wantlist/.

       211
                 See, for example:

                 DualShockers, "Epic Game Store Finally Adds a Wishlist Feature, 3/10/2020, https://www.dualshockers.com/epic-game-
                 store-adds-wishlists/. ("Wishlists are a much-needed feature for any online store. Having an easy way to save games as a
                 reminder to yourself feels essential with often digital games go on sale. Players are always looking for good deals and a
                 wishlist is the easiest to find out when games you want to buy drop in price.")

                 Valve, Emails Regarding Game Promotion, 1/23/2018-4/17/2020 (VALVE_ANT_0951827-46, at VALVE_ANT_0951827). (A
                 publisher asks Valve: "We did a Daily Deal on March 27th, is there any room to do something else mid-May? Like a
                 Weekend deal, something that will help us increase visibility and wishlist count for~")

       212
                 Steam allows developers, players with non-limited accounts, and Steam moderators to "tag" games based on game genre,
                 visual properties, themes, moods, and features that users can then filter by when shopping for games on Steam.      See:
                 Steamworks, Website, Steam Tags, https://partner.steamgames.com/doc/store/tags (accessed 11/1/2023).




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 price, and user reviews.213                 Some other third-party digital PC game distribution platforms

 provide similar filtering tools that allow customers to find games more quickly.2~4                                             Digital

 distributors may also tailor their platforms to customers with personalized recommendations

 based on past purchases or data from other customers.~ls                                     For example, Valve promotes

 various recommendation features including a customized home page, Discovery Queue, and

 Recommendation Feed.216                Filtering and recommendation features provide a more seamless

 game search and purchase process compared to the consumer experience at brick-and-mortar

 stores.         With    distribution        through      brick-and-mortar            stores,     users      must      spend        time

 researching games prior to visiting the store and physically purchasing games.                                        Comparison

 shopping across games is more difficult in a physical environment, especially along the

 dimensions available on digital third-party PC game platforms.                                  Thus, publishers receive a

very different bundle of services with digital distribution as compared to physical distribution,

including more ways in which users can learn about/find/purchase their games; accordingly,

publishers are unlikely to view digital and brick-and-mortar third-party PC game distribution

as a reasonable economic substitute.




213
         Steam Website, Store Search, https://store.steampowered.com/search/?term= (accessed 11/1/2023).

214
         See, for example:

         Epic Games Website, Store Search, https://store.epicgames.com/en-
         US/browse?sortBy=releaseDate&sortDir=DESC&category=Game&count=40 (accessed 1 I/2/2023).

        Green Man Gaming Website, Store Search, https://www.greenmangaming.com/all-games/(accessed 1 I/2/2023).

        GOG Website, Store Search, https://www.gog.com/en/games (accessed 11/2/2023).

215     See, for example:

        Valve,   Steam   Presentation, c.    2018 (VALVE_ANT_0000037-071,       at VALVE_ANT_0000062).         ("The [Steam]     store is
        personalized for each user.")

        GOG,     "GOG    Galaxy    Update:     Explore   DLCS   and   Choose     What    To    Play   Next   With    Ease,"    6/6/2023,
        https://www.g~g.c~m/news/g~g-ga~axy-update-exp~~re-d~cs-a~d-ch~~se-what-t~-p~ay-next-with-ease.                 ("We all know
        this feeling when you’ve just finished a great title and the big question starts to rise: what should I play next? Well, to help
        you decide what adventure you should embark on, we’ve introduced the ’Next to play’ widget in your ’Recent’ view. This
        way you can easily see which gems from your gaming library you haven’t yet played and should give them a shot.")

216
        Steam     Website,   The   Discovery   Update,   https://store.steampowered.com/about/newstore         (accessed      11/2/2023).
        ("Specifically, the new features at your disposal from the Home page include personalized recommendations based on
        your gameplay, reviews from your favorite community Curators, and powerful new search and discovery tools."; "Your
        Steam Discovery Queue is a powerful, new way of exploring the most popular new releases that you haven’t yet seen. You
        can quickly browse through games that are suggested for you, and you can choose to follow the game, add it to your
        Wishlist, purchase it, or indicate that you are not interested. Your Discovery Queue is automatically refreshed each day
        with new, top-selling releases."; "The Steam Recommendation Feed is a nearly endless list of recommendations designed
        to showcase the broad variety of titles available on Steam. Like the other recommendations throughout Steam, the feed
        will recommend to you titles based on the games you’ve been playing and what your friends are enjoying.                But it also
        features well-reviewed titles that you may be interested in from categories across Steam.")




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(72)    Digital third-party PC game distribution platforms also provide users with a depth and breadth

        of offerings not possible in brick-and-mortar stores due to physical shelf space constraints

        that exist with physical distribution. Steam had approximately 18,000 unique products in its

        "main capsule" in 2018 and that main capsule "generate[d] millions of impressions every

        day[,]" compared to the "retail days [where g]ame success was gated by shelf space[.]"217 Users

        can easily recognize that with physical distribution, store space constrains their choices.

        There are no such constraints on Steam.218


(73)    Similarly, developers also recognize the constraints of physical distribution.                                      David Rosen,

        CEO of Wolfire Games,219 testified that Wolfire did not attempt to sell any of its games through

        brick-and-mortar retail due to "very limited physical shelf space devoted to PC games even at

        its heyday in the nineties. By the early 2000s, they would have like one shelf for that and the

        rest for consoles. And these days I’m not sure they would even have that one shelf.                                            They

       would just have Steam gift cards or something like that .... We weren’t worried about

        commission from brick and mortar.                     It’s more the impossibility of just manufacturing and

        storing physical copies. Like even if we got a deal with Walmart, that they would sell or stock

        10,000 units of Overgrowth, we didn’t really have the knowledge of how to do that."~°




       217
                Valve, "What’s Going on in the (Game) World According to Steam?," c. 2018 (VALVE_ANT_0058980.pptx, at Slide 13).

       218
                For example, a Steam user in a Steam Forum thread states that "Gamestop has inventory space to worry about and
               Gamestop sets their own prices." See:

               Valve, Steam Forum Thread, 5/21/2016 (VALVE_ANT_1867767-7831, at VALVE_ANT_1867767).

               See also: Valve, Steam Forum Thread, 5/21/2016 (VALVE_ANT_1867767-7831, at VALVE_ANT_1867814). ("To put it bluntly.
               Digital [sic] distributors don’t have the same pressures that force physical distributors to lower prices.    For starters, one
               thing that drives physical prices down, in fact one of the major things, is the cost of stock .... There is also the fact that
               with games, each month past release sees interest and demand for the game dropping markedly. Each month the stock
               goes unsold, lessens the chance that it will ever be sold. So what do retailers do in these scenariops [sic], they try to make
               the product more attractive by lowering the price. An unsold product generates no revenue and no profit. They’d rather
               a smaller profit margin than no profit margin at all. Now with digital, Io and behold there are no shelves, no warehouses
               or storage room. You have theoretically limitless display space so those two major pressures are pretty much non-existant
               [sic] in digital. Those are the two main forces that drive down physical game prices.")

       219
               Wolfire Games Website, About, https://www.wolfire.com/about (accessed 1/16/2024).

       220
               David Rosen, Dep. Tr., 11/30/2023, at 41:8-13, 125:19-126:18. ("Q... now you are the only member of Wolfire Games, LLC;
               is that correct?   A. That’s right."; "Q. Did Wolfire ever attempt to have any of its games sold through brick-and-mortar
               retail? A. No. Q. Why not? A. It seems really unlikely for that to happen. There’s very limited physical shelf space devoted
               to PC games, even at its heyday in the nineties. By the early 2000s, they would have like one shelf for that and the rest for
               consoles. And these days I’m not sure they would even have that one shelf. They would just have Steam gift cards or
               something like that. Q. Did Wolfire consider whether the cost of distributing in brick or mortar store- --brick-and-mortar
               stores was too high in terms of commission or revenue share? THE WITNESS: We weren’t worried about commission from
               brick and mortar. It’s more the impossibility of just manufacturing and storing physical copies. Like even if we got a deal
               with Walmart that they would sell or stock 10,000 units of Overgrowth, we didn’t really have the knowledge of how to do
               that.")




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(74)    Digital     distribution         implies      different          business      considerations        compared        to    physical

        distributors; those differences are material to publishers.                                   An internal Valve document

        discussing distribution with publisher ~ states that Steam’s business model, margins,

       and cost structure are "entirely different" than retail.221                             Similarly, as early as 2003, Valve

       recognized that "[Valve’s] margin on a retail box is about

                                                   This compares to the Steam version at ~.                               Steam derives



                                                                                                                        ."2~ Publishers

       would need to consider these costs in their pricing, such that the physical distributor could

       still be profitable. Such costs do not need to be considered and/or absorbed by publishers in

       digital distribution.


(75)   In addition, Valve (and others) emphasize the relative convenience of digital distribution as a

       means of efficiently engaging users through a digital platform.~23                                      The trade press also

       acknowledges the benefit of digital distribution. For example, a 2020 article states: "For more

       than a decade, video games have been steadily shifting away from physical sales toward digital

       distribution, much the same as music and film. The transition creates opportunities for game

       publishers and consumers alike: cut down on production and shipping costs while offering

       the convenience of downloading products from the comfort of home."~4




       221
               Valve,    Emails      Regarding     Distribution    for                 7/17/2015-7/24/2015    (VALVE_ANT_0340706-13,       at
               VALVE ANT 0340706).

               As another example discussing the differences between the physical and digital distribution business model, see:

               Dark Cart, The Spokesman-Review Article, 4/30/2020 (DarkCatt_0000167-177, at DarkCatt_0000169).

       222
               Valve, Emails Regarding Retail and Steam Mark-Ups, 10/24/2003 (VALVE_ANT_0051858).

       223
               Valve, Emails Regarding GOD Market, 12/22/2003-1/15/2004 (VALVE_ANT_0813844-46, at VALVE_ANT_0813845). ("Until
               now, there has been no viable alternative to retail -- narrowband delivery of a >400MB game was unacceptable for
               mainstream consumers. However, with the proliferation of broadband, and platforms such as Steam that enable content
               providers to deliver their products in a more efficient manor [sic], we are able to get mainstream consumers into the
               experience in less time that [sic] it takes to drive to the local software store.")

       224
               Dark Catt, The Spokesman-Review Article, 4/30/2020 (DarkCatt_0000167-177, at DarkCatt_0000167-68).

               For additional examples, see:

               Gameopedia,        "Digitisation:    How     It’s   Changing      the      Landscape    of    Video    Games,      10/18/2021,
               https://www.gameopedia.com/digitisation-of-video-games/.           (The article lists "[c]onvenience and ease of access" as an
               advantage of digital distribution and states: "If you wanted a game ten to fifteen years ago, you would have to visit a
               physical store, find a copy of the game, and buy it. There were several possible problems, ranging from damaged discs to
               the game simply being out of stock, as well as the time taken to track down and buy the game. It is also less convenient
               to store and transport these discs- this is an added cost to the retailer. In today’s digital era, digital games can be bought
               online by customers with just a few clicks. These platforms also hold a huge variety of games, far more than most physical
               stores can stock.")




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{76)   Valve also does not see brick-and-mortar retail distribution as a reasonable economic

       substitute for developers.            Scott Lynch, Valve’s COO, testified that, for publishers, there are

       many features and costs that differentiate traditional brick-and-mortar distribution from

       online distribution:22s

                 Well, there’s -- there’s lots of [differences]. There -- for one, you know, packaged
                 goods distribution is limited in terms of shelf space because, you know, they’re
                 physical items that take up space.                   You have to put the game on a piece of
                 plastic, CD-ROM, DVD, and then you’ve got to put it in a box and make it in a
                 factory. And then you have to ship those boxes to all over the world. Eventually
                 they have to get onto store shelves. Then you have to kind of make sure those
                 store shelves are kind of organized and they’re doing a good job in terms of
                 presentation. You have to worry about the inventory kind of being there in al!
                 the different stores when people go there and being out of inventory.

                 Returns are much more costly because packaged goods are costly.                                  You have
                 to go through this complicated sales process with the retailer and, you know,
                 figure out how many you~! sell in, what happens if they don’t sell through. You
                 know, then -- you know, typically in the stores you have to do some retail
                 marketing, point of presence kind of stuff.

                 You know, when a game ships out at retail in a piece of plastic, if there’s, you
                 know, a problem with how the game was duplicated on the CD, that can be
                 super costly trying to solve that problem.                    Doing updates, it’s typically quite a
                 period of time.

                 And then in terms of, you know, lining all those things up at retail for the
                 developer, you know, you’ve really kind of got to hit a ship date.                           So it’s pretty
                 stressful on the teams trying to get to a ship date once you align all those
                 things.


(77)   Thus, digital third-party PC game distribution platforms are differentiated from physical third-

       party distribution for both publishers and users.                        PC game sales through brick-and-mortar

       retail have nearly fully stopped, and this distribution/purchase channel is increasingly

       insignificant in the marketplace.2a6               As such, I conclude that physical third-party distribution




               GameSync Website, Game Distribution - Physical or Digital?, https://gamesync.consulting/game-distribution-physical-or-
               digital/(accessed 1 I/9/2023). ("’Digital distribution’ is a convenient and increasingly popular method of supplying video
               games to the public. Companies like Valve and EA both famously use Steam and Origin, respectively, to provide garners
               access to a (ever-expanding) plethora of titles right at their fingertips.")

       225
               Scott Lynch, Dep. Tr., 10/12/2023, at 35:19-36:24.

       226     VentureBeat, "Traditional Gaming Shrinks to 26.7% of Game and Esports Revenue as Overall U.S. Sales Head to $72B by
               2027 I PwC," 6/18/2023, https://venturebeat.c~m/games/u-s-game-and-esp~rts-revenue-t~-gr~w-fr~m-54-1b-t~-72b-
               by-2027-pwc/. (See "Physical PC games sel!-through ($ mn)" line item; it is forecasted to reach $0 million in 2025.)




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        is not sufficiently substitutable for publishers to include physical third-party distribution

        services in the relevant market.



        First-party digital PC game distribution

(78)    Another potential path for publishers is to self-distribute by developing their own first-party

        distribution platform.


(79)    Developing a distribution platform is costly.                          According to Dr. Rietveld, "building and

        maintaining a self-distribution platform to become fully integrated requires significant scale

        and financial wherewithal that most mid-sized publishers likely do not possess, and small

        publishers definitely do not possess."227                  Unsurprisingly, publishers who have created first-

        party digital PC game distribution platforms are predominantly large and have the resources

        and popularity to support their own platform.


(8O)   Even if a publisher can overcome the cost barrier, it is difficult for a single publisher to entice

       gamers to move to a standalone platform and likely impossible, as a practical matter, for

       multiple game publishers to accomplish that, especially in the presence of Valve’s conduct.

       Users want access to the platforms that have the most games and other users.228                                             Those

       publishers who have attempted to launch first-party distribution platforms have generally

       been unsuccessful. For example, some platforms have struggled due to lack of users or limited

       content available for users to consume.                       For example, Bethesda "[gave] up on the idea of

       having its own launcher to compete with the likes of Steam and Epic Games. While those two

       can offer garners hundreds if not thousands of titles to choose from, Bethesda’s own games




               Screen Rant, "You’re Not Buying Video Games, You’re Buying IOUs," 11/13/2022, https://screenrant.com/video-game-
               physical-disc-validation-key-digital-download/. ("For PC gaming fans, the switch to digital purchases is more universal, as
               storefronts like Steam have almost entirely replaced physical PC disc sales.")

               For example, when discussing UK physical retail gaming pricing, Valve remarked that "UK retail stores are no longer much
               of a problem," and Valve employee, DJ Powers, elaborated on this statement in his deposition, stating that "[g]radually
               over time retail sales of boxed products for PC became less and less significant." This demonstrates that physical PC game
               stores are not Steam’s competitors. See:

               Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-1/19/2019 (VALVE_ANT_0053488-90, at VALVE_ANT_0053489),
               available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45.

               DJ Powers, Dep. Tr., 9/28/2023, at 126:13-21. ("Q. This email says, ’UK retail stores are no longer much of a problem.’ Do
               you recall when that changed? A. Gradually over time retail sales of boxed products for PC became less and tess significant.
               Q. For example, because people were buying games, they were times when people were buying games on physical media
               like a CD? A. Yeah.")

       227
               Rietveld Report, 2/8/2024, §XlI.B.

               Also: Interview with John Robb, 2/5/2024.

       228
               For example: Interview with John Robb, 2/5/2024.




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        cannot compete with such numbers, leading to the publisher announcing that it would shut

        down its launcher."229


(81)    Several publishers operate platforms to distribute single games, such as Roblox (Roblox) and

        Mojang Studios (Minecraft).                While these are first-party platforms (or self-publishing), these

        platforms       differ from typical first-party platforms                     because both RobIox and                 Minecraft

        encourage the creation of in-game content by users to be consumed by other users.                                       RobIox

        allows users that develop in-game content to offer it for sale to other users via its

        Marketplace.23°         Minecraft similarly allows users that develop in-game content to offer it for

        sale to other users via the Minecraft DLC Marketplace.23~                            The interaction of users on these

        platforms thus differs from other first-party digital PC game distribution platforms.                                      The

        emphasis that both Roblox and Minecraft place on user-generated content means the two

        games effectively operate as platforms, but with a multi-side component in its facilitation of

        transactions between game players.                          As such, it is most closely related to first-party

        distribution, but is even further removed in its substitutability because of its user experience.


(82)    First-party distribution platforms, as an alternative to distribution though the Steam platform,

       have been largely unsuccessful as a strategy.                         Publishers who started their own first-party

       distribution platform, such as Ubisoft and Activision Blizzard, have ultimately gone back to

       distributing their games on Steam alongside their own platform because of Steam’s market

       power. Valve has "a sticky platform with mature, engaged users."~3~ Ubisoft returned to Steam




       229
               Game Rant, "8ethesda Launcher Gets Official Shut Down Date," 4/25/2022, https://gamerant.com/bethesda-launcher-
               gets-official-shut-down -date/.

               A launcher is downloaded through a platform’s website and allows users to download and play games offered by the
               platform. See, for example:

               Medium, "Let’s Talk About Game Launchers and Storefronts," 7/18/2022, https://medium.com/technology-hits/lets-talk-
               about-game-launchers-and-storefronts-b188dbba0834.            ("A game launcher or storefront is the primary method of
               downloading and playing games on the PC platform.")

               Game Rant, "Bethesda Launcher Gets Official Shut Down Date," 4/25/2022, https://gamerant.com/bethesda-launcher-
               gets-official-shut-down-date/. ("Announced back in 2016, Bethesda’s game launcher allowed fans to skip the third-party
               companies like Steam and play Bethesda games straight from Bethesda.net.")

       230
               Roblox Website, Marketplace, https://www.roblox.com/catalog (accessed 2/4/2024).

               VentureBeat,     "Roblox     Believes       User-Generated   Content   Will   Bring   Us   the   Metaverse,"    5/2/2020,
               https://venturebeat.c~m/business/r~b~~x-be~ieves-user-generated-c~ntent-wi~~-bring-us-the-metaverse/.      (Roblox "has
               unique content in the form of user-created goods that are for sale in a marketplace. Creators can take that and create
               things that the rest of users can play.")

       231
               Minecraft Website, Marketplace, https://www.minecraft.net/en-us/catalog (accessed 2/4/2024).

       232
               Valve, Emails Regarding~, 9/14/2020-9/15/2020 (VALVE_ANT_0897649-650, at VALVE_ANT_0897649).




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        in 2022 despite having described Steam’s business model and 30% commission as unrealistic

        and not reflective of "where the world is today in terms of game distribution[.]"233                                    When it

        returned to Steam, Ubisoft remarked that "we’re constantly evaluating how to bring our games

        to different audiences wherever they are, while providing a consistent player ecosystem

        through Ubisoft Connect[.]"234 In 2018, Activision Blizzard had removed its Call of Duty game

        from Steam and made it exclusive to its distribution platform Battle.net, but it reversed course

        in 2022 and released it back on Steam.23s In a post-trial filing in the matter of Federal Trade

        Commission v. Microsoft Corp. and Activision Blizzard, Inc. related to Microsoft’s proposed

        acquisition of Activision Blizzard, Microsoft said:2~6

                  Activision’s attempt to take PC diqital sales of Call of Dutq exclusive to its
                  Battle.net platform was a resounding _failure.                       Before 2018, Activision sold
                  digital versions of PC Call of Duty titles on Valve’s successful Steam platform.
                  In 2018, Activision decided to take the game off of Steam and make it
                  exclusively available on Battle.net--largely in an effort to attract users to, and
                  qrow, Activision’s own platform.                 Battle.net’s monthly active users ("MAUs")
                  remained relatively fiat during the period when it had exclusive access to digital
                  sales of Call of Duty on PC, from 2018 through 2022 ....                            Meanwhile, during
                  that same period and without access to Call of Duty, Steam’s monthly active
                  users grew by tens of millions of users, nearly doubling from 67 million MAUs
                  in 2017 to 132 million MAUs in 2021.

(83)    Microsoft noted that "Steam, the leading PC game store, has risen in popularity during the

       period where it was without Call of Duty."~37 Microsoft’s recognition of Steam as the leading

       platform for PC games is consistent with its 2019 decision to release many of its PC games on




               For example, Valve told ~, which sells Steam keys for its games on its own store, that its game was selling much
               more on Steam compared to on its own store. See:

               Valve, Emails Regarding Game Discount, 7/12/2012-7/14/2012 (VALVE_ANT_0372900-08, at VALVE_ANT_0372901-02,
               VALVE_ANT_0372908).
       233
               Ars Technica, "Ubisoft Comes Crawling Back to Steam After Years on Epic Games Store," 11/22/2022,
               https://a rstech nica.com/ga ming/2022/11/Ubisoft-comes-crawling-back-to-steam-after-years-on-epic-games-store/.

       234
               Ars Technica, "Ubisoft Comes Crawling Back to Steam After Years on Epic Games Store," 11/22/2022,
               https://a rstech nica.com/ga ming/2022/11/Ubisoft-comes-crawling-back-to-steam-after-years-on-epic-games-store/.

       235
               FTC v. Microsoft Corp. and Activision Blizzard, Inc., No. 3:23-cv-02880-JSC, Post-Trial Findings of Fact and Conclusions of
               Law, at Proposed Findings of Fact II 216 (N.D. Cal. 2023).

               Eurogamer, "Five Years Later, Call of Duty Returns to Steam with Modern Warfare 2," 6/8/2022,
               https://www~eurogamer~net/five-years-~ater-ca~~-of-duty-returns-t~-steam-with-modern-warfare-2.

       236
               FTC v. Microsoft Corp. and Activision Blizzard, Inc., No. 3:23-cv-02880-JSC, Post-Trial Findings of Fact and Conclusions of
               Law, at Proposed Findings of Fact ~1 216 (N.D. Cal. 2023) (emphasis added).

       237
               FTC v. Microsoft Corp. and Activision Blizzard, Inc., No. 3:23-cv-02880-JSC, Post-Trial Findings of Fact and Conclusions of
               Law, at Proposed Conclusions of Law ¶ 86 (N.D. Cal. 2023).




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 Steam, despite having its own distribution platform, Microsoft Store.23°                                                   Similarly, Riot sells

 some of its games on Steam and EGS, while having its own distribution platform.239                                                                       A

 reasonable economic inference is that first-party distribution is not a feasible standalone

 substitute for third-party digital PC game platforms. See Section 6.2 for further discussion of

 distribution platforms’ return to Steam.




 238
         Microsoft, "Our Approach to PC Gaming," 5/30/2019, https://news.xbox.com/en-us/2019/OS/30/microsoft-approach-to-
         pc-gaming/.

         As another example, Bethesda decided in 2018 to launch the game Fallout 76 exclusively on its own distribution platform
         Bethesda.net. See:

         IGN, "Bethesda Says Fallout 76 Avoiding Steam Doesn’t Mean All Future Games Will Too, Doom Eternal Undecided,"
         8/11/2018, https://www’i~n.c~m/artic~es/2~18/~8/11/bethesda-says-fa~~~ut-76-av~idin~-steam-d~esnt-mean-a~~-future-
         games-wil!-too-doom-eternal-undecided.

         In an internal email, Valve noted that                   )ublishers are c        on their own and met with

                                                 See:

         Valve, Emails Regarding                   8/7/2018-8/9/2018 (VALVE_ANT_0703915-933, at VALVE_ANT_0703917).

         However, as discussed above, not only did Bethesda transfer its games to Steam, but it also fully shut down its Bethesda.net
         distribution platform in 2022. See:

         Bethesda, "Sunsetting the Bethesda.net Launcher & Migrating to Steam," 4/27/2022,
         https://bethesda.net/en/artic~e/2RxxG1y~~~NwupPa~zLblG/sunsetting-the-bethesda-net-~auncher-and-migrating-t~-
         steam.


         See also: DJ Powers, Dep. Tr., 9/29/2023, 154:11-20. ("Q. So back in this time period ~ve was trying to convince
        ~          it’s better not to go
                                                own and for its most recent Triple-A title today~ released on Steam at the
         same time as its own platform               ? A. It is true that their most recent title released on Steam day and date.")

239
         Epic Games Store, "Riot Games Brings League of Legends, VALORANT, and More to the Epic Games Store," 11/4/2021,
         h tt p s://sto re.e picg a m es.com/e n- U S/news/riot-g a m es- b rings-lea g u e-of-I e g end s-valo ra n t-a n d-m o re-to-e pic-g a m e s-
         store. ("Downloading any of the free-to-play games will install the new Riot Client, with direct access to those titles.")

         Riot Games, "New Riot Client Coming Soon," 9/16/2021, https://www.riotgames.com/en/news/new-riot-client-coming-
        soon. ("All desktop Riot games will be accessible from one client, with each game having its own dedicated product page
        with game-specific content including the latest news and events. You’ll be able to clean up your desktop and only have
        one Riot Client launcher where all your favorite Riot games will live! However, if you prefer, you can maintain your existing
        game desktop shortcuts for a direct path to your favorite game.")

        Riot Games, "Riot Client Game Hubs," 10/9/2023, https://www.riotgames.com/en/news/riot-client-game-hubs.

        Editions of Riot’s League of Legends are sold on Steam, and such editions are developed by other publishers Riot has
        contracted. See, for example:

        Steam, Riot Forge LOL Games, https://store.steampowered.com/search/?publisher=Riot%20Forge (accessed 1/17/2024).

        Steam, Hextech Mayhem: a League of Legends Story,
        https://store.steampowered.com/app/1651960/Hextech_Mayhem_A_League_of_Legends_Story/(accessed 1/17/2024).
        ("© 2021 Riot Games, Inc. RIOT FORGE, HEXTECH MAYHEM: A LEAGUE OF LEGENDS STORY and any associated logos
        are trademarks, service marks, and/or registered trademarks of Riot Games, Inc. Developed by Gaijin Games, Inc., d/b/a
        Choice Provisions.")

        Steam, Ruined King: a League of Legends Story,
        https://store.steampowered.com/app/1276790/Ruined_King_A_League_of_Legends_Story/(accessed 1/17/2024).

        Ruined King is highlighted on Riot Games’ website. See:

        Riot Games Website, Home, https://www.riotgames.com/en (accessed 2/5/2024).




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(84)    In addition, Valve’s internal documents                       show that publishers that leave Steam have

        historically done so because of short-term opportunities, such as advance payments and

        exclusives, and eventually return to Steam.                     For example, in 2019 Metro Exodus’ publisher

        was leaving Steam because of exclusivity.24°                     When the publisher notified Valve that it was

        leaving Steam, it offered to return the game to Steam a year later, and Valve responded that

        ~’[w]e want to get Metro Exodus back on Steam, ~

       ~,,241                                                     In its 2019 business recap, Valve noted that "[t~irst
        EGS exclusives are returning to Steam[.]"2~2                     Steam Business Team member Tom Giardino

        testified that there are many developers that leave Steam to take advantage of Epic exclusives

        and then return to Steam after their exclusivity deals end.2~3


(85)   I have not seen evidence that Valve regards these first-party distribution platforms as

       meaningfully         competitive        threats.       This    suggests       that    Valve     does     not    see    them     as

       substitutes.2~ In fact, internal Valve documents do not portray these first-party distribution

       platforms as vigorous competitive threats.                     Rather, if anything, they show non-competitive

       and collaborative relationships/partnerships with these platforms.24s                                   For example, after




       240      Valve, Emails Regarding Metro Exodus, 1/24/20t9-1/25/2019 (VALVE_ANT_2807660-665, at VALVE_ANT_2807665).

       241     Valve, Emails Regarding Metro Exodus, 1/24/2019-1/25/2019 (VALVE_ANT_2807660-665, at VALVE ANT 2807664-665).

       242     Valve, "Steam: Steam Biz - 2019 Recap," 2/24/2020 (VALVE_ANT_2370759-762, at VALVE_ANT_2370759).

       243     Tom Giardino, Dep. Tr., 11/2/2023, at 287:9-18. ("Q. Okay. Now, Mr. Giardino, are you aware of instances where developers
               decided to go exclusive to Epic Games Store -- Epic Games Store but then eventually came back to Steam? A. Yes. I am.
               Q. Okay. And in your experience, why was that? A. As far as I can recall, I think there’s probably hundreds of games that
               have done that at this point. And I’m not sure what their different decision-making processes would look like.")

               For additional examples, see:

               Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442~,44, at VALVE_ANT_1221443).                 C[W]e’re also
               seeing someiofthe partners who wanted to run these experiments now coming back [to Steam] enthusiastically (most
               notably~, and a handful of the early Epic Store exclusives).")

               Valve, Emails Regarding Publishing on Steam, 2/t7/2021-2/18/2021 (VALVE_ANT_0624130-132, at VALVE_ANT_0624130-
               131). ("[I]t’s fine to release a game on Steam that has already come out somewhere else, and that’s actually a pretty big
               part of our business since some games do exclusive deals, or come back to Steam after launching elsewhere, etc. (So, stuff
               like allI titles coming back to Steam, or a game that was Epic-exclusive for 6 months, or whatever the case may
               be).")

       244
               Note that while first-party distribution platforms are not competitive threats to Steam, publishers that own such platforms
               and publish content on Steam are still subject to Valve’s PMFN Policy, as are other Steam publishers that publish their
               games anywhere else (e.g., retail). This is because Valve’s PMFN Policy is more broadly encompassing than just direct
               competitors in the relevant market and covers anywhere, wherein Steam publishers sell games. See Section 5.1 for detailed
               discussion of Valve’s PMFN.

       245     For additional examples, see:

               Valve,~Steam Presentation, c. 2014 (VALVE~ANT
                                                           1221398.pptx, at slides 3, 18).           (The Valve presentation regarding
               ’I on Steam" presents a graph of ’I as a percentage of the Steam platform" in terms of revenue and




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        meeting with ~, Valve noted that ’~ is prepping to ship ~

       ~ and we were very surprised they took our meeting .... ~ mentioned to us that Valve

        (Steam) is ~ # 1 single partner as of this year."246 In an email regarding a meeting with

       ~             (and other publishers), Valve refers to ~ as one of its "partners."247 A 202 1

       Valve presentation covering ~ performance on Steam asks ~ to "[p]ut your

        next big release on Steam so that you can capitalize on the massive reach and growth of our

       platform without giving up your close relationship with your customers."24~


{86)   In sum, the vast majority of publishers choose not to engage in first-party distribution. Few

       attempts have been made, and very few, if any, of those publisher-launched first-party

       distribution platforms are successful, much less a competitive threat to Steam. The expense

       and user reach issues on the publisher side, as well as the user experience on the garner side,

       suggest that this is not a feasible substitute; instead, at best and supported by the evidence,

       this distribution is complementary to third-party digital PC game distribution via platforms.249




                makes the following comment regarding~ game: "Free to Play with micro-transactions would solve
                user fragmentation and appeal to a wide audience on Steam[.]")

               Valve, Emails Regarding Revenue Share, 9/26/2018 (VALVE_ANT_1702737-739, at VALVE_ANT_                       n response to
                potential chang s to revenue snare,  valve er
                                             share a Valve employee stated that "[we w]ould love to show up at               in November
               with a ’bring us                                 pitch.")

               Valve, Emails Regarding ~ Visit, 1/25/2019-1/28/2019 (VALVE_ANT_0467616-617, at VALVE_ANT_0467616).
               (During a business trip, a Valve team "visited the        office and           to members of their strategy and business
               team. Last year they’d visited us to talk about                          [game] as they shopped the title around. While
               we had a sales pitch prepared, we started out with a           focused Steam u               new feature slides. Lots of
               interesting questions and interest in streaming and using the custom emails for                .")

       246
               Valve, Emails Regarding          , 9/12/2013-9/13/2013 (VALVE_ANT_0164882-884, at VALVE_ANT_0164882).

       247
               Valve, Emails Regarding Publisher Visit, 1/27/2019-2/11/2019 (VALVE_ANT_0471786-789, at VALVE_ANT_0471786).

       248
               Valve, ~ Presentation, 4/16/2021 (VALVE_ANT_1817158-190, at VALVE_ANT_1817158-170, VALVE_ANT_1817187).

       249
               Similarly, a publisher could consider self-publishing via the web rather than building an entirely new platform. This self-
               publishing is less difficult than building a platform, and thus is more accessible to smaller publishers. However, for both
               publishers and users, this is not a sufficiently comparable method for distribution. For publishers, access to users is
               uncertain, at best, when publishing without a platform. See for example:

               Game Gunk Website, Do Developers Need a Website to Host Their Own Games?, https://game-gunk.com/do-you-need-
               a-website-to-host-your-own-game/(accessed 2/4/2024). ("If you are hoping to obtain as many sales as possible or create
               a commercial venture with your indie game, you’re better off putting your game on exchanges such as Steam, GOG, or
               Itch.io in order to get the most amount of players to see and play and your game .... [I]t is not mandatory or advisable
               just to have your game hosted on your own website. Unless you have lofty expectations to create your own platform such
               as Steam or GOG." "But for most, do not expect your website to encourage thousands of downloads or sales. Especially if
               you are an independent creator."; "Leave it solely to your [own] website to market and distribute your game - [you] may
               end in a low amount of downloads. Especially if you are a start-up with a new game and a small website. People do not
               like to download games from an unknown source[.]")

               PC Gamer, "Is it Worth Cutting Out Steam to Sell Indie Games Direct?," 3/7/2018, https://www.pcgamer.com/is-it-worth-
               cutting-out-steam-to-sellqndie-games-direct/.    ("Selling from a custom website means a developer has to build all the
               infrastructure around the game from the ground up: Rohrer runs multiple servers, sets up automatic game updates and




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        PC game subscriptions


(87)    Publishers may also consider distributing their games through a PC game subscription model.

        A subscription model allows gamers to pay a fiat monthly or yearly fee to play any game in a

        library of games.2s°


(88)    The services provided by PC game subscriptions and third-party distributors are distinct, and

        these distribution channels are likely not to be interchangeable for users and/or publishers.

        An internal Valve document emphasizes this point, stating that Game Pass, Microsoft’s

        subscription offering, is "fully differentiated from Steam and EGS, they’re doing something no

        one else is[.]"2sl         As described below, the PC game subscription business model attracts a

        different user base and offers distribution for a limited set of developers compared to

        third-party PC game distributors.




                created a user review system himself."; "However, for some developers the extra audience that Steam can offer (18 million
                concurrent users and counting) has become a necessity in order to survive. Hecker says that he’s simply not making enough
                money selling SpyParty directly... ’it’s very hard to not go on Steam and make a commercially viable game.’"; "Currently,
                without much fanfare, the game is selling anywhere between two and 20 copies a day through the website."; "Another
                developer that, like Hecker, is keen on the direct sales model but isn’t ready to rely on it is Adam Saltsman... ’we talked
                to a bunch of studios that did their own direct sales setup, but it was pretty intimidating.’")

                Game Developer, "6 Alternatives to Steam for Indie Developers," 4/24/2017, https://www.gamedeveloper.com/business/6-
                alternatives-to-steam-for-indie-developers. ("[Y]ou could sell your game on your own website, although unless you have
                a very big and engaged community, we recommend you not to rely solely on this.")

                Interview with David Rosen, 2/1/2024.

                Users lose the ability to reach multiple publishers or interact with their friends like they would through a platform. Similarly,
               users have a hard time discovering these self-published games on publishers’ own websites, as demonstrated by such
               websites’ traffic, suggesting that most users keep their search limited to popular platforms they are on. See for example:

               Game Gunk Website, Do Developers Need a Website to Host Their Own Games?, https://game-gunk.com/do-you-need-
               a-website-to-host-your-own-game/(accessed 2/4/2024). ("Most people prefer to download games and executable files
               from established sources [such as Steam and Itch.io]. Not small independent websites." "Bearing in mind that publishing
               your game to your own website may not offer the same level of traffic that bigger platforms can.")

               PC Gamer, "Is it Worth Cutting Out Steam to Sell Indie Games Direct?," 3/7/2018, https://www.pcgamer.com/is-it-worth-
               cutting-out-steam-to-sell-indie-games-direct/. ("People like to buy games on Steam. It’s a very trusted storefront, whereas
               if you go to SpyParty.com you’re clicking a link on a website and entering your credit card number. So I can totally
               empathize with people holding off until it’s on Steam.")

               Interview with John Robb, 2/5/2024.

               As such, self-publishing via the web is not an economically feasible substitute to distributing via platforms.

       250     See, for example:

               EA Website, EA Play, https://www.ea.com/ea-play (accessed 2/5/2024).

               Microsoft Website, PC Game Pass, https://www.xbox.com/en-US/xbox-game-pass/pc-game-pass (accessed 10/23/2023).

       251     Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE_ANT_0019400-02, at VALVE_ANT_0019401), available at Scott
               Lynch, Dep. Tr., 10/13/2023, Exhibit 156.




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(89i   The purchase of a game subscription involves different financial trod garneplay considerations

       than the purchase of individual PC games.~-~-~ For example, purchasing a game subscription

       allows users to rent games for a period of time as opposed to owning them. Users must m~e

       regular payments to distributors instead of a one-time payment.                                                                 For example, a 2021 Valve

       analysis states that




(90)   Articles       discussing             gaming            subscriptions                  also       highlight           these         differences.              Documents

       produced by Valve and others describe these additional considerations.                                                                           A 2020 McKinsey

       article indicates that game subscriptions are not aligned with consumer behavior: "[G]amers,

       unlike consumers of video content, are less likely to sample lots of different titles, focusing

       instead on just one or two titles for weeks or months at a time."~-s~ A 2022 Gameslndustry.Biz

       article states: "IT]here’s the re’~ity that, for a lot of people who only play a handful of games a

       year, a subscription service just doesn’t inake much sense."-~Ss


(9i)   tn the context of~, a Valve document claims that                                                                               I offors a subscription of
       ~ games to loyal users white~ has ~[bought] up a huge chunk of the back




       252
               See, for example: Valve, Platform Comparison, undated (VALVE.~ANT~1193209-224, at VALVE.~ANT_11932!8).                                                                [The

               document~duced by Valve states: "[WJlth the subscription service on top of the play per game service[,] it feels as
               thoughI has found a good way of gett ng more money from users. Having money at the forefront of the service
               can be great for people who are on a budget or ~ooking to oqly sper~d a certain amountfl")

               Valve, ~2021 Competitor Analysis," 2021 (VALVE_ANT_00~ 9716-18, al VALVE~ANT_0019718).

               For additional examples, see:

               Valve,      Valve’s        Statement          on       Activision/Blizzard           Acquisition,          5/12/2022          (VALVE~ANT_2711018-022,                       at
               VALVE_ANT~2711020). (The Valve document s~ates: ~[O]ne difference between Game-Pass-like subscriptions and sales of
               games on Steam is that Game Pass offers only temporary access to video games (for the duration of the subscrip(ign).’~)

               Valve, ~New User Experience-Initial Data," undated (V~                                ~,NT 0801131~147~ at VALVE_ANT_0801141). (The document
               produced byV
                         ~ Val.ve sta.tes:                         points a lot to the                        feature   forI, games can                    ~urchased through the
                                                    i
                                      but they make a point of labelling every game that is available through the                                                 subscription. This
               then runs into the same issue particularly for young users where a lower up-front cost with                                                  ption is intriguing but
               if the subscription ever ends then progress and game access are lost Users and developers must balance the cost and
               emotion tied to purchase.")

               McKinsey,       ’~The Netflix of Gaming?                  Why Subscription Video-Game                      Services Face An Uphill                Battle,"    7/8/2020,
               h t t p s://www.m c kin s ey.co m/in d u s t r i e s/te c h n o|o gy* m ed[a-a n d- t e leco m m u n i c a tio n s/o u r-in s ig h t s/t h e- net f I ix ~ oF g a m in g-
               why-subscription-video-gain e-services, face -amUphill-battle#/.

       255
               Games Indust~y.Biz, "Xbo× Changes Its Tone on Game Pass," 11/2/2022, https://www.gamesindustry,biz/xbox.changes-its-
               tone~omgame-pass,




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        catalog and use[d] that as the anchor for a subscription."2s6 Using these strategies, both ¯

       ~ have limited the number and type of publisher who use their distribution

        services. An internal Valve email emphasizes this point, stating that distributing a game on




                                                                                                                                As such,

        subscriptions provide distribution for a particular set of publishers, in contrast to third-party

       digital PC       game       distributors that advertise distribution services for a wide                                 range      of

       publishers.2s8


(92)   Some PC game subscriptions may advertise that indie developers have had more success

       using a subscription model.2S9                 However, online sources show that there is a discrepancy in




       256
               Valve, Emails Regarding Threats to Steam, 8/7/2018-8/8/2018 (VALVE_ANT_1509600-02, at VALVE_ANT_1509600-01).

               See also: McKinsey, "The Netflix of Gaming?     Why Subscription Video-Game Services Face An Uphill Battle," 7/8/2020,
                h ttps://www.mckinsey.c~m/industries/techn~~~gy-media-and-te~ec~mmunicati~ns/~ur-insights/the-netf~ix-~f-gaming-
               why-subscription-video-game-services-face-an-uphill-battle#/.       ("The concept of a Netflix for gaming is even more
               ambitious than it seems.    Services like Netflix attract subscribers with their own exclusive offerings.     Repeating that
               playbook would probably require game-subscription services to develop first-party blockbuster titles and spend hundreds
               of millions of dollars on product development and marketing. This is the strategy Microsoft seems to be pursuing with its
               Xbox Game Pass service: it offers most of its first-party titles as part of a subscription service when those games become
               available at retail. Microsoft has also been acquiring multiple studios, ostensibly to expand its subscription catalog.")

       257
               Valve, Emails Regarding ~, 3/8/2018 (VALVE_ANT_1702259).

       258
               See for example:

               Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE_ANT_0019400-02, at VALVE_ANT_0019401), available at Scott
               Lynch, Dep. Tr., 10/13/2023, Exhibit 156. ("Success can happen for anyone on Steam, from Triple-A to the tiniest Indie[.]
               The global reach of Steam is huge and still growing, for all tastes[.] Developers from everywhere and anywhere [distribute
               games on Steam.]")

               GOG.com,    "Benefits   of Releasing    Your Game on      GOG - A       Guide for    Indie   Game   Developers,"   6/7/2023,
               https://www.g~g.c~m/b~~g/benefits-~f-re~easing-y~ur-game-~n-g~g-a-guide-f~r-indie-game-deve~~pers/.

               Humble Website, What is Humble Bundle, https://www.humblebundle.com/about?hmb_source=navbar (accessed
               12/17/2023). ("Here at Humble Bundle, we love indie games. We wanted to make it easier for indie developers to succeed
               in gaming, and found that publishing is the next way to give back. We’re giving developers a boost by helping great ideas
               become successful games.")

               Venture Beat, "Steam Competitor Green Man Gaming Launches Its Own Publishing Arm, Green Man Loaded," 9/30/2014,
               https://venturebeat.com/games/green-man-loaded/.         ("Green Man Gaming, the second largest digital game retailer
               worldwide, announced its own PC publishing arm today, Green Man Loaded. The London-based company already works
               with over 360 publishers and studios and has more than 5,500 listings in its catalog, and its latest venture promises
               developers a new route to market for their games, backed by financial, marketing, and sales support.")

       259
               See, for example:

               Nintendo, "Microsoft Game Pass Analysis," 6/24/2021 (NOA-VALVE-000294-97, at NOA-VALVE-000296). ("Game Pass has
               been profitable for indie developers: ’That engagement isn’t limited to titles from large developers, either, Hamren says.




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        the number of games between subscriptions and third-party digital PC game distributors,

        indicating that subscription models provide distribution for a limited number of developers.

        As of early 2024, there were approximately 90,000 games on Steam.26°                                   In contrast, Game

        Pass offers 428 games and EA Play offered on Origin has 95 games.261                                Therefore, while it is

        possible for subscriptions to offer distribution services that benefit developers, such as indie

        developers, the opportunities are still limited compared to third-party digital PC game

        distributors.


(93)    Valve documents also demonstrate that distribution through subscriptions is not widely

        accessible to developers.              For example, several online sources describe that subscriptions

       provide a "curated" library.2~                  According to Valve, having a curated strateKy "means less

        clutter, ideally driven by quality, but it cuts out a number of titles and developers. That lowers

       the chance of seeing ’surprise hits’ for customers and lowers the chances for [start-]up success




                Microsoft reports that over the last four years, indie developers have seen their revenue almost double thanks to
               engagement from Game Pass,’ (Variety)")

               Variety, "Ahead of E3 Showcase, Microsoft Reaffirms Its Commitment to Bulking Up Xbox Game Pass," 6/10/2021,
               https://variety.com/2021/digital/news/xbox-game-pass-microsoft-e3-1234993103/. ("Microsoft reports that over the last
               four years, indie developers have seen their revenue almost double thanks to engagement from Game Pass.")

       260
               Steam Website, Titles on Steam,
               https://store.stea m powered.co m/search/?categoryl =998&os=win%2Cmac%2Clinux&supportedlang = 58nglish&ndl = I
               (accessed 2/I/2024).
       261
               PC Gaming Wiki Website, List of PC Game Pass Games, https://www.pcgamingwiki.com/wiki/List_of_PC_Game_Pass_games
               (accessed 2/6/2024).

               PC Gaming Wiki Website, List of EA Play Games, https://www.pcgamingwiki.com/wiki/List of EA Play_games (accessed
               2/6/2024).

               EA also offers the EA Play Pro subscription on Origin. Even though this subscription offers more games than EA Play at
               I $3 games as of February 2024, this subscription also does not provide the widespread distribution offered by third-party
               distributors. See:

               EA Website, EA Play, https://www.ea.com/ea-play (accessed 2/5/2024).

               PC Gaming Wiki Website, List of EA Play Games, https://www.pcgamingwiki.com/wiki/List_of_EA_Play_games (accessed
               2/6/2024).

       262
               Xbox, "E3 2019: How to Experience Xbox Game Pass for PC," 6/9/2019, https://news.xbox.com/en-us/2019/06/09/how-to-
               experience-xbox-game-pass-for-pc/.       ("As part of our commitment to bring more choice to the PC gaming community,
               we’re excited to announce that starting today, PC garners can join the recently-announced Xbox Game Pass for PC (Beta)
               and explore a curated, growing library of over 100 high-quality PC games on Windows 10.")

               Screen Rant, "EA Play Subscription Service Coming to Steam in August," 8/19/2020, https://screenrant.com/ea-play-
               subscription-steam-august-launch/. ("EA Play, EA’s video game subscription service, is coming out on Steam on August
               31 st, offering Steam users access to several curated EA titles.")




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        among aspiring developers."263 In comparison, Valve claims that Steam’s "open" model "means

        every title gets a chance and ’surprise hits’ are bound to happen."264


(94)    Gaming subscription models also do not support the variety of monetization strategies

        available to developers with third-party digital PC game distribution platforms. For example,

        with a fiat monthly or yearly fee,                       subscription models do not permit ongoing game

        monetization.~6s Further, a Valve document discussing~ recognizes that

        not all monetization models are compatible with subscriptions, stating that ~



       ~                                         ’~266




                                                                                         One author notes that "[f]ree-to-play

       games, by definition, don’t make sense behind a subscription paywall, especially on PCs and

       mobile" and that, "[t]o succeed, a gaming subscription would therefore need to offer access to

       otherwise-premium (paid) games[.]"268                      With more flexibility relating to game monetization,

       third-party distributors can provide developers with a wider range of revenue-generating

       opportunities compared to subscription models.


(95)   Publishers with games compatible with subscription models often decide to offer games both

       through a game subscription and for individual purchase on a third-party digital PC game




       263
               Valve, "Evolving Steam," undated (VALVE_ANT_0054558-59, at VALVE_ANT_0054558).

       264
               Valve, "Evolving Steam," undated (VALVE_ANT_0054558-59, at VALVE_ANT_0054558).

       265
               For example, many developers follow a so-called "freemium" model; such a model is impractical in a subscription setting
               where users would need to pay a higher subscription cost up front as payment for the option to adopt premium or in-
               game features.

       266
               Valve, "2021 Competitor Analysis," 2021 (VALVE_ANT_0019716-18, at VALVE_ANT_0019718).

       267
               Valve,   Valve’s      Statement      on   Activision/Blizzard   Acquisition,   5/12/2022     (VALVE_ANT_271 I018-022,           at
               VALVE_ANT_2711020).

       268
               McKinsey,     "The   Netflix of Gaming?     Why Subscription     Video-Game Services       Face an   Uphill   Battle,"   7/8/2020,
               h ttps://www.mckinsey.com/industries/techn~~~gy-media-and-telec~mmunicati~ns/~ur-insig h ts/the-netflix-of-gaming-
               why-subscription-video-game-services-face-an-uphill-battle#/.

               This statement refers to free-to-play games that are not developed by the publisher who is offering the subscription.
               Developers of these games cannot be properly compensated through a subscription model. However, a publisher offering
               a subscription may put its own free-to-play games in the subscription to diversify the subscription catalog and because
               the publisher will be compensated through subscription sales. As an example, EA offers The Sims 4, a free-to-play game,
               in EA Play.   See: Steam Website, Electronic Arts - Top Sellers, https://store.steampowered.com/publisher/EA/(accessed
               11/10/2023).




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 distribution platform.            For example, EA offers many of its "Top Sellers" on Steam both for

 individual purchase and through EA Play, its subscription service.269                                   As another example,

 many of the "Most popular" games included in Game Pass are also available for individual

 purchase on Steam.27° Valve is also considering offering additional subscription services on

 Steam, including Game Pass.27~                  Publishers offering their games both for individual sale on

 third-party platforms and in a subscription, or even bringing subscription offerings to Steam

 directly, demonstrates that they view game subscriptions to be complements to third-party

 digital PC game distribution via platforms, rather than substitutes.272




 269
         Steam Website, Electronic Arts - Top Sellers, https://store.steampowered.com/publisher/EA/(accessed 11/10/2023). (For
         example, BattlefieldTM 2042, It Takes Two, Titanfall® 2, Plants vs. Zombies GOTY Edition, and Dead Space, among others,
         are offered for individual sale and are included in EA Play, as designated by the EA Play logo.)

270      Xbox Website, PC Game Pass, https://www.xbox.com/en-US/xbox-game-pass/games (accessed 11/10/2023).

         All 5 of the games listed in the first row on the Game Pass website are offered on Steam. See:

         Steam Website, Payday 3, https://store.steampowered.com/app/1272080/PAYDAY_3/(accessed 11/10/2023).

         Steam Website, Wartales, https://store.steampowered.com/app/1527950/Wartales/(accessed 11/10/2023).

         Steam Website, Cities: Skylines I1, https://store.steampowered.com/app/949230/Cities_Skylines_ll/(accessed 11/10/2023)~

         Steam Website, Headbangers: Rhythm Royale,
         https://store.steampowered.com/app/1761620/Headbangers_Rhythm_Royale/(accessed 11/10/2023).

         Steam Website, Warhammer 40,000: Darktide,
         https://store.steampowered.com/app/1361210/Warhammer_40000_Darktide/(accessed 11/10/2023).

271
        PC Gamer, "Valve Has No Plans For a ’Steam Pass,’ But Would Help Microsoft Put Game Pass on Steam," 2/25/2022,
        h ttps://www.pcgamer.c~m/va~ve~has-no-p~ans-f~r~a~steam-pass-but-w~u~d~help-micr~s~ft-put-game-pass-~n-steam/.
        ("When I spoke to Valve president Gabe Newell about the Steam Deck last week, I asked him if Valve is interested in its
        own subscription service, or whether we could see Game Pass games on Steam in the future. ’1 don’t think it’s something
        that we think we need to do ourselves, building a subscription service at this time,’ Newell said~ ’But for their customers
        it’s clearly a popular option, and we’d be more than happy to work with them to get that on Steam.’)

        Valve, Developer Roundtable Questions, 2022 (VALVE_ANT_2711739-753, at VALVE_ANT_2711745). (""Is there a plan for
        Steam to have a subscription service?... Steam already has a subscription service available: EA Play[.] We’re open to other
        subscription plans as well, but it has to make sense for the partner, the players, and us[.]")

272     Valve agrees. For additional examples, see:

                                g Developer Views on Game Pass, 7/5/2019                ANT 1613914-1.~     at VALVE ANT
         Emails between Valve em




        Valve, Steam 2020 Year in Review, 2020 (VALVE_ANT_2711685-690, at VALVE_ANT_2711687).                ("Steam has supported
        monthly subscriptions for individual games for a while now, but to support Electronic Arts bringing their catalog back to
        Steam, we’ve expanded on that functionality.")

        See, also:

        Variety, "Ahead of E3 Showcase, Microsoft Reaffirms Its Commitment to Bulking Up Xbox Game Pass," 6/10/2021,
        https://variety.com/2021/digital/news/xbox-game-pass-microsoft-e3-1234993103/.           ("’We’re seeing that yes, people are
        playing in Game Pass, but at the same time, a number of the games in Game Pass you’re seeing topping the charts in
        terms of digital sales as well,’ [Hamren] says.    ’Even for day-and-date games, we’re seeing that it just drives overall
        engagement with the game and drives players to the game.")




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(96)    Internal Valve documents and other sources also indicate that PC game subscriptions are not

        substitutes for third-party digital PC game distribution via platforms; rather, they are

        complementary to third-party PC distribution.                             For example, EA Play (formerly EA Access273)

       was brought to Steam in August 2020.274 A Valve emall discussing the benefits of bringing EA

        Play to Steam states:




                                                                A 2020 Valve presentation states that Valve worked to

       support the EA subscription service by developing "[a]ll new tools to support EA’s publisher

       subscription program, including time-limited promotions and store page presence."276                                                The

       presentation further explains that with EA Play on Steam, EA would be able to advertise

       "[s]ubscription offers alongside the normal purchase options" on Steam.277                                              As another

       example, emalls between Valve and ~ discussing bringing~ to Steam state:




               Eurogamer, "What Developers Think of Xbox Game Pass," 7/6/2019, https://www.eurogamer.net/xbox-game-pass-
               developers. ("Microsoft has said, however, that it thinks subscription packages will continue to co-exist with other ways of
               selling games. ’We don’t have a goal of being the subscription where you get all your content,’ head of gaming services
               Ben Decker told GI in response to the aforesaid editorial. ’This is meant to be additive to the ecosystem. We don’t see a
               future where subscriptions are dominant. We see a future where customers have choice between a subscription and
               purchase-to-own, where there’s a mixed ecosystem because that’s what customers want, and that’s what developers
               want.’")

               Nintendo, "Microsoft Game Pass Analysis," 6/4/2021 (NOA-VALVE-000294-97, at NOA-VALVE-000295).                       (An internal
               Nintendo analysis states: "’Xbox Game Pass is functioning as a discovery engine right now, and while there might come a
               time when people realize en masse they don’t have to buy these titles at retail anymore, at least for now, Game Pass seems
               to be boosting sales across the board, rather than hindering them.’")

       273
               The      Verge,     "EA   Play    Subscription     Service    is   Coming   to   Steam      on     August   31st,"    8/18/2020,
               https://www~theverge.c~m/2~2~/8/18/21373983/ea-p~ay~subscripti~n~service-steam-re~ease-date.                ("EA’s subscription
               service is coming to Steam very soon. Today, the publisher announced that the recently renamed EA Play will launch on
               Steam on August 31st .... Previously known as EA Access, the service gives subscribers the ability to play some of the
               publisher’s biggest titles[.]")

       274
               The      Verge,     "EA   Play    Subscription     Service    is   Coming   to   Steam   on        August   31st,"    8/18/2020,
               https://www.theverge.c~m/2~2~/8/18/21373983/ea-p~ay-subscripti~n-service-steam-re~ease-date.                ("EA’s   subscription
               service is coming to Steam very soon. Today, the publisher announced that the recently renamed EA Play will launch on
               Steam on August 31st .... Previously known as EA Access, the service gives subscribers the ability to play some of the
               publisher’s biggest titles[.]")

       275
               Valve,     Emails    Regarding     EA   Returning     to     Steam,   3/18/2015-3/26/2015        (VALVE_ANT_0293869-870,       at
               VALVE_ANT_0293869).

       276     Valve, Steam 2020 Update Presentation, 2020 (VALVE_ANT_1554250.pptx, at Slide 18).

       277     Valve, Steam 2020 Update Presentation, 2020 (VALVE_ANT_1554250.pptx, at Slide 20).




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        (:onsole gaming


(97)   I also consider whether distribution services for games to be played on consoles (e.g.,

       PlayStation, Xbox, etc.) are substitutes for PC-gaming distribution services. They are not.


(98)   Many large video game developers make PC games and console games.279                                         I have seen no

       evidence to indicate that consoles are viewed as substitutes for digital PC game distribution

       via platforms.            The evidence suggests that distribution services for PCs and consoles, if

       anything, are complements.                   Developers choosing between PC and console distribution

       services must consider the differences that exist in video game development requirements for

       the respective platforms.              A video game developed for use on a PC (console) is not readily

       distributable on a console (PC), as the PC (console) game must first be adapted to the console’s

       (PC’s) parameters. There are time and monetary costs to creating multiple versions of a game

       that can be played on PCs and the set of different gaming consoles. Put differently, a developer

       seeking to distribute a game on PC and console (e.g., PlayStation) must write unique versions

       of the game that will operate properly on each of those platforms. Porting a non-console game

       to be played on console is akin to "recreating and almost making a new game[,]" so such

       financial and technical constraints separate the PC games market from the console one.28°




       278
               Valve,   Emails     Between   ~         and   Valve   Employees,   4/19/2022-5/3/2022     (VALVE_ANT_I045749-TS3,        at
               VALVE_ANT_1045752).

       279
               See, for example:

               Electronic Arts Website, About EA, https://www.ea.com/about (accessed 12/15/2023). ("Headquartered in Redwood City
               in Northern California, we develop and deliver games, content, and online services for Internet-connected consoles, mobile
               devices, and personal computers.")

               2K Website, About Us, https://2k.com/en-US/about-us/(accessed 12/15/2023). ("Founded in 2005 within Take Two
               Interactive, 2K develops and publishes interactive entertainment for PC, console and mobile platforms.")

               Bethesda Website, Bethesda Games Catalog, https://bethesda.net/en/games/home (accessed 12/15/2023).

               Ubisoft Website, Welcome to the Official Ubisoft Website, https://www.ubisoft.com/en-us/games (accessed 12/15/2023).

               Activision Website, About Us, https://www.activision.com/company/aboutus (accessed 12/15/2023).            ("As the leading
               worldwide developer, publisher and distributor of interactive entertainment and products on consoles, mobile and PC, our
               ’press start’ is simple: delight players around the world with innovative, fun, thrilling, and engaging entertainment
               experiences.")

       280
               Jason Owens, Dep. Tr., 12/5/2023, at 212:3-22.   ("Q. What about investing in a porting opportunity?    Q. What is that --
               what do you take that to mean? A. I would take that to mean somebody would, for a share of the profits, help us port the
               game to different formats.    Q. Along the lines we were discussing before, to PlayStation VR? A. Yes. Q. And the other
               non-VR consoles? A. If somebody would help fund development, we would share in the profits if they could help get us




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 The console market is fundamentally different because of the technology and software

 involved, game development, and consumer demographics.2sl                                Moreover, each generation of

 console      has     a    fixed     set     of   components,           performance       capabilities,       and     technical

 specifications.~s2       Additionally, the major console hardware providers--Sony, Microsoft, and

 Nintendo-- generally release new hardware only every few years (see Table 2 below). Thus, a

 developer of console games will generally be working with the same performance capabilities

 and limitations of a particular console for several years.




        onto, you know, other modes, other means, you know. Q. And you needed money for that? A. Yes, it would require
         basically recreating and almost making a new game.")

        See, also: Merlyn Morgan-Graham, Dep. Tr., 11/15/2023, at 176:3-182:2.

281
        John Robb, Dep. Tr., 11/28/2023, at 108:4-19. ("Q. Did Dark Catt have plans to bring out versions of Djinni & Thaco that
        could be played on the PC platform? A. That was 100 percent the plan. Q. What about bringing out versions for other
        hardware platforms, such as -- and I11 just name some. Nintendo, Sony PlayStation, you know, Xbox. A... That is
        fundamentally a different market. Q. How so? A. Because of the -- there’s three different components: The technology
        behind it; the consumers and the demographics, who utilize that; as well as the development that goes into it.")

        Jacob Troyer, Dep. Tr., 11/27/2023, at 39:1-40:1. CQ. Okay. And when you’re designing a game, how do you make sure
        the game can run on a particular platform?     A. Generally speaking, you check its - you check the qualifications of the
        platform .... Q. So do you have to tailor your game software at least somewhat to fit each particular platform? A. Yes. Q.
        And what’s hardware? A. Hardware is the electronics that you’re playing on. So it’s your computer. It’s your console. It’s
        your accessories that allow you to interact with that stuff. Q. And so when you’re designing a game, do you make the
        game software compatible with a particular hardware? A. Yes, you will generally do that.")

282
        Game Designing Website, Console vs PC Game Design (Pros and Cons of both),
        https://www.gamedesigning.org/gaming/console-vs-pc/(accessed 11/10/2023).

        Magic Media Website, What to Know About Console Game Development, https://magicmedia.studio/news-insights/what-
        to-know-about-console-game-development/(accessed 11/10/2023).

        As an example, a Best Buy article compares the performance capabilities and technical specifications of the Xbox One S,
        Xbox One X, and Xbox Series X. See:

        Best Buy, Differences Between Xbox One And Xbox Series XIS, https://www.bestbuy.com/discover-learn/differences-
        between-xbox-one-and-xbox-series-xs/pcmcat1687291558669 (accessed 2/5/2024).




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                                   Table 2: Major Console Hardware Releases Since 1994283


                        Nintendo                                      Sony                                  Microsoft

                   Nintendo 64 (1996)                          PlayStation (1994)                          Xbox (2001)

              Nintendo GameCube (2001)                        PlayStation 2 (2000)                      Xbox 360 (2005)

                  Nintendo Wii (2006)                         PlayStation 3 (2006)                      Xbox One (2013)

                 Nintendo Wii U (2012)                        PlayStation 4 (2013)                   Xbox Series S/X (2020)

                Nintendo Switch (2017)                        PlayStation 5 (2020)


(99)    PCs used for games can be (and are) updated more frequently compared to the frequency of

       console releases. While the table above shows that major console hardware providers release

       consoles every four to eleven years, PC hardware "falls off the pinnacle of performance every

       2 to 4 years" and gamers generally upgrade to a new system every two years.284 Further, there

       is considerably less standardization across consumers’ PCs used for gaming.                                   Unlike video

       game consoles, PCs allow for customization to suit the user’s needs and facilitate incremental

       upgrades through replacing certain components such as the CPU, motherboard, GPU, RAM,

       storage, cooling systems, among others.28~




       283
               Video Gamer, "List of PlayStation Console Generations Timeline and Models Released in Order (2023)," 10/25/2023,
               https://www.videogamer.com/tech/console/playstation-consote-generations/.

               Video Gamer, "List of Xbox Console Generations and Models Released in Order (2023)," 9/13/2023,
               https://www.videoga m er.com/guides/xbox-console-generations/.

               Video Gamer, "List of Nintendo Console Generations in Order, 10/31/2023,
               https://www~vide~gamer.c~m/tech/nintend~/~ist-~f -nintend~-c~ns~~e-generati~ns-in-~rder/.

               Table excludes handheld consoles.

       284
               Apex, "How Often Should I Upgrade My Gaming PC?," 4/8/2022, https://apexgamingpcs.com/blogs/apex-support/how-
               often-to-upgrade-gaming-pc.

               Wired, "Everything You Need to Know Before Buying a Gaming PC," 6/3/2020, https://www.wired.com/story/gaming-pc-
               buying-tips/. ("The pitch for playing demanding single-player games on a gaming PC is that you can update your hardware
               as game tech improves, although Intel’s Soqui says that, on average, gamers change in new systems every two years.")

       285
               Apex, "How Often Should I Upgrade My Gaming PC?," 4/8/2022, https://apexgamingpcs.com/blogs/apex-support/how-
               often-to-upgrade-gaming-pc.

               Never Press Pause Website, How Often Do Gaming PCs Need an Upgrade?, https://neverpresspause.com/how-often-do-
               gaming-pcs-need-an-upgrade/(accessed 11/10/2023).

               Best Buy Website, What to Know Before Buying a Gaming PC, https://www.bestbuy.com/discover-learn/what-to-know-
               before-buying-a-gaming-pc/pcmcat 1650298619690 (accessed 11/10/2023).




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(100)    The wide variety of components available for gaming PCs allows for more flexibility in designing

         games. PC video game developers can take advantage of the latest performance capabilities,286

         allowing them to offer a broader range of video game titles across genres on PCs compared to

         consoles.       Recent consumer research conducted by YouGov in more than 20 countries

         demonstrates that "in most of [the surveyed] countries, PC garners outnumber console

         garners."287


(101)   There is a significant discrepancy in content availability between consoles and PCs.                                           For

         example, as of March 2023, there were over 67,000 games available on Steam.~ In contrast,

        there were around 12,000 games available on Nintendo Switch, 6,000 games on PlayStation

        4 and 5 combined, and 3,000 on Xbox.~9


(102)   Put simply, a PC video game developer may not be able to distribute via consoles. The major

        console providers--Sony, Microsoft, and Nintendo--serve as gatekeepers to their platforms in

        that their approval is required for a game to be available for play on their consoles.29° Although




        286     A 2019 HP Tech Takes website post illustrates this point: "Today’s quick-moving games including first-person shooters
                 (FPS), multiplayer games, open sandbox games, and more are built to reap advantages provided by the latest CPUs and
                their multi-cores and threads. In fact, they require them to play well.   For instance, the first-person shooter multiplayer
                game Call of Duty. Black Ops 4 recommends at least a quad-core processor: either the Intel i5-2500K, which has 4 cores
                and 4 threads, or AMD Ryzen R5 1600X, which has 6 cores and 12 threads. But for competitive players using high refresh-
                 rate monitors (1080p), the game actually recommends an AMD Ryzen 1800X (an 8-core processor with 16 threads) or an
                 Intel i7-8700K (which has 6 cores and 12 threads). The 8" Generation Intel i7-8700K happens to be one of fastest processors
                with some of the highest clock speeds (boost speed at 4.7 GHz) that Inte! offers for gaming and streaming. Similarly, the
                acclaimed massively multiplayer online role-playing game (MMORPG) World of Warcraft recommends quad-core
                processors as well: Intel i7-4770 (4 cores, 8 threads) or AMD FX-8310 (8 cores, 8 threads) or better. The hugely popular
                online open-world game of Grand TheftAuto V recommends an Intel i5 3470 (4 cores, 4 threads) or AMD FX-8350 (8 cores,
                8 threads). And the epic battle royale game of Fortnite Battle Royale recommends at least an Intel i5 2.8 GHz processor
                with 4 cores and 4 threads." See:

                HP, "GPU vs CPU: What Matters Most for PC Gaming?," 2/24/2019, https://www.hp.com/us-en/shop/tech-takes/gpu-vs-
                cpu-for-pc-gaming.

        287
                YouGov, "Gaming and Esports: The Next Generation," 2020, at 6. ("The wider uptake of PCs could be attributed to its sheer
                variety of games that appeal across a broader range of genres and demographics. It is a platform that at the higher end
                can service demanding, graphically-intensive titles such as Red Dead Redemption II, competitive team-based games such
                as League of Legends, and pre-installed mainstays such as Solitaire and Minesweeper.")

        288     Web Tribunal, "How Many Video Games Are There? 17 Playful Stats" 3/6/2023, https://webtribunal.net/blog/how-many-
                video-games-are-there/.

        289
                Web Tribunal, "How Many Video Games Are There? 17 Playful Stats" 3/6/2023, https://webtribunal.net/blog/how-many-
                video-games-are-there/.

        290
                Limpach, Odile (2020), The Publishing Challenge for Independent Video Game Developers[:] A Practical Guide, Boca Raton,
                FL: Taylor & Francis Group, at 72.   ("The online console stores have always had strict approval processes for content.
                Microsoft and Sony were the first ones to open their stores to indie developers and grow their catalog of independent
                titles. With this generation of consoles, Nintendo has also recognized the advantage of working with independent
                developers to enrich and diversify their offer and, thus, expand their target group.")

                Interview with David Rosen, 2/1/2024.




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 console requirements have changed over time, this gatekeeping role can deter or prevent PC

 game developers from pursuing or accessing console distribution services.                                             Even if a

 developer/publisher wants to develop a game for one/all of the consoles, that option may be

 foreclosed.         To this point, the book The Publishing Challenge for Independent Video Game

 Developers: A Practical Guide states: "Alternatively, the indie games market on consoles is a

 lot less saturated than the PC market. Each console manufacturer has its own store and

 audience, with limited crossover. As developers, it is definitely more challenging to release on

 a console than to release on PC. With manufacturers being heavily involved in regulating

 content on these consoles, data availability is also limited."291                             The author adds: "On the

 console market, first parties are still keeping their ecosystem quite closed with high barriers

 to entry. The access to development kits is more or less restricted and, in the case of Sony or

 Nintendo, pretty expensive."292.2~3




291
         Manzar, Imaad (2020), "An Overview of the Indie PC and Console Market," in Odile Limpach, The Publishing Challenge for
         Independent Video Game Developers[,’] A Practical Guide, Boca Raton, FL: Taylor & Francis Group, at 22.

292
         Limpach, Odile (2020), The Publishing Challenge for Independent Video Game Developers[,’] A Practical Guide, Boca Raton,
         FL: Taylor & Francis Group, at 76.

293
         For example, Sony Interactive Entertainment has three regional offices that manage, among other things, game distribution
         in those regions. Publishing a game with Sony for the PlayStation may require establishing a relationship with the office(s)
         corresponding to the geographic target(s) for the game. The various requirements and support levels can vary for each
         regional office, and the overall process with each can be time intensive. See:

         Pingle Studio, "Standards of Game Platforms You Should Know Before Porting: Sony PlayStation," 2/19/2021 (updated
         5/2/2023),       https://ping~estudi~.c~m/b~~g/p~rting/standards-~f-game-p~atf~rms-y~u-sh~u~d-kn~w-bef~re-p~rting-
        playstation.

        Additionally, each office operates autonomously, so approval by one office does not guarantee approval by another
        covering a different geographic area. See:

        Pingle Studio, "Standards of Game Platforms You Should Know Before Porting: Sony PlayStation," 2/19/2021 (updated
        5/2/2023),       https://ping~estudi~.c~m/b~~g/p~rting/standards-~f-game-p~atf~rms-y~u-sh~u~d-kn~w-bef~re-p~rting-
        playstation.

        Wired, "Opinion: Why Wii Shovelware Is a Good Thing," 3/5/2008, https://www.wired.com/2OO8/O3/opinion-why-w-I/.

        Hill-Whittall, Richard (2015), The Indie Game Developer Handbook, Burlington, MA: Taylor & Francis Group, at PDF 104.
        ("In 2005, my studio signed a deal with a small US publisher to publish two of our games in North America on PS2 and
        PSP. The deal was negotiated by an agency on our behalf and was worth $450,000 for us. This was huge-the games were
        complete, already released in PAL territories and ready to go into SCEA QA. And then, the kick in the teeth... Sony of
        America refused concept approval, and the deal was dead-no negotiation-finished.")

        Limpach, Odile (2020), The Publishing Challenge for Independent Video Game Developers[,’] A Practical Guide, Boca Raton,
        FL: Taylor & Francis Group, at 56, 58-59.

        The developer will also need access to a Sony PlayStation software development kit ("devkit"), and acquiring one directly
        from Sony requires applying to the Sony development program. As part of its review process, Sony also reviews the Game
        Design Document ("GDD"), which is a description of the game and may include information such as characters, story,
        theme, gameplay overview (goals, skills needed, mechanics, etc.), music and sound, art style, technical description, among
        others. Further steps for the developer may include confirming any third-party plugins used are supported by the console
        (if not, rewriting code may be required), validating that the game meets Sony’s Technical Requirements Checklist (could
        include a list of necessary technologies that must be incorporated, optimizing for the PlayStation hardware, Functional




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(103)    Survey results demonstrate that a minority of video game consumers multihome between PCs

         and consoles.         A 2019 report from Deloitte that summarizes the results of its "DigitaJ Media

         Trends Survey" conducted from 2015 to 2018 describes "multiplatform players" as those that

         ~[t]oggle between platforms and use multiple devices" and estimates that such players

         represent ~23 percent of the gaming population."294 "PC-dominant" players are estimated to

         represent "15 percent of the gaming population" and to spend approximately 1% of their time

         playing games on consoles; in comparison, "console-dominant" players are estimated to

         represent "23 percent of the gaming population" and spend less than 5% of their time playing

        games on PCs.29s A 2022 survey conducted by the Entertainment Software Association ("ESA")

        regarding video game playing habits reported that only 23% of the approximately 4,000 survey

        participants responded that they play video games on both PCs and consoles.2% ~




(104)   Moreover, consumers appear to have genre-specific preferences for playing games on PCs

        relative to consoles.              In a 2021 ESA survey, the top game genre preferred among PC video

        game consumers was ’~Casual" (e.g., Tetris, Solitaire) while the top game genre preferred among

        console video game consumers was ~’Action" (e.g., Grand Theft Auto, Super Mario Odyssey).298

        Similar results were found in a 2022 ESA survey.~9~ Additionally, monetization strategies can




                Quality Assurance ("FQA") checks, branding regulations, communication standards, and language policies), working with
                the Sony marketing team to create a platform page, and obtaining age ratings from the ESRB rating system. See:

                Pingle Studio, "Standards of Game Platforms You Should Know Before Porting: Sony PlayStation," 2/19/2021 (updated
                5/2/2023),       https://ping~estudi~.c~m/bl~g/p~rting/standards~~f-game~p~atf~rms~y~u~sh~u~d~kn~w-bef~re-p~rting~
                playstation.

                Game Developer, "How to Write a Game Design Document,"7/26/2016, https://www.gamedeveloper.com/business/how-
                to-write-a-game-design-document.

        294
                Deloitte,       "Digital       Media       Trends        Survey,"      2019,       at    3-4,       available        at:
                https://www2.de~~itte~com/us/en/insights/industry/techn~l~gy/digital-media-trends-consumpti~n~habits~survey/t rends-
                in-gaming-esports.html.

        295
                Deloitte,       "Digital       Media       Trends        Survey,"      2019,       at    3-4,       available        at:
                https://www2.de~~itte.c~m/us/en/insights/industry/techn~~~gy/digital-media-trends-consumpti~n-habits-survey/trends-
                in-gaming-esports.html.

        296
                ESA, "2022 Essential Facts About the Video Game Industry," 6/2022, at PDF 2, 11.

        297
                Newzoo, "PC & Console Gaming Report," 2023, at 44.

        298
                ESA, ’2021 Essential Facts About the Video Game Industry," 7/2021, at 7.

        299
                In 2022, "Puzzle" was the top genre among PC garners and "Arcade" was the top genre among console garners. See:

                ESA, "2022 Essential Facts About the Video Game Industry," 6/2022, at 11.




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         differ across consumer bases.                 A 2023 Newzoo industry report shows that twelve of the top

        twenty "free-to-play" games released in 2022 were available on PC only,3°° consistent with a

        free-to-play or freemium model being more successful among PC video game consumers than

        console video game consumers. Accordingly, a developer’s intended genre and monetization

        strategy may mean targeting audiences that are more represented on PCs than consoles (or

        vice versa), leading to limited substitutability across platforms.


(105)   Additionally, documents and testimony confirm that video game distribution services for

        consoles are not directly substitutable with video game distribution services for PC.3°~                                         For

        example, an internal Valve email chain containing summary notes of a meeting with ~

        ~ demonstrates Valve’s belief that launching video games on PCs

        and consoles simultaneously will not negatively impact console sales: "We have spent a ton of

        time and energy over the past two years trying to convince ~ that shipping day and

        date on the PC won’t cannibalize their console sales."3°2 In 2017, a publisher told Valve it was

        unable to run a promotion of its game’s PC version on Steam because of an exclusive




        300
                Newzoo, "PC & Console Gaming Report," 2023, at 28.

        301
                For additional examples, see:

                Epic, Diesel Q&As, c. 12/2018 (EPIC_VALVE_0000058-072, at EPIC_VALVE_0000062).             ("Consoles are a different market
                [from the PC market], with dedicated game machines whose hardware costs are often partly subsidized by software
                revenue.")

                Valve,   Emails   Between   &            and   Valve     Employees,   9/11/2020-10/26/2020   (VALVE_ANT_1199870-889,        at
                VALVE_ANT_1199885-86). ("We’re also keen to have the freedom to run independent sales promotions on both Xbox and
                Steam. They’re different audiences at -- as already mentioned -- very different stages of the product lifecycle.")

                Further examples in Valve testimony include:

                Kristian Miller    ~. Tr., 10/3/2023, at 55:1-18.




                Connor Malone, Dep. Tr., 11/8/2023, at 39:21-40:17. ("Q. Now, Steam distributes PC games, right? A. Yes. Q. So I can’t
                buy Mario Kart on Steam, correct? A. That is correct. Q. For Mario Kart, I’d have to buy a Nintendo console, right? A. Yes.
                Q. And similarly, I can’t buy a PC game on -- on a Nintendo Switch, right? A. As far as I know, you cannot buy a game on
                a Nintendo Switch and install it on a PC, if that’s what you’re asking. Q. Yeah. So I also couldn’t buy a PC game and then
                play it on the Switch, right? A. Correct. Q. In general, would you agree that games are generally sold for specific platforms?
                A. I don’t know if that’s always true, but I think there are hardware requirements that are typically a major component of
                games.")

                Scott Lynch, Dep. Tr., t0/13/2023, at 201:2-14. ("Q. Would it calculate its share of -- would it calculate how much revenue
                is sold of a particular game on the Windows operating system versus let’s say, Xbox? A. Would it          can ’      ~eat the
                                                                    is available on PC and   and




        302
                Valve, Emails Regarding~ Meeting, 9/12/2013-9/13/2013 (VALVE_ANT_0164882-84, at VALVE_ANT_0164883).




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         promotion with ~ during that time.3°3 In response, Valve indicated that the
         PC and ~ versions are not in the same market, responding that "[t]hese aren’t
         competitive products - theq are for entirely different platforms, so no [sales[ cannibalization as
         the~ are not sellino PC oames and we are not selling._"3°4                                         Similarly, when Valve
         learned about exclusive console DLC content for~

        ~.30s Further, emalls between Valve and ~ discuss the
        potential sales benefits of launching games simultaneously on PC and on consoles, suggesting
         that sales on one platform need not be at the expense of the other.~°~



         Mobile gaming

(106)    I also consider the possibility that distribution services for games played on mobile devices
         (e.g., iPhone, Samsung, etc.) are substitutes for PC-gaming distribution services. Based on
        the record evidence and my research and analysis, I conclude that game distribution through
        mobile app stores is not a substitute for digital PC game distribution platforms. In fact, PC
        and mobile games (and their associated distribution services) are complements.


(lO7)   PCs and mobile devices are used for different purposes by consumers, offer different gaming

        experiences, and serve different gaming audiences.                             Mobile devices are used "to perform

        various tasks on the go," such as making phone calls, sending texts, "browsing the internet,

        checking emalls, [and] playing games[.]’’3°7 Games are used relatively minimally as compared

        to accessing the internet, communication by text, and the like. By contrast, PCs are used for

        more intensive tasks such as playing video games, "writing documents, editing videos, [and]

        creating applications[.]"3°8            PC gaming provides users with more control and customization




        303
                Valve,   Emails   Regarding   Promotions,   2/2/2017-2/22/2017   (VALVE_ANT_1163340-43,     at VALVE_ANT_!163340-41),
                available at Ricky Uy, Dep. Tr., 10/24/2023, Exhibit 173.

        304
                Valve, Emails Regarding Promotions, 2/2/2017-2/22/2017 (VALVE ANT 1163340-43, at VALVE_ANT_1163340), available
                at Ricky Uy, Dep. Tr., 10/24/2023, Exhibit 173. (Emphasis added.)

        305
                Valve, Emails Regarding ~, 8/4/2020-8/5/2020 (VALVE_ANT_0897767-68, at VALVE_ANT_0897767), available at
                Ricky Uy, Dep. Tr., 10/24/2023, Exhibit 172.

        306
                Valve, Emails Between~ Employees and Valve Employees, 1/28/2020-2/27/2020 (VALVE_ANT_0053218-228, at
                VALVE
                 AN~T_0053226-28).
                 /ALVE ANT 0053226-28 ("[R]eleasincl on Steam simultaneously
                                                              simulta~       with console (for example) shows that the game benefits
                                                                                Furthermore, you can see strong correlation in the spikes
                between PC and console. Even in places where the *discount or player event is only applied on PC*, you see a spike not
                just in PC sales, but also in console sales at retail.~That
                                                                         is because~of
                                                                                 network effects. If person A is a PC player and gets
                excited and talks about a game with friends B ~) and C ~ then B and C are still excited as long as
                they can also play the game on their platform of choice.")

        307
                CellularNews, "What Is a Mobile Device," 9/21/2023, https://cellularnews.com/now-you-know/what-is-a-mobile-device/.

        308
                Techopedia, "What Does Computer Mean," 3/30/2020, https://www.techopedia.com/definition/4607/computer.




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         options than mobile gaming and "opens access to more complex games and genres[.]"3°9

         Mobile gaming is preferred for "shorter gaming experiences.’’3!° Many users prefer PC games

         because the games are "generally more challenging" and "tend to be much more immersive

         and complex than mobile games."~11 Users who play mobile games instead value convenience

         and portability, because "[y]ou can take them with you wherever you go and play them

         whenever you want.’’~12                While popular mobile games include Candy Crush, Clash of Clans,

         and Angry Birds, popular PC games are GTA Series, Dota, Counter-Strike: Global Offensive.~13

         Ultimately, mobile and PC games "serve different sets of audiences" because "[m]obile games

         are designed to be played on smaller screens and with shorter gameplay sessions, while PC

         games are usually more complex and require a larger time commitment."~14


(108)    Developers distinguish games developed for PC game distribution services from those

         developed for mobile ones. In GDC surveys, developers identify mobile (iOS and Android) and

         PC as separate platforms.315                  For example, in the 2023 GDC survey, 65% of developers

        developed games for PC platform while only 26% and 27% developed for iOS and Android,

        respectively.~6          Mobile and PC game development processes are different, in part, due to

        technical differences in hardware and software between PCs and mobile devices.~7 Developers




        309      Suffolk Gazette, PC Gaming Vs Mobile Gaming in 2023: Expectations and Overview, https://www.suffolkgazette.com/pc-
                 gaming-vs-mobile-gaming-in-2023-expectations-and-overview/(accessed 11/9/2023).

        310
                 Suffolk Gazette, PC Gaming Vs Mobile Gaming in 2023: Expectations and Overview, https://www.suffolkgazette.com/pc-
                gaming-vs-mobile-gaming-in-2023-expectations-and-overview/(accessed 11/9/2023).

        311
                 PC ZONE, "PC Gaming Vs. Mobile Gaming: Which is Better?," 8/30/2022, https://www.pczone.co.uk/pc-gaming-vs-mobile-
                gaming-which-is-better/.

        312
                PC ZONE, "PC Gaming Vs. Mobile Gaming: Which is Better?," 8/30/2022, https://www.pczone.co.uk/pc-gaming-vs-mobile-
                gaming-which-is-better/.

        313
                Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
                https://www.j uegostudio.com/blog/difference-between-mobile-and-pc-ga me-development

        314     Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
                https://www.juegostudio.co m/blog/difference-between-mobile-and-pc-ga me-develop ment

                See   also:   Valve,   Emails   Regarding   Publishing   on   Steam,   9/28/2017-10/12/2017   (VALVE_ANT_0601404-409,      at
                VALVE_ANT_0601407-408).          ("My advice is to dedicate an entire day to looking at popular puzzle games on Steam
                (between the Puzzle, Indie, Casual, and Strategy tags) and looking at price, reviews, kind of content, etc. to get a sense of
                what does well and what doesn’t.      Many casual puzzle games that do great on mobile do very little business on Steam,
                even if they’re super well made and well optimized for PC.")

        315     See, for example:

                GDC, "State of the Game Industry 2023," 3/20/2023-3/24/2023, at 1, 5.

        316
                GDC, "State of the Game Industry 2023," 3/20/2023-3/24/2023, at 5.

        317
                PCs have central processing units ("CPUs") that use more electricity in high performance cases, have higher storage
                capacity, have ethernet capability, can "connect to a wide variety of monitors," and "run more powerful software" relative




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         "need to create simpler games" for mobile devices than those for PC and have to design games
         within the constraints of mobile devices’ "limited storage space and processing power[.]"318 PC
         game development is "not limited by hardware constraints[,]" so developers can "create more
         complex and visually stunning games[.]"319 Developing PC games is a "more expensive and
         time-consuming process than mobile game development" because it requires powerful
         computers and specialized software, while "[m]obile games are typically less expensive to
         develop than PC games[.]"32°


(109)    Valve’s internal documents reflect that games for PC distribution services are complements to
         those for mobile distribution services. Valve does not invest in mobile games because "[t]hat’s

         not in our scope--we are a PC gaming plat[form.]"321 Indeed, in a 202 1 letter brief in the matter
         of Epic Games, Inc. v. Apple Inc., Valve made it clear that it does not make or sell "video games
         for mobile devices, or otherwise compete in the mobile market[,]" and "Steam users cannot
         buy or use mobile apps on Steam[;]" rather, "Steam [is] an online platform that lets users




                 to mobile devices. PCs’ operating systems are designed to use faster CPUs, larger amounts of disk space, higher amounts
                 of random-access memory ("RAM"), and "the features of modern chipsets that are not available on most mobile devices."
                 Mobile devices have CPUs that cannot draw large amounts of electricity from mobile batteries, have smaller screens, lower
                 storage capacity, and run less powerful software than PCs. Mobile operating systems (Android and lOS) are designed for
                 specific devices and "have stricter hardware requirements because the ecosystem of mobile apps and devices is strongly
                connected to specific hardware features." Additionally, PCs use a keyboard and mouse that most users prefer for input,
                while mobile devices use on-screen touch keyboard that is smaller and "... make typing more difficult for users[.]" See:

                Computer Hope, "Computer vs. Smartphone," 11/6/2021, https://www.computerhope.com/issues/ch001398.htm.

        318
                Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
                https://www.jueg~studi~.c~m/b~~g/difference-between-m~bi~e-and-pc-game-deve~~pment.

        319
                Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
                https://www.jueg~studi~.c~m/b~~g/di~erence~between-m~bi~e.and-pc-game-deve~~pment.

        320
                Juego Studio, "Difference Between Mobile and PC Game Development," 9/5/2022,
                https://www.jueg~studi~.c~m/b~~g/di~erence-between-m~bi~e-and-pc-game-deve~~pment.

                A source from the European Commission regarding the Activision Blizzard/King merger confirms the GDC survey results
                described above.       In the context of segmenting the video game market, the source notes: "Producing PC and console
                games involves high investments and large teams of developers and, therefore, releases are less frequent compared to
                mobile games, which can be developed by small teams and are released in the hundreds per day[.] ... PC and console
                games are more content-heavy than mobile ones, offering a more advanced gaming experience in terms of graphics,
                music, available options, gameplay, scope and depth of the storyline.       On the contrary, mobile games do not require
                advanced design, music or narrative content .... [In comparison to PC and console games,] mobile game sessions are
                shorter and more repeated, with customers appreciating the possibility to play ’on-to-go (e.g., while travelling to work, on
                a train, etc.) [.]’" See:

                European       Commission,      "Activision   Blizzard/King   Merger   Decision,"   12/2/2016,   at   4-5,   available   at:
                https://ec.europa.eu/competition/mergers/cases/decisions/m7866_221_3.pdf.
        321
                Valve,    Valve     Responses     to     Developer   Roundtable   Questions,   5/3/2021    (VALVE_ANT_0425001-011,        at
                VALVE_ANT_0425006).




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         purchase and play PC games on their laptops and desktops."32~ Valve considers :’the mobile

         [game] market as a little bit different from PC," and even suggests that publishers who choose

         to sell games on both platforms "may wish to use a different business model or content

         strategy between the two places."~23


(110)    Valve indicates that while mobile games can be brought to PC, there are a variety of

         considerations for developers attempting to do so.                        For example, Valve lists game resolution,

         input, and the business model as important factors publishers wanting to bring mobile games

         to PC should consider, noting that "resolution is important for how your game appears on

         physically larger and higher-resolution [PC] screens" and inputs such as "[k]eyboard, mouse,

         [and] controller" are all important to get right. 324 Valve encourages publishers to bring their

         non-PC games on Steam regardless of the "operating systems [they] are currently building

        for[,]"~2s suggesting that Valve sees the PC gaming community as a separate, untapped, and

        arguably complementary market for mobile game developers.


(111)   Given the evidence, distribution of games via mobile app stores is complementary. It does not

        represent a substitute to third-party digital PC game distribution via platforms, and thus is

        not included in the relevant market.



        Cloud gaming platforms


(112)   I also consider the possibility that cloud gaming platforms are substitutes for PC-gaming

        distribution services.~26 I find that game distribution through cloud gaming services is not a

        viable substitute for PC game distribution services.




        322
                Epic Games, Inc. v. Apple Inc., No. 4:20-cv-05640-YGR, Joint Discovery Letter Brief Regarding Apple’s Subpoena to Non-
                Party Valve Corporation, at 5 (N.D. Cal. February 18, 2021), available at Chris Schenck, Dep. Tr., 12/8/2023, Exhibit 382.

        323
                Valve, Emails Regarding Publishing on Steam, 5/1/2020 (VALVE_ANT_1198819).

                Similarly, in response to Apple’s discovery request in Epic Games v. Apple case, Valve stated that the documents Apple
                was seeking had "... little or no value, as Valve does not compete in the mobile app market[.]" See:

                Epic Games, Inc. v. Apple Inc., No. 4:20-cv-05640-YGR, Joint Discovery Letter Brief Regarding Apple’s Subpoena to Non-
                Party Valve Corporation, at 5-6 (N.D. Cal. February t8, 2021), available at Chris Schenck, Dep. Tr., 12/8/2023 Exhibit 382.

        324
                Valve, Steam Presentation, undated (VALVE_ANT_0601879.pptx, at Slide 25). (See the slide’s notes.)

        325
                Valve, Steam Presentation, undated (VALVE_ANT_0601879.pptx, at Slide 27).

        326
                Note that while I consider other forms of cloud gaming, such as cloud gaming as an additional feature on a given platform
                or cloud gaming as a complementary product, whereby a subset of games purchased elsewhere can be connected to an
                account, these cloud gaming options do not and cannot present reasonable alternatives or substitutes to PC-gaming
                distribution services.

                For example, Microsoft’s Game Pass offers a cloud gaming feature with an upgraded subscription. See:




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(lla)    Cloud PC gaming is inherently different from traditional PC gaming. Cloud gaming allows

         users who have access to the internet to "play games on remote servers rather than on a local

         device[,]" eliminating the need to purchase a PC with specific and expensive hardware

         capabilities, and allowing users to play games from anywhere and on any device.327                                            Cloud

         gaming requires a fast internet connection; otherwise, users may experience latency issues,

         which are "the delay between a player’s input and the game’s response[,]’’328 and                                        negatively

         affect the cloud gaming user experience.329                       In contrast, "traditional gaming offers a more

         stable and reliable gaming experience" as "games are played on local hardware" with "little to

         no latency[.]"33° Another source remarks that PC gaming "offers a level of performance and

        customization that cloud gaming currently cannot match[.]"3~1


(114)   A Morgan Stanley analyst report remarks about the challenges facing cloud gaming.                                                   In

        contrast to cloud music and video services, in cloud gaming services, "the game has to wait

        for the user to take an action before it generates video/audio and this introduces the issue of




                 Xbox Website, Xbox Cloud Gaming (Beta), https://www.xbox.com/en-US/cloud-gaming (accessed 2/5/2024).

                 NVlDIA GeForce Now represents a service where you can complement existing games purchased on other platforms. See:

                 Nvidia Website, GeForce Now, https://www.nvidia.com/en-us/geforce-now/(accessed 2/5/2024).

                 See also:

                 Rietveld Report, 2/8/2024, §XI.E.

        327
                TS2,   "Cloud Gaming Vs Traditional        Gaming: Which One Wins?," 7/7/2023,        https://ts2.space/en/cloud-gaming-vs-
                traditional-gaming-which-one-wins/.

        328
                TS2, "Cloud Gaming Vs Traditional Gaming: Which One Wins?," 7/7/2023, https://ts2.space/en/cloud-gaming-vs-
                traditional-gaming-which-one-wins/.

        329
                TS2,   "Cloud Gaming Vs Traditional Gaming: Which One Wins?," 7/7/2023,               https://ts2.space/en/cloud-gaming-vs-
                traditional-gaming-which-one-wins/.

        330
                TS2, "Cloud Gaming Vs Traditional Gaming: Which One Wins?," 7/7/2023, https://ts2.space/en/cloud-gaming-vs-
                traditional-gaming-which-one-wins/.

        331
                ISP.today, "Exploring the Future of Gaming: PC vs Cloud Games," 9/12/2023, https://isp.page/news/exploring-the-future-
                of-gaming-pc-vs-cloud-games/.

                Additionally, for example, "[w]hen comparing input latency for multiplayer games, a physical PC will always pull ahead.
                Your keyboard and mouse inputs go directly to the PC, which is then sent over the Internet to the main server. Inputs on
                cloud PCs, on the other hand, have to travel from your PC to the cloud rig and then onto the game servers. This is a
                potential problem if you want to play very competitive and quick shooters, such as Counter-Strike or Rainbow Six Siege."
                See:

                MakeTechEasier,     "Cloud   Gaming       vs.   Gaming   PC:   Is   Streaming     Games   Your   Best   Option?,"    7/8/2020,
                https://www.ma ketecheasier.com/cloud-ga ming-vs-gaming-pc/.

                After researching and testing cloud gaming services for three months, the New York Times remarked in a 2023 article that
                "even the most popular cloud gaming options provide service that can be difficult to predict or rely on, and it’s tough for
                us to recommend any of them." See:

                New      York     Times,     "The       Best     Cloud    Gaming       Services     Aren’t   Great      (Yet),"     6/29/2023,
                https://www.nytimes.com/wirecutter/reviews/best-cloud-gaming-services/.




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         latency, i.e. the lag between when a user inputs a command and the corresponding action

         appears on-screen[;]" this "latency is often significant enough to make cloud gaming awkward

         or unplayable[.]"332          This helps to demonstrate that ’~the underlying technology has not

         advanced to the point where it can replace a traditional console or gaming PC for the average

         gamer[,]" leading Morgan Stanley to "think cloud gaming is likely to take longer (5-10 years)

         due to latency and technological hurdles."333


(115)    Valve’s documents also dem~)nstrate that it views PC games and distribution services as non-

         alternatives from cloud gaming services. A 2020 Valve analysis implies that ~



                           and internal Valve emails demonstrate that




(116)   The above evidence suggests that cloud gaming platforms are not, at the moment, viable

        alternatives for third-party digital PC game distribution platforms, and thus are not included

        in the relevant market.



        4.1.4.       Relevant geographic market

(117)   As discussed in Section 3.3, Steam operates across the world and has users located

        worldwide.        As stated in the Steamworks documentation, "Steam is a global platform with

        official support for 28 languages across many platform features.                            Supporting as many




        332
                Valve, Analyst Report Regarding Cloud Gaming, 10/21/2018 (VALVE_ANT_0059571-9643, at VALVE ANT 00S9600).

        333
                Valve, Analyst Report Regarding Cloud Gaming, 10/21/2018 (VALVE_ANT_0059571-643, at VALVE_ANT_0059S80,
                VALVE_ANT_0059600).
        334
                Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE ANT 0019400-02, at VALVE ANT 0019401), available at Scott
                Lynch, Dep.
                          ~. Tr., 11
                                  10/13/2023, Exhibit 156.           -   -                    -


        335
                Valve,   Emails   Rega          Stadia,   3/21/2019-4/3/2019    (VALVE ANT            at   VALVE_ANT_0060484,
                VALVE ANT 0060485




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         languages, currencies and payment methods as possible enables Steam to provide the best

         experience possible to customers around the world."336


(118)    Steam’s operations have a global reach.337                     Other third-party digital PC game distribution

         platforms also operate globally.                For example, EGS distributes games "across 187 countries

        with 16 languages supported."338                   Green Man Gaming also markets and sells video games

        globally,339       operating in        195 countries and supporting 11 languages.34°                                 Non-gameplay

        distribution platforms               also    operate    globally.        For example,           Humble         Bundle          supports

        developers and delivers games to users "around the world[.]"341


(119)   Steam and other market participants are banned or restricted in certain geographies.                                                 For

        example, while Steam is available in China, it is a restricted version of the worldwide Steam

        platform.3~2 Additionally, Indonesia has banned access to EA after EA failed to comply with

        the country’s restrictive content moderation laws.343                            EGS is available in most countries




        336
                 Steamworks Website,     Localization and Languages, https://partner.steamgames.com/doc/store/Iocalization (accessed
                 10/31/2023).

        337
                See, for example:

                Valve, Steam Update Presentation, c. 2014 (VALVE_ANT_1221398.pptx, at slide 2).

                Valve, Steam Platform Update, 5/31/2016 (VALVE_ANT_1555095.pptx, at slides 5-7, 32).

                Valve, "Steam Business Update," c. 2017 (VALVE_ANT_1818477-516, at VALVE_ANT_1818481-482, VALVE_ANT_I 818495-
                497, VALVE_ANT_1818508).

                Valve, Steam Presentation in Japan, c. 2017 (VALVE ANT 0601879.pptx, at slides 6-8).

                Valve, "Steam Update," c. 2018 (VALVE_ANT_1444189-220, at VALVE_ANT_1444192-195).

        338
                EGS Website, Epic Games Store Offers App, Software and Game Distribution, https://store.epicgames.com/en-
                US/distribution (accessed 11/10/2023).

        339
                Green Man Gaming Website, Home Page, https://corporate.greenmangaming.com/(accessed 11/17/2023). ("[Green Man
                Gaming is a] truly global store with an industry-leading performance marketing team that turns your awareness into sales
                across the world.")

        340
                Green Man Gaming Website, About Us, https://corporate.greenmangaming.com/about-us/(accessed 11/17/2023).

        341
                Linkedln, Humble Bundle, https://www.linkedin.com/company/humble-bundle (accessed 11/10/2023).

        342
                Steamworks Website, Steam China, https://partner.steamgames.com/doc/store/china (accessed 11/17/2023). ("Valve has
                partnered with Perfect World to bring an onshore version of Steam to China, called Steam China (;,~,j~
                                                                                                                ~"     ~~
                                                                                                                        ~= ). At this time,
                we are working with a select group of partners for releasing games on Steam China. A prerequisite to publishing games
                on Steam China is receiving Chinese government approval for your game.")

                Steam China Website, Home Page, https://store.steamchina.com/(accessed 1/30/2024).

        343
                The   Verge,    "Indonesia   Unblocks   Steam   and   Yahoo,    But   Fortnite   and   FIFA   Are   Still   Banned,"    8/2/2022,
                https://www.theverge.c~m/2~22/8/2/23288488/ind~nesia-steam-yah~~-f~rtnite-~fa-b~~ck-epic-games-~rigin.                     ("Last
                week, Indonesia blocked access to Steam, PayPal, Yahoo, Epic Games, and Origin after the companies failed to meet a
                deadline to register with the country’s database.     This requirement is bundled with a broader law, called MR5, that
                Indonesia first introduced in 2020.")




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         around the world "except where prohibited by US law, such as North Korea and Iran."344

         Similarly, Discord is banned in China, North Korea, the United Arab Emirates, Oman, and

         Egypt.34s


(120)   Given the global operations of Steam and its competitors, I conservatively assume the

        geographic market is worldwide. However, with the restrictions, bans, and prohibitions under

        U.S. law as mentioned above, the geographic market could exclude territories that restrict or

        ban these gaming platforms, such as China, North Korea, and Iran.



        4.2.           Economic assessment of monopoly power

        4.2.1.         Measurement of monopoly power in the relevant market

(121)   Antitrust analysis is focused on situations where firms engage in anticompetitive conduct,

        such as attempting to monopolize a market or maintain a monopoly in a market through the

        suppression of competition.3~6                       If a firm can influence market prices, that firm possesses

        market power.3~7             In the language of economics, if a firm faces a downward sloping demand

        curve--consumers will purchase more at lower prices and less at higher prices--that firm has

        market power.348 Market power is a non-pejorative term. The overwhelming number of firms

        operating in the economy possess some degree of market power. Most firms have some control




                The     Verge,       "Indonesia     Bans      Access     to    Steam,     Epic     Games,      PayPal,        and   More,"    7/31/2022,
                https://www.theverge.c~m/2~22/7/3~/23285~91/ind~nesia-bans-access-steam-epic-games-paypa~-yah~~.                                   ("The
                Indonesian government has blocked access to a range of online services, including Steam, Epic Games, PayPal, and Yahoo
                after the companies failed to comply with a new requirement related to the country’s restrictive content moderation laws,
                as reported earlier by Reuters.")

                Tech    Explore,    "Epic   Games    No     Longer   Blocked   in   Indonesia    After   Registering   with    Government,"   8/10/2022,
                https://techxplore.com/news/2022-08-epic-games-longer-blocked-indonesia.html.

        344
                Epic   Games       Website,    Frequently    Asked     Questions,   https://www.epicgames.com/site/en-US/epic-games-store-faq
                (accessed 11/17/2023). ("Where is the Epic Games store available? The Epic Games Store is available to players in most
                countries in the world except where prohibited by US law, such as North Korea and Iran.").

        345
                IT Geared, "What Countries is Discord Banned In?," 5/15/2023, https://www.itgeared.com/what-countries-is-discord-
                banned-in/.      ("The countries which have Discord banned include the following: China[,] North Korea[,] United Arab
                Emirates[,] Oman[, and] Egypt[.]")

        346
                FTC    Website,      The      Antitrust    Laws,     https://www.ftc.gov/advice-guidance/competition-guidance/guide-antitrust-
                laws/antitrust-laws (accessed 2/6/2024).

        347
                Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 148.

        348
                Varian, Hal R. (2014), Intermediate Microeconomics: A Modern Approach, 9th ed., New York: W.W. Norton & Company, at
                496. ("The industry structure is monopolistic in that each firm faces a downward-sloping demand curve for its product. It
                therefore has some market power in the sense that it can set its own price, rather than passively accept the market price
                as does a competitive firm.")




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         over the prices they charge--and, thus, some degree of market power--because of product

         differentiation. 349


{122)    Market power exists on a continuum.                    At one extreme, firms have no market power, as in a

        perfectly competitive market. 3s0 At the other extreme, as in a pure monopoly, there is only one

         firm--the monopolist--with complete control over the market price.3s~                                    In between these

         extremes are markets characterized as imperfectly competitive.3s2


(123)    Market power becomes a concern for antitrust analysis when a firm gains significant market

        power, sometimes referred to as monopoly power.3s3 Firms with monopoly power can set and

         sustain prices above the competitive level and set market output below the competitive level,

         i.e., "artificially restricted below the socially optimum level.’’3s4 They can exclude competitors

        or make it difficult for competitors, whether existing or new entrants, from having the

        opportunity to compete effectively on the merits.                          A market’s structure--which refers to

        characteristics such as the size and strength of competitors and potential competition--is one

        of the indicia of market and monopoly power.35s One way to describe market structure is by

        measuring market concentration.                     An oft-used measure of market concentration is the

        Herfindahl-Hirschman Index ("HHI").3s6 The HHI is calculated as the sum of squares of the

        market shares of the firms in the relevant market.357                         A perfectly competitive market would




        349
                Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 311-312.

        35O
                Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 320.

        351
                Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 320.

        352
                Most market structures in the economy lie between these two market extremes of perfect competition and monopoly, and
                face some competition while having some degree of market power.

                Mankiw, N. Gregory (2018), Principtes of Economics, 8th ed., Boston, MA: Cengage Learning, at 320.

        353
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 937.

        354
                Kamerschen, David R. (1976), "The Economic Effects of Monopoly: A Lawyer’s Guide to Antitrust Economics," Mercer Law
                Review 27(4): 1061-1109, at 1062.

        355
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 236.

        356
                U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines,"            12/18/2023, § 2.1, available at:
                https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-NEW-MERGER-GUIDELINES.pdf.

        357
                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial OrganLzation, 3rd ed., Reading, MA: Addison-Wesley, at
                247.

                The U.S. Department of Justice and the FTC consider HHIs below 1,000 as relatively unconcentrated, HHIs of 1,000 to 1,800
                as moderately concentrated, and HHIs greater than t,800 as highly concentrated.

                U.S. Department of Justice and Federal Trade Commission, "Merger Guidelines," 12/18/2023, § 2.1, fn. 15, available at:
                https://www.ftc.gov/system/files/ftc_gov/pdf/P234000-N EW-MERGER-GUIDELINES.pdf.




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         have an HHI close to zero, a pure monopoly would generate an HHI of 10,000 (= 100 x 100).3s8

         While high concentration does not, by itself, prove that a firm has monopoly power, a

         persistent high level of concentration is indirect evidence of monopoly power.


(124)   Another metric for assessing market power is the Lerner Index, which measures a firm’s price

         to marginal cost.3s9 The Lerner Index is calculated by taking the difference between the price

        at which the firm sells its output and its marginal cost for that output ("price-cost margin"),

        and then dividing by the price:36°


                                                                                P-MC
                                                          Lerner Index -
                                                                                 P




(125)   A perfectly competitive firm would have a Lerner Index equal to 0, as price is equal to marginal

        cost.381 As a firm acquires more market power, its price-cost margin increases, and the Lerner

        Index rises.         All else equal, a larger Lerner Index value is consistent with a greater degree of

        market power, with a perfect monopoly equal to 1.3~2


(126)   Economists look to see if there is either direct or indirect evidence of monopoly power.363

        Monopoly power can be inferred from direct evidence that a firm can raise prices to a

        supracompetitive level for an extended period of time,364 along with "evidence of restricted




        3S8
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, tL: ABA Publishing, at 364.

        359
                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
                246.

        360
                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
                246.

        361
                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
                264.

        362
                Carlton, Dennis W. and Jeffrey M. Perloff (2000), Modern Industrial Organization, 3rd ed., Reading, MA: Addison-Wesley, at
                264.

        363
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 226-240.

        364
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 226-227.

                Werden,      Gregory J.   (2000), "Market Delineation Under the Merger Guidelines: Monopoly Cases and Alternative
                Approaches," Review of Industrial Organization 16(2): 211-218, at 214.

                See, also:

                Blair, Roger D. and Celeste K. Carruthers (2010), "The Economics of Monopoly Power in Antitrust," in Keith N. Hylton, ed.,
                Antitrust Law and Economics, Cheltenham, UK and Northampton, MA, USA: Edward Elgar Publishing, Inc., at 73.




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         output" and "an abnormally high price-cost margin."36s Monopoly power can also be inferred

         from direct evidence of "actual exclusion of competition from the relevant market.’’36~


(127)    In some instances, direct evidence of monopoly power may be difficult to attain. In such cases,

         economists also examine indirect evidence of monopoly power, e.g., market share or entry

         barriers.      While not dispositive, a persistently high market share provides economically

         meaningful indirect evidence of monopoly power. 367                       While there is no specific market share

         threshold establishing monopoly power, there are share levels that are often viewed as

         meaningful demarcation points.                   For example, "a market share in excess of 70 percent

        generally establishes a prima facie case of monopoly power."368                             Relying on market share as

        evidence of monopoly power requires evidence of "a relevant product market," "a dominant

         share of the relevant market," and "high barriers to entry."369 In addition, for such shares to

        support meaningful inferences about the presence of monopoly power, such high shares must

        be persistent.



        4.2.2.       Valve’s supracompetitive commission rate is direct evidence of
                     monopoly power

(128)   A firm raising prices to a supracompetitive level for an extended period of time is direct

        evidence of monopoly power.37° As will be discussed in more detail in Section 6.1, Valve has




        365
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, I L: ABA Publishing, at 227.

        366
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 226.

                See, also:

                Blair, Roger D. and Celeste K. Carruthers (2010), "The Economics of Monopoly Power in Antitrust," in Keith N. Hylton, ed.,
                Antitrust Law and Economics, Cheltenham, UK and Northampton, MA, USA: Edward Elgar Publishing, Inc., at 73.

                Note that the fact that a firm has foreclosed competition by excluding competitors is economic evidence of a diminution
                in output, and hence, monopoly power, all else equal.

        367
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 229.

                See, also:

                Blair, Roger D. and Celeste K. Carruthers (2010), "The Economics of Monopoly Power in Antitrust," in Keith N. Hylton, ed.,
                Antitrust Law and Economics, Cheltenham, UK and Northampton, MA, USA: Edward Elgar Publishing, Inc., at 74.

        368
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 230.

        369
                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 229.

        370
                Werden, Gregory J. (2000), "Market Delineation Under the Merger Guidelines: Monopoly Cases and Alternative
                Approaches," Review of Industrial Organization 16(2): 211-218, at 214.

                ABA Section of Antitrust Law (2017), Antitrust Law Developments, 8th ed., Chicago, IL: ABA Publishing, at 226-228.

                See, also:




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         set and maintained a supracompetitive commission rate on Steam. Even in the face of entry,

         as discussed in Section 6.2, Valve maintains its supracompetitive commission rate.                                       While

         Valve moved to a tiered commission structure in 2018,3zl that revised commission structure

         still establishes supracompetitive rates.                Most developers still face the 30% commission rate,

         and those who make enough sales to reach the lower-rate tiers are still overcharged.                                        See

         Sections 7.4 and 8.5.


(129)    As a matter of economics, Valve’s supracompetitive commission rate also results in decreased

         output, all else equal.3z2           Since the fees are higher than what would exist in a competitive

         market, publishers have higher marginal costs.                         Publishers must consider those costs when

         determining consumer prices for their games, potentially passing through those costs, at least

        in part, to the consumer.                  This leads to higher consumer prices, which decreases the

        quantities of games purchased by end consumers of games. For example, Microsoft changed

        the developer’s share of Microsoft Store PC games sales net revenue from 70% to 88% in order

        to "empower every PC game creator to achieve more."373                          Microsoft added that "[aI clear, no-

        strings-attached revenue share means developers can bring more qames to more players and

        find greater commercial success from doing so."3~4



        4.2.3.       Valve’s high and sustained market share over time is economic evidence
                     of monopoly power

(130)   Valve’s worldwide market share, measured in terms of third-party game user sales occurring
        on Steam, is between approximately ~.37s                                      As discussed in Section 4.2.1, this

        provides a powerful economic basis for the conclusion that Valve has monopoly power in the

        relevant market. The fact that Valve has been able to sustain this high market share is further

        evidence of its monopoly power.




                Blair, Roger D. and Celeste K. Carruthers (2010), "The Economics of Monopoly Power in Antitrust," in Keith N. Hylton ed.,
                Antitrust Low end Economics, Cheltenham, UK and Northampton, MA, USA: Edward Elgar Publishing, Inc., at 73.

                See Section 3.3.4 for further discussion.

                Mankiw, N. Gregory (2012), "The Market Forces of Supply and Demand," in N. Gregory Mankiw, ed., Principles of
                Microeconomics, Mason, Ohio: South-Western Cengage Learning, at 67. ("Other things equal, when the price of a good
                rises, the quantity demanded of the good falls, and when the price fails, the quantity demanded rises.")

        373
                Microsoft Xbox Wire, "Continuing Our PC Gaming Journey in 2021 and Beyond," 4/29/2021, https://news.xbox.com/en-
                us/2021/04/29/continuing-our-pc-gaming-joumey-in-2021 -and-beyond/.
        374
                Microsoft Xbox Wire, "Continuing Our PC Gaming Journey in 2021 and Beyond," 4/29/2021, https://news.xbox.com/en-
                us/2021/04/29/continuing-our-pc-gaming-journey-in-2021-and-beyond/. (Emphasis added).

        375
                See Attachment E-1.




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(131)    Evidence from this case and trade press support the conclusion that Valve’s market share in

         the relevant market is high and has been over time. For example:376

         ao   An indie game handbook (2015) states that "[t]he portal of choice is most definitely Steam.
              In every indie sales report I’ve seen, Steam sales eclipse all other portals by a large margin,
              often selling several times more than on other portal sites.’’37~

              In emai! correspondence offerin~ a publisher advice regarding Steam (2018), Valve told the
              publisher that "[i]f, like many other publishers, you see ~ of your PC business via
              Steam, I’d prioritize making sure you’re priced as competitively as possible on Steam
              rather than tweaking steam [sic] prices to accommodate a store with much lower
              throughput[;]" the publisher then confirmed that ’~[y]ou are correct that the vast majority
              of our business comes from Steam."~8

         Co   An EGS board presentation /2019) calculates market shares for a handful of potential
              competitors in 2018 and expectations for 2019, with Steam taking the vast majority of the
              market, 94.0% and 86.2%, respectively.~79

        do    An EGS presentation (2019) states that Steam had a 95%+ market share of all third-party
              digital PC games sales (excluding "Origin, [B]attle.net and Riot etc."). ~80 The source also
              states that "[n]o PC store w[ith] non[-]exclusive content has built market share over




        376
                For additional examples, see:

                Valve, Email Regarding I Meeting, 11/18/2013 (VALVE_ANT_1568128-29, at VALVE_ANT_1568128), available at
                Connor Malone, Dep. Tr., 11/8/2023, Exhibit 263. (Following a 2013 meeting v              Valve noted that a faction within
                Ihad "[m]ixed feelings on Valve" including because of a fear that                    of PC market segment share, Valve is
                too powerful for their comfort.")

                Valve,   Emails    Regarding     New   Game,   4/10/2015-4/15/2015    (VALVE_ANT_1687802-07,     at   VALVE_ANT_1687803,
                VALVE_ANT_1687806-07). (In an email, a publisher told Valve that it is planning on releasing its game on Steam because
                "Steam is the biggest platform - no questions asked.")

                Limpach, Odile (2020), The Publishing Challenge for Independent Video Game Developers[:] A Practical Guide, Boca Raton,
                FL: Taylor & Francis Group, at 18. ("As of today, Valve holds the monopoly on indie game sales for the PC market. Smaller
                stores such as GOG and Itch.io offer value with Digital Right Management (DRM)-free games or a greater indie focus, but
                in terms of users or sales volume, neither come close to Steam.")

        377     Hill-Whittall, Richard (2015), The Indie Game Developer Handbook, Burlington, MA: Taylor & Francis Group, at 1 ! 7.

        378     Valve,    Emails     Regarding      Background    and   Advice,     8/16/2018-8/20/2018    (VALV E_AN T_0606204-08,     at
                VALVE_ANT_0606204, VALVE_ANT_0606206).

        379
                Epic, "Presentation to the Board of Directors," 8/I 3/2019 (EPIC_VALVE_0000364-389, at EPIC_VALVE_0000368).

        380
                Epic, Epic Games Store Presentation, c. 2019 (EPIC_VALVE_0000013-057, at EPIC_VALVE_0000021).

        381
                Epic, Epic Games Store Presentation, c. 2019 (EPIC_VALVE_0000013-057, at EPIC_VALVE_0000021).




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        c.   An emaiI from publisher ~O~j explains "there is no doubt that Steam is the
             biggest PC Games Store," and also includes a link to an online source that states that
             "Steam dominat.es the market with a market-dominant number of active players daily,’’~8-~

(i32)   I analyze market share in the relevant market using data and documents produced in ~his

        matter as well as publicly produced financials.~a~                       The resulting market share calculation




                Valve, Emails Regarding GDC 2023, 4/19/2023 (VALVE ANT 2925530-.32, at VAlVE_ANT_2925530-31), available at
                Augusta Butlin, Dep. Tr., 10/I 1/2023, Exhibit 124.

                See Attachments E-l-E-8.




                GameGrin, "Epic Games Store - How 2019 Compares to 2020," I/2g/2021, https:/iwww.gamegrin.¢om/newsiepic-games-
                store-hew-2019-compares4o-2020/.

                Epic Games Store, "Epic Games Store Weekly Free Games in 2020!" 1/14/2020; httpsWstore.epicgames.com/em
                US/news/epic-games-store-weekly-free-games-in- 2020.




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         shows a Valve annual market share of between ~ and ~ from 2017 to 2021 and a

        weighted-average market share of~ over the five-year span. See Attachment E-1.


(133)   Valve recognizes its strong position in the market. For example, an internal Valve document

        identifies that EGS and Discord are entrants in the market and recognizes Epic as~
                                                             384   However, that document also says that, while Epic is



                                                                     Valve considers Epic’s




                As noted previously, Discord’s sales are likely de minimis. As discussed throughout this report, the Discord Store was first
                established in 2018, but was unable to successfully compete and exited the relevant market in 2019. See Section 6.2.

                I have similarly found no evidence of third-party sales on Itch.io, however, I understand that Itch.io’s sales are de minimis
                and would not impact Steam’s share of the relevant market. See Section 6.2.

                As discussed throughout this report, EA was unable to succeed with their third-party offerings on their own platform. See
                Section 6.2. On June 13, 2022, EA stopped offering games from third-party publishers on the Origin platform. See:

                Electronic Arts, "Upcoming Changes to the EA Origin Catalog," c. 6/2022, https://www.ea.com/ea-pc-third-party-titles-
                2022.

                Further, I understand the majority of EA’s PC gaming revenues are associated with first-party games and subscription
                services. For example, Epic’s presentation that calculates 2018 and 2019 market shares does not explicitly state any sales
                for EA’s third-party platform. See:

                Epic, "Presentation to the Board of Directors," 8/I 3/2019 (EPIC_VALVE_0000364-389, at EPIC_VALVE_0000369).

                Additionally, EA’s Form 10-Ks do not mention third-party sales, instead emphasizing first-party offerings on their own
                platform and on other third-party platforms, such as Steam.       For example, EA’s Form 10-K for the fiscal year ending on
                March 21, 2022, which was before EA stopped selling third-party games on its platform, states that "[EA’s] PC games and
                services can be downloaded directly through Origin, EA’s digital storefront, as well as through third-party online download
                stores, such as Steam." The filing further states that, "We also offer our EA Play subscription service on consoles and PC
                as we look to build deeper relationships with our players and offer increased choice and flexibility for our players to try
                new games." EA also states that they "derive revenue principally from sales of our games, and related extra content and
                services that can be experienced on game consoles, PCs, mobile phones and tablets." EA lists the following as their main
                "product and service offerings":

                "[F]ull games with both online and offline functionality (’Games with Services’), which generally includes (1) the initial game
                delivered digitally orvia physical disc at the time of sale and typically provide access to offline core game content (’software
                license’); (2) updates on a when-and-if-available basis, such as software patches or updates, and/or additional free content
                to be delivered in the future (’future update rights’); and (3) a hosted connection for online playability (’online hosting’);
                full games with online-only functionality which require an Internet connection to access all gameplay and functionality
                (’Online-Hosted Service Games’); extra content related to Games with Services and Online-Hosted Service Games which
                provides access to additional in-game content; subscriptions, such as EA Play and EA Play Pro, that generally offer access
                to a selection of full games, in-game content, online services and other benefits typically for a recurring monthly or annual
                fee; and licensing to third parties to distribute and host our games and content."

                EA, Form 10-K, 2022, at 4-5, 28. (Emphasis added.)

                See also: EA, Form 10-K, 2021, at 4-5, 28.

        384
                Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442-44, at VALVE_ANT_1221442).

        385
                Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442-44, at VALVE_ANT_1221443).




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(134)    Mr. Lynch testified that the reason Steam is more valuable to both developers and users is

        because there are a lot of "developers putting games on Steam" and a lot of users who play

        those games on Steam. 386 This is a classic description of strong network effects387 and network

        effects, all else equal, make entry more difficult. The issue here is that Valve’s policies prevent

        any entrant from building its own network effects and challenging the dominance enjoyed by

        Steam.        As Valve prevents entrants from building their network effects, its policies to

        strengthen its own network effects creates entry barriers and insulates Valve from a

        meaningful threat of effective entry.~88 Valve states that "sophisticated players like ~,

        ~ haven’t really entered the picture yet[,]" so it is "important for us to expand

        the reach of the platform into new territories[.]"~89 This plan raises the height of entry barriers

        and provides Valve with a mechanism to protect its monopoly power in the relevant market.



        4.2.4.       Valve’s high and sustained profitability over time is economic evidence
                     of monopoly power

(135)   A key indicator of monopoly power is sustained profitability.                               Persistently high margins are

        consistent with the possession of monopoly power; when those high margins persist in the

        face of competition or when potential rivals are prevented either from entering or from being

        effective competitors (e.g., due to Valve’s PMFN Policy), such persistently high profits likely

        indicate monopoly power, all else equal.                       Valve’s ~ in the relevant market have

        ~; perhaps more importantly, its ~ have remained

        ~, as well, even in the face of market entry.


(136)   In a market where there is effective competition, Valve’s supracompetitive profitability on

        Steam would attract potential entrants, leading to competition on price and a reduction in

        profitability for Steam. That has not happened in this market. There are significant barriers

        to entry that deter potential competitors, and even when competitors have entered the market,




        386
                Scott Lynch, Dep. Tr., 10/12/2023, at 245:9-24.    ("Q. Steam is more valuable to developers if there are more consumers
                using it; right? A. I don’t -- well, I don’t use the word ’consumers.’ It’s -- Steam is valuable because a bunch of users like
                Steam and it provides value to them and there are other games. And when somebody releases a game on Steam, they
                get, you know, all the benefits of Steam and all the platform features we’ve built and all the users that enjoy it and like it.
                Q. One of the benefits to developers is that there are lots of users of Steam; right? A. One of the benefits is there are a lot
                of people that use Steam and like Steam, yes. Q. One of the benefits to users is that there’s lots of developers putting
                games on Steam; right? A. Yes, that’s true.")

        387
                See Section 3.3.

        388
                See Section 5.1.3.

        389     Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442-44, at VALVE_ANT_1221444).




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         policies such as Valve’s PMFN prevent them from being effective competitors, competing away

         some of Steam’s profits, and eroding its margins.


(137)     Valve’s margins on Steam indicate ~. Below, I discuss Valve’s

         Steam financials, as well as the adjustments I make to them.



         Valve’s Steam financial reports

(138)   Valve’s reported Steam revenues, cost of sales, gross margins, and other financial metrics are

         outlined in Attachment D-1.                 Steam’s reported revenue ~ from 2003 to

         2021, from approximately                                                                             .   Total cost of sales

        reported in Valve’s Steam financials

        ~). As a new business in a nascent market, Steam’s reported gross margin was ~

        ~ in early years, and reached ~ by 2008, where it has

        ~ since, with a reported gross margin of~ in 2021.390


(139)   Valve’s reported financials are misleading and are not a fair economic presentation of its actual

        financial performance.            In its P&L, Valve reports ~"




        390
                As Valve is not a publicly traded company, its financials are not required to be audited by a third-party.

        391
                Valve, Valve P&L Statements, c. 2022 (VALVE_ANT_275S012_HIGHLY CONIDENTIAL_ATTORNEY EYES ONLY.xlsx).




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392     G Skok Letter to N SieberL In re V~lve Antitrust         ’ation, 10/6/2023, at 6-7.




        Valve, Valve P&L Statements, c. 2022 (VALVE_ANT_2755012_HIGHLY CONFIDENTIAL_AI-rORNEY EYES ONLY, xlsx).




        See:

        G Skok Letter to N Siebert In re




        Steam,    "Steam Direct Product Submission Fee on Steam,’~ https://store.steampowered.com/sub/163632 (accessed
        1/5/2024).

        Valve, "Valve Corporation Steam Distribution Agreement               Online Version," undated                                     at
        VALVE AN[ 000001        available at Edk Peterson                              Exhibit 295,




        Although revenues associated with publishing fees and the                             :ram are unaffiliated with third-party content
        revenues, these two categories are considered by Steam to be                                                     See:

                                            at 96: I B-97:17




                                           at 95:9-96:4.
                                                                                          Q, What is Cybe          .~? A, Cyber Care is a --
        general                                                                                                                    a license
                                            1 to                                                        a commercial license




        Valve’s P&l_s show that Cyber Cafe’s revenues (:hanged from~ in 2004 to~ in 2O08 but then~
        to~ in 2013. See:

        Valve, "Valve Corporation Profit & Loss: Januar        2004 Through December 2009," 1/4/2010 (VALVE_ANT_0311248.xlsx, at
        ’QB’ tab). (See ’Cyber Caf~’ line item




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(140)   This approach to reporting revenues and costs is economically misleading and artificially

         deflates Steam’s reported margins as a result. Recall that Steam is a platform on which third-

        party developers make their games available for purchase to end consumers.                                                Valve

        emphasizes that Steam "work[s]                      on rev[enue]        share[,]   not on wholesale price"394 and,

        accordingly, collects a prespecified portion (e.g., 30%) of the transaction values of games

        purchased on its platform, while the remainder of the transaction values (e.g., 70%) is remitted

        to developers and contributors for game modifications.39s                             For these transactions, Steam

        neither sets the price nor holds intellectual property or other rights to the game; Steam merely

        operates as a distribution agent.


(141)   Valve’s Steam revenues should reflect the economic value it receives for the services Steam

        provides.




                Valve, "Valve Corporation Combined Profit and Loss: Januar          h December 2013," 7/31/2014 (VALVE_ANT_2976575-
                78, at VALVE_ANT_2976575). (See ’Cyber Caf~’ line item

        393

                G Skok Letter to             In re                    ation,




                Valve, Partner Payments, 10/2018 (VALVE_ANT_2842645.xlsx, at ’10.18 pmt n holds’ tab). (See "Partner Totals" and "Partner
                Payment Totals.") See also: Wolfire, Partner and Contractor Payments, c. 2015-2016 (WOLFIRE_00093646.xlsx, at ’Sheet1’
                tab).

                Dark Catt, "Valve Corporation Steam Distribution Agreement," c. 2022 (DarkCatt_0006449-471, at DarkCatt_0006459).
                                                                                                                                   share




                                                                                                                         See also: Valve,
                "Monthly Partner Meeting," 12/17/2018 (VALVE_ANT_0046060.pptx, at slide 34).

        394
                Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-1/19/2019 (VALVE_ANT_0053488-490, at VALVE_ANT_0053489),
                available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45.

        395
                See Section 3.3.4 of this report for more details on the apportionment of revenues between Steam and developers.

                See, for example:

                NC Interactive, Steam Distribution Agreement with Valve, 5/1/2020 (NCl_Valve_0001245-261, at NCl_Valve_0001252). (See
                Section 6.3.2 of the Agreement.)

                Valve, "Valve Corporation Steam Distribution Agreement - Online Version," undated (VALVE_ANT_0000008-1S, at
                VALVE_ANT_0000011), available at Erik Peterson, Dep. Tr., 11/15/2023, Exhibit 295. (See Section 6.3.2 of the Agreement.)




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                                                                                 From an economic standpoint, revenues

        should equal only the portion of the transaction value of purchases collected by Steam

        (excluding the portion remitted to the third-party developers), which is equal to Steam’s

        commission rate.


(142)   Thus, Valve’s reported Steam financials produced in connection with this case are not a fair

        representation of the underlying economics of the transactions on the Steam platform. They

        do not appropriately reflect the payment and costs Valve received and incurred for the services

        provided. Thus, as an economic matter, they misrepresent actual revenues received and costs

        incurred.        Because       of the      distortion created by this misrepresentation,                      the financial

        statements produced in connection with this case are not reliable economic indicators of either

        the revenues, costs, or profits for the Steam platform.                         Valve’s Steam revenues should be



        ~ This adjustment better aligns the services provided by Steam

        with actual revenues earned.



        Adjusted produced Steam financials


(143)   I adjust Valve’s financials



                                                                                               ¯ 396 See Attachments D-2 and

        D-3.    First,




        396     As I understand it, these     ustments also make Valve’s Steam financials ~



        397




                NC Interactive, Steam Distribution Agreement with Valve, 5/1/2020 (NCl_Valve_0001245-261, at NCl_Valve_0001252). (See
                Section 6.3.2 of the Agreement.)

                Valve, "Valve Corporation Steam Distribution Agreement - Online Version," undated (VALVE_ANT_0000008-15, at
                VALVE_ANT_0000011), available at Erik Peterson, Dep. Tr., 11/15/2023, Exhibit 295. (See Section 6.3.2 of the Agreement.)




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                                                                                                               See Attachments D-2 and

        D-3.     From 2003-2021, Steam’s commission rate ~

        ~ was approximately ~, suggesting that these financials accurately reflect

        Steam’s 30% base commission rate (through 2018) and tiered structure (since November

        2018). See Attachment D-3.


(144)   Valve’s P&Ls contain additional



                                                                         However, to be conservative, I adjust Steam’s gross

        and operating margins by allocating these

        ~ based on total revenues. See Attachments D-4 and D-5.


(145)   After adjusting Steam’s financials

                                                                                                   ) Steam’s gross profit margins are

        ~ than as originally presented.399                                             From 2009

        ~ through 2021, Steam’s annual commissions ~ from ~

                                               In the same period, Steam’s gross profit margins ~

        ~, from~ in 2009 t~ in 2021.                                                 From 2017 through 2021, Steam’s gross

        profit margin was ~.4°°




        398
                Scott   Lynch,   Dep. Tr.,   10/!3/2023,   at 86:13-87:8.     (Question     regarding Valve,   Valve   P&L Statements,   c.   2022
                (VALVE_ANT_2755012_HIGHLY CONFIDENTIAL_ATTORNEY EYES ONLY.xlsx): "Q. You understand that this reflects Valve’s
                financial statements from 2003 until 2021? A. Well, we don’t prepare anything like this. So my understanding is this was
                prepared for the purposes of the litigation and, you know, for lack of a better word rll call it a pro            ~rofit and loss
                statement in which the~’ tried to create,,                       ~’ve created a P&L under certain cate~




        399
                The gross profit margin is a financial metric that measures a company’s net sales minus the cost of goods sold (cost of
                revenues). See:

                Corporate               Finance              Institute           Website,             Gross              Margin               Ratio,
                https://corporatefinanceinstitute.com/resources/accounting/gross-margin-ratio/ (accessed 12/15/2023).

        400     See Attachment D-5.



                                 See:

                G Skok Letter to N Siebert, In re Valve Antitrust Lit[t        10/6/2023, at 11.




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(146)    Operating margin measures how much profit a company makes after accounting for variable

         costs of production, such as cost of goods sold and other operating expenses such as selling,

         research and development, and other general and administrative costs.4°1 ~



                                                                                                            .402   Steam’s operating

         margin~, increasing from~ in 2021. From 2017 through

         2021, Steam’s operating margin was~. See Attachment D-5. See the following figure for

         a detailed breakdown of Steam’s (adjusted) commission revenues, gross profit margins, and

         operating margins since 2008.




        401
                Corporate Finance Institute Website, Operating Margin,
                https://corporatefinanceinstitute.com/resources/accounting/operating-margin/ (accessed 12/15/2023).

        402
                Valve, Valve P&L Statements, c. 2022 (VALVE_ANT_2755012_HIGHLY CONFIDENTIAL_ATTORNEY EYES ONLY.xlsx).

                See also: Valve, Valve P&L Statements, 8/11/2023, available at Scott Lynch, Dep. Tr., 10/13/2023, Exhibit 152.




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        Valve’s ability to increase Steam commission revenues while

        signifies a high degree of sustained market power.                      In a competitive market, the~

        ~ would create an incentive for other firms to enter the raarket and some oithose~

        ~ would be competed away.
(148)   Valve has recognized that Steam’s profitability is an "outlier", even amongst other powerful

        and successful co~npanies across a variety of industries, including Apple, Alphabet, and

        Netflix, among others.~ Valve compared their net income per hour per employee to the likes

        of these other companies, and the metric for Valve ~s ~ than any other

        company.~°~        This ratio holds when instead looking at revenue per hour per employee, with

        Valve estimating appro.’4imately ~ dollars in revenue per hour per employee,

        assuming roughly 350 full-time employees.4os                      Based on Valve documents, in 2021, despite

        Valve employing only ~ ~, Steam made ~ in gross profits.                                                                   See

        Attachments D-5 and D-8.


(149)   In the digital game distribution market, costs are significantly lower than the commission

        rates    that Valve has set.              Valve could still maintain              Steam’s      profitability--even high

        profitability--~vith lower commissions.                  Put differently, the high commission rates are not

        required for Steam to be profitable. Epic, for example, determined that its EGS platform (even

        when not including Fortnite revenues), would be profitable if it used a commission rate of as

        low as t0% or 12%, even including "influencer payouts" ~f 5% and payment processing costs

        of 2.55% coming out of EGS’s share/°o                      Further, Epic CEO Tim Sweency stated that Epic




                Valve, Emails between Employees re: revenue / hour / employee, 1 I/5/2018-I !/7/20!8 (VALVE..ANT 0054486-490, at
                VALVE_ANT_0054486).

                Valve. Emais between Employees re: revenue / hour / emp oyee, 11/5/2018-! I/7/2018 (VALVE_ANT_0054486--490, at
                VALVE ANT_0054486).



        40S
                Valve, Emails between Employees re: revenue / hour / employee, "; 1/5/2018-1 t/7/20t8 (VALVE_ANT_0054486-490, at
                VALVE .A NT_0054487-.88).

                This appears to e×clud× and~contractors. See:

                Valve, Emails between Employees re: revenue I hour/ employee, 11/5/2018-I 1/712018 (VALVE_ANT_0054486-490, at
                VALVE_ANT_0054488).

                Valve’s revenue per hour per employee is ~ the highest of Apple, Amazon, Google, Microsoft,
                Facebook, and Netflix.




                See Valve~ Emails between Employees re: revenue / hour / employee, 1 I/5/2018-I I/7/2018 (VALVE_ANT_0054486-490, at
                VALVE_ANT_0054,487, VALVE_ANT_00,54489).

        406
                Epic, Internal Emails re: Costs of Running Diesel Business, 6/6/2018 (EPIC_ VALVE_.0000004-06, at EPIC_ VALVE_0000004).




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"learned a lot about the cost of running a digital store on PC" while rolling out Fortnite.4°7

Specifically, Mr. Sweeney claimed that ’~[t]he math is quite simple: we pay around 2.5% for

payment processing for major payment methods, less than 1.5% for CON costs (assuming all

games are updated as often as Fortnite), and between 1% and 2% for variable operating and

customer support costs. Fixed costs of developing and supporting the platform become

negligible at a large scale. In our analysis, stores charging 30% are marking up their costs by

300% to 400%.,,408           As another example, according to Adam Fossa, Microsoft’s Director and

General Manager of the Microsoft Store on Xbox and Windows,4°9 ~



                                                                                                            410 The Microsoft

Store is profitable on a per-transaction basis with a commission of 12%.4~1




407     Epic,   "Diesel   Q&As   for   Tim   from   Embargoed   Media   Outlets,"   c.   12/4/2018   (EPIC_VALVE_0000058-072,   at
        EPIC_VALVE_0000059).

408
        Epic,   "Diesel   Q&As   for   Tim   from   Embargoed   Media   Outlets,"   c.   12/4/2018   (EPIC_VALVE_0000058-072,   at
        EPIC_VALVE_0000059).

409
        Adam Fossa, Dep. Tr. 01/29/2024, at 11:5-11.

410




411




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 5.          Valve’s Maintenance of Monopoly Power


 5.1.        Valve’s PMFN Policy

Valve has adopted policies that insulate it from competition by ensuring that offers of games

on Steam are in parity with offers on other competing platforms.                                  In other words, Valve has

policies that require that the offers on Steam are at least as attractive as elsewhere.                                       Valve

employees have described parity as a "platform goal,’’412 a "policy,"413 and a "practice."~1~ Valve

ensures parity both in terms of the content included in games and prices. Valve requires all

publishers that publish games on Steam to enter into an SDA,~15 which expressly obligates

publishers to provide the same content (games, DLC, etc.) as they provide on competing

platforms.~6 As such, Valve contractually requires content parity. Valve’s price parity policy,

as discussed below, requires that publishers sell their PC content (games, DLC, etc.) on Steam

at the same prices as those offered on competing platforms.                                          In practice, the parity

requirements mean that no publisher can differentiate its                                      offerings across competing

platforms, and no rival platform can compete by inducing publishers to offer a different deal

to consumers purchasing/playing games on that rival.                                   Together, Valve’s parity policies




412     Valve, Emails Regarding Price Parity, 7/23/2018-7/25/2018 (VALVE_ANT_0605887-89, at VALVE_ANT_0605887).                ("We’ll
        never show up and ask you to undercut your customers on other stores, and we expect you’ll treat our customers with
        that same respect. This is a platform goal that goes beyond Steam keys[.]")

413
        DJ Powers, Dep. Tr., 9/29/2023, at 36:23-34:6.        ("Q. And my question is, is it Valve’s practice of telling publishers or
        discussing with publishers that if they run a discount on other stores or elsewhere, that they need to run roughly the same
        discount in roughly the same time period on Steam? A. Our policy is that we would like publishers to offer customers a
        fair deal, a similar deal to other platforms, l’d love to have the exact words to read to you, but.).

414
        DJ Powers, Dep. Tr., 9/29/2023, at 64:15-22 ("Q. And use the threat of not promoting them or stop selling it altogether to
        get them to either raise the price elsewhere or lower the price on Steam, right? A. Our practice is to have a conversation
        with the developer to understand why the price is lower elsewhere and see if we can figure out a way to get Steam’s price
        to a similar price that it is on other platforms.")

415
        Valve, "Valve Corporation Steam Distribution Agreement- Online Version," undated (VALVE_ANT_0000008-15, at
        VALVE_ANT_0000008), available at Erik Peterson, Dep. Tr., 11/15/2023, Exhibit 295. (Valve’s SDA: "Company [(publisher)]
        wishes to grant to Valve, and Valve wishes to receive, a license to use and to distribute Company’s computer applications
        via Steam, as set forth herein, in exchange for the compensation described herein.")

        Steam, Steamworks Partner Program, https://partner.steamgames.com/steamdirect (accessed I/4/2024). ("[C]ontent you
        publish on Steam should of course comply with the Steam Distribution Agreement, the Steam Subscriber Agreement,
        Steam Online Conduct guidelines and the Steam Privacy Policy.")

416
        Dark Catt, "Valve Corporation Steam Distribution Agreement," c. 2022 (DarkCatt_0000005-27, at DarkCatt_0000010.
        (Section 2.4 of Valve’s SDA states:    "If Company [(publisher)] distributes the Application through any other (non-Steam)
        distribution channel, and if Company distributes any material DLC for the Application through that other channel, it will
        deliver the DLC to Valve at the same time such that Steam Account Owners will receive comparable DLC with customers
        acquiring the Application through other channels.")

        DJ Powers, Dep. Tr., 9/29/2023, at 63:16-17. ("Q. Do you have a content parity policy? A. In the SDA, yes.")




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         constitute a platform most-favored nation policy, or PMFN Policy.                                For further discussion on

         enforcement of Valve’s PMFN Policy, see Section 5.2.



         5.1.1.      What is a PMFN?

         Most Favored Nation ("MFN") contractual provisions, historically invoked in connection with

         trade between countries, are also often found in contracts between buyers and suppliers.417

        They are sometimes called "Most Favored Customer" provisions.418 While the exact details of

         these provisions can differ, the common element is a requirement that one party to the

         transaction (e.g., the seller) not offer better terms (e.g., a lower price) to any other party (e.g.,

         another buyer).4~9


(152)   At issue here is a type of MFN arrangement between a platform and a platform participant.42°

        Platform MFN, or PMFN, clauses (sometimes also known as "price parity provisions")42~

        generally require that the seller side of the platform (in this case, the game publishers) not

        offer the buyer side of the platform (here, game purchasers) a lower price on any other

        distribution channel.~22 Where a traditional MFN restricts the price at which a supplier can



        417
                Legal   Information   Institute Website,   Most Favored     Nation,   https://www.law.cornell.edu/wex/most_favored_nation
                (accessed 1/11/2024). ("Most favored nation refers to a status conferred by a clause in which a country promises
                that it will treat another country as well as it treats any other country that receives preferential treatment. Most
                favored nation clauses are frequently included in bilateral investment treaties.")

                Baker, Jonathan B. and Judith A. Chevalier (2013), "The Competitive Consequences of Most-Favored-Nation Provisions,"
                Antitrust 27(2): 20-26, at 20. ("These MFN provisions appear in a variety of commercial agreements. MFNs are a type of
                vertical agreement between suppliers and buyers.")

        418
                Baker, Jonathan B. and Judith A. Chevalier (2013), "The Competitive Consequences of Most-Favored-Nation Provisions,"
                Antitrust 27(2): 20-26, at 20. ("’Most Favored Nation’ (MFN, also termed ’most favored customer’) contractual provisions
                have come under scrutiny in recent years by antitrust authorities in both the US and the EU.")

        419
                Baker, Jonathan B. and Judith A. Chevalier (2013), "The Competitive Consequences of Most-Favored-Nation Provisions,"
                Antitrust 27(2): 20-26, at 20.   ("Under an MFN, one party to a transaction promises to give the other party at least as
                favorable contractual terms as it gives any other counterparty.")

        420
                Consolidated Second Amended Class Action Complaint, 3/23/2023, ¶¶ 156, 158. ("Valve requires that publishers offer the
                best price for their products on Steam, a type of ’most favored nations’ (’MFN’) provision. A particular type of MFN called
                a Platform MFN (or ’PMFN’) occurs when an online platform requires that providers using its platform not offer their
                products or services at a lower price on other platforms."; "Valve imposes such a PMFN on game publishers that list games
                and DLC in the Steam Store (the ’Valve PMFN’).      Like PMFNs generally, the Valve PMFN compels publishers to sell their
                games at the Steam Store price (or higher) in all distribution channels, even distribution channels that do not involve
                connection to or enablement for Steam.")

        421
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal 127(7):
                2176-2202, at 2177. ("Many of the online platform MFN provisions -also termed price parity provisions- investigated in
                Europe have been imposed on hotels by leading online travel agents (OTAs), such as Booking.com and Expedia.")

        422
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal 127(7):
                2176-2202, at 2178. ("A platform MFN requires that providers refrain from offering their products or services at lower
                prices on other platforms. The platform is thus guaranteed that no other internet distributor will charge a lower final price,




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         sell to a buyer’s competitors, a PMFN puts a floor on the price the seller side of the platform

         can charge to the buyer side of the platform on another platform.423 A "narrow PMFN" limits

         the seller from offering a lower price on its own website, while a "wide PMFN" extends this

         prohibition to all other platforms, including the seller’s own website.42~


(153)    Economists have found that PMFN provisions can lead to increased platform fees and

         consumer prices.~2s That finding is robust under a variety of demand conditions: PMFNs tend

         to result in increased prices charged by sellers and increased fees charged by the platform.~26

         Studies have also found that PMFNs decrease incentives for competing platforms to enter,

        thereby leading to more concentrated markets.~27                           Boik and Corts demonstrate that PMFNs




                 not because the focal platform has worked to ensure that it has the lowest cost, but rather because it has contracted for
                 competitors’ prices to be no lower.")

                 Boik, Andre, and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                 The Journal of Law and Economics 59(1): 105-134, at 105.        ("In the context of sellers who sell their products through
                 intermediary platforms, a platform most-favored-nation (PMFN) clause is a contractual restriction requiring that a
                 particular seller will not sell at a lower price through a platform other than the one with which it has the PMFN agreement.")

        423
                 Boik, Andre, and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                 The Journal of Law and Economics 59(1): 105-134, at t05, 108. ("In the context of sellers who sell their products through
                 intermediary platforms, a platform most-favored-nation (PMFN) clause is a contractual restriction requiring that a
                 particular seller will not sell at a lower price through a platform other than the one with which it has the PMFN agreement.";
                "In a traditional MFN policy, one or more sellers commit to one or more buyers not to sell to other buyers at a lower price.
                ¯.. Note that a platform setting is quite different in several ways. Most notably, a PMFN clause is an agreement between
                a seller and a platform about prices charged by the seller to a third party-the buyer.")

        424
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal 127(7):
                2176-2202, at 2178.    ("Platform MFNs are labeled ’wide’ if they constrain the price on all other platforms, including the
                provider’s own website (if any). In contrast, platform MFNs are considered ’narrow’ if they prevent the provider from setting
                a lower price on its own website, while leaving prices on other platforms unrestricted.")

        425
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                Joumol of Low and Economics 59(I): 105-134, at 128.       ("We show that PMFN agreements tend to raise fees charged by
                platforms and prices charged by sellers[.]")

        426
                See, for example:

                Johnson, Justin P. (2017), "The Agency Model and MFN Clauses," Review of Economic Studies 84(300): 1151-1185, at 1167.
                CI show how price-parity clauses can raise retail prices and harm consumers.")

        427     See for example:

                Rogerson, William P. and Howard Shelanski (2020), "Antitrust Enforcement, Regulation, and Digital Platforms," University
                of Pennsylvania Law Review 168:1911-1940, at 1938. ("The second type of behavior is the use of most favored nation
                clauses (MFN) that make it more difficult for potential competitors to challenge the dominant provider. For example, in
                the case of platforms that help businesses reach customers (such as a travel sit~ that lists hotel accommodations), a MFN
                by a dominant platform that prohibits businesses from offering better terms on other platforms can limit the ability of
                potential competitors to challenge the incumbent.")


                Ezrachi, Ariel (2015), "The Competitive Effects of Parity Clauses on Online Commerce," European Competition Journal, 1 ! (2-
                3): 488-519, at 501,519. ("The anticompetitive effects described above have been central to the analysis of wide MFNs
                worldwide. Indeed, a review of the main decisions by competition agencies reveals a consensus as to the possible harmful
                effects which wide MFNs combined with an agency model may generate. The most publicised case which involved wide
                MFNs, and was pursued on both sides of the Atlantic, concerned Apple’s use of wide parity in its iBooks Store." Price




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         discourage entry of platforms that are downwardly differentiated (i.e., employing a low-cost

         strategy).428     This is an intuitive result; a platform intending to compete on cost with an

         incumbent platform that utilizes PMFNs will face a challenge to attract customers through its

         primary advantage: lower prices. See further discussion in Section 7.2.1.



         5.1.2.      Valve’s PMFN Policy

(154)   Valve’s PMFN Policy includes two elements: content parity and price parity. The content parity

         element requires that publishers provide the same or better game content on Steam than

         elsewhere. Similarly, the price parity element requires that publishers offer the same or better

        price on Steam than elsewhere. Valve communicates the PMFN Policy to the market through

        its contracts and documentation with game publishers, its communications directly with

        publishers, and its enforcement efforts communicated through statements and other acts.                                               I

        discuss these points in further detail below.


(155)   Section 2.4 of Valve’s SDA requires that if a publisher distributes a game "through any other

        (non-Steam) distribution channel, and if [publisher] distributes any material DLC for the

        Application [(game)] through that other channel, it will deliver the DLC to Valve at the same

        time such that Steam Account Owners will receive comparable DLC with customers acquiring

        the Application [(game)] through other channels."429 Section 2.1 of the SDA also requires that

        localized versions and game updates be delivered to Valve "when available, but in no event

        later than they are provided to any other third party."~3°                         Section 2.4 of the SDA stipulates

        that the publisher "is free to offer special and unique promotional content" on other platforms




                parity clauses "may lead to a restriction of competition through excessive intermediation and price uniformity and they
                may also limit low cost entry.")

        428
                8oik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                Journal of Law and Economics 59(1): 105-134, at 128.     ("We also show that the adoption of a PMFN agreement by an
                incumbent platform can discourage entry by another platform if it is sufficiently downward differentiated[.]")

                See Section 7.2.1 for further discussion.

        429
                See, for example:

                Valve, SDA with ~,            1/1/2015 (VALVE_ANT_0020270-86, at VALVE_ANT_0020272).             (See Section 2.4 of the
                Agreement.)

                Valve, SDA with~, 6/4/2015 (VALVE_ANT_0023003-21, at VALVE_ANT_0023006). (See Section 2.4
                of the Agreement.)

        430
                See, for example:

                Valve, SDA with ~,            1/1/20!5 (VALVE_ANT_0020270-86, at VALVE_ANT_0020272).             (See Section 2.1    of the
                Agreement.)

                Valve, SDA with~, 6/4/2015 (VALVE_ANT_0023003-21, at VALVE_ANT_0023006). (See Section 2.1
                of the Agreement.)




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        as long as "material parity is maintained between Steam Account Owners and users of other

        distribution channels who make a comparable investment in the Application [(PC games)] and

        the associated DLC.’’431


(156)   Members of the Steam Business Team, the team within Valve that enforces the PMFN, confirm

        that Sections 2.1 and 2.4 of the SDA are about content parity.432                                      For example, Steam’s

        Business Team has instructed developers: "We ask that digital content you offer outside of

        Steam be made               available to Steam users                 directly so that the              Steam version is            not

        disadvantaged."43~            One      Steam      employee responsible for providing this                          instruction to

        developers          (Augusta      Butlin)       testified     that     the     instruction        is    consistent        with     her

        communications with developers about "the spirit of the SDA."~34 Steam’s Business Team has

        also conveyed that delays in updating content on Steam constitute a content parity violation:

        "It’s not OK to launch a DLC on your own or other stores, and then bring it to Steam some

        weeks or months later."4~s                 These content parity provisions are generally uniform across

        Valve’s SDAs.~36


(157)   Valve also enforces price parity as part of its PMFN Policy. This policy is clearly articulated to

        publishers requesting Steam Keys. When a publisher requests Steam Keys, it must agree to

        three commitments.437 Specifically:




        431
                Valve, "Steam Distribution Agreement - Online Version," 10/15/2018 (VALVE_ANT_0029429-47, at VALVE_ANT_0029430,
                VALVE_ANT_0029432). (See Section 2.4 of the Agreement.)

                Kassidy Gerber, Dep. Tr., 10/5/2023, at 59:21-25. ("So we have a parity clause in our SDA because we don’t want to have
                a worse version of the game, we want to make sure that the thing that we’re offering on Steam is as good as any other PC
                version that’s available out there.")

        432
                Valve, Emails Regarding                                           (VALVE_ANT_0215669-70, at VALVE_ANT_0215669). (In an
                email from Tom Giardino to                            Mr. Giardino said that "[i]n our business agreement, we specify that
                Company~ will deliver to Vavle [sic] any application updates when available, and no later than they are provided to
                any other distribution service. And we include DLC in that description. (that’s section 2, specifically 2.1 and 2.4, if you need
                the reference).")

        433
                Augusta Butlin, Dep. Tr., 10/11/2023, at 212:19-213:18 ("Q. You wrote: We ask that digital content you offer outside of
                Steam be made available to Steam users directly so that the Steam version is not disadvantaged. Did I read that correctly?
                A. Yes .... ").

        434
                Augusta Butlin, Dep. Tr., 10/11/2023, at 212:19-213:18 CQ. Is there anything that you see in that sentence that I just quoted
                that is not consistent with how you have communicated with developers about the spirit of the SDA? A. I, when working
                with partners, want to make sure that Steam users were treated fairly. This sentence is somewhat in that vein.")

        435
                Valve, Emails Regarding Content Parity, 10/2/2015-10/7/2015 (VALVE_ANT_0215669-70, at VALVE_ANT_0215669).

        436
                Kassidy Gerber, Dep. Tr., 10/5/2023, at 80:5-7.     ("Q. Aren’t the SDAs relatively uniform in terms of the material parity
                requirement? A. Yes.")

        437
                Valve Corporation’s Responses and Objections to Plaintiffs’ First Set of Requests for Admission, 11/30/2023, at Response
                to Request for Admission No. 72. ("Valve admits that currently when Steam Partners request Steam Keys they are shown




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        a.    "I understand that I need to sell my game on other stores in a similar way to how I am
              selling my game on Steam. I agree that I am not giving Steam customers a worse deal."438

        b.    "I understand that while it’s OK to run a discount on different stores at different times, I
              agree to give the same offer to Steam customers within a reasonable amount of time.’’439

              ’~I understand that if I request an extreme number of keys and I’m not offering Steam
              customers a fair deal, or if my sole business is selling Steam keys and not offering value
              to Steam customers, my request may be denied and I may lose the privilege to request
              keys."44°


(158)   The vast majority of publishers offering games on Steam~--have utilized

        Steam Keys.441         Thus, the overwhelming majority of publishers on Steam have been exposed

        to the price parity obligation. Although these commitments are made as part of the process

        for requesting Steam Keys and the third commitment is limited to Steam Keys, the language

        of the first two commitments is not limited to Steam Keys. Valve has conveyed to publishers

        that it expects them to abide by the commitments in this form regardless of whether Steam

        Keys are at iSSLle.442




                the following message related to the use of Steam Keys and asked to acknowledge it before their Steam Key request may
                be submitted .... ")

                Tom Giardino, Dep. Tr., 11/2/2023, at 149:10-14. ("Q. And any time that someone requests Steam keys, this -- there’s a
                pop-up where they have to agree to three statements confirming their understanding of certain policies at Valve? A. Yes.
                That’s correct.")
        438
                Valve, Emails Regarding Steam Key Guidelines, 6/28/2018-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Tom Giardino, Dep. Tr, 11/2/2023, Exhibit 186.

                Valve, Emails Regarding Steam Key Request, 1/17/2019-1/30/2019 (VALVE_ANT_0452901-911, at VALVE_ANT_0452906-
                907).

        439
                Valve, Emails Regarding Steam Key Guidelines, 6/28/20t8-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 186.

                Valve, Emails Regarding Steam Key Request, 1/17/2019-1/30/2019 (VALVE_ANT_0452901-911, at VALVE_ANT_0452906-
                907).

        440
                Valve, Emails Regarding Steam Key Guidelines, 6/28/2018-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 186.

                Valve, Emails Regarding Steam Key Request, 1/17/2019-1/30/2019 (VALVE_ANT_0452901-911, at VALVE_ANT_0452906-
                907).

        441
                Valve Transaction Data, 3/11/2004-12/31/2022. See: "03_Keys.R."

                Of the publishers in Valve’s transaction data, ~ are associated with at least one Steam Key activation. Those publishers
                are associated with~of revenue in Valve’s transaction Data.

        442
                Valve, Emails Regarding Steam Key Guidelines, 6/28/2018-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 186. (After making this statement of the price parity requirement,
                clearly not limited to Steam Keys, Tom Giardino sent a screenshot of the three commitments in the Steam Key request
                form: "[W]e wouldn’t be OK with selling games on Steam if they are available at better prices on other stores, even if they
                didn’t use Steam keys. If you wanted to sell a non-Steam version of your game for $10 at retail and $20 on Steam, we’d
                ask to get that same lower price or just stop selling the game on Steam if we couldn’t treat our customers fairly.")




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(159)   Valve also reiterates the price parity portion of its PMFN Policy is in its Steamworks

        Documentation’s "Steam Key Rules and Guidelines," which require publishers to use Steam

        Keys to sell their games "on other stores in a similar way to how you sell your game on Steam.

        It is important that you don’t Rive Steam customers a worse deal than Steam Key purchasers

        [on other stores] .,,443        For example, publishers would not be allowed to give away free games

        on other stores, unless they offer the same deal to Steam customers; similarly, publishers can

        discount Steam Keys "on different stores at different times as long as [they] plan to give a

        comparable offer to Steam customers within a reasonable amount of time."444


(160)   Valve communicates to publishers that the price parity requirement applies equally to Steam

        Key and non-Steam Key transactions and enforces that requirement as such. For example, a

        member of the Steam Business Team summarized the policy in a May 2017 email to a

        publisher as follows: "Do-able: Sell the same content and make sure the price on Steam is

        competitive with where it’s being sold anywhere else (using keys or not, in a bundle or not).

        Not doable: Sell the content to another store at a better price than Steam customers get (using

        keys or not, in a bundle or not)."~4s                      See Section 5.2.2 for further discussion of Valve’s

        communications that the price parity requirement is not limited to Steam Keys.


(161)   Publishers are also aware that Valve’s parity requirements for Steam Keys apply more

        generally to pricing. Valve has repeatedly explained to publishers that it could choose to stop

        selling non-compliant games.                  For example, in a March 2013 email to a publisher named

        ~, Valve explained that its parity requirement applies regardless of whether Steam

        Keys are at issue: "If your long term strate~f is to sell the game super cheap, that’s fine. But

        constantly offering your products at way better prices on other stores isn’t OK, whether you




        443
                Steamworks Website, Steamworks Documentation: Steam Keys, https://partner.steamgames.com/doc/features/keys
                (accessed 1/30/2024). (Emphasis in original).

        444
                Steamworks Website,      Steamworks     Documentation:       Steam   Keys,   https://partner.steamgames.com/doc/features/keys
                (accessed 1/30/2024). ("Steam Keys shouldn’t be given away for free if you aren’t also offering the same deal (i.e., give
                the game away for free) to Steam customers. This includes giveaways for promotional purposes, unless that giveaway is
                very small (under 100 Steam Keys)."; "It’s OK to run a discount for Steam Keys on different stores at different times as long
                as you plan to give a comparable offer to Steam customers within a reasonable amount of time.")
        445
                Valve, Emails   Regarding ~,                    5/18/2017-5/23/2017 (VALVE_ANT_0598921-25, at VALVE_ANT_0598921,
                VALVE_ANT_0598923), available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 55. ("Do-able: Sell the same content and make
                sure the price on Steam is competitive with where it’s being sold anywhere else (using keys or not, in a bundle or not).
                Not doable: Sell the content to another store at a better price than Steam customers get (using keys or not, in a bundle
                or not)." "Even if the content isn’t even being sold via Steam keys, we generally just choose not to sell games/DLC if we’re
                not getting the same prices as other stores[.]")

                DJ Powers, Dep. Tr., 9/29/2023, at 40:25-42:1. (Acknowledging statements of Mr. Giardino and agreeing that he is
                centrally involved in these sorts of pricing discussions.)




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        use Steam keys or not."446 Valve threatened to delist games on Steam at higher prices than on

        other stores: "We just opt to stop selling games if partners don’t treat our customers fairly.’’~7


(162)   Valve also communicated the price parity portion requirement applies to foreign transactions

        in foreign currencies. The "FAQ" portion of the announcement discussed Valve’s "suggested

        pricing matrix," which recommends relative prices across currencies.4~8 That is, based on the

        price that a publisher intends to set for a game in the United States, this tool recommends

        how the game should be priced in other countries.                           One of the questions in the FAQ section

        of this announcement asks the following: "Am I required to use Steam’s suggested pricing?"

        The answer contains the phrase: "Just make sure that qou’re not disadvantaging Steam

        customers."~9 In other words, the publisher must not offer the game at a lower price or provide

        more/different content on a different platform than on Steam, even across geographies and

        currencies.


(163)   A draft version of this announcement was circulated internally among Valve employees in July

        2015.~s° In addition to having the same language as the final announcement, the draft version

        of the      announcement included                 a   specific     example:        "Just make sure that .you’re                not

        disadvanta.qinq Steam customers;




(164)   Valve reiterated this point in a June 2018 email to a publisher named ~

        ~: "But to be clear: we wouldn’t be OK with selling games on Steam if they are




        446
                Valve, Emails between Valve and ~ 3/13/2018-3/14/2013 (VALVE_ANT_0263439-441, at VALVE_ANT_0263439)
                (emphasis added).

        447
                Valve, Emails between Valve and ~, 3/13/2018-3/14/2013 (VALVE_ANT_0263439-441, at VALVE_ANT_0263439)
                (emphasis added).

        448
                Valve, Emails Regarding New Currencies, 9/9/2015-9/15/2015 (VALVE_ANT_0190239-41, at VALVE_ANT_0190240),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 188.

        449
                Valve,   Emails    Regarding   New Currencies, 9/9/2015-9/15/2015 (VALVE_ANT_0190239-41, at VALVE_ANT_0190240),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 188 (emphasis added).

        450     Tom Giardino, Dep. Tr., 11/2/2023, at 172:17-21. (Mr. Giardino confirmed that Ex. 187 is a draft of the announcement sent
                to publishers in Ex. 188: "Q. Okay. And then when we look at the ’New Currencies Coming To Steam (Action Required),’
                this is a -- what appears to be a later version of what we were looking at in Exhibit 1877 A. Yes.")

        451
                Valve,    Emails     Regarding    New   Currencies    on   Steam,    7/9/2015-7/24/2015       (VALVE_ANT_0114214-2(3    at
                VALVE_ANT_0114215), available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 187 (emphasis added).

        452
                Valve,    Emails     Regarding    New   Currencies    on   Steam,    7/9/2015-7/24/2015       (VALVE_ANT_0114214-2(3    at
                VALVE_ANT_0114214), available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 187.




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         available at better prices on other stores, even if they didn’t use Steam ke~s. If you wanted to

         sell a non-Steam version of your game for $10 at retail and $20 on Steam, we’d ask to get that

         same lower price or just stop selling the game on Steam if we couldn’t treat our customers

        fairly."4s3 Valve confirmed this was not a new policy:                      "No, we’ve always asked that partners

        treat our customers fairly, and we’ve o_ften opted not to promote games or stop selling them

         altogether if we aren’t able to get l~air treatment for our users."4s~                     The practical effect of the

        PMFN is to make sure that Steam customers have little incentive to go elsewhere to purchase

        and play games.


(165)   In April 2019, a publisher named ~                                 asked Valve whether its parity requirement

        extends beyond Steam Keys (while mistakenly assuming this requirement was documented in

        the SDA): "I can’t find the contracts. Where [is it] about selling the game on other platforms

        and not going cheaper than on [S]team: is this only about keys or also about selling the game

        independenly [sic], not using Steam keys at ail?"4ss                        In response, Valve confirmed it took

        fundamentally the same stance regardless of whether Steam Keys are at issue:                                   "[W]e try not

        to focus too much on whether the game is being sold via Steam key or not.                                    It is a specific

        thing we ask people to respect when they sell keys, but we’re also uninterested in operating a

        store that gives people bad offers- so we lust stop selling games if we aren’t able to secure the

        equivalent price for them."4s6            Valve then gave a specific example:                 "(For instance if another

        service like Uplay or Origin was selling a game for $15 and we were selling it for $20, we’d ask

        the dev to give us that lower price or opt to not sell the game, even if the sales at the other

        store weren’t using Steam keys.)"4s7


(166)   Steam publishers, including the largest publishers in the PC game industry, are aware of

        Valve’s parity requirements.~s8 For example, in an internal email among Microsoft employees,




        453
                Valve, Emails Regarding Steam Key Guidelines, 6/28/2018-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Gabe Newell, Dep. Tr., 11/21/2023, Exhibit 349 (emphasis added).

        454
                Valve, Emails Regarding Steam Key Guidelines, 6/28/2018-7/3/2018 (VALVE_ANT_0605087-89, at VALVE_ANT_0605087),
                available at Gabe Newell, Dep. Tr., 11/21/2023, Exhibit 349 (emphasis added).

        455
                Valve, Emails Between ~ and Valve, 4/12/2019-4/19/2019 (VALVE_ANT_0265435-440, at VALVE_ANT_0265439).

        456
                Valve, Emails Between ~ and Valve, 4/t2/2019-4/19/2019 (VALVE_ANT_0265435-440, at VALVE_ANT_0265438)
                (emphasis added).

        457
                Valve, Emails Betwee~ and Valve, 4/12/2019-4/19/2019 (VALVE_ANT_0265435-440, at VALVE_ANT_0265438)
                (emphasis added).

        458
                See, for example, testimony from Wolfire co-founder and Humble founder, Jeffrey Rosen: Jeffrey Rosen, Dep. Tr.,
                11/17/2023, 30:7-9, 31:6-8, 200:25-201:9. ("Q. So you were -- you testified you were a cofounder of Wolfire; correct? A.
                Correct."; "Q. And did you do something else after you ceased to be active as president of Wolfire? A. I was -- founded
                Humble Bundle."; "Q. So if you saw a game in the Humble Store and -- for delivery via key -- A. Uh-huh. Q. -- will the




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        one employee asks whether Steam requires price parity,4s9 and in response, another Microsoft

        employee replied ’~Yes - they absolutely do .... Its [sic] not formally listed in documentation

        in Steamworks, but always addressed in,person."46°                                       Another internal Microsoft email

        states:461
                   IT]he Steam publishing agreement historically has required product and price
                  parity. When I looked at it pre Age:DE a few years ago, I found that we could
                  sell at any price we wanted before Steam release, but once we released on
                  Steam we needed to give Steam price parity to our other digital channels.                                      In
                  the case of a GoW5 Steam/Windows Store (Garrison) simship, I’d assume
                  Steam demands you don’t undercut them once you release on Steam.


(167)   As another example, when Valve threatened to delist a major ~ game from Steam

        because its price on Steam was higher relative to the retail price in the ~

        responded: "We’ve been thru this before."462



        5.1.3.       Valve’s PMFN Policy is a barrier to entry

        Valve imposes barriers to entry through its PMFN Policy and enforcement practices. Absent

        these Valve-imposed barriers, other platforms could compete for publishers to join their

        platforms exclusively or increase the frequency with which they multihome.                                              Given the

        prevalence        of comparatively lower                   commission          rates    on    alternative     game    distribution

        platforms,       publishers         would        further      be    incentivized        to    steer    customers     towards       the

        distribution platform with the lowest commission rate, using lower prices or differentiated

        content to do so.




                price be different from the price on Steam? A. Generally not. Q. Why is that? A. Steam is not happy if you sell your game
                at a lower price off of Steam, so developers are generally scared to do that.")

        459
                Microsoft, Emails Regarding Valve’s PMFN Policy, 10/6/2020 (MSFT_VALVE_000000555-57, at MSFT_VALVE_000000557).
                ("Quick question for you, does Steam require price parity? I thought I remember reading that they require pricing on their
                stores to be at parity or lower. But can’t seem to find where I saw that.")

        460
                Microsoft, Emails Regarding Valve’s PMFN Policy, 10/6/2020 (MSFT_VALVE_000000555-57, at MSFT_VALVE_000000556).
                (Emphasis added).

        461
                Microsoft,   Emails    Regarding   Valve’s    Publishing   Agreement,     7/10/2019-8/7/2019    (MSFT_VALVE_000000001-15,     at
                (M S FT_VALVE_ 000000007).

        462              Emails    Regarding ~                Issue, 6/6/2013-6/7/2013     (VALVE_ANT_0399857-59, at VALVE_ANT_0399858),
                Valve,
                available at Nathaniel Blue, Dep. Tr., 10/4/2023, Exhibit 81.

                Other documents indicate that Valve may try to limit the appearance of its parity requirements in formal documentation
                because of concerns about antitrust risk, See, for example:

                Valve,    Emails      Regarding    New       Currencies    on    Steam,    7/9/2015-7/24/2015     (VALVE_ANT_0114214-20,      at
                                                                                                                                           draft
                                                                                Mr. Giardino wrote:




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(169)   Valve requires publishers on Steam to abide by its PMFN Policy, which constrains publishers

        from pricing a game differently or providing different content across platforms. Valve restrains

        publishers’ ability to set game prices and release content for games on other platforms. The

        PMFN Policy reduces publishers’ ability to increase both sales and revenues by providing

        different prices and/or content across platforms as a way of attracting customers to those

        platforms. This limits the ability of competing platforms to grow and be effective competitors

        to Steam.


(170)   Consider, for example, a publisher who offers a game on both Steam and an alternative

        distribution platform and would like to offer lower pricing on another platform. Assume the

        publisher’s effective commission rate is 30% for sales on Steam and 12% for sales on the

        alternative distribution platform. This difference in commission rates may create an incentive

        for the publisher to charge a lower price on the alternative platform to drive interest and sales,

        as it can maintain revenue levels given it retains a larger share of revenues on each sale on

        that platform.       So, if the price for the game on Steam is $10, the publisher could earn equal

        revenues on the alternative distribution platform by pricing the game at $7.95.463                             Applying

        basic economic principles to this hypothetical situation results in the conclusion that the

        publisher could both (a) sell more copies of its game on the alternative distribution platform

        by offering a lower price and (b) earn more or equivalent revenues for any sale on the

        alternative distribution platform when compared to an identical sale on Steam.


(171)   Valve’s PMFN Policy prevents publishers from engaging in this pricing behavior, hampering

        rival platforms’ ability to compete with Steam. Competition on price is one important avenue

        for potential platforms to compete on the merits, gain interest from consumers and developers,

        and grow user base volume on both sides of their platforms.                          In the absence of meaningful

        price competition, a rival platform must employ other methods to differentiate itself from

        Steam. One such example could be to provide different content on platforms other than Steam

        to entice customers.          However, the PMFN Policy restricts that competition, as well.                    Steam is

        the dominant platform in the relevant market in terms of publishers and users.                               Without a

        significant      portion     of PC      gamers       transacting        with   alternative   distribution    platforms,

        multihoming by developers cannot produce meaningful constraints for Valve.                                  A publisher

        who lists a game on Steam and alternative distribution platforms is likely to make the majority

        of its sales on Steam, since users are not incentivized by prices to multihome.




        463     ($10 X(1 - 30%))/(1 - 12%) = $7.95.




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(172)   Without their ability to compete on price and/or content, those platforms will not be able to
        attract users away from Steam. Without a large user base, those platforms will not be able to
        attract publishers away from Steam, even with lower priced commission structures. As such,
        Valve's PMFN Policy and active enforcement acts as an additional barrier to entry for other
        platforms to enter the market and compete effectively with Steam.



        5.2.        Enforcement of the PMFN Policy
(173)   Valve enforces its PMFN Policy on both pricing and content to ensure parity on Steam. Valve
        maintains its monopoly power and deters potential competing platforms from entering and
        competing effectively in the relevant market with this continued enforcement of the PMFN
        Policy.


        5.2.1. Valve's early enforcement of the PMFN Policy

(174)   Valve's Steam Business Team is responsible for implementing and enforcing its PMFN Policy,
        including detecting violations of the PMFN Policy.464 When that occurs, the Steam Business
        Team typically reaches out to the game publisher to start a "conversation" about the
        discrepancy. 465 Steam Business team member DJ Powers testified that it was Valve's practice




        464
                Tom Giardino, Dep. Tr., 11/2/2023, at 15:21-18:6. ("Q. Okay. Understanding it's approximate, when -- are we talking about
                communicating with publishers about pricing issues? A. Pricing could be among the topics discussed. Q. Okay. Is it one
                of the topics that you discuss with publishers over the years as being part of the Steam business team? A. Yes. Q. Okay.
                How about content issues? What content is being made available by publishers on Steam? A. I'm not sure what you're
                asking about the content. I'm sorry. Q. Well, the -- well, let me ask you. In your communications with publishers over the
                years, have you had conversations with them about what content they make available on the Steam platform? A. Yes. Q.
                And have you had conversations with them about the need to make the same content available on their version of the
                game sold on Steam as they do elsewhere? A. That wouldn't come up frequently, but, yes, it has come up. Q. Okay. And
                in the dozen or so people, approximately, that communicate with publishers regularly, have you had conversations with
                them about the need to ensure that publishers are making the same basic content available on Steam as they do on other
                -- in other locations? A. Yes. Q. Okay. And have you had conversations with that dozen or so approximate people about
                the publishers' need to provide similar pricing on Steam as they do elsewhere? A. That wouldn't be a common topic for
                us to discuss, but it has come up over the years, yes. Q. You've specifically spoken with other people within Steam about
                the fact that publishers need to offer similar prices on Steam as they do elsewhere; right? A. Yes. Q. Okay. And you've
                discussed with them that this is not limited to situations where the publishers are offering games for sale via Steam keys
                but just period; right? A. Yes. . . . Q. So since you joined the company back -- back in 2012, have you consistently been
                among the group of people that regularly communicates with publishers about Steam business issues? A. Yes, I have.")

                For examples of Valve's Steam Business Team detecting PMFN Policy violations, see:

                Valve, Ernails Regarding         Pricing, 11/11/2013-11/12/2013 (VALVE_ANT_0130574), available at Matt Nickerson, Dep.
                Tr., 11/20/2023, Exhibit 337.

                Valve, Emails Regarding                 , 12/24/2012-12/25/2012 (VALVE_ANT_0294967-972), available at Gabe Newell,
                Dep. Tr., 11/21/2023, Exhibit 366.
        465
                DJ Powers, Dep. Tr., 9/29/2023, at 63:18-64:22.




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         to initiate such a "conversation" when Steam believed that a "game [was] being sold on another

         platform for a lower price."466


(175)    Evidence suggests that Valve began enforcing price parity at least as early as 2009.                                            In

         November 2009, ~ was preparing to release a major game~--that coincided with

                                                                                In emails between ~ and Valve, Valve

        personnel noticed other stores--notably ~--were offering lower prices to

        customers purchasingI. 468 Alden Kroll, a member of the Steam Business Team, reached
        out to I’ stating:469

                  We see that I street price for ~ appears to be I lower than you are
                  asking us to sell the game for, Both ~ are selling for
                  ~. Can we get closer to this price on Steam? We’re happy to show ~
                  as the suggested price grayed out with a price of ~ next to it. We don’t
                  need to be the cheapest option, but we need to at least be close to what
                  customers can get the game for everywhere else.


(176)   ~ wrote back and explained "it will not be possible for~to change the price" on the

        alternative stores.~7°            Steam Business Team member Jason Holtman explained that, in

        response, Valve will "opt not to carry or market ~ in I on Steam."471                                               Valve later

        internally confirmed that ’~ will not launch in I."~72




        466     DJ Powers, Dep. Tr., 9/29/2023, at 63:24-64:7. (’Q. What about a practice? Let’s not go with the official term "policy," but
                is there a practice at Valve of often opting not to promote games or stop selling them altogether if they’re sold for less
                elsewhere? A. In the rare occurrences where we’re made aware that the game is being sold on another platform for a
                lower price, our practice is to have a conversation with the publisher.")

                Jane Lo, Dep. Tr., 11/28/2023, at 24:24-25:6. ("Q. What is a Steam account manager? A. It’s the Steam business team. Q.
                Who’s on the Steam business team? A. I may not recall all of them, but I can name a few. Q. A few is a good start. A. Okay.
                DJ Powers, Augusta Butlin, Connor Malone.")

        467     Valve, Emails Regarding I on Steam, 11/9/2009-11/30/2009 (VALVE_ANT_2790480-86), available at Jason Ruymen,
                Dep. Tr., 9/!9/2023, Exhibit 1.

        468     Valve, Emails Regarding I on Steam, 11/9/2009-11/30/2009 (VALVE_ANT_2790480-86, at VALVE_ANT_2790484),
                available at Jason Ruymen, Dep. Tr., 9/19/2023, Exhibit 1.

        469
                Valve, Emails Regarding ~ on Steam, 11/9/2009-11/30/2009 (VALVE_ANT_2790480-86, at VALVE_ANT_2790484),
                available at Jason Ruymen, Dep. Tr., 9/19/2023, Exhibit 1.

        470
                Valve, Emails Regarding ~ on Steam, 11/9/2009-I 1/30/2009 (VALVE_ANT_2790480-86, at VALVE_ANT_2790483),
                available at Jason Ruymen, Dep. Tr., 9/19/2023, Exhibit I.
        471     Valve, Emails Regarding   I     on Steam, 11/9/2009-11/30/2009 (VALVE_ANT_2790480-86, at VALVE_ANT_2790483),
                available at Jason Ruymen, Dep. Tr., 9/19/2023, Exhibit 1.

        472     Valve, Emails  Regarding ~ on Steam, 1 I/9/2009-I 1/30/2009 (VALVE_ANT_2790480-86, at VALVE ANT 2790480),
                available at Jason Ruymen, Dep. Tr., 9/19/2023, Exhibit I.




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(177)    Delisting a game from Steam is a powerful enforcement mechanism.                                        In this example with

        I, delisting I resulted in the loss of all I sales.                                      Valve was willing to completely
         remove the ~ title in ~, opting to forego the 30% commission Valve would have
         collected on I sales in order to enforce Valve’s price parity policy.


{178)    In the several years following Valve’s delisting of~ games continued to be sold

         at lower prices on other platforms than on Steam, and Valve continued to enforce its PMFN

         Policy agalnst~ as a result. In a series of emails in March 2010, Valve notifie~

        that ~ games ~ and ~ would not be offered on Steam in

        ~ "because they are not competitively priced[.]"473 In the same email chain, Valve began
        referring to the phenomenon of publishers offering lower prices on other platforms as the ’I

        pricing issue.’’474 Valve took the position that allowing lower prices on other platforms would

        mean that Valve is "essentially advertising to [its] customers that Steam is not competitive

        with regular price."47s


(179)   In March 20 14, ~t wrote to Valve and explained that retailers in ~ were attempting

        to price lower in order to be "cheaper than their competitor," i.e., Steam.476 ~ explained

        that they "are not responsible" for this strategy and that "pricing in ~ has been

        historically very aggressive[.]"477 ~ proposed that if Valve wanted to control pricing in




        473
                Valve, Emails Between Valve and ~ Regarding ~ and ~ 4/10/2010-4/20/2010
                (VALVE_ANT_2790580-83 at VALVE ANT        "I wanted to bring the followinc uiries and articles to your
                attention regarding                                             not being for sale in         on Steam. As we’ve discussed,
                we are not offering those two titles in          because they are not competitively priced at street price of 29.99 GBP--
                ~would         like a minimum price to Steam that would mean we would have to sell at 34.99 GBP while street price is
                26.99-29.99[.]")

        474
                Valve, Emails Between Valve and      I        Regarding ~ and ~ 4/10/2010-4/20/2010
                (VALVE ANT 2790580-84, at VALVE_ANT_2790580). C[Y]ou’re right that we are both definitely trying to find a solution
                forI pricing issue.")
        475
                Valve, Emails Between Valve and ~ Regarding ~ and ~, 4/10/2010-4/20/2010
                (VALVE_ANT_2790580-84, at VALVE_ANT_2790580). ("As we’ve discussed, we are not asking you to advantage us over
                other retailers. We are merely making a choice about carrying and marketing product through Steam. If the price is too
                high, then we can’t offer the product without essentially advertising to our customers that Steam is not competitive with
                regular price.")

        476
                Valve, Emails Regarding
                                           I         Market, 3/25/2014-4/25/2014 (VALVE_ANT_2714185-87, at VALVE_ANT_2714187),
                available at Connor Malone, Dep. Tr., 11/8/2023, Exhibit 246. ("As we mentioned during the meeting the situation inI
                I   is due to retailers strategies to take on their own margin for being cheaper than their competitor.")

        477     Valve, Emails Regarding I Market, 3/25/2014-4/25/2014 (VALVE_ANT_2714185-87, at VALVE_ANT_2714186-87),

                available at Connor Malone, Dep. Tr., 11/8/2023, Exhibit 246. ("AsI mentioned to you the pricing in this country
                has been historically very a!   ressive and our local teams work hard to defend higher prices."; "As we mentioned during
                the meeting the situation in         is due to retailers strategies to take on their own marg~         ~g cheaper than their
                competitor. This is a Death game that will end by the bankrupt of the weakest players (like                    others in the
                past). We are not responsible of this and we obviously understand your feeling. We share it as it has impact allI digital
                sales and not only the ones through the Steam platform.")




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        ~, it would provide Valve "with [wholesale price] in ~ for each~ title sold in this

        market so that you can apply the [recommended retail price] of your choice."478 Valve did not

        agree to ~ suggested compromise and responded that Valve will not "reduce [its] margin

        in order to match prices of other retailers engaged in a battle over price."479


(180)   Additionally, Valve blocked ~ from selling yet another title, ~, on Steam in I

        ., as to "not compete in the price war."48° In a 2014 email, Valve explained to ~ that

        it would not launch the game since "there is still a conversation going on in regards to pricing

                                                        Valve informed ~ that it will "wait to the list the game

        until the pricing on Steam can be more in line with what customers have access to through
        other outlets [in ~.],,482                     Additionally, in the same year, Valve noted that Ubisoft had

        advertised another two games, ~ and ~, on other platforms in

        ~ for around 20% lower than the Steam price.4~3                                       In response to this price difference,




        478
                Valve, Emails Regarding ~               Market, 3/25/2014-4/25/2014 (VALVE_ANT_2714185-87, at VALVE_ANT_2714187),
                available at Connor Malone, Dep. Tr., 11/8/2023, Exhibit 246. ("In order to give you the ability to take your own decision
                on that particular            we can work on an addendum to our distribution agreement. That way we would provide you
                with WSP in~ for                      title sold in this market so that you can apply the RRP of your choice. This is up to you
                to tell us if you want          to proceed that way.")

        479     Valve, Emails Regarding ~               Market, 3/25/2014-4/25/2014 (VALVE_ANT_2714185-87, at VALVE_ANT_2714185),
                available at Connor Malone, Dep. Tr., 11/8/2023, Exhibit 246. ("Our position on pricing will remain the same - we won[’]t
                reduce our margin in order to match prices of other retailers engaged in a battle over price.")

        480
                Valve, Emails Regarding~, 4/4/2014-4/8/2014 (VALVE_ANT_0046752-55, at VALVE_ANT_0046752),~ available at
                Connor Malone, Dep. Tr., 11/8/2023, Exhibit 247. ("lOin Steam, we’ll choose not to list the             ~me in~ so as ’to not
                compete in the price war’. We completely understand the issues presented at retail in                    but for us it’s important to
                have a price that is competitive.     In instances where that’s not possible, we’ll wait to list the game until the pricing on
                Steam can he more in line with what customers have access to through other outlets.")

        481
                Valve, Emails Regarding~, 4/4/2014-4/8/2014 (VALVE_ANT_0046752-55, at VALVE_ANT_0046753), available at
                2onnor Malone,
                Connor Malone            Tr., 11/8/2023, Exhibit 247. ("1 believe there is still a conversation c   ’   on in regards to pricing for
                                           When that is all settled, the game should be made available in               ")

        482
                Valve, Emails Regarding~, 4/4/2014-4/8/2014 (VALVE_ANT_0046752-55, at VALVE_ANT_0046752),~ available at
                Connor Malone, Dep. Tr., 11/8/2023, Exhibit 247. C[O]n Steam, we’ll choose not to     ame in ~ so as ’to not
                compete in the price war’. We completely understand the issues presented at retail in  but for us it’s important to
                have a price that is competitive. In instances where that’s not possible, we’ll wait to list the game until the pricing on
                Steam can be more in line with what customers have access to through other outlets.")

        483
                Valve, Emails Regarding ~ 8/5/2014 (VALVE_ANT_2573683-84, at VALVE ANT 2573684), available at Connor
                Malone, Dep. Tr., 11/8/2023, Exhibit 248.           also have a few                     the relationship [with~ rigl
                which include:.. 1 pricing -they                         and                           on Steam for about 20% higher in
                than on other platforms. In res )onse, we took these games off sale in                ntil pricing is comparable. In the past, their
                argument has been that                           have been in a price war, and are eating their own margins to reduce the
                price. They offered to have us eat our margin, and we declined and kept the games off the store. In the end, they brought
                pricing to parity.")




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         Valve again removed "[those] games off sale in1=1                          until pricing [was] comparable."986 Valve
         noted that, ultimately,                       "brought pricing to parity."48s

(181)    By at least 2015, Valve was also frequently enforcing the PMFN Policy against publishers other
         than              .   A 2015 internal Valve email by DJ Powers, which included a group email
         address encompassing al] members of the Steam Business Team, explained that Valve had
         just enforced the PMFN Policy against"' based on the price of another major game,
         "We're going to remove the purchase offer for                                             today. We've asked.              to list
         a competitive price to what we're seeing at other retail outlets, and they've said they are unable
         to do so. "486 Mr. Powers also explained that the same type of enforcement occurred against
        another publisher,-;                            "The                    is in a similar position, and Ricky is talking
         through solutions with                                Finally, Mr. Powers noted "1 checked through our
         upcoming AAA titles and we appear to be priced competitively to retail on everything else."

(182)   As another example,                        noted that ■        retailers were attempting to offer
                                                        at a lower price than Steam in 2015: "The problem with the
        pricing has been caused by some retailers in .1111 attempting to undercut and rutal.
                                                           as a loss leader[.]"4"        Despite MI                assurance that it
        was not "offering              retailers] a reduced [wholesale sales price] in order for them to go out at
        these lower price[,]" Valve pressedill.                     "to update the offering on Steam so it is comparable
        to other offerings, whether by price or content[1"4"                         After further pushback from



        484
                Valve, Emails Regarding    1.11    , 8/5/2014 (VALVE_ANT_2573683-84, at VALVE_ANT_25736134), available at Connor
                Malone, Dep. Tr., 11/13/2023, Exhibit 248. We also have a few stickin oints in the relationship [with            right now
                which include: . .     pricing - they listed         and                        on Steam for about Air            in
                than on other plat arms. In res onse we too these games o sae in              until pricing is comparable In the past, their
                argument has been that                           have been in a price war, and are eating their own margins to reduce the
                price, They offered to have us eat our margin, and we declined and kept the games off the store. In the end, they brought
                pricing to parity.")
        485
                Valve, Emails Regarding               8/5/2014 (VALVE_ANT_2573683-84, at VALVE_ANT.2573684), available at Connor
                Malone, Dep. Tr., 11 0 8/2023, Ex i it 248. "We also have a few StICkin oints in the relationship Mill          light now
                which include: . ..
                                 ..     pricing - they listed        and                       on Steam for about 20       ig er in
                than on other plat         In res onse we too these games o sale i            ntil pricing is comparable. In the past, t elr
                argument has been that                           have been in a price   .     are eating their own margins to reduce the
                price. They offered to have us eat our margin. and we declined and kept the games off the store. In the end, they brought
                pricing to parity.")
        486     Valve, Emails Regarding. Price Parity, 9/22/2015-10/1/2015 (VALVE_ANT_0051718-19, at VALVE_ANT_0051718)
        487     Valve, Emails Regarding!' Price Parity, 9/22/2015-10/1/2015 (VALVE_ANT_0051718-19, at VALVE_ANT_0051718).
        488     Valve, Emails Regarding Distribution for          7/17/2015-7/24/2015 (VALVE_ANT_0340706-13, at
                VALVEANT_0340709-11).
        489     Valve, Emails Regarding Distribution for-,        7/17/2015-7/24/2015 (VALVE_ANT_0340706-13, at
                VALVE_ANT_0340710).




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         Valve stated that it "would be unable to launch~ on Steam at the current planned

         price point."49°


(183)   A 20 19 email from Mr. Powers further confirms the importance of~ pricing problem" to

        Valve’s operations, stating that ’~[o]ne of the ongoing issues we struggle with is how do we

         react when games run significant discounts on competing stores, but do not make those

        discounts available on Steam[,]" which he characterizes as ’~ pricing question."49~                                               Mr.

        Powers notes that, while ¯ retail stores have become less of a problem for Valve, ~ and

        other platforms have adopted similar approaches. 4~2                                Mr. Powers explains that Valve’s

        response "when games run significant discounts on competing stores, but do not make those

        discounts available on Steam" is to reach out to the developer and ask "the partner [] to match

        the lower price[.]".4~3 He then outlines three potential resolutions, including that if publisher

        and Valve ’~end up in a standoff[,]" Valve would ’~often limit marketing of the title on Steam"

        until the "pricing is competitive among platforms."4~4 See Figure 3.




        490
                Valve, Emails Regarding Distribution for~, 7/17/2015-7/24/2015 (VALVE_ANT_0340706-13, at
                VALVE_ANT_0340709).

        491
                Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-1/19/2019 (VALVE_ANT_0053488-390, at VALVE_ANT_0053488-
                89), available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45.   ("One of the ongoing issues we struggle with is how do we
                react when games run     ignificant discounts on competing stores, but do not make those discounts available on Steam.
                This is essentiall        pricing question.")

        492
                Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-I/19/2019 (VALVE ANT 0053488-390, at VALVE_ANT_0053489),
                available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45. (’. retail stores are no longer much of a problem, but~ and
                other sites often eat into their own margin to present Steam titles at a discount.")

        493
                Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-1/19/2019 (VALVE_ANT_0053488-390, at VALVE_ANT_0053489),
                available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45. (’. retail stores are no longer much of a problem, but~ and
                other sites often eat into their own margin to present Steam titles at a discount .... In this situation, we usually reach out
                to the developer and explain that the price on ~ makes the price on Steam look high. We believe this will result in
                regret purchases by Steam customers when that customer realizes they could have bouc            the same product elsewhere
                for less money. The ask from us to the partner is to match the lower price running on           ")

        494
                Valve, Emails Regarding LNY Loyalty Program, I/I 7/2019-I/I 9/2019 (VALVE_ANT_0053488-390, at VALVE_ANT_0053489),
                available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45.




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                                             Figure 3: Screenshot of Email from DJ Powers49s



                 rhe development partner would usually come back with "~is eating their margin to run that sale,
                 you are welcome to do the same on Steam". We say "that’s not the way we run our business, we work
                 on rev share not wholesale price".
                      ¯       Sometimes, the partner will 8o ahead and run the same discount on Steam.
                      ¯       Sometimes, the partner will talk with ~and have the discount removed or adjusted.
                      ¯       Sometimes, we end up in a standoff.
                                  o     In this situation, we will often limit marketing of the title on Steam until the pricing is
                                        competitive among platforms.




(184)   Valve’s PMFN Policy and enforcement is worldwide.~%                                For example, in July 2012, a Valve

        employee reached out to ~ regarding a difference in discounts between

        Steam and the developer’s website and threatened to remove discounts from all of the

        developer’s games, including a daily deal opportunity.49~ Later in the chain, in emails between

        Valve employees, one employee discusses Valve’s approach to price parity enforcement: "If we

        allow this type of behavior: where we give steam keys away and then you sell the ones we gave

        you for less than you allow us to sell ours . . . it sets a bad precedent.                                 It encourages our

        customers to shop elsewhere .... I think we should try to set in the minds of our customers




        495
                Valve, Emails Regarding LNY Loyalty Program, 1/17/2019-I/19/2019 (VALVE_ANT_0898986-88, at VALVE_ANT_0898987).

                See   also:    Valve,   Emails   Regarding   LNY   Loyalty   Program,   1/17/2019-I/19/2019   (VALVE_ANT_00S3488-390,    at
                VALVE_ANT_0053489), available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45.

        496     For additional examples, see:

                Valve, Emails Regarding Price Parity Enforcement, 1/12/2016-1/14/2016 (VALVE_ANT_2804689-693               Contains emails
                between Valve employees discussing Valve’s policy on price parity enforcement in response to
                discounts.)

                Valve, Emails Regarding Price Parity Enforcement, 2/I 3/2015 (VALVE_ANT_1170665-66). (Contains emails between~Valve
                employees discussing Valve’s policy on price parity enforcement in response to price discrepancies between~ and
                Steam.)

        497                                                                                                      ANT 0372900-08, at
                Valve,  Emails with               Regarding     Price Parity,    7/12/2012-7/14/2012
                VALVE_ANT_0372907-08). ("You currently have a sale on your site running at                                     and you
                have only authorized a 20% discount on our site. Please allow us to offer your games at 25% off so we match. If not, we
                should end our sale on your products so we do not upset our users."; "It does not matter that you think Steam sells more,
                you’re still creating a situation where users on your site get a better deal than users that want to purchase from Steam.
                You are still competition making us look bad to our users. What does it hurt to have the same discount price unless you
                [are] tru        nking about how your site looks compared to Steam. Please understand that I am happy to completely
                remove            from the sale include [sic] the daily deal for~ tomorrow if you feel your products do
                not benefit from the sales we run. There are lots of partners that would like to have that slot that work with us on a fair
                bases making sure we get to match their promotions instead of put us at a disadvantage. This is your decision but I am
                not going to have our customers treated unfairly.")




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        that if a game is on Steam, Steam is the place to get it."498 As another example, in February

        2015, Steam Business Team member Tom Giardino went to Japan and noticed certain PC

        games were available at retail outlets at lower prices than Steam.499 Mr. Giardino circulated

        a chart of approximately thirty games, designating which games could be found at a lower

        price elsewhere relative to the Steam price, and stated that this chart would create "good

        ammunition for partner conversations."s°° See Section 5.2.2 for more examples.



        5.2.2.       Valve’s continued enforcement of the PMFN Policy

(i85)   Valve has enforced its PMFN Policy throughout the class period when it has found price or

        content parity violations. Valve did so even when the perceived parity violations were minor.

        These PMFN enforcement actions blocked effective platform-to-platform competition and

        restricted the ability of competing platforms to steer customers to lower-cost alternative

        distribution options.            As a result, Valve avoided having to compete on price or content and

        insulated itself from competitive pressures that would have caused Valve to reduce its

        commission structure to competitive levels.



        Enforcement of price parity


(186)   There are numerous instances where Valve applied its PMFN Policy to stop game publishers

        from listing games at lower prices through other websites or rival platforms. Connor Malone,

        a Valve employee,s°1 testified that he was unaware of any instances where Valve knowingly




        498     Valve,   Emails   with               Regarding     Price   Parity,   7/12/2012-7/14/2012      (VALVE ANT 0372900-08,      at
                VALVE_ANT_0372900).

        499
                Valve, Emails Regarding Price Parity in Japan, 1/5/2015-2/5/2015 (VALVE_ANT_2768191-92, at VALVE_ANT_2768191).
                ("One of the things I did during the December trip to Japan was record yen prices for games at retail. PC games at retail
                in Japan are a sad and lonely thing, usually relegated to the far corners of stores.     Some of the prices are wildly high
                because they haven’t been updated in months or years, but there’s some useful data in the prices of newer releases. It’s
                also good ammunition for partner conversations. In most cases, Steam pricing is better than the Japanese retail pricing I
                found, but this was only across 3 to 4 different stores. Games that are listed multiple times were found at different stores
                with different prices. When the retail price was dramatically better than ours, I highlighted in red.")

        500
                Valve, Emails Regarding Price Parity in Japan, 1/5/2015-2/5/2015 (VALVE_ANT_2768191-92, at VALVE_ANT_2768191).
                ("Some of the prices are wildly high because they haven’t been updated in months or years, but there’s some useful data
                in the prices of newer releases. It’s also good ammunition for partner conversations. In most cases, Steam pricing is better
                than the Japanese retail pricing I found, but this was only across 3 to 4 different stores. Games that are listed multiple
                times were found at different stores with different prices.     When the retail price was dramatically better than ours, I
                highlighted in red.")

        501
                Connor Malone, Dep. Tr., 11/8/2023, at 11:9-12. ("Q,. And could you state your current job title and employer? A. I work
                at Valve. We don’t have job titles, but I work on the Steam business team primarily.")




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        allowed these types of price discrepancies to occur,s°2                            Valve employees even developed a

        "quick text" template emall to expedite writing emails to publishers to communicate why a

        Steam Key request was denied.                     The emails states that "it’s important to us that Steam

        customers get treated fairly relative to how you’re selling the game on other stores" and "we’d

        be concerned if the game is going to be offered at a much better price somewhere else and

        want the opportunity to match the offer or provide a similar/equivalent discount."s°3


(187)   In internal conversations, members of Valve’s Steam Business Team confirmed price parity

        was regular policy. For example, Tom Giardino, a Steam Business Team member,s°4 described

        Valve’s pricing parity requirement as "a platform goal that goes beyond Steam keys[.]"s°s He

        stated: "[I]f a game is being sold through some other PC platform, or sold DRM free or whatever

        the case may be, we want the chance to compete fairly and get that lower price for our

        customers. Steam keys are sort of a distraction here-- if a store stopped selling keys tomorrow

        but kept offering better prices than we were able to get for our own customers, that would sti!l

        be a fundamental problem for us."~°6                        In a different internal conversation, Mr. Giardino

        reiterated "we have a philosophy which is; don’t make Steam a disadvantaged place to buy

        your game[.]"~°7


(188}   For example, in discussions with developer ~ about its game ~, Mr. Giardino

        gave a warning on pricing parity: "The big thing we push back on is pricing parity - if you sell

        for $5 on your own website but $15 on Steam, we want to match that lower price so that any




        502
                Connor Malone, Dep. Tr., 11/8/2023, at 49:20-50:25.        ("Q. Do you recall any examples where Valve detected a price
                discrepancy and allowed the price discrepancy to continue? A. I recall having conversations with partners about prices in
                the past. Q. Yeah, I’m asking -- so has there been any times when you had those conversations and then it just wasn’t
                resolved and Valve was happy to allow the discrepancy to continue?          A. Yeah.   Again, it’s -- I -- I recall having those
                conversations. I can’t remember all of the specific outcomes. So I -- I don’t want to say definitively one way or another
                because we -- we treat all of these situations kind of individually, and, so, yeah. My memory is just a little bit hazy as to -
                if you’re asking me about a specific outcome. Q. Okay. Yeah, so you’re under oath and, you know, this testimony could
                be played before a jury. So I just want -- and the answer could be you don’t know any examples and that’s fine. But so
                sitting here today, you cannot identify an examples where Valve identified a price discrepancy and allows that price to
                continue; is that right? A. Right. I -- I can’t remember the specific -- any specific example, but I -- Q. Okay. A. -- right
                now.")

        503
                Valve, Emails Regarding Quick Text Emails, 5/3/2019-7/22/2019 (VALVE_ANT_0525339-344, at VALVE_ANT_0525343),
                available at Tom Giardino, Dep. Tr., 11/2/2023, Exhibit 190.

        504
                Tom Giardino, Dep. Tr., 11/2/2023, at 11:23-12:3. (Q. Okay. What are your job duties at Valve? A. I work on the Steam
                business team, Steam being our platform. Q. Okay. And what is the Steam business team? A. The group of people at
                Valve who help run the store, services and features of our platform.")

        505
                Valve, Emails Regarding Game Pricing, 7/23/2018-7/25/2018 (VALVE_ANT_0605887-89, at VALVE_ANT_0605887).

        506
                Valve, Emails Regarding Game Pricing, 7/23/2018-7/25/2018 (VALVE_ANT_0605887-89, at VALVE_ANT_0605887).

        507
                Valve, Emails Regarding ~, 8/I 3/2015 (VALVE-ANT_0761S 12-I 3, at VALVE-ANT_0761513).




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         Steam customer gets the best possible deal."S08 In response,                                           employee I=
                    reassured Giardino: "[F]or sure we would not try to undercut steam for sales. I am
         not even sure we would be selling on our site after we go to steam [sic]." 5°9


(189)    In 2016, DJ Powers discussed Valve's price parity policy after developer. sold its game on
         another platform for a better price:5'c'

                   I told ■] it was bullshit to offer a higher discount on another platform, one
                   week after our summer sale. We gave them a ton of exposure, sold            units
                   and                    worth of their game, only to have them beat the discount
                   one week later. I said that in future sales we would like to know if they intend
                   to beat Steam discount elsewhere shortly after or during our sale, because it
                   will likely change how we choose to expose that title on Steam.

(190)   Valve actively enforced its price parity policy with publishers. For example, Valve pulled a
        publisher's takeover marketing if the publisher did not lower its price on Steam to match the
        price offered elsewhere: "We've come across a number of sites selling the game for significantly
        lower than the Steam price and we're concerned about promoting a launch while the game is
        easily available at better prices elsewhere. Our concern is about offering our customers a
        competitive market price, and unfortunately it looks like the price on Steam is out of line with
        the rest of the market. We will be unable to run a takeover for the game on launch given these
        circumstances."51 As discussed in Section 3.3.3, takeovers are the highest level of marketing
        featuring on Steam, and the marketing benefits from takeovers are very important to those
        publishers who arc chosen. Valve punished the publisher for not following the price parity
        component of the PMFN Policy by revoking a key marketing opportunity on Steam.


(191)   Other examples of Valve discussing the price parity policy with publishers and enforcing that
        policy include:

        a.    In an email to a publisher 120181, Valve stated that "we really need to discuss your game's
              relationship with Steam and other platforms[;]" Valve is troubled by "[your] offer on Discord
              being different from the offer on Steam."S1 Valve went on to warn the publisher that "[i]f




        508     Valve, Emails Regarding Game Pricing, 3/5/2014-3/8/2014 (VALVE_ANT_0240238-240, at VALVE_ANT_0240239)
        sal     Valve, Emails Regarding Game Pricing, 3/5/2014-3/8/2014 (VALVE_ANT_0240238-240, at VALVE_ANT_0240239).
                (Emphasis added.)
        5to     Valve, Emails Regarding Game Sales on...,        7/12/2016 (VALVE_ANT_0758390-92, at VALVE_ANT_0758390), available
                at D1 Powers, Dep, Tr., 9/28/2023, Exhibit 43.
        511
                Valve, Emails Regarding Game Marketing, 11/7/2017-11/8/2017 NALVE_ANT_0062227).
        512     Valve, Emails Regarding Offer Differences, 9/28/2018-10/19/2018 (VALVE_ANT_2970482-493, at VALVE_ANT_2970488).




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              you can’t offer Steam customers the same deal as customers on other platforms, then
              we’re not going to be able to continue selling and promoting the game."s13

              In an email correspondence with a publisher (2018), Valve told the publisher that "[w]e
              basically see any selling of the game on PC, Steam key or not, as a part of the same share
              PC market- so even if you weren’t using Steam keys, we’d just choose to stop selling a
              game if it was always running discounts of 75% off on one store but 50% off on ours.
              ([Steam] Keys happen to be tied up in a lot of conversations, but they’re pretty irrelevant
              to the root concern: treat Steam customers fairly)."s14

              In an email exchange (2021), Valve told a publisher that ~’[w]hat’s important to us is how
              customers get treated- as the [Steam] documentation indicates, we want to make sure
              people buying on Steam get treated fairly compared to people buying the PC version
              anywhere else (whether or not that’s via steam key!)[.]"s~s

        do    In an email chain (2022), a publisher asked Valve to run a promotion for their game at the
              same time as the game would also be part of a key bundle to benefit charity, in order for
              the discounts to line up.s16              Valve remarked that for bundling games, ~’the big thing to
              think about is price--using Steam keys to sell on other stores is fair play, but it’s under
              the precondition that Steam customers aren’t getting screwed over on price[.]"s~7                                 Valve
              reminded the publisher about the price parity policy, stating that "if you want to offer a
              super low discount elsewhere," Valve wants "Steam players to get that super low discount
              too[.]"s~8

(192)   While Valve vouches its concerns about price parity in terms of "fairness", the effect of the

        PMFN is to limit the ability of a developer to attempt to move users to a different platform,

        prevent a (potential) competitor from offering price inducements/support to developers to

        encourage lower pricing as a means of inducing developers and users to the new platform,

        and place the cost of price parity compliance on the developer. Whether Valve’s "concern" for

        fairness is real or pretextual, the impact is to deny both developers and garners the benefits

        of cross-platform competition.




        513
                Valve, Emails Regarding Offer Differences, 9/28/2018-10/19/2018 (VALVE_ANT_2970482-493, at VALVE_ANT_2970488).

        514                                                                                                                           at
                Valve,     Emails   Regarding   Steam   Keys   and    Discount,   10/16/2018-10/30/2018     (VALVE_ANT_0265027-030,
                VALVE_ANT_0265027).

        515
                Valve, Emails Regarding Steam Pricing, 7/28/2021-7/30/2021 (VALVE_ANT_0854420-422, at VALVE_ANT_0854420).

        516                                                                Pricing,   8/30/2022-9/t3/2022   (VALVE ANT 0561240-43,    at
                Valve,     Emails   Regarding   Game    Bundling     and
                VALVE_ANT_0561241-42).

        517                                                                Pricing,   8/30/2022-9/13/2022   (VALVE_ANT_0561240-43,    at
                Valve,     Emails   Regarding   Game    Bundling     and
                VALVE_ANT_0561241-42).

        518                                                                Pricing,   8/30/2022-9/13/2022   (VALVE_ANT_0561240-43,    at
                Valve,     Emails   Regarding   Game    Bundling     and
                VALVE_ANT_0561241-42).




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        Enforcement of content parity

(193I   Valve’s SDA imposes a contractual requirement of content parity for all games sold on Steam.

        This prevents developers from adding any features to their gmnes elsewhere that they do not

        offer on Steam.sJ9 Valve claims that thaL the content parity creates cohesion and "for [Valve’s]

        customers to be contained within the Steam ecosystem.’’s~o In sum, Steam would rather not




                 Jason Ruymen, Dep. Tr., 9/19/2023, at 33:i t-I4. CQ Does the term Darity mean anything to you in terms of your work at
                 Valve? A. We do have -~ we do ask for parity for content on games that are sold on Stean .’)

                 Kassidy Gerber, Dep Tr., 10/5/2023, at 45:14-46:12.     (’Q. Ms. Gerber, during the time you’ve worked at Vaive, did Valve
                 have a policy to require materia! parity for things sold on the Steam store? A. I would not describe what we do as a policy,
                 but in practice, we ask that partners have material parity for their games on Steam between other PC versions. Q. What
                 does "material parity" mean in this context? A. tt means the game you offer on Steam has to be comparable, as good as
                 any other version -. any other PC versions. Q. And when you say "as good as,~ does that mean it has to have the same
                 DLC? A. Yes. Q And the same content for the --- in other words, you can’t have some additional play time on the version
                 that’s sold outside of Steam? A. The -- having additional play time that’s not available on Steam, but is available on another
                 PC store, would be a -- would be a, I think, in my opinion, violation of material parity, yeahF)

                 A series of emails discussing SDA         otiations with developer             demonstrate Va!ve’s commitment to uphold
                 content parity.    In response to               attempting to neg      ate the material parity stipulations. Valve states:
                 "Unfortunately, we don’t think ~e can agree to what you’re proposing.         If a game on Steam is going to be materially
                 different from the game~on other PC platforms, we’d rather just not have the game on Steam in the first plaCe[.]" After
                 receivinq this email,~ agrees to "revert to iVaive’s] original [material parity] languagei.]~~In
                                                                                                                the same email thread,
                 lllllrlalso                }usn back against Valve’s standard policies relating to material parity~. Valve
                  responds similarly, and          agrees to move forward with ~he agreement without its proposed revisions relating to
                 llllk See:

                 Valve, Emails Regarding ~-Valve SDA, 712312019-412712020 (VALVE_ANT_2814301-31!, at VALVE~ANT~.2814304,
                 VALVE_ANT.2814306, VALVE_ANT_2814308-309, VALVE_ANT._281431 ;), available at Kassidy Gerber, Pep. Tr., 10/5/2023,
                 Exhibit 102. ("Our team is comfortable with ’mat~        parity’ as it relates to PC distribution channeis, and I have reverted
                 to your original lang.Jage in that respecL’;              agree[s] that the Steam version in a particular country shou!d be
                 kept at material parity with the game on other PC platforms in that country. Our intent with the added clause is to ensure
                 that the country is also taken into account in our padty obligation.; "For//2, we have some similar concerns ~o the ones
                 we raised before--we don’t want to set up a situation where your custocners on Steam are getting an inferior product for
                                                                                                                             could set


                                     In that situation, the only Steam version would be materially worse than the non-Steam version. We’re
                                    ~ble with that scenario.";   "We have discussed internally and, based on the conversation bet~veen the
                 parties earlier today, we can accept moving forward without our added language regarding territory restrictions in Section
                 2.4J)

                 See a!so: Kassidy Gerber, Dep. Tr. 10/5/2023, at 111:11--21, ! 18:18--11-9:11. (~’Q. In the middle of Mr. Schenck’s email, he
                 writes, ’Unfortunately, we don’t think we can agree to what you’re proposing. If a game on Steam is going to be materially
                 different from the game on other PC platforms, we!d rather just not have the game on Steam in the first place.’ Do you
                 see that? A I see that. Q. Is Mr. Schenck’s statement there consistent with your understanding of Vatve’s pollcy at the
                 time? A. YesJ’; "Q~ And then he writes, ’In that situation, the only Steam version would be materially worse than the non
                 Steam version. We’re not really comfortable with that scenario.’ Did i read that correctly? A. Yes. Q And so what did you
                 understand Mr. Schenck was communicating                  with these words. A. Tha~ he didn’t like the edits that they made
                 totheSDA, Q Because they could sell a version       " the game on a non- -- they could setl a non-Steam version of the game
                 that would be materially different than the Steam version? A. His concerns are around what we’re offering on Steam. So
                 that’s the -- he’s saying he doesn’t want anything that weput on Steam not to be as good as another version elsewhere.")

        5>_0
                 Cannot Malone, Dep. Tr., 1118/2023, at 166:14-24. (’*Q Is there a business reason that Valve includes that provision in the
                 SDA today? A. I think so. Q. Okay. And what is the business reason? A. I think it’s good for our customers to be contained
                 within the Steam ecosystem. It provides security for their payment processing, convenience by already having their funds
                 in Steam. I think it just improves the customer experience.")




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         sell a game at all than only be able to sell certain versions of a game.521 In one example, Steam

         sold all but one edition of~, yet it threatened to drop all other

         editions of the game from the platform unless it received access to the remaining edition.52~

         Thus, Valve’s content parity policy removes another competitive tool that a competing platform

         with lower commissions might use to try to make inroads against Valve’s dominance.5~3                                               As

         an economic matter, the competitive impact of this policy is to limit the opportunity for a rival

         platform to differentiate itself from Steam by containing special or unique versions of games

         as a means of attracting users.


(1 94)   Valve contacts game publishers to correct violations and to threaten punishment when they

         identify a content parity issue. 5~4 In response, Valve might delist--or threaten to delist--games




                 Kassidy Gerber, Dep. Tr., 10/5/2023, at 96:19-97:6. ("Q. And how does that harm your customers, if it does, that they can
                      all the versions of~ on Steam except for the starter version, which is available on a different store,
                         A. For a customer that would prefer to purchase the starter edition over the, say, standard edition, if they come to
                 Steam and see it’s not available, we think it damages the trust that they have that Steam is a good plac               y games
                 because we don’t have a full offering. So we just would rather wait to offer the game to customers until                is ready
                 to offer all versions to Steam customers.")

         522
                 Kassidy Gerber, Dep. Tr., 10/5/2023, at 96:1-11. ("Q. So you write to~ and you say, we’re going to take down all of
                 your versions of the~ game on Steam if you don’t offer us the starter’s version that you’re going to sell
                 one, your own store? A. Correction. They weren’t going to sell it in the future, they were already selling it one,
                 and they weren’t selling it on Steam. And so, yes, we wanted to stop selling the game because we didn’t have a complete
                 version on Steam, complete version of all the offerings.")

         523
                 Augusta Butlin, Dep. Tr., 10/11/2023, at 136:22-137:7.       ("Q. So why is it important to have parity if you’re not sure if
                 consumers are even connecting parity of content and pricing? A. Making sure that Steam users have access gives them
                 the opportunity to make a choice for themselves. How they make that choice is up -- is up to them and their personal
                 priorities. Q. And they could make the choice to buy on another storefront, another PC gaming store? A. Sure.").

         524
                 See, for example:

                 Valve, Emails Regarding Content Parit      10/2/2015-10/7/2015 (VALVE_ANT_0215669-670, at VALVE_ANT_0215669).                (In
                 an email from Tom Giardino to                           Mr. Giardino said that "[i]n our business agreement, we specify that
                 Company I) will deliver to Vavle any application updates when available, and no later than they are provided to any
                 other distribution service. And we include DLC in that description. (that’s section 2, specifically 2.1 and 2.4, if you need the
                 reference). In short, what we’re asking for is to get DLC on our store at the same time you launch it elsewhere, tt’s not OK
                 to launch a DLC on your own or other stores, and then bring it to Steam some weeks or months later." "As long as there’s
                 parity between what customers can buy and what they’re being charged, we’re OK - we just don’t want the situation where
                 a user on Steam has worse options than other users [elsewhere.]")

                 Adam Klaff, Dep. Tr., 11/14/2023, at 109:18-110:15. ("Q. Okay. And what would happen if you determined that there wasn’t
                 similar content being offered on Steam versus another store?... A. That would be something that we’d -- we’d have a
                 conversation with the developer about .... [W]e’d basically, you know, talk to the developer and say, hey, we noticed that
                 ¯.. there’s DLC offered elsewhere that... Steam customers aren’t able to get this content. So .... we’d like to have the
                 chance to get something, you know, that’s -- that’s comparable for Steam customers. So .... we’d like to have the chance
                 to get something, you know, that’s -- that’s comparable for Steam customers.").

                 Valve, Emails Regarding ~, 2/10/2017-2/15/2017 (VALVE_ANT_1221288-291, at VALVE_ANT_1221289-
                 290), available at Kassidy Gerber, Dep. Tr., 10/5/2023, Exhibit 101. ("Currently we are offering the starter pack exclusively
                 through theI shop since we are experimenting with sales and analyzing if this is causing cannibalization from the
                 other skus."; "If you aren’t able to brine the starter sku back to steam by EOD tomorrow, Wednesday, February 15th, we
                 plan to remove all SKUs of                    from the store.")




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or might withhold marketing support until content parity is restored, s2s In one example, Valve

told its partner that it would no longer provide curated marketing if the partner didn’t update

Steam with three game costumes that were available on another distribution platform, s26


Such warnings are routine.                 For example, when ~ was opening

its own cash shop to sell in-game items for games published outside of Steam, it asked Valve

to clarify the content parity rules as applied to ~ situation, s~7 Valve responded that "if




525
        Connor Malone, Dep. Tr., 11/8/2023, at 47:17-20 ("We do ask partners for content parity. And there have -- I believe there
        have been times in which additional extra curated marketing was not given to a partner if -- if there was a discrepancy
        there.").

        Valve, Emails Regarding ~, 2/10/2017-2/15/2017 (VALVE ANT 1221288-291, at VALVE_ANT_1221289-
        290), available at Kassidy Gerber, Dep. Tr., I0/S/2023, Exhibit 101. ("Currently we are offering the starter pack exclusively
        through~ shop since we are experimenting with sales and analyzing if this is causing cannibalization from the
        other skus."; "If you aren’t able to
                                          1:O brinc
                                              Drlnq the
                                                    £n starter sku back to steam by EOD tomorrow, Wednesday, February 15th, we

        plan to remove all SKUs                        from the store.")

        Kassidy Gerber, Dep. Tr., 10/5/2023, at 71:19-72:17. ("Q. Different question. Is it fair to say that you ask of developers that
        anything they’re promoting is something that you’re able to offer on Steam? A. We -- are you talking about content? Q.
        Things that are being promoted. A. Like what? Q. Oh, anything being promoted. A. If a developer is promoting content,
        and we are aware of it, and we don’t have it on Steam, then I will ask that we can make it available on Steam. Q. And if
        they won’t give it to you on Steam? A. It depends. Q. You might take down their game? A. We might delay some curated
        promotion. There’s a bunch of different things we might do if we realize that we’re missing content that they have on
        other channels. Q. And one of the things you might do is take down their game? A. I don’t think I’ve ever done that, but
        I don’t know. I guess, technically, it’s an option, yes.")

526
        Jason Ruymen, Dep. Tr., 9/19/2023, at 42:25-43:14 ("Q. Valve considered the content not to be in material parity~because
        these three costumes that don’t affect gameplay mechanics were not available on Steam but were available on/; is
        that right?... A. We certainly wanted a similar kind of offering, if not the same offering that other retail stores or other
        digital stores even were going to sell the game for. Q. 5o either those -- those three skins or three other unique skins to
        Steam or something like that? A. Right.")

        See also: Valve, I        _~garding Game Content, 2/20/2014-3/3/20          VALVE_ANT_2714225-29, at VALVE_ANT_2714226-
        27). (Val~                that it "noticed that the pre-order offer on     is sweeter than on Steam, e.g. we are not able to
        offer the                              I" Particularly since we are puttin
                                                                                                       incatakeover spot, would be
       nice to be able to offer Steam customers the same level of service as customers." ~replied: "Regarding
       ~ and~l, we do expect to make this content available for )urchase to the full channel
        once retail exclusivity commitments have expired."       But Valve was not happy and told            that "going forward the
        offer on Steam needs to be in material parity with offers through other outlets in order for us to promote the title at
        release.")

        Jason Ruymen, Dep. Tr., 9/19/2023, at 46:8-20, 84:18-85:8. ("Q. In the email at the -- the email at the    of the page is a
        response from you to your colleagues at Valve, right? A. Correct. Q. And your proposal here was                    3rovide
        parity for you to market their games at all or to be willing to do a preorder; is that right? A. For us to do any curated
        marketing for their game or even offer a preorder, yes."; "Q. Valve is saying because there isn’t pricing parity on this game,
        we’re not going to do a takeover, we’re going to reduce our marketing of the game; is that fair? A. We were telling them
        we would not do a curated takeover for the game. Q. When you say ’a curated takeover,’ can you tell me what you mean
        by that? A. Yeah, like we defined a takeover as something where we have highlighted a game on the front page on Steam.
        Those are typically always curated for us. We’re deciding what is going to be given a takeover or not.")

527                  Emails   Regarding               Content        Parity,   6/20/2022-6/28/2022   (VALVE_ANT_1210287-290,        at
        Valve,
        VALVE_ANT_1210290).




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         you’re going to offer content on the~ cash shop, you~l need to offer that to Steam users

         via Steam as well."s28 In other words, no differentiation across platforms was permitted.


(196)    Other examples of discussion and enforcement of Valve’s content parity with publishers

         include:

              In an email re~arding setting up the a storefront (2021), developer ~ asked Valve
              about offering different content on the ~.s29 Steam’s Business Team declined

              this request, and told ~ that "it wouldn’t be OK to sell the game on Steam, but
              make a DLC available exclusively on other PC stores, whether or not you delivered the
              DLC via Steam Key[.]"83° The email also stated: "If we can’t offer the product fairly to our
              own customers, we’d just choose not to sell it. We aren’t interested in doing business with
              somebody if they give Steam customers bad treatment on price or content, regardless of
              what’s in the [SDA]."~31

        b.    In a response to a publisher inquir~ about selling a game on Steam (2022}, Valve remarked
              that "[t]he main goal for us is just making sure that once we’re selling on Steam, we’re able
              to put the same offers in front of Steam users as you’re making elsewhere on PC."s3~

        Co    Kassid¥ Gerber, Valve employee, testified (2023) that when Steam publishers promote
              content (games, DLC, etc.) on competing platforms but not on Steam, Valve has several
              punitive options, including delaying their curated promotion on Steam and removing their
              games from Steam, demonstrating that Valve exercises and maintains its monopoly power
              as well as protect its competitive position in the PC games market.~                                            Later in her
              deposition, Ms. Gerber discusses an example where Valve threatened to remove a~
              game because ~didn’t offer the game’s starter pack on Steam even though it was




        528
                Valve,    Emails    Regarding                 Content     Parity,   6/20/2022-6/28/2022         (VALVE_ANT_12 I0287-290,       at
                VALVE_ANT_I 210288).

        529
                Valve, Emails Rega rding ~ Content, 10/25/202 I-I 0/27/2021 (VALVE_ANT_1200520-22, at VALVE_ANT_1200522).

        530
                Valve, Emails Regarding ~Content, I 0/25/2021-I 0/27/2021 (VALVE_ANT_1200520-22, at VALVE_ANT_1200521).

        531
                Valve, Emails Regarding~Content, 10/25/2021-10/27/2021 (VALVE_ANT_1200520-22, at VALVE_ANT_t200521).

        532
                Valve,   Emails    Regarding     Selling   Game      on    Steam,    2/15/2022-4/8/2022         (VALVE_ANT_0967621-644,        at
                VALVE_ANT_0967634-35).

        533
                Kassidy Gerber, Dep. Tr., 10/5/2023, at 16:12-15, 71:19-72:17.       ("Q. Different question.   Is it fair to say that you ask of
                developers that anything they’re promoting is something that you’re able to offer on Steam? A. We -- are you talking
                about content? Q. Things that are being promoted. A. Like what? Q. Oh, anything being promoted. A. If a developer is
                promoting content, and we are aware of it, and we don’t have it on Steam, then I will ask that we can make it available on
                Steam. Q. And if they won’t give it to you on Steam? A. It depends. Q. You might take down their game? A. We might
                delay some curated promotion. There’s a bunch of different things we might do if we realize that we’re missing content
                that they have on other channels. Q And one of the things you might do is take down their game? A. I don’t think I’ve
                ever done that, but I don’t know. I guess, technically, it’s an option, yes.")




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       offered on ~.s~’ ~ !ater conceded to Valve’s demands by removing the starter
       pack from~ until~ ,,’as prepared to list the product on both Steam and~s~




        Kassidy Gerber, Dep. Tr., 10/5/2023, at 95:8-96:18. ("Q. And then you write, ’If you arent able to bring the starter SKU
        back to Steam by EOD’ -- that means ’end of day’? A. Yes. Q. ~. ’by end of day tomorrow, Wednesday, February 15th, we
        plan to remove all SKUs of                      from the store.’ A. Yes. Q. You wrote that? You wrote that? A. Yes. Q; And
        why? A. We felt that it ~vasn’t a             Steam to only have them -   like, more premium editions of this game available
        when we knew that there was a compelling star~er edition that we didn’t have.          We thought it was bad to continue
        promoting this game like we had a complete offering when we didn’t... Q. On what basis were you going to take down
        oil their games for tbem baying this starter version on~? A. We were effectively missing a DLC offering. So ]f they
        weren!t going to give us all the versions of the game, then we wanted to stop offering it to our customers.")

        Valve, Emai[s Regarding ~. 2/! 0/2017-2/I 5/2017 (VALVE_ANT_1221288-291. at VALVE_ANT_t221289-
        290), available at Kassidy Gerber, Dep. Tr, 10/5/2023, Exhibk 101.

535     Kassid   Gerber, Dep. Tr, 10/5/2023, at 101:4-102:1.     ("Q. VII ask a different question. You did take down -- strike that.
                 did what you wanted~ they removed the starter       ame from their store; correct? A. That is incorrect.   What we
        wantec was to sell all versions they were selling on     And, instead, it says they expect to have it delisted from~
              shop by 5:00 p.m.Q. Right. So ~hey’re no longer going to sell it as of 5:00 p.m.? A. Right, but that’s not what we
        as    ~hem for. Q. Okay. But was it an acceptable solution? A. Yes, it was an acceptable,_,.,solution to not -- Steam not
        having all versions of the        Because now there’s no reason for somebody to go to~ to buy games because
        the versions being offered on         are exactly the same~as
                                                                    what’s being offered on Steam? A. Yeah. I never -- this was
        never about having a problem w       customers going to~. This was always about promoting full versions of a game
        offering -~ a game’s offerings on Steam, so.

        Valve, Emails Regarding~, 2/!0/2017~2/15/2017 (VALVE ANT 1221288-.291, at VALVE ANT 1221288),
        available at Kassidy Gerber, Dep. 1"r., 10/5/2023, Exhibit 101.




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        6.           Anticompetitive Effects of Valve’s Monopoly Power

        6.1.         Valve’s supracompetitive commission rate to publishers

(197)   As discussed in Section 4.2.2, Valve’s monopoly power allows it to set and sustain a

        supracompetitive commission rate that publishers must pay to secure distribution of their

        games on Steam.             Steam’s more direct competitors--EGS and the Microsoft Store--charge

        publishers commissions of 12% in comparison to Steam’s 30%.                              While benefiting Valve, the

        supracompetitive commission rate harms competition in the relevant market.


(198)   Valve recognizes that its commission rate and the resulting so-called revenue sharing

        arrangement is an issue with publishers,s36 In a Valve competitor analysis for the 2020 GDC

        and an accompanying email, Valve acknowledges that EGS is "[d]oing [w]ell" from the

        developers’ perspectives on revenue sharing,s37                          Given the survey and other evidence, it

        appears that publishers agree.~38                   At least as early as 2018, Valve employees noted that

        "[p]retty much everyone agreed that Steam wasn’t worth 30%" of revenue and that "Steam

        hasn’t had to compete, and thus has gotten lazy and hasn’t had to change revenue share[.]’’839

        Developers stated that they would leave Steam if a competitor platform "comes along and

        offers a better deal" and that, for example, they "would be less likely to take a deal from another

        platform for exclusive distribution" if Valve "took a smaller share" of revenue.


(199)   Additional documents support the same conclusion.~41                             For example, in an email chain

        between Valve and~ regarding~                                          launch on Steam, Valve alerted~ about




        536
                Valve, Emails Regarding Competitor Analysis, I/31/2020-2/13/2020 (VALVE_ANT_0167817-20, at VALVE_ANT_0167817,
                VALVE_ANT_0167819).

        537
                Valve, Emails Regarding Competitor Analysis, 1/31/2020-2/13/2020 (VALVE_ANT_0167817-20, at VALVE_ANT_0167817,
                VALVE_ANT_0167819).

        538
                When publishers were asked about the "justifiable amount of your game’s revenue for digital storefronts" in a GDC 2021
                survey, "[o]nly 3% said a 30% cut is justifiable and the most popular answer was 10%, which garnered 23% of responses,
                followed by 15% with 20% of responses. Viewed another way, 4131% of respondents find a 10-15% cut justifiable." See:

                GDC, "State of the Game Industry 2021," 2021, at 26-27.

        539
                Valve, Emails Regarding Boston Developer Meeting, 10/5/2018 (VALVE ANT 0054709-14, at VALVE_ANT_0054712),
                available at Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 242.

        540
                Valve, Emails Regarding Boston Developer Meeting, 10/5/2018 (VALVE_ANT_0054709-14, at VALVE_ANT_0054712-13),
                available at Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 242.

        541
                For additional examples, see:




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        Valve, Email Regarding Microsoft Store, 12/7/2011 (VALVE_ANT_2533446). (In an email regarding Microsoft Store’s launch,
        a Valve employee stated that "[Microsoft] Store’s revenue model is more generous than Apple’s, which takes a 30 percent
        cut. Microsoft will collect the same amount through an app’s first $25,000 sales[,] then only 20 percent thereafter[;]" the
        employee goes on to question if this is the "[b]eginning of the margin wars[.]")

        Valve, Emails Regarding Triple-A Exodus, 8/7/2018-8/8/2018 (VALVE_ANT_1444184-86, at VALVE_ANT_1444184). (A Valve
        email chain states that "[i]t feels like a bunch of threats and risks have been swirling around us recently and some feet
        more real than they have in a long time." In particular, discussion relating to triple-A publishers stated that these publishers
        were "think[ing] harder about testing out their own platforms." Additionally, the email chain discussed "growing pressure
        from [Epic’s] Tim Sweeney and a drumbeat from developers that 30% is too big of a cut for what we provide.")

        Valve, Emails Regarding Epic’s Commission, 12/4/2018 (VALVE_ANT_1404093-94, at VALVE_ANT_1404093-94). (A Valve
        employee internally emailed a quote that read "Epic undercuts Steam with new store that gives dev[eloper]s more
        money[,]" to which another employee replied that "88/12 [revenue sharing] is a super powerful message[,]" and Epic is
        "going
         going to make a bunch of headway with that. Steam needs to outperform then [sic] with actual sales (and maybe
                                                                                                                    ~be rethink
                                                                                                                        rethir
         )ur own rev[enue] share approach across the
                                   ~roach across the board?
                                                     board?)." Further, another
                                                               Further, another em
                                                                                employee remarked
                                                                                          remarked thatl
                                                                                                     that




        Valve, Email Regarding Developer Meeting Notes, 1/25/2019 (VALVE_ANT_2417190-93, at VALVE_ANT_2417191-93). (An
        email regarding notes for developer meetings remarks that Epic’s 88% revenue share will excite developers and that "Epic
        is going to have success convincing dev[eloper]s to ship content on their store under these terms[;]" the actions
        "Steam/Valve [is] taking in reaction to all of this" is "[t]aking a fresh look at our revenue share and re-shaping it to reward
        the biggest games on Steam that provide incredible network effects to the platform[,]" "[a]ggressively continuing to grow
        the platform into new territories[,]" and making developers’ "decision to leave Steam as difficult as possible.")

        Deep Silver publisher’s game, Metro Exodus, had been available on Steam in 2019 for pre-order at $59.99 but was removed
        before its release and offered on Epic for $50. However, Deep Silver would still fulfill pre-orders that had been made on
        Steam. Epic’s "competitive revenue split of 88/12 [was] hinted to be the reason behind the leaner price [on Epic,]" as Deep
        Silver’s CEO, Klemens Kundratitz, remarked that "Epic’s generous revenue terms are a game changer that will allow
        publishers to invest more into content creation, or pass on savings to the players." In a series of email exchanges that
        discuss Deep Silver’s decision, a Valve employee notes that "cutting price from $59.99 to $50 seems like it may actually
        make some customers happy[,]" and questions if it’s worth to Steam customers "paying $10 more [on Steam.]" They
        remark that "customers are going to buy the product where it’s on sale[;]" they ask if Valve should match the "lowest price"
        and "take the loss and retain the player," because in the future, "the loss is shared by the publisher." See:

        PC Garner, Metro Exodus Will Only Release on the Epic Store, But Steam Preorders Will Be Honored," 1/29/2019,
        https://www.pcgamer.com/metro-exod us-will-only-release-on-the-epic-store-but-steam-preorders-will-be-honoured/.

        Valve, Emails Regarding Metro Exodus Game, 1/28/2019-2/4/2019 (VALVE_ANT_0052045-75, at VALVE_ANT_0052069,
        VALVE_ANT_0052071, VALVE_ANT_0052072-73).

        In an email regarding talking points for a meeting with developer, Valve recognized that most developers would "come
        into that meeting thinking, ’Wow, crazy year with all that Epic stuff. How are things going?’" and instead of highlighting
        how "we react[ed] internally to Epic[,]" "[we should] look back at some of the work we’ve done in 2019[.]"      Valve went on
        to point out that the question Valve should be ready for is if "Steam [is] going to change [revenue share] terms in a material
        way because of Epic disruption[,]" the answer to which is Valve already changed its revenue share in 2018.            However,
        Valve’s acknowledgement in its 2020 GDC talking points that Valve was falling short in terms of "[i]ssues with Rev[enue]
        Share" demonstrates that publishers were not satisfied with Valve’s new revenue share policy. See:

        Valve, Emails Regarding GDC Notes, 1/10/2020-1/17/2020 (VALVE_ANT_2417091-93, at VALVE_ANT_2417091-92).

        Valve, Email Regarding 2020 GDC, 2/11/2020 (VALVE_ANT_1168963-67, at VALVE_ANT_1168963).




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        the new, tiered revenue share structure before its official announcement.S42 ~



                                  In his testimony, Scott Lynch confirmed that ~

        ~the email, S44 and that Valve did not agree to

        the ~ I.s4s                                                                       Thus, ~ decided not to launch

        ~ game on Steam.s46 Confronted with the threat of a large publisher with a popular

        game switching from Steam to another platform, Valve chose to--and was able to--sustain its

        supracompetitive price. On its face, this is evidence of Valve’s monopoly power.


(200)   After Valve restructured its commissions to tiers, its commissions remained supracompetitive,

        and developers, especially the smaller ones, had no viable switching option to even threaten

        to defeat that structure.             Valve acknowledged that the new revenue share benefits only top

        earners, stating that




        542
                Valve, Emails Regarding~ 11/7/2018-11/17/2018 (VALVE_ANT_0295988-990, at VALVE_ANT_0295989), available
                at Scott Lynch, Dep. Tr., 10/12/2023, Exhibit 143. ("We appreciate your feedback on the rev share program. We understand
                your ask around moving the upper Qualification Revenue Level & paying out retroactively once a tier is achieved.")

                Steam, "New Revenue Share Tiers and Other Updates to the Steam Distribution Agreement," 11/30/2018,
                https://steamcommunity.com/grou ps/steamworks/announcements/detail/1697191267930157838. ("Today, we updated
                the Steam Distribution Agreement with several important changes .... With that in mind, we’ve created new revenue share
                tiers for games that hit certain revenue levels. Starting from October 1, 2018 (i.e. revenues prior to that date are not
                included), when a game makes over $10 million on Steam, the revenue share for that application will adjust to 75%/25%
                on earnings beyond $10M. At $50 million, the revenue share will adjust to 80%/20% on earnings beyond $50M Revenue
                includes game packages, DLC, in-game sales, and Community Marketplace game fees.")

        543
                Valve, Emails Regarding~, 1 I/7/2018-I 1/17/2018 (VALVE_ANT_0295988-990, at VALVE_ANT_0295990), available
                at Scott Lynch, Dep. Tr., 10/I 2/2023, Exhibit 143. ("Thus a game should receive the enhanced revenue share on all revenues
                related to the game, including retroactively on revenue received while achieving the Qualification Levels.")

        544
                Scott Lynch, Dep. Tr., 10/12/2023, at 236:9-14. ("Q. Those reduced revenue shares, more favorable revenue share for the
                developer, it’s not retroactive on the prior dollars; right? A. That’s correct. Q. That’s what~ wants; right? A. That
                seems to be what he’s referring to.")

        545
                Scott            3. Tr., 10/12/2023, at 246:17-22.




                Scott Lynch, Dep. Tr., 10/12/2023, at 249:1-13.         That reflects that ’    could not come to an   reement with
                about revenue sharinc



                                    It just went on for a really long time. And I remember kind of being bummed that we could not -- we
                could not get there. I think a lot of people put a lot of effort into it, including myself.")

        546
                Scott Lynch, Dep. Tr., 10/12/2023, at 250:12-15. ("Q. They also ultimately didn’t launch on Steam for~ right? A.
                They did not -- I don’t know if they’ve launched it yet, but at launch they were not there.")




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        ~. Particularly in the wake of the SDA chanqes that speci[~calht benefit

        our top revenue earners, I don’t think it’s a great look."s47


(2Ol)   Valve understood that publishers felt Steam’s fees, even when adjusted to the tiered revenue

        structure, were too high.            In a series of emails regarding Valve’s new revenue share, a Valve

        employee shared a quote from an article which states that Valve’s "30-percent revenue cut is

        steep, especially given how little Valve does to earn it nowadays."s4B                           In an emall regarding

        meeting with~ about the new revenue share, Valve noted that~ folks were pretty

        ~stoic’ and so not a lot of reaction on the proposed new rev[enue] share[,]" and that after the

        meeting, Scott Lynch of Valve said that ~ "immediately" went into ~
                                                                                                                 s49 An internal

        email notes that Valve gave ~ "a pitch for the interesting things we could do together

        if ~ games came to Steam[,]" and




        ~,,ss0 Valve had no compulsion to respond to or alter terms since the evidence

        indicates it knew ~ had no realistic alternatives that could threaten Steam’s dominant
        position.


(202)   Additionally, the commission rates charged by other digital platforms support my conclusion

        that Steam has monopoly power and that the rates it sets are supracompetitive.                                  Per Epic,

        "It]he 70% / 30% [revenue] split was a breakthrough more than a decade ago with the advent

        of Steam," but today, "digital software stores have grown into a $25,000,000,000+ business

        worldwide across all platforms, yet the economies of scale have not benefited developers."~sl

        Epic notes that "[i]n our analysis, stores charging 30% are marking up their costs by 300% to

        400%.      But with developers receiving 88% of revenue and Epic receiving 12%, this store will




        547
                Valve, Emails Regarding Developer Meeti ng, 11/15/2018-12/5/2018 (VALVE_ANT_2775558-568, at VALVE_ANT_2775558).
                (Emphasis added).

        548     Valve, Emails Regarding Valve’s Commission, 11/30/2018-12/5/2018 (VALVE_ANT_I 217134-36, at VALVE_ANT_1217135).

        549
                Valve,    Emails    Regarding                Presentation,      10/18/2018-10/19/2019   (VALVE_ANT_1747246-47,   at
                VALVE_ANT_1747247).


        550
                Valve, Emails Regarding ~, 10/30/2019 -10/31/2019 (VALVE_ANT_0489566-67, at VALVE_ANT_0489566-
                67).

        551
                Epic, "Diesel Q&As for Tim from Embargoed Media Outlets," c, 12/4/2018 (EPIC_VALVE_0000058-72, at
                EPIC_VALVE_0000061).




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        still be a profitable business for us."s52                  Following Epic’s announcement of EGS and the

        associated 12% commission rate, Microsoft followed suit in 2021 by cutting the commission

        it charged on Microsoft Store from 30% to 12%, stating that it wants developers to "find

        success" on its platform, so a ’~clear, no-strings-attached revenue share means developers can

        bring more games to more players and find greater commercial success from doing so."553 For

        further discussion, see Section 7.4.


(203)   Valve maintains this supracompetitive commission rate because of its PMFN Policy.                               Absent

        the PMFN Policy, other platforms could charge lower commission rates to publishers to

        incentivize them to join that competing platform, and the publishers could charge lower prices

        to entice gamers to the new platform.                    This could be done using lower prices or different,

        desirable content not available on Steam.                    However, due to Valve’s PMFN Policy, publishers

        that list on Steam cannot offer different prices--despite facing lower platform fees on those

        platforms--or content on other platforms.



        6.2.         Harm to ability of entrants to effectively compete

(204)   Entrants into the relevant market have been unable to compete effectively with Steam; no

        entrant has been able to achieve meaningful success in the marketplace or gain and maintain

        a meaningful market share. Despite other third-party digital PC game distribution platforms

        offering developers benefits similar to Steam and charging lower commissions than Steam,

        Steam maintains its dominant position in the relevant market.                        According to an article from

        PC World, "Amazon, GOG, Humble, and Microsoft have tried to take on PC gaming’s 800-

        pound gorilla and all largely failed to shake up the status quo."554                       Further, according to a

        report emailed to Valve in 2022, "[re]any companies have tried without success to compete

        against Steam.         This includes large publishers like EA.             The most notable recent attempt is

        from Epic Games, the developer behind Fortnite and the Unreal Engine.                                       Epic’s main

        attraction is a 12% commission for developers."55s




        552
                Epic, "Diesel Q&As for Tim from Embargoed Media Outlets," c. 12/4/2018 (EPIC_VALVE_0000058-72, at
                EPIC_VALVE_0000066).

        553
                The Verge, "Microsoft Shakes Up PC Gaming by Reducing Windows Store Cut to Just 12 Percent," 4/29/2021,
                https://www.theverge.c~m/2~21/4/29/224~9285/micr~s~ft~st~re-cut~wind~ws-pc-games~12-percent.

        554
                PC World, "Watch Out, Steam? Discord Starts Selling PC Games, Unveils a Universal Game Launcher," 8/9/2018,
                htt ps://www.pcwo rld.com/a rticle/402408/discord-store-selling-pc-ga mes.html.

        555     Valve, Email Regarding PC Game Distribution, 10/18/2022 (VALVE_ANT_1225364-78, at VALVE ANT 1225365).




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(205)   The inability of entrants to successfully compete with Steam is a direct result of the monopoly

        power that Valve has acquired and maintained through the enforcement of its PMFN Policy.

        As discussed in Section 5.2, Valve’s PMFN enforcement has historically restricted the ability

        of competing platforms to attract customers to lower-cost alternative distribution options and

        continues to do so.            New platform entrants must convince both publishers and users to join

        their platforms and ~’amass a critical mass of users on both sides [of the platform]."s56                                      The

        PMFN Policy establishes an insurmountable barrier.


(206)   The PMFN Policy effectively forecloses the paths that entering platforms could follow to

        compete effectively and on the merits with Steam. One option for potential entrants would be

        to offer lower commission cost options for publishers to incentivize them to charge lower prices

        on the entering platform. This would entice both publishers and users to the platform. The

        PMFN Policy blocks this path. A second option would be to provide content not available on

        Steam to differentiate the platform. Without a PMFN, this task is, at best, a challenge. With

        the PMFN Policy, the pathway is blocked.                      With the PMFN Policy in place, Steam effectively

        removes both avenues of competition as options and makes the impediment to effective entry

        a barrier that cannot realistically be overcome.


(207)   Steam has amassed a significant base of both users and developers on either side of its two-

        sided digital platform.            As of 2021, Steam had approximately 132 million monthly active

        users, s57 As of early 2024, there were over 57,000 publishers and approximately 90,000 games

        on Steam.S58 Meanwhile, other potential competitors who have entered the digital PC gaming

        distribution market have been largely unsuccessful in gaining a significant share of users

        and/or developers. For example:




        556
                Hesse, Renata B. (2007), "Two-Sided Platform Markets and the Application of the Traditional Antitrust Analytical
                Framework," Competition Policy Internotional 3(1): 191-195, at 193.

                Bamberger, Kenneth A. and Orly Lobel (2017), "Platform Market Power," Berkeley Technology Law Journal 32(3): 1051-
                1092, at 1068.

                See also:

                Farrell, Joseph, and Paul Klemperer (2007), "Coordination and Lock-in: Competition with Switching Costs and Network
                Effects," in M. Armstrong and R. Porter, eds., Handbook of Industrial Organization, Volume 3, Elsevier B.V, at 1974.

        557
                Steam, "Steam - 2021 Year in Review," 3/8/2022,
                https://store.steampowered.com/news/group/414SO17/view/3133946090937137590.

        558
                Video Game Insights, "Publishers Database," 2/6/2024, https://vginsights.com/publishers-database.

                Steam Website, Titles on Steam,
                https://store.steampowered.com/search/?categoryl =998&os=win%2Cmac%2Clinux&supportedtang = 125nglish&ndl = 1
                (accessed 2/1/2024).




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              Itch.io, which launched in 2013, was able to create a digital platform with 200,000 games
              as of 2019.ss9           However, Itch.io struggled to build a significant user base.                                          As of 2019,
              Itch.io had a user base "in the tens of thousands" as opposed to the tens of millions on
              the Steam platform.SG° As such, in 2021, Itch.io joined EGS in order to "widen the audience
              of people who can discover the diverse collection of indie works that we host."sG1

              GOG Galaxy, which launched in 2014,s~2 differentiates itself by recovering, restoring, and
              selling classic video games originally developed years ago, while also offering a curated
              collection of new games,se3 In 2020, GOG offered more than 4,700 products through its
              platform,s~4          Today, GOG offers more than 9,000 products through its platform,s6s
              However, GOG Galaxy needed to rely on another competitor to help amass a user base,
              becoming available for download from EGS in 2022.s~6                                         Although GOG Galaxy does not
              publicly release its number of users, in 2023, it had only over 1,200 publishers and
              developers worldwide, s67


(208)   Several competitors were able to initially amass nontrivial participation on both sides of the

        platform; however, those platforms ultimately have been unable to sustain any success or to

        attain/maintain a significant share of the market because of Valve’s PMFN Policy.                                                                 For

        example, EGS was launched in late 2018 with a goal to "bring [garners] great games, and to




        559
                Games Hub, "ltch.io: an Itch for Democratic Distribution," 8/11/2020, https://www.gameshub.com/news/features/an-itch-
                io-for-democratic-distribution-260888-3445/.

        560
                Games Hub, "ltch.io: an Itch for Democratic Distribution," 8/11/2020, https://www.gameshub.com/news/features/an-itch-
                io-for-democratic-distribution-260888-3445/.

        561
                The Gamer, "ltch.io is Joining the Epic Games Store," 4/22/2021, https://www.thegamer.com/itch-io-epic-games-store/.

        562
                The Verge, "GOG Galaxy Takes on Steam with                    DRM-free Games and Optional Community Features," 6/6/2014,
                https://www.theverge.c~m/2~14/6/6/5785858/g~g-ga~axy-takes-~n-steam-with-drm-free-games-and-~pti~n
                community.

        563     Game Informer, "The Digital Archeologists: How GOG.com Rescues Games from the Dustbin of History," 3/7/2019,
                htt ps://www.ga mein former.co m/2019/03/07/the-digital-archaeologists-how-gogcom-rescues-games-from-the-dustbin-
                of-history.

                PC Gamer, "GOG’s 10 Year Journey to Bring Old Games Back to Life," 1/16/2019, https://www.pcgamer.com/gogs-10-year-
                journey-to-bring-old-games-back-to-life/.

        564
                GOG.com, "Check These Facts and Numbers About GOG," 4/27/2021, https://www.gog.com/news/check_these_facts_and
                _numbers_about_gog.

        565
                GOG.com Website, Games, https://www.gog.com/en/games (accessed 2/7/2024).

        566
                Epic   Games     Store,   "GOG     Galaxy    is   Now   Available    to   Download      from    the   Epic   Games     Store,"   10/27/2022,
                h ttps://sto re.e p icg a m e s.com/e n- U S/news/g o g-g a laxy-is- now-availa b I e-to-d ow nlo a d-from-t h e-epic-g a m e s-sto re.

        567
                CD Projekt, "Fact Sheet," 4/9/2023, https://www.cdprojekt.com/en/wp-content/uploads-en/2023/O9/en-cdpir-factsheet-
                09-2023-1.pdf.




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 give game developers a better deal [than Steam’s commission system.]"s6~ An article from 20 18

 stated: "Because of the billions of dollars its [sic] earned through Fortnite, Epic now has

 enough in its war chest to properly do battle with Valve[.]"s69 Epic attempted to compete with

 Steam by offering (1) free games every week;S7° (2) a lower commission rate of 1 2% to developers

 and publishers;~71 (3) initial free use of Epic’s gaming engine;~72 (4) exclusive deals with

developers, which cut out Steam and its users for the initial releases of games, which Epic’s

CEO Tim Sweeney claims has been critical to Epic gaining momentum to compete with

Steam;s73 and by (5) acquiring other game studios.~74




568
         Epic Games, "The Epic Games Store is Now Live," 12/6/2018, https://store.epicgames.com/en-US/news/the-epic-games-
         store-is-now-live. ("Our goal is to bring you great games, and to give game developers a better deal: they receive 88% of
         the money you spend, versus only 70% elsewhere. This helps developers succeed and make more of the games you love.")

        The    Verge,    "Valve’s   New    Steam       Revenue     Agreement        Gives   More     Money         to    Game     Developers,"     11/30/20t8,
         https://www.theverge.com/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-new-rules-com petition.
         ("Normally, Valve takes around 30 percent of all game sales on Steam, with some exceptions for games from smaller
        developers in its Steam Direct program.               That will remain the case for the first $10 million in sales a game maker or
         publisher earns.")

569
        The    Verge,    "Why   Epic’s    New     PC    Game       Store   is   the   Steam    Competitor          the     Industry     Needed,"    12/7/2018,
        htt ps://www.t heverge.com/2018/12/7/18129563/epic-games-store-fortnite-valve-steam-competition-pc-gaming-
        distruibition.

570
        Game Rant, "Why the Epic Games Store Gives Away Free Games Explained," 6/5/2022, https://gamerant.com/epic-games-
        store-free-titles-promotion-competition/.

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        Game Informer, "Epic Launches Digital Games Store with 88 Percent Revenue Going to Developers," 12/4/2018,
        https://www.ga m einformer.co m/2018/12/04/epic-launches-digital-games-store-with-88-percent-revenue-going-to-
        developers.

572
        Teknos Associates, The Battle for Digital Gaming Distribution, https://www.teknosassociates.com/the-battle-for-digital-
        gaming-distribution/(accessed 1/30/2023).

        Valve, "GDC 2020 - Com                     lysis,"          VALVE ANT 0019400-02 at VALVE ANT                                    ]1   available at Scott
                                          Exhibit 156.




573
        Forbes,   "Epic     Games     Stores      Has        Hit   $680    Million     in   Revenue,         108        Million      Customers,"    1/14/2020,
        https://www.f~rbes.c~m/sites/mattperez/2~2~/~1/14/epic-games-st~re-has-hit-68~-mi~~i~n-in-revenue-1~8-mi~lion-
        customers/?sh=daTf96d4b99a.             ("Sweeney on Epic Games Store exclusives as a strategy against Steam: ’Exclusives have
        been critical in gaining momentum in the presence of a competitor that began 2019 with more than 90% market share.
        Securing exclusives for Epic means we can significantly assist developers with product funding and invest in marketing
        and awareness knowing that these efforts bring in new customers to our store, rather than just sending more business to
        the incumbent.’")

574
        Variety, "Epic Games to Acquire ’Rocket League’ Developer Psyonix, Game Shifts to Epic Game Store," 5/1/2019,
        https://variety.co m/2019/gaming/news/epic-games-to-acquire-psyonix- 1203202663/.

        Rocket League, "Rocket League Going Free to Play This Summer," 7/21/2020, https://www.rocketleague.com/news/rocket-
        league-going-free-to-play-this-summer/.

        IGN,   "Fall     Guys   Has      Been     Removed          from    Steam,     But     Will   Still    Receive         Full     Support,"    6/21/2022,
        https://www.ign.com/articles/falt-guys-stea m-delisted-will-still-recieve-full-support.




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(209)     Despite these efforts, EGS did not alter the competitive balance in the market; Steam remains

          the dominant firm.              Valve has not lowered its prices to competitive levels, and it has not

          changed its anticompetitive policies.                 In fact, EGS struggled to be an effective competitor to

          Steam. While EGS grew its userbase from 108 million users in 2019 to over 230 million users

          in March of 2023[,]sTs it failed to attract sufficient publishers/games to offer a meaningful

          competitive threat. Epic was only able to increase the number of games offered on EGS from

          190 in 2019 to 917 in 2021.s76                    In 2022, this number rose to 1,548 games.577                         Steam, by

         comparison, had approximately 1 billion registered Steam accounts in October of 2020,578 and

         had approximately 90,000 games on its platform as of early 2024. s~9


(210)    The majority of EGS’s revenue was attributable to its own games, not third-party games.                                          In

         2020, users spent $700 million on EGS, with $265 million of this attributable to third-party

         games.58° In 2021, user spending on EGS grew to $840 million, with the amount attributable

         to third-party games only increasing to $300 million.5a                              In 2022, EGS amassed only $820

         million in user spending, with $355 million from third-party games.582 As of November 2023,




         575
                 The    Verge,    "Epic   Games     Store    Users   Claimed     749     Million   Free   Games   Last   Year,    1/28/2021,
                 h ttps://www.theverge.com/202 1/1/28/22254901/epic-games-st~re~acc~unts-dai~y~m~nth~y~active-concurrent~users-
                 storefront-2020-data. ("It announced that there are over 160 million accounts now on PC, up from the 108 million users
                 registered in 2019.")

                 Epic Games, "Epic Games Store 2022 Year in Review," 3/9/2023, https://store.epicgames.com/en-US/news/epic-games-
                 store-2022-year-in-review.

        576
                 Epic Games, "Epic Games Store 2021 Year in Review," 1/27/2022, https://store.epicgames.com/en-US/news/epic-games-
                 store-2021 -year-in-review.

                Epic Games, "Epic Games Store 2020 Year in Review," 1/28/2021, https://store.epicgames.com/en-US/news/epic-games-
                store-2020-year-in-review.
        577
                Epic Games, "Epic Games Store 2022 Year in Review," 3/9/2023, https://store.epicgames.com/en-US/news/epic-games-
                store-2022-year-in-rev ew#:-:text=There o~20are~20now~20over
                                                               o     o       o~20230 up ~20from o%20last o~20year’s~2062M
                                                                                    ,  o
                                                                                                                   o

        578
                Valve, "Joint Business Review," 10/2020 (VALVE_ANT_0052792-2829, at VALVE_ANT_0052816).

        579
                Steam                          Website,                         Titles                      on                       Steam,
                https://sto re.steam powered.com/sea rch/?category 1 =998&os=win%2Cmac%2Clinux&supportedlang = 128nglish&ndl = 1
                (accessed 2/1/2024).
        580     Epic Games, "Epic Games Store 2020 Year in Review," 1/28/2021, https://store.epicgames.com/en-US/news/epic-games-
                store-2020-year-in- review.
        581
                Epic Games, "Epic Games Store 2021 Year in Review," 1/27/2022, https://store.epicgames.com/en-US/news/epic-games-
                store-2021 -year-in-review.

        582
                Epic Games, "Epic Games Store 2022 Year in Review," 3/9/2023, https://store.epicgames.com/en-US/news/epic-games-
                store-2022-year-in-review.




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         EGS was still not profitable.S83 In comparison, in 2021, Steam’s platform had total third-party

         user sales of~--more than~ EGS’s third-party user sales in the same year. s84



        ~.sss Epic has struggled to gain enough developers to grow its network to compete
         with Steam, and still only makes up a small fraction of the market (see Section 4.2.3 and

         Attachment E-l). Steam continues to dominate the market.


(211)    Discord, a popular voice, video, and text communication service with 150 million monthly

         active users, launched its own gaming platform in 2018.s86                                                   In December 2018, Discord

         announced that it would only charge a 10% commission rate, allowing developers to keep 90%

         of revenue from their games.~7 In response to this, Valve employees discussed the changing

        landscape of revenue share on PC gaming platforms, such as EGS and Discord.s~ However,

        Discord, like EGS, did not succeed.                              It was unable to take a significant share of the market,

        and discontinued its platform with third-party game developers, as it "was apparently not

        making Discord or the third-party game developers much money."s~9


(21 )   Indeed, this low-cost-to-publisher platform approach taken by EGS and Discord is typically

        an avenue available to potential entrants to compete with an entrenched incumbent in a



        583
                The        Verge,    "Epic     v.     Google:          Everything    We’re          Learning   Live     in     Fortnite     Court,"      12/11/2023,
                 https://www.theverge~c~m/23945184/epic-v.g~~gie-f~rtnite-p~ay-st~re-antitrust-tria~-updates/archives/24.                                  ("In   case
                you’re keeping track, Epic Games Store boss Steve Allison says on the witness stand his store isn’t profitable yet.")

                 Forbes,      "Tim   Sweeney’s          Epic     Games       Store    is    Still     Losing    Money        After   Five     Years,"     11/7/2023,
                 https://www.forbes.com/sites/paultassi/2023/11/07/tim-sweeneys-epic-games-store-is-still-losing-money-after-five-
                years/?sh=4bfcc692568e.             ("Epic is heading back to the courtroom for another one of its cases against megacorps, this
                time, Google, where new testimony has revealed that the Epic Games Store is still not profitable five years after its original
                launch in 2018.")

        584



                See Attachment D-3.

        585
                Epic, Units Sold Data, c. 2022 (EPIC_VALVE_0000392.xlsx).

        586
                Discord Website, About Discord, https://discord.com/company (accessed 6/14/2023).

                Game         Developer,      "Discord          Turns      Retailer   with       Beta      Launch      of      Game        Storefront,"     8/9/2018,
                https://www~gamedeve~per.c~m/business/disc~rd-turns-retai~er-with-beta-~aunch-~f.game-st~refr~nt

        587
                Gameslndustry.biz,           "Discord          Store      Offering     Developers          a    90/10        Revenue        Split,"      12/14/2018,
                htt ps://www.gamesindustry.biz/discord-store-offering-developers-a-90-10- revenue-split

        588     Valve, Emails Regarding Revenue Share,                   1/27/2019-2/5/2019,                   ANT                     at VALVE_ANT_0489888),
                                                                             Exhibit 137.




        589     Business of Apps, "Discord Revenue and Usage Statistics (2023)," 1/9/2023,
                https://www.businessofa pps.com/data/disco rd-statistics/.




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         competitive market unencumbered by an enforced PMFN.sg°                                   However, with Steam’s PMFN

         Policy firmly in place, while publishers may benefit from the low fees on these platforms, the

         users do not gain cost savings through lower game prices.                                That is, if a publisher were to

         publish its game on Steam and a competing low-cost platform, e.g., EGS, the price parity

         requirement of the PMFN Policy prevents that publisher from passing through those cost

         savings to a customer in the form of a lower game price. Without that lower price, users have

         no incentive to move to the low-cost option.                     Absent the PMFN Policy, Steam would need to

         compete on the merits across all relevant dimensions for developers and users.                                      The PMFN

         Policy prevents that from happening.


(213)    Thus, Valve’s monopoly power and network effects that are maintained through its PMFN

         Policy prevent new platforms from competing effectively. They can also lead to those platforms’

         publishers having to rely on Steam’s platform and large user base to stay afloat. For example,

         in 2009, Ubisoft launched an online platform (formerly named Uplay), which in 2013, began

         offering third party games on the platform "to give Uplay’s 50 million users more option for

         buying and playing Ubisoft games.’’s91 While the Ubisoft platform was able to overcome initial

         barriers to entry and amass millions of users through the release of Assassin’s Creed 2, which

        was released with the Uplay platform,s92 Ubisoft eventually expanded its game offerings on

        Origin, Steam, and EGS.s93 In 2019, Ubisoft reversed course and stopped releasing new games

        on Steam, instead focusing only on EGS and Ubisoft Store.se4                               Ubisoft claimed that Steam’s

        business model was "unrealistic" and "doesn’t reflect where the world is today in terms of




        590
                See further discussion of low-cost platform entry to a market with a PMFN in Section 7.2.1.

        591
                Polygon, "Ubisoft Now Selling Third-Party Games on Uplay Shop and Its Own Games on EA’s Origin," 2/19/2013,
                https://www.polygon.com/2013/2/19/4001836/ubisoft-uplay-shop-third-party-games-ea-origin-chris-early-interview.
        592
                Polygon, "Ubisoft Now Selling Third-Party Games on Uplay Shop and Its Own Games on EA’s Origin," 2/19/2013,
                https://www.polygon.com/2013/2/19/4001836/ubisoft-uplay-shop-third-party-games-ea-origin-chris-early-interview.
        593
                Polygon, "Ubisoft Now Selling Third-Party Games on Uplay Shop and Its Own Games on EA’s Origin," 2/19/2013,
                https://www.polygon.com/2013/2/19/4001836/ubisoft-uplay-shop-third-party-games-ea-origin-chris-early-interview.

                Polygon,      "The     Division     2    Coming     to    Epic       Games    Store,   Skipping    Steam,"     1/9/20t9,
                https://www.polygon.com/2019/1/9/18174375/division-2-pc-epic-games-store-steam.

                Engadget, "Ubisoft Shares Dark Messiah of M&M with Steam," 8/31/2006, https://www.engadget.com/2006-08-31-
                ubisoft-shares-dark-messiah-of-mandm-with-steam.html.
        594
                Game       Spot,     "Ubisoft     Explains   Why     It    Doesn’t      Release    Games      on   Steam,     8/29/2019,
                https://www~gamespot~com/artic~es/ubisoft-exp~ains-why-it-doesnt-re~ease-games-on-st/1100-6469502/.




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         games distribution."sgs           However, this strateKy was unsuccessful and ultimately short-lived,

         as several Ubisoft exclusives were later released on Steam. s96


(214)    Ubisoft’s reliance on releasing its games on Steam despite having over 117 million active

         players across consoles and PC in 2020 demonstrates the lack of meaningful competition to

         Steam in the market for third-party digital PC game distribution via platform,s~7                                                  Despite

         Ubisoft’s ability to enter the market and Steam’s supracompetitive prices, it could not

         meaningfully compete without offering its own games on Steam’s platform.                                              Moreover, the

         need to distribute its games through Steam prevented Ubisoft from competing with Steam on

         game price on its own platform because of Steam’s PMFN Policy.                                             Thus, a competitive

         challenge to Steam’s supracompetitive pricing was thwarted.


(215)    EA, a major game publisher responsible for popular game series such as The Sims and

         Battlefield,~9~ is another example of a platform that attempted and failed to compete against

         Steam.




        595
                New    York Times,   "Fortnite   Maker   Wants   to   Sell   More   Games,   and   Build   a   Platform   to   Do   It,"   8/13/2020,
                htt ps://www.nytimes.com/2019/08/27/business/steam-epic-games-store.html.

        596
                Valve, Emails Discussing a GameDiscoverCo Article, 11/22/2022 (VALVE_ANT_1229059-067, at VALVE_ANT1229064). ("We
                ran the rumors a few times, but they’re true - Ubisoft is returning to Steam, initially with Assassin’s Creed Valhalla (out
                Dec. 6th). But they told Eurogamer they’ll provide a ’consistent player ecosystem through Ubisoft Connect’, and will be
                adding titles including Anno 1800 & Roller Champions to Valve’s platform soon.")

        597
                Game Developer, "Ubisoft Beats Q4 Forecasts, Thanks in No Small Part to Player Recurring Investment," 5/14/2020,
                h ttps://www.ga medeveloper.com/business/u bisoft-beats-q4-fo re casts-tha nks-in-no-small-part-to-player-recurring-
                investment.

        598
                Electronic Arts, Form 10-K, 2022, at 3. ("Electronic Arts is a global leader in digital interactive entertainment. We develop,
                market, publish and deliver games, content and services that can be experienced on game consoles, PCs, mobile phones
                and tablets .... Our portfolio includes brands that we either wholly own (such as Apex Legends, Battlefield, and The Sims)
                or license from others (such as Madden NFL, Star Wars, and the 300+ licenses within our global football ecosystem).")

        599
                Valve, Emails Regarding ~ 6/15/2011 (VALVE_ANT_2715478-79, at VALVE_ANT_2715478), available at Scott Lynch,
                Dep. Tr., 10/12/2023, Exhibit 138.

        600     Valve, Emails Regarding ~, 6/15/2011 (VALVE_ANT_2715478-79, at VALVE_ANT_2715478), available at Scott Lynch,
                Dep. Tr., 10/12/2023, Exhibit 138.




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(216)    EA launched Origin, a digital platform, in June 2011,°°2 and started offering third-party games
         a few months thereafter.6°3 EA has an immense user base across all play types, with over 580
         million unique users, the majority of which are on consoles as opposed to PC, as demonstrated
         by EA’s revenue sources.6°4                  Following the launch of Origin, EA began offering exclusive
         content on Origin and pulled some of its biggest titles from Steam.6°s                                       However, other
        publishers declined to follow--they had little incentive to use Origin, because Valve’s PMFN
        Policy prevented publishers from offering their games for lower prices on Origin compared to
        Steam.6°a Consumer adoption of Origin was also minimal.~°7 Unable to succeed on its own,




        601
                 Valve, Emails Regarding ~ 6/15/2011 (VALVE_ANT_2715478-79, at VALVE_ANT_2715478), available at Scott Lynch,
                 Dep. Tr., 10/12/2023, Exhibit 138.

        602
                 CNET, "EA Launches Origin, Takes Aim at Steam," 6/3/201 I, https://www.cnet.com/tech/gaming/ea-launches-origin-takes-
                 aim-at-steam/.

        603
                 Electronic Arts, "Origin Expands to Offer Games From 3rd Party Publishers," 10/28/2011, https://www.ea.com/en-
                ca/news/origin-expands-to-offer-games-from-third-party-publishers.

        604
                 Electronic Arts, Annual Report, 2022, at 30.

                Electronic Arts, Annual Report, 2021, at 4.

                Console revenue historically has made up the majority of EA’s net revenue with $4.40 billion of $6.99 billion net revenue
                in 2022 being generated by the console segment.         In the same year, $I.$3 billion in revenue was generated by "PC and
                other" and $I .06 billion in revenue was generated by mobile. See:

                Electronic Arts, Form 10-K, 2022, at 89.

        605     CNET, "EA Launches Origin, Takes Aim at Steam," 6/3/2011, https://www.cnet.com/tech/gaming/ea-launches-origin-takes-
                aim-at-steam/.

                Games Industry.Biz, "EA Confirms More Platform Exclusives for Origin," 6/15/2011, https://www.gamesindustry.biz/ea-
                confirms-more-platform-exclusives-for-origin.

                Rock Paper Shotgun, "Content Wars: Origin/Steam Scuffle Unfolds," 7/7/2011,
                https://www.rockpa pershotg u n.com/o rigin-stea m.

                Techspot, "Ubisoft and EA Pair Up, Offer Each Other’s Games Online," 2/22/2013, https://www.techspotcom/news/51731-
                ubisoft-and-ea-pair-up-offer-each-others-games-online.html.

        606
                See Section 5.1.

        607
                CNET,    "EA       Returns   to   Steam    With     Star   Wars    Jedi:   Fallen   Order   In   November,"    I0/29/2019,
                https://www.cnet.c~m/tech/gaming/ea-returns-t~-steam-with-star-wars-jedi-fa~~en-~rder-in-n~vember/.             ("EA   has
                announced it will bring its games back to Steam in November. It’ll make its return to the digital platform with one of the
                biggest titles of the holiday season, Star Wars Jedi: Fallen Order.    ’We want to meet players where they are,’ said Mike
                Blank, senior vice president of EA. ’Where better to offer our games and subscription service than Steam?’")

                Kotaku, "EA Returns to Steam with Star Wars Jedi: Fallen Order, 10/29/2019, https://kotaku.com/ea-returns-to-steam-with-
                star-wars-jedi-fallen-order-1839440326.       ("EA abandoned Valve’s digital game store in 2013 in favor of its own Origin
                digital ecosystem, a move many PC gamers considered annoying and bad, because it was. That long nightmare finally
                comes to an end on November 15, with a joint Steam and Origin release of the next big Star Wars action game.")




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         EA ultimately returned to distributing their games on Steam.6°s In 2020, EA began relisting

         its games on Steam, taking a more "open" approach and claiming this was "the most player-

         first thing [they could] do."6°9               EA’s Senior Vice President commented on the return, stating

         that "we are game makers, and our aspiration is to connect as many people as we can to the

         great games that we built[,]" thus "we want to be [on Steam] where the players are."61°                                              In

         2022, when EA launched the EA App, EA stopped selling games from third-party publishers.6u

         Another competitor was lost in the market.


{217)    EA’s decision to return to publishing its games on Steam also meant that Steam users now

         had access to additional third-party PC games, further encouraging users to choose Steam

         over other platforms. As was the case with Ubisoft, when EA relisted its games on Steam, it

        was then also bound by Valve’s PMFN Policy. EA thus could not compete on price or content

        with Steam,          even with its own games on its own platform.                                   EA’s reliance on Steam

         demonstrates the lack of meaningful competition to Steam and that the PMFN Policy

        prevented effective competition with Steam.




                 Digital   Trends,    "EA   Origin  Has   Been     Replaced   With     a   New,    Faster    PC    App,"     10/7/2022,
                 https://www.digitaltrends.com/gaming/ea-origin-replaced-app/. ("Origin was EA’s exclusive PC launcher for its titles first
                 launched in 2011. It was intended to compete with other digital PC storefronts such as Steam, though it eventually
                integrated with its competitor to sell their titles on that service. Origin, however, was still required to run EA titles even if
                bought on Steam. Despite accumulating over 50 million registered users, the service was heavily criticized and maligned
                by the PC community due to security flaws and suspicions of spying on players.")

                For comparison, Steam had approximately 1 billion registered Steam accounts by 2020. See:

                Valve, "Joint Business Review," 10/2020 (VALVE_ANT_0052792-2829, at VALVE_ANT_0052816).

        608
                Valve, Emails Regarding EA on Steam, 10/29/2019-10/30/2019 (VALVE_ANT_0058279-281, VALVE_ANT_0058280-281).

                Valve,   £mails   Regarding     Valve    and   EA’s   Partnership,    9/16/2019-9/20/2019       (VALVE_ANT_0059430-31,        at
                VALVE_ANT_0059430-31 ).

                See also: Scott Lynch, Dep. Tr., 10/12/2023, at 193:23-194:4.     ("Q. There came a time that EA did bring their major titles
                back on Steam; right? A. Yes, they started releasing some of their games they hadn’t released on Steam and probably did
                some new -- new releases too. Q. That was in September of 2019? A. Yeah, that seems around the timeframe.")

        609     Games Industry.Biz, "EA Puts First Wave of Games Back on Steam," 6/5/2020, https://www.gamesindustry.biz/ea-puts-first-
                wave-of-games-back-on-steam.

                Games Industry.Biz, "EA Returns to Steam," 10/29/2019, https://www.gamesindustry.biz/ea-returns-to-steam.

        610     The Verge, "EA Games Are Returning to Steam Along with the EA Access Subscription Service," 10/29/2019,
                https://www.theverge.com/2019/10/29/20937055/ea-games-steam-access-su bscription-service-pc-storefront-jedi-
                fallen-order-sales.

        611     Electronic Arts, "Upcoming Changes to the EA Origin Catalog," c. 6/2022, https://www.ea.com/ea-pc-third-party-titles-
                2022.




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(218)    In 2012, Microsoft launched a digital distribution platform known then as the Windows

         Store.61~     However, in 2019, Microsoft decided to distribute games through Valve’s Steam

         platform.613 Even Microsoft, one of the world’s largest software makers,6~4 could not succeed

         on its own in the PC desktop gaming distribution market without offering games on Steam,

         given the need to publish its games where the vast majority of users are.                                                   Even when facing

         Steam’s supracompetitive prices, Microsoft needed to rely on Steam because of Steam’s

         dominance.           Microsoft’s reliance on Steam allowed Valve to maintain or grow its monopoly

         power in the relevant market.                        Once Microsoft brought its games (and more users) back to

         Steam, Valve’s PMFN Policy protected Steam from competition from Microsoft.


(219)   These examples show that the PMFN Policy enforcement protects Steam from meaningful

         competitive threats by preventing those competing platforms from building the network effects

        that would allow those platforms to challenge Steam.                                        Valve’s PMFN Policy prevented those

        publishers from competing on price to attract users away from Steam. Without the ability to

        use price as a means to attract users and the corresponding difficulty in attracting developers,

        all three platforms (Uplay, Origin, and the Window’s Store) were unable to compete effectively

        and provide a competitive challenge to Steam.6~s




        612      PCMag, "13 New features in Windows 8 Consumer Preview," 2/29/2012, https://www.pcmag.com/archive/13-new-
                features-in-windows-8-consumer-preview-294819.

                Tech Target, "Microsoft Store," 2/2022, https://www.techtarget.com/searchmobilecomputing/definition/Windows-Store.

        613
                The Verge, "Microsoft Will Distribute More Xbox Titles Through Steam and Finally Support Win32 Games," 5/30/2019,
                https://www.theverge.com/2019/5/30/18645250/microsoft-xbox-game-studios-publishing-valve-steam-32-bit-windows.

        6!4
                Emergen      Research,     "Top      9    Companies    Offering    Blockchain     Technology       in   BFSl   in   the   World,"    4/20/2023,
                h tt p s://www.e m e rg e n re sea rc h.co m/blog/to p-9-co m p a nies- o ffe ri n g-bloc k chain-tec h n ology-in- bfsi-in-th e-wo rid.
                ("Founded in 1975, Microsoft Corporation is considered as one of the world’s largest software maker and is one of the Big
                Five companies in the U.S. IT industry.")

        615
                Not only do some third-party digital PC game distribution platforms need to put their games on Steam in order to maintain
                their respective platforms, but some third-party digital PC game distribution platforms, especially the non-gaming
                platforms, are reliant on Steam Keys and other keys, making them beholden to Steam. Steam has discretion in how many
                Steam Keys it will grant to publishers, and Steam Keys have been denied if a publisher prices its games too low relative to
                Steam, again stopping publishers from competing on price due to the PMFN Policy. See Sections 5.1 and 5.2.

                For example, Humble relies on Steam (and other third-party distributors) for the actual hosting and distributing of games.
                Instead of purchasing and playing the game directly through Humble, users purchase keys to games on the Humble Store
                that need to be redeemed on a gaming platform such as Steam, Ubisoft Connect, or GOG. See:

                Humble     Website,    What     is       Humble   Bundle,   https://www.humblebundle.com/about?hmb_source=navbar                      (accessed
                6/13/2023).




                                                                                   See:

                Valve, Emails Regarding~, 1/30/2019-2/11/2019 (VALVE_ANT_0471790-95, at VALVE_ANT_0471791).




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         6.3.        Reduction in variety, quality, and innovation

         Steam’s anticompetitive conduct has led to a reduction in the variety of platform features

         available to consumers and game developers. Platforms are differentiated: each platform must

         make decisions about the overall aesthetic of their website or app, how reviews are handled,

        which games are added to their platform, how those games are displayed to consumers, and

        what type of content moderation (if any) exists.616 Competition would yield a set of platforms

        with different features, attributes, and quality.617 Valve’s conduct prevents viable alternatives

        from entering the market and offering publishers and consumers choices and the prospect of

        innovation.


        As the dominant platform, Steam is able to "shape the nature of competition" in the market

        for third-party digital PC game distribution via platforms.6m                               Steam’s choices about the

        platform influence the types of products consumers choose and developers create. 619                                   Because

        Valve insulates          itself from meaningful competition from other platforms that present

        consumers and developers with different experiences, the range of choices in the relevant

        market is limited and opportunities for innovation are stifled.


(222)   Steam’s PMFN Policy prevents developers from differentiating themselves via price and/or

        content, making it a challenge for developers to induce users to join new platforms with price

        and/or content incentives. This limits the entry and growth of competing platforms that may

        offer different features or qualities that could be preferential to certain publishers and/or



        616     PCMag Website, The Best Places to Buy and Rent PC Games Online in 2023, https://www.pcmag.com/picks/the-best-
                places-to-buy-and-rent-pc-games-online (accessed 11/17/2023).

                See also the list of examples to follow in the rest of this section.

        617
                Many platform features are mutually exclusive, e.g., enabling comments. If users do not all agree on which choice is best,
                a single platform like Steam cannot mechanically meet all of those user preferences. See also:

                Valve, Emails Regarding Boston Developer Meeting, 10/5/2018 (VALVE_ANT_0054709-14, at VALVE_ANT_0054712),
                available at Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 242. ("There were some big generalizations here, but there was also
                an acknowledgement that there is no singular ’Steam audience’ - that Steam’s audience is made up of millions of people
                with different preferences.")

        618     Johnson, Justin, Andrew Rhodes, and Matthijs Wildenbeest (2023), "Platform Design When Sellers Use Pricing Algorithms,"
                Econometrica 91(5): 1841-1879, at 1841. ("It is increasingly recognized that this ’regulatory power’ of platforms allows
                them to shape the nature of competition on their marketplaces.")

        619     Johnson, Justin, Andrew Rhodes, and Matthijs Witdenbeest (2023), "Platform Design When Sellers Use Pricing Algorithms,"
                Econometrica 91(5): 1841-1879, at 1841. ("It is increasingly recognized that this ’regulatory power’ of platforms allows
                them to shape the nature of competition on their marketplaces.")

                Dinerthe estein, Michael et al. (2018), "Consumer Price Search and Platform Design in Internet Commerce," American
                Economic Review 108(7): 1820-1859, at 1820. ("The platform design, the process that helps potential buyers on the internet
                navigate toward products they may purchase, plays a critical role in reducing search frictions and determining market
                outcomes.")




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 garners. As discussed herein, the challenge for developers is to find platforms where gamers

 can easily find, download, and play their games. While publishers are able to list on different

 platforms, ultimately, they need to be on Steam because of its user base.                                        Then, by joining

 Steam and being bound by the PMFN Policy, these publishers can no longer compete on price

 and/or content on other platforms, effectively eliminating meaningful competition to Steam,

and limiting the range of effective choices for both users and developers.



6.3.1.       Reduction in platform variety and quality

Many users and developers are dissatisfied with the quality of Steam’s platform and would

prefer more choice in PC desktop game platforms.62°                                For example, in a thread on Steam




620
         For additional examples, see:

        Augusta Butlin, Dep. Tr., 10/11/2023, at 163:22-164:13. CQ. In 2018, did you hear at all that there was a perception among
         developers that Steam hasn’t had to compete? A. This document is around 2018. I wouldn’t say that Steam hasn’t had to
         compete. But I do think, according to this document, that there was some things we could do to make our partner’s lives
         better. Q. Had you heard that, in this timeframe, 2018, that Steam had gotten lazy? A. I don’t -- I don’t know if lazy came
         up. Q. You never heard that Steam either didn’t have to compete or was lazy, that that perception was out there? A. I
        think, according to this document, there were some perceptions that we could be doing a better job.")

        Valve,    Emails    Regarding    Review    System,   10/23/2014        (VALVE_ANT_2417590-597,      at     VALVE_ANT_2417590,
        VALVE_ANT_2417595). (In an email to Valve, a publisher states that "we feel [there] is a significant flaw in the current ’was
        this review helpful?’ system of review promotion [on Steam]. This is having a very real impact on our studio, and we want
        to open an [sic] conversation with you about fixing this." The publisher further notes that "[u]nfortunately, I’ve noticed
        something very discouraging about how reviews for our game are surfaced to potential buyers, and it points to what feels
        like a major flaw in the system, one which disproportionately promotes negative reviews and hides positive ones[;]" and
        "it feels like the game’s growth and success may be artificially held back by a single frustrating Steam store ’bug’[.]")

        Valve, Steam Technical Issue, 12/27/2015 (VALVE_ANT_1847812-831, at VALVE_ANT_1847812-813, VALVE_ANT_1847815,
        VALVE_ANT_IS47818, VALVE_ANT_IS47820).           (In a thread on Steam Community, some users complained about Steam
        Store’s browsing malfunction.)

        Valve, Emails Regarding Steam’s Review System, 6/18/2018-6/21/2018 (VALVE_ANT_0501377).                  (An email from a Steam
        user criticizes Steam’s review system: "Note that most user has [sic] posted the same formulaic review multiple times on
        each of the DLC items. It’s a clear case of someone buying positive reviews .... Steam has a massive problem with fake
        reviews.")

        Valve, Emails Regarding Steam’s Store Front, 7/10/2018 (VALVE_ANT_0418237).            (An email from a Steam user describes
        concerns with Steam’s game offerings and content moderation: "1, like many others, have become concerned with the
        current status of the [S]team store front. The lack of quality control is concerning.")

        Valve,   Appendix   H:   Comments on      Operation Tell   Valve All    the Things,   undated   (VALVE_ANT_2371141-173, at
        VALVE_ANT_2371145). ("1 wish I had the option to contact valve directly, and not just through forums. We are partners[,]
        not one of millions of customers, I think we deserve that. Sometimes we have questions that don’t get answered adequately
        on the forums.")

        Valve, Emails Regarding Technical Issue, 6/13/2023-6/19/2023 (VALVE_ANT_2906634-637, VALVE_ANT_2906635-636).
        C[W]e were seeing CAPTCHA failures fairly consistently last week"; "[W]hile this does massively impact us when our users
        need to reset their passwords, unfortunately we also see CAPTCHA failures a lot when creating new accounts too[.]")

        Adam Klaff, Dep. Tr., 11/14/2023, at 94:22-95:5, 128:7-21. ("Q. What are some of those common issues that come up with
        developers? A. Let me think. One would be visibility -- questions about visibility in an upcoming seasonal sale for their
        game. Another might be -- I’m kind of lumping these together, but questions about interpreting data from dash - different
        dashboards that we have in our internal tools.")     ("Q. Okay.   I think you were talking before when we said, like, some




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         Community, users complained about broken games, with one user posting "[w]hen are we as

         consumers going to stand up and say enough is enough" while another user agrees that

         "Steam should not allow for broken games."621                           Another user posts that "Steam sits proudly

         in their ivory tower selling product after product without giving any refunds for broken game

         after broken game. Stacks of cash off the backs of unsuspecting consumers .... Article after

         article has been written about these broken products sold to people without so much as a

         peep from Valve on what measures it intends to do about the problem."622                                          In discussion of

         alternatives to Steam, many users commented on their dissatisfaction with Steam’s features

         and desire for an alternative platform, making remarks like "it seems a lot of people are

         searching for alternatives [to Steam;] .... It]he only reason I use Steam is to purchase games

         that are unavailable elsewhere i.e. I am forced to use it ifI want xyz title[;] .... [w]hen a company

         (Steam) has a monopoly on the entire PC gaming industry, there’s very little alternative for

         any potential competition to pull in customers."6~3                              In a competitive market, dissatisfied

         customers have alternatives to consider.                         Further, in a competitive market, even satisfied

         customers may want to explore other options.                             Valve’s policies that prevent entrants from

        having a reasonable opportunity to compete on their differentiation prevent consumers from

        having choices and arguably higher quality.


(224)   In a competitive market, a platform like Steam would have to meet the needs of its customers,

        including publishers. Publishers have complained about issues with Steam. For example, an

        internal Valve document lists several grievances from game developers, including:~24

              ¯     "Sales reporting site is slow and painful."




                  common issues that tend to be raised by developers to you, that visibility might be one of them. Would visibility play into
                  what we’re talking about in kind of where games are visible to potential customers? A. Well, there’s -- like I -- I think I said
                  there’s tens of thousands of games on Steam and there’s only so many capsules you can fit on the home page, so there’s
                  a lot of interest in getting your games seen there. So developers are very, very interested to know how they can get their
                  games seen by more people. Always.")

                  Kotaku, "Valve is Not Psyched They Got An ’F’ in Customer Service," 3/13/2015, https://kotaku.com/valve-is-not-psyched-
                  they-got-an-f-in-customer-service-1691308332.

                  Better   Business   Bureau,   Valve   Corporation:   Complaints,    https://www.bbb.org/us/wa/yarrow-point/profile/online-
                  gaming/valve-corporation-1296-27030704/complaints (accessed 12/17/2023).

        621
                  Valve, "When Are We as Consumers Going to Stand Up and Say Enough Is Enough," 11/25/2014 (VALVE_ANT_2324356-
                  367, at VALVE_ANT_2324356-357).

        622
                  Valve, "When Are We as Consumers Going to Stand Up and Say Enough Is Enough," 11/25/2014 (VALVE_ANT_2324356-
                  367, at VALVE_ANT_2324363).

        623
                  Valve, "Alternatives to Steam?," 10/31/2019 (VALVE_ANT_2078524-554, at VALVE_ANT_2078524, VALVE_ANT_2078528,
                  VALVE_ANT_2078539).

        624
                  Valve, Emails Regarding Boston Developer Meeting, 10/5/2018 (VALVE_ANT_0054709-14, at VALVE_ANT_0054712-13),
                  available at Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 242.




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              ¯      "Devs would like to be able to hand out coupon codes for their games at game shows
                     to encourage players to buy the game on steam."

              ¯      "Devs would like [Valve] to build tech support ticketing into Steam. Obvious from the
                     store page alongside the option of writing a review."

              ¯      "Pretty much everyone agreed that Steam wasn’t worth 30%"

              ¯     "Perception [among developers] is that Steam hasn’t had to compete, and thus has
                    gotten lazy and hasn’t had to change revenue share[.]"

(22S)   As another example, in 2017, Steam launched Steam Direct with a "direct and predictable

        submission process" to replace Greenlight, Steam’s legacy indie game approval process that

        relied on user voting.e2s



                                      A   news      publication        added    that      Steam’s       change     would    introduce      a

        discoverability problem, whereby "low-effort, broken games" could "[overwhelm] Steam."627

        Thus, while the quantity of games on Steam may have increased, this action has led to a

        decrease in the discoverability of games,628 which harms publishers’ ability to reach users and



        625
                  Valve, Steam Business Update, 2017 (VALVE_ANT_1159767.pptx, at slide 21). ("Steam Direct[:] Next evolutionary step of
                  Steam Greenlight[;] Provide a direct and predictable submission process for new Steam developers[.]")

                  Polygon,       "Valve    Shuts       Down         Steam   Greenlight,     Replacing      it    Next    Week,     6/6/2017,
                  https://www.p~lyg~n.c~m/2~17/6/6/15749692/steam.direct-~aunch-date-valve.green~ight.             ("Valve has closed Steam
                  Greenlight, the service on which Steam users would vote on indie games to determine which titles would be published on
                  the platform’s marketplace.      Its replacement, Steam Direct, will launch in a week on June 13, the company announced
                  today.")

        626       Valve, "Evolving Steam," undated (VALVE_ANT_0054558-59, at VALVE_ANT_0054558).

        627       Wolfire, GamesBeat Article Regarding Steam, 2/13/2017 (WOLFIRE_00000168-73              at WOLFIRE_00000170), available at
                  Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 302.

        628
                  Wolfire, GamesBeat Article Regarding Steam, 2/13/2017 (WOLFIRE_00000168-73 at WOLFIRE_00000169), available at
                  Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 302.

                  Discoverability has been a point of dissatisfaction for publishers on Steam. See, for example:

                  Valve,     Emails   Regarding      Steam     Recommendation,      3/21/2013-3/22/2019         (VALVE_ANT_2422879-83,    at
                  VALVE ANT 2422879-81
                  JALVE_ANT_2422879~81).            an email                                recommendation algorithm,
                                                                                 to Steam’s recommendation            a Valve
                                                                                                                ithm, a Valve employe




                  Dark Catt, "75 Steam Statistics: 2020/2021 Facts, Market Share & Data Analysis[,] 5/15/2020 (DarkCatt_0000039-047, at
                  DarkCatt_0000043). ("Following the platform’s success, a lot of developers have devoted their creations to satisfy Steam’s
                  built-in market, which has worked well for legacy titles. However, indie developers have found themselves in a quagmire
                  as the sales of smaller games have significantly dropped in 2019. This points to the crowded space in which their games
                  are hosted, coupled with the revenue share taken by Steam, and the possible flawed approach to pricing.        A brunt of
                  Steam’s revenue comes from only a handful of titles.")

                  Valve, Emails Regarding Valve Roundtable, 7/17/2020-7/21/2020 (VALVE_ANT_0537011-013, at VALVE_ANT_053701 I). (A
                  Valve Email from a game developer expresses dissatisfaction with the algorithm and how Steam recommends games:
                  "Now that the algorithm appears to have determined that our games are not of interest to people, is there a way to




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         make game sales. This also affects users’ ability to search for high quality games. Unhappy

         publishers and users that are affected by these platform-wide decisions by Valve have no

         alternative platforms to consider, and Valve is not pressured by competition in the market to

         make improvements to Steam.


(226)    Chris Boyd, Valve’s Software Developer, testified that Steam receives feedback from developers

         regarding additional features they want from Steam and/or reactions to existing ones.629 Mr.

         Boyd acknowledged in his deposition and in a 20 17 interview that "Valve has a reputation for

         ’bad support’, sometimes taking more than 30 days for a response[.]"63°                                     One of the major

        problems with Valve’s support system was that responses to support tickets were "slow and

        wanted users to get faster responses[,]" as well as inefficiency, "quality of responses[,]" and

        ’~how the tickets were answered."631 Competition does not compel Valve to improve Steam.




                 ’reignite’ the visibility[?] What options do we have other than deleting the application and making a brand new game with
                 the same name?")

        629
                 Chris Boyd, Dep. Tr., 11/17//2023, at 18:19-19:3.   ("Q. And you were hired at Valve in the role of a software developer,
                 correct? A. Correct. Q. Do you have a title at Valve? A. I don’t believe so. Q. So what determines the fact that you’re a
                 software developer at Valve? Is that just because you happen to write code or does Valve classify you as a software
                 developer? A. I happen to write code.")

                 Chris Boyd, Dep. Tr., 11/17//2023, at 30:6-19. ("Q. In order to get a sense of what features partners want or how partners
                 are reacting to features on the Steam platform, do Steam [software] developers typically receive that type of feedback
                through the Steam business team? A. That is one of the ways that [Steam] developers can get feedback, yes. Q. Is there
                a more common way that they get that type of feedback? A. Just about -- in general, just about Steam features?              Q.
                Correct. A. There -- I think there’s lots of ways that developers get feedback about features, so...")

        630
                Game Revolution, "Valve Interview Pt 4: Devs On Steam Greenlight Replacement, Discovery Updates and Support,"
                2/10/2017,             htt ps://www.gam erevolution.com/originals/13619-valve-interview-pt-4-devs-on-steam-greenlight-
                replacement-discovery-updates-and-support, available at Chris Boyd, Dep. Tr., 11/17//2023, Exhibit 309. ("The last part of
                the discussion was focused on Steam Support.         After acknowledging that Valve has a reputation for ’bad support’,
                sometimes taking more than 30 days for a response, Chris Boyd shared that recently there has been a lot of attention paid
                to the support process, starting with ’significantly expanding the size of the support team’.")

                Chris Boyd, Dep. Tr., 11/17//2023, at 40:15-41:22.    (°Q. Setting aside what the exact words you used were, in February
                2017, did Valve have bad support or good support or somewhere in between? A. As I tried to say before, I’m not sure
                what bad or good is here. I’m just saying that it was not up to the standard that -- that we wanted support to be at for our
                users.   Q. And at that time, some support tickets took over 30 days to receive a response, correct? A. That was my
                understanding, yes. Q. What aspects of Valve support did you felt -- did you feel needed to be improved at that time? A.
                Oh, specific -- multiple things, but specifically the response times that you just noted. Q. Anything else? A. Sure. The --
                the quality of responses was another example. Q. What else? A. The process of how the tickets were answered.             Q. In
                what respect did that process need to be improved? A. One of them was efficiency. Q. Can you explain that? A. Sure. It’s
                -- it took -- as part of the -- the -- my memory was the process itself wasn’t great with -- in multiple areas, and so it just
                contributed that long response time that we had. Q. So in what respect did the process need to be more efficient? A. One
                of the ways was -- was just how those are -- those tickets were categorized and routed.")

        631
                Chris Boyd, Dep. Tr., 11/17//2023, at 44:4-11. ("Q. So what did Valve identify as the problem areas that needed to be
                improved in order to improve the support process? A. If I understand what you’re asking me correctly is what we’ve
                already discussed, one of the problem areas was that responding to tickets was - was slow and wanted users to get faster
                responses.")

                Chris Boyd, Dep. Tr., 11/17//2023, at 40:15-41:22.    ("Q. Setting aside what the exact words you used were, in February
                2017, did Valve have bad support or good support or somewhere in between? MR. SKOK: Object to the form. A. As I tried




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(227)    Surveys conducted by game developer, Lars Doucet, provide a more comprehensive view of

         developer’s opinions of Steam.632 According to the survey, the samples consist of roughly 2.3%

         and 1.4% of all developers on Steam.63~


(228)    The survey responses reinforce the point that Steam cannot provide enough variety in platform

         design.      Attachment F-! presents the data collected from the survey.                                        The responses

         demonstrate that many developers have complaints about the general quality of Steam and

         how it functions.             For example, 70% of developers agree that "bug reporting / technical

         support should be built into Steam/Steamworks. Filter issues that are Steam issues to Steam

         support team instead of me[,]" and 63% agreed that Valve should "[i]ix that Steam doesn’t

         start downloading patches right away[.]"a~4                             The survey responses also highlight that

        developers want different or additional platform features. Of developers surveyed, 77% agreed

        that "[d]evs should be able to have one unified landing page for all their games[,]" and 73%

        agreed that Valve should "[p]rovide A/B test functionality for [Steam] store pages[.]"~3s




                to say before, I’m not sure what bad or good is here. I’m just saying that it was not up to the standard that -- that we
                wanted support to be at for our users. Q. And at that time, some support tickets took over 30 days to receive a response,
                correct? A. That was my understanding, yes. Q. What aspects of Valve support did you felt -- did you feel needed to be
                improved at that time? A. Oh, specific -- multiple things, but specifically the response times that you just noted. Q.
                Anything else? A. Sure. The -- the quality of responses was another example. Q. What else? A. The process of how the
                tickets were answered. Q. In what respect did that process need to be improved? A. One of them was efficiency. Q. Can
                you explain that? A. Sure. It’s -- it took -- as part of the -- the -- my memory was the process itself wasn’t great with -- in
                multiple areas, and so it just contributed that long response time that we had. Q. So in what respect did the process need
                to be more efficient? A. One of the ways was -- was just how those are -- those tickets were categorized and routed.")

        632
                PC    Gamer,    "The    Biggest     Issues   with   Steam   in    2017,   According   to   230    Developers,"    10/27/2017,
                https://www.pcgamer.c~m/the-biggest-issues-with-steam-in-2~17-acc~rding-t~-23~-deve~~pers/.

                The survey is not a representative sample, favoring developers who are English speaking, well-connected, active on social
                media, know Lars Doucet, and are independent or small rather than AAA publishers, and those developers that are from
                North America, the UK, or Europe. See:

                Lars Doucet, "Operation: Tell Valve All The Things, v 2.0," 10/10/2017, at 6, available at: https://www.pcgamer.com/the-
                biggest-issues-with-steam-in-2017-according-to-230-developers/.

                For specific survey results, see:

                Lars Doucet, "Operation: Tell Valve All The Things, v 2.0," 10/10/2017, at Appendix I, available                            at:
                https://docs.google.com/spreadsheets/d/1 b2-ugsYxN fwU8WzqGiPw4CEtYGKZrZaTibqZl R83_Mw/edit?pli = l#gid =0.

        633
                There were a total of 232 (survey 1) and 144 (survey 2) respondents in the two surveys conducted.

                Lars Doucet, "Operation: Tell Valve All The Things, v 2.0," 10/10/2017, at 6, available at: https://www.pcgamer.com/the-
                biggest-issues-with-steam-in-2017-according-to-230-developers/.

                For specific survey results, see:

                Lars Doucet, "Operation: Tell Valve All The Things, v 2.0," 10/10/2017, at Appendix I, available                            at:
                https://docs.google.com/spreadsheets/d/1 b2-ugsYxNfwU8WzqGiPw4CEtYGKZrZaTibqZl R83_Mw/edit?pli= l#gid=0.

        634
                Attachment F-1.

        635
                Attachment F-1.




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(229)    Second, other responses demonstrate that developers are unsatisfied with the mechanisms

         Steam uses to guide users towards games. Of the developers in the sample, 61% agreed that

         ~’[h]ours [p]layed’ is not a measure of quality[,]" and 62% agreed that "[v]isibility on Steam

         should not be dominated by popularity[.]’’636                    Some questions go further towards showing a

         desire among developers to cater games to Steam’s recommendation system, including 68%

         of developers agreeing that Steam should "[a]llow developers to ’target’ the discoverability

         algorithm for their game[,]" and 81% agreeing that Steam should "[c]larify what is needed for

         various featuring opportunities[.]"637 Most developers want reviews on a game platform, with

         only 14% stating that Steam should "allow devs to opt-out of reviews altogether[.]"~38 However,

         many disagree with the implementation on Steam, with 71% of developers stating Steam

         should "separate tech issues from gameplay reviews[.]’’~39


(230)   Third, developers are also interested in more accessible data from Steam.~4°                              In addition to

        being a general feature that could vary across platforms in the but-for world, giving developers

        more data would allow them to better understand their customers and more confidently take

        risks on a game that may be a bigger departure from previous titles.


        In a but-for world with more competitive platforms, publishers who do not agree with the

        above decisions would be more likely to find an alternative platform that fits their preferences.

        The absence of variety (and quality) of alternative platforms, engendered by Valve’s PMFN

        Policy, harms competition.



        6.3.2.       Reduction in PC desktop game variety

(232)   A video game platform helps users search for and discover games that fit their preferences.

        Steam’s design affects which games are displayed and advertised to users, and so limits user

        search effectiveness and game variety.                    Different platform designs favor different products,

        characteristics, and consumer preferences, and will not meet everyone’s preferences perfectly.

        Beyond a general dissatisfaction with Steam’s platform features, restricting platform variety




        636
                Attachment F-1.

        6B7
                Attachment F-1.

        638
                Attachment F-1.

        639
                Attachment F-1.

        640
                For example, see Attachment F-1 at ’Allow easy user rating export / data dump’ and ’Provide adoption data on various
                features / hardware’.




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ultimately restricts the variety of successful games. 641                            This unhappiness should lead to

responsive entry of competing platforms, but Valve’s PMFN Policies make successful entry by

platforms seeking to address that dissatisfaction effectively impossible.




641
         For additional examples, see:

        Valve, Emails Regarding Steam’s Review System, 1/25/2016 (VALVE_ANT 1166796                  email from a Steam user states:
        ’Tm writing an email to you out of desperation. Recently released game                         a game which I love and enjoy
        suffers a lot from the abuse of the review system.      There is a handful of people that absolutely hate the game and its
        developers and do all they can to undermine its success .... IT]he game is critically acclaimed and liked [b]y many, it has
        86%   positive reviews and yet people only see negative reviews on Steam, which misrepresents the game and costs the
        developers and Valve both money as a result .... I don’t really feel encouraged to write reviews any more, since the system
        is so vulnerable to abuse.")

        Valve, Emails Regarding Boston Developer Meeting, 10/5/2018 (VALVE_ANT_0054709-14, at VALVE_ANT_0054711,
        VALVE_ANT_0054713), available at Alden Kroll, Dep. Tr., 11/16/2023, Exhibit 242. (A Valve email demonstrates how game
        developers cater their games to fit what they expect Steam’s platform to favor. At a round table discussion with developers,
        Steam employees noted that "[t]here was also talk about devs trying to ’solve’ the Steam algorithms. With so many games
        on the service, many devs feel like there must be best practices for how to stand out, similar to how YouTubers operate."
        That same email mentions that "[s]ome devs said that the recommendation-driven [Steam] store was much worse for
        them. They see fewer games they are interested in[.]")

        Valve, Email Steam Might Have Killed Our Business, 6/6/2018 (VALVE_ANT_2712237-244, at VALVE_ANT 2712243).                  (A
        Valve email includes an article describing Valve’s opaque policy (or lack of a policy) regarding explicit content and how
        Valve makes things difficult for these developers. Two developers "described a ’chilling effect’ that these unclear policies
        could have on small developers. They told me that because visual novel developers often make more ’risky’ games about
        weighty cultural topics or that embrace sex positivity, this uncertainty could stop them from taking those important risks."
        One developer goes on to say that "’[a] lot of these [visual novel] developers are marginalized, queer developers and if
        they’re being disproportionately affected by policies, that has a really unfortunate impact.’")

        Valve,    Emails       Regarding    Publisher     Promotion,     12/21/2018-7/24/2019       (VALVE_ANT_2637589-621,         at
        VALVE_ANT_2637596). (A publisher expressed grievance about the marketing of its game, telling Valve that "1 have to say
        that we are really disappointed about our publisher sale. We were poorly advertised - we only got a small (and at first
        wrong scaled) banner, with the same visibility that a ~20% discount gets for example, and after 36 hours we
        totally disappeared from the start page as well as the category overviews. We only get a publisher sale only once a year
        and have also noticed that our competitors are much more promoted.")

        An email from a Steam user discusses shortcomings of Valve’s game maintenance and VAC, Valve’s anti-cheat system: "1
        recently came back to playing TF2 after two years of hiatus, and while I’ve had a lot of fun relearning everything the game
        is in a sorry state.   Just tonight I spent nearly an hour just trying to find a casual game that wasn’t being completely
        spammed by bots. There was probably about an average of 3+ bots per team of many different varieties. VAC isn’t working
        anymore[.]... The community is so frustrated with Valve because you’re not even doing the bare minimum to upkeep the
        game." See:

        Steam Support Website, Valve Anti-Cheat (VAC) System, https://help.steampowered.com/en/faqs/view/571A-97DA-70E9-
        FF74 (accessed 11/22/2023). ("VAC stands for Valve Anti-Cheat, an automated system designed to detect cheats installed
        on users’ computers.     If a user connects to a VAC-Secured server from a computer with identifiable cheats installed, the
        VAC system will ban the user from playing that game on VAC-Secured servers in the future.")

        Valve, Emails Regarding TF2, 1/11/2021 (VALVE_ANT_0058468).

        A Valve Blog Post states that Steam wants to maximize happy customers, but they define this as customers buying more
        games and playing more on the platform.         While not a specific platform feature, this goal likely guides their platform
        design. Other platforms may have alternative objectives that would lead them to make different platform design choices.
        For example, the GOG website states that they are a "home for building and playing your curated game collection[;] GOG
        is a digital distribution platform that puts garners first and respects their need to own games." The itch.io website states
        that they are "an open marketplace for independent digital creators with a focus on independent video games.            It’s a
        platform that enables anyone to sell the content they’ve created. As a seller you’re in charge of how it’s done: you set the
        price, you run sales, and you design your pages." See:




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(233)    For example, a publisher emailed Valve to express frustration about its games not getting

         exposure and Valve’s irresponsiveness, stating that ’~[t]he reason I contact you is because I

         have problems getting in touch with business developers at Valve.                                 I know they are super

         busy, but who doesn’t take a shot, never scores."64~ The publisher went on to say that the

         sales of its game ~have been really disappointing[.] . . . Oyten we hear that our qame is a ~hidden

         qem’, but as you can imaqine, we don’t want to be hidden."~3 That disappointed publisher has

         no alternative but to stay on Steam. But for Valve’s policies, competition would lead to such

         options.


(234)   In a series of emails, Valve employees are aware of the impact they have on what consumers

        see and ultimately purchase, noting that developers are aware of the algorithm used to

        determine a game’s visibility:




                                                                                                    ."~ Further, one employee

        recognizes that review bombing through Steam’s review feature ~




(235)   In an email regarding the 2020 GDC, Valve recognizes publisher complaints, noting that triple-

        A publishers cannot predict marketing and Steam "won’t let [them] email customers[;]" indie

        developers think "Steam doesn’t care about us, [and gives] [n]o exposure to small guys, [and]

        [w]e’re at the whim of [Steam’s] ’algorithm’[;]" and that publishers think that ~’[Steam] Store is

        full of shit games, which reduces exposure for good game[.]’’~                                      Additional publisher

        complaints include: ~’Valve is detached, no human touch, try to solve everything with

        algorithms[;] .... no communication around changes that affect my business[;] .... Steam is too




                Valve, Steam Store Updates Helping Customers Find Games, undated (VALVE ANT 0054520-24, at VALVE_ANT_0054520).

                GOG Website, About GOG, https://www.gog.com/en/about_gog (accessed 11/15/2023).

                Itch.io Website, About Itch.io, https://itch.io/docs/general/about (accessed 6/14/2023).

        642
                Valve, Emails Regarding Game Exposure, 7/22/2015-8/3/2015 (VALVE_ANT_2681402-411, at VALVE_ANT_2681410).

        643
                Valve, Emails Regarding Game Exposure, 7/22/2015-8/3/2015 (VALVE_ANT_2681402-411, at VALVE_ANT_2681410).
                (Emphasis added.)

        644
                Valve, Emails Regarding Review and Library, t 2/10/2018-12/12/2018 (VALVE_ANT_0052615-622, at VALVE ANT 0052616).

        645
                Valve, Emails Regarding Review and Library, 12/10/2018-12/12/2018 (VALVE_ANT_0052615-622, at VALVE_ANT_0052618).

        646
                Valve, Emails Regarding GDC, 1/31/2020-3/3/2020 (VALVE_ANT_0053212-216, at VALVE_ANT_0053213-214).




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        hands off~ there’s no [game] quality bar];]" and "Steam [user] community is toxic and you do

        nothing to stop it[.]’’647


        In a but-for world with more competitive platform alternatives, consumers would be able to

        choose from a variety of platforms, helping them to efficiently search for the games they want.

        Meanwhile, different types of publishers could expand their sales on other platforms that

        better address their needs and those of their user base.



        6.3.3.       Lack of innovation on Steam

(237)   Valve’s incentives to innovate and improve Steam’s features are diminished by its monopoly

        power, with Valve itself admitting that

        ~64~ Valve’s failure to innovate and create value
        for customers has not hurt Steam competitively, because Steam has eliminated all meaningful

        options for garners and developers.


(238)   Relatedly, in a discussion regarding Valve’s value proposition for its 30% commission, a Valve

        employee noted                                                                                                                    ,

        stating: 6~9




(239)   Similarly, Valve also has acknowledged Steam’s lack of innovation from a publisher/developer

        perspective.        In an internal email regarding publisher feedback, a Valve employee wrote that

        "I’ve seen some people mention (either directly to me, or to the internet in general) two points

        that I thought were interesting enough to repeat[;]" one of those points is that "Valve doesn’t



        647
                Valve, Emails Regarding GDC, 1/31/2020-3/3/2020 (VALVE_ANT_0053212-216, at VALVE_ANT_0053213-214).

        648
                Valve, Emails Regarding Discord and Steam, 8/9/2018 (VALVE_ANT_0406135-39, at VALVE_ANT_0406135), available at
                Chris Boyd, Dep. Tr., 11/17//2023, Exhibit 31 I.

                See also:

                Chris Boyd, Dep. Tr., 11/17//2023, at 113:10-19. ("Q. So you were saying in this email that if every team cut its resources
                by 30 percent and they went to Steam, there’s a lot to build/freshen up/maintain/et cetera, that all those people could
                work on and be busy with, correct? A. My reading of this email is, yeah, if -- I was interested in people coming to work on
                Steam and I thought that -- that there was room for people to help build, freshen up and maintain, et cetera, different
                parts of Steam.")

        649
                Valve, Emails Regarding Valve’s Value Proposition, 8/10/2018 (VALVE_ANT_0053662-63, VALVE_ANT_0053662).




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         do enough to justify the 30% commission - [there is] no promotion, no discovery, no main

         page exposure, no sales drivers other than Workshop merely existing as a feature."6s° Another

         employee also acknowledged this, stating that ~’I understand that some game partners

         [(publishers)] feel like we aren’t providing significant value outside of distribution[.]"6sl                       In

         another related discussion regarding publishers on Steam, Valve acknowledged the ~




(240)    However, Valve’s PMFN Policy protects entry from potential competitors, as there is a reliance

        on Steam’s platform of users and developers, and then the inability to compete on price or

        content on competing platforms.                   As such, Valve knows that it does not need to invest or

        innovate on Steam to compete for additional users and developers.                        The lack of competition

        and cycle of network effects, protected by the PMFN Policy, keep users and developers on the

        platform.      In a but-for world with legitimate competition, Steam would be forced to innovate

        and adapt to consumer preferences in order to compete on the merits with other platforms,

        which would ultimately lead to better feature variety and choice for end users and developers.




        650     Valve, Emails Regarding Developer feedback, 4/27/2015-4/28/2015 (VALVE_ANT_0112242-44, VALVE_ANT_0112244).

        651     Valve, Emails Regarding Developer feedback, 4/27/2015-4/28/2015 (VALVE_ANT_0112242-44, VALVE_ANT_0112243).

        652     Valve, Emails Regarding Publishers on Steam, 5/24/2017-5/25/2017 (VALVE_ANT_0052713-15, at VALVE_ANT_0052713).




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         7.              Economic Assessment of Class-Wide Impact

         7.1.            Overview

(241)   I have been asked to analyze whether there are common methodologies available that show

        all (or nearly all) putative class members were injured by Valve’s enforcement of price and

        content parity during the class period. The answer is yes.


(242)   All major platforms that digitally distribute third-party PC games, including Valve, impose a

        standardized pricing structure on all publishers, typically a fixed commission rate.6s3                                          Valve

        sets its pricing structure (most recently a tiered commission rate) in its SDA Agreement, which

        applies to all publishers on Steam.6s4 Given Valve’s imposition of a standard pricing structure

        for publishers, if the PMFN policy is eliminated, the default commission rate would fall and

        that would benefit each publisher.                    Each publisher would only pay the new, lower, default




        653
                For example, since November 2018, Steam has a default tiered commission structure. See:

                Steam, "New Revenue Share Tiers and Other Updates to the Steam Distribution Agreement,"                             11/30/2018,
                https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838.

                Prior to this, Steam charged the majority of publishers 30%. See:

                Scott       ~, Dep. Tr., 10/12/2023, at 89:15-90:2, 141:15-18. ("Q. Did there come a time that Valve stopped offering~
                            deals and instead switched to 70/30s? A. I don’t think there was this stop.        I mean, eventually, deals started
                being 70/30 predominantly.    Q. When did that start to occur?       When did they become predominantly 70/30? A. That’s
                going way back. It could have been 2010 maybe, sometime in that timeframe. Q. And from that point forward, the deals
                were predominantly 70/30? A. I think from that point going forward, a lot of deals were 70/30, yeah."; "Q. And the
                predominant revenue share for Steam is 30 percent; right? A. During 2018, yeah, the majority would be 30 percent.")

                As another example, Epic charges a fixed commission rate of 12%. See:

                Epic Games, "The Epic Games Store is Now Live," 12/6/2018, https://store.epicgames.com/en-US/news/the-epic-games-
                store-is-now-live. ("Our goal is to bring you great games, and to give game developers a better deal: they receive 88% of
                the money you spend, versus only 70% elsewhere. This helps developers succeed and make more of the games you love.")

                Similar, Microsoft charges a fixed commission rate of 12%. See:

                The Verge, "Microsoft Shakes Up PC Gaming by Reducing Windows Store Cut to Just 12 Percent," 4/29/2021,
                https://www.theverge.c~m/2~21/4/29/22 4~9285/micr~s~ft-st~re-cut-wind~ws-pc-games-12-percent.

        654
                Steam,    "New   Revenue   Share    Tiers   and   Other   Updates   to   the   Steam   Distribution   Agreement,"   11/30/2018,
                https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838.

                For specific examples of standard SDAs, see:

                Valve, SDA with ~,           1/1/2015 (VALVE_ANT_0020270-86, at VALVE_ANT_0020275).                   (See Section 6.1   of the
                Agreement.)

                Valve, SDA with~, 6/4/2015 (VALVE_ANT_0023003-21, at VALVE_ANT_0023010). (See Section 6.1
                of the Agreement.)

                Note that some :)ublishers have ~ ~
                                                     However, these publishers too would benefit from a lower default rate. See Section
                7.5.1.




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         commission rate.           Thus, all, or virtually all, class members were injured provided that an

        economic analysis shows Valve’s commission rates would decrease in a world free of Valve’s

        PMFN Policy.


(243)   This question of whether there is class-wide impact can be addressed in a variety of ways. In

        this case, I used three distinct economic approaches to consider whether common class-wide

        evidence can show class-wide impact. Each of these three approaches establish that common,

        class-wide evidence can be used to show class-wide impact.


                   Approach 1: I construct and apply a model based on economic theory derived from the
                   relevant, peer-reviewed economic literature and applied to the facts and circumstances
                   of this market. I use this model to show that Valve’s parity enforcement harms all or
                   virtually all members of the putative class. Specifically, I adapt the work of Andre Boik
                   and Kenneth Corts to construct a Platform Competition Model, which shows that parity
                   enforcement by an incumbent platform like Valve leads to higher platform fees, deters
                   entry by rivals, and increases consumer prices.

                  Approach 2: I apply a "yardstick approach" to evaluate comparable markets and
                   explain how platform fees in those other markets compare to Steam’s commission rate.
                   Comparing         prices      between         Steam      and   markets   comparable      across    many
                  characteristics        allows     for    the    consideration    of prices   but   for   Steam’s   alleged
                  anticompetitive conduct.

                  Approach 3: I look to empirical evidence from the PC gaming market to determine the
                  impact of limited (and ultimately transitory) outbreaks of competition.                    Specifically, I
                  look to the entry of Epic’s EGS, which was a well-funded attempt at entry by one of
                  the leading game publishers in the world.


(244)   Any of these approaches, standing alone, could be used to show impact or injury to all putative

        class members.             Because each approach leads to the same conclusion, they provide

        compelling evidence that Valve’s parity enforcement has a negative impact on all or virtually

        all putative class members.



        7.2.        Platform Competition Model approach

(245)   To assess the impact and competitive effects of PMFN-type provisions and behaviors, I draw

        on a model developed by Andre Boik and Kenneth Corts to assess the impact of PMFNs (the

        "Boik-Corts model"). The Boik-Corts model demonstrates that "PMFN clauses typically raise

        platform fees and retail prices and curtail entry or skew positioning decisions by potential




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        entrants pursuing low-end business models."6ss I apply the relevant principles from Boik and

        Corts to construct a model that considers and incorporates the facts and circumstances of

        this case.


(246)   Generally, this model closely matches the facts of this case, including the characteristics of

        Steam and the relevant market. First, the Boik-Corts model considers two platforms, I, where

        i = 1,2.    In the extended model that I build on, there is an established "incumbent" firm with

        high costs and high demand that charges a high fee (e.g., Steam), and a lower cost, low

        demand competitor who wants to charge a lower fee (e.g., existing, past, or potential entrant

        competitors like GOG, EGS, EA App, and Ubisoft Connect). Like Steam and other participants

        in the relevant market, the platforms set a one-sided, per-transaction fee (/~) charged to the

        seller side of the market (game publishers). Boik and Corts call these fees "transaction fees."

        In the discussion that follows, I refer to these fees as both transaction fees and platform fees

        interchangeably. These transaction/platform fees are equivalent to the commissions charged

        to publishers for purchases made on the Steam platform.                                As with Steam and others in the

        relevant market, the platforms facilitate transactions between sellers and buyers. In the same

        way that game publishers on Steam operate, the sellers in the Boik-Corts model set their own

        price on one or both platforms, denoted Pi, where I denotes the platform on which the price is

        listed. To avoid confusion with platform fees, I refer to these prices as "consumer prices." The

        platforms determine if they implement a PMFN policy, which allows for comparisons of

        outcomes (like consumer prices, platform fees, and entry) with and without PMFNs in place.


(247)   In considering platform fees and consumer prices, Boik and Corts consider various iterations

        of their model. To begin, in their simplest model, Boik and Corts assume a symmetric model

        of demand.6s6 While not being directly aligned with the facts of the case, this simplification

        leads to more concise algebraic results supporting a more generalized model.                                         The general

        conclusions of this simplified model are that PMFNs increase platform fees and consumer

        prices.6~ In my analysis below, I reach the same conclusion.




        655
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 105.

        656     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journol of Law and Economics 59(I ): 105-I 34, at 11 I.

        657     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 114.        (In particular, they say that "Equilibrium fees and prices are
                higher when both platforms have PMFN agreements." In my analysis, I find that the Steams PMFN increases fees in the
                asymmetric model.)




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(248)    I build on their expanded model, which allows the platforms to face different demand functions

         (the "asymmetric Boik-Corts model"), as is the case here. The asymmetric Boik-Corts model

         closely matches the facts of the case.                In the discussion that follows, I explain why the Boik-

        Corts model is applicable to the case and show that PMFNs in general increase platform fees.

        Next, I show that Steam’s PMFN reduces entry. Finally, I calibrate the model to match the

        facts of the case and show that developer’s economic profits would be ~ higher

        without the PMFN.


(249)   My Platform Competition Model is calibrated to real-world market data.                                     In the real world,

        Valve has a PMFN Policy that it has enforced for many years.                                Accordingly, real-world data

        necessarily reflects Valve’s longstanding market power.                          The results of the model, therefore,

        are conditional on these market facts.                        Nonetheless, the model reflects a decrease in

        commission rate, applicable to all, or virtually all, class members,


(250)   Additionally, my Platform Competition Model demonstrates the interim impact on prices and

        output when a single competitor enters the market.                              In my damages analysis, I use the

        LandesPosner model to calculate the butfor commission rate in a fully competitive market,

        with more than two platforms competing.                      That model likewise confirms that all or virtually

        all class members are impacted by Valve’s PMFN Policy.



        7.2.1.       Platform Competition Model

(25i)   In the asymmetric Boik-Corts model, differing demand functions imply that goods with the

        same consumer price on different platforms will sell different quantities. Costs may also vary

        between platforms at a given output level, and it is assumed that the platform with the higher

        demand incurs higher costs.6s8 For example, at a given consumer price, the entering platform

        would have lower demand but also have lower per-unit costs, implying that it can offer lower

        fees, making it a viable competitive alternative despite a lower demand.6s9




        658     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 123. ("We allow c2 < q, where firm 1 refers to the incumbent. We
                also permit the possibility that the entrant has a lower-value offering, which results in a reduction in demand ofx > 0 for
                any given prices: ~(p) = a - bpl + dp2 and ~~(p) = a - x - bp2 + dp!.")

        659
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 123. ("Note that lower x need not reflect an inferior platform in a
                general sense; it is a platform that faces lower demand at given prices, but this may be accompanied by lower variable or
                fixed costs that make the entrant quite a viable competitor and a potential contributor to total welfare. Similarly, a lower
                cost need not make a firm a superior creator of value if it is accompanied by a demand disadvantage.")




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         More formally, like the asymmetric Boik-Corts, my model includes a seller (i.e., the game

         publisher) who sets its own consumer prices,66° Pi, on each of two platforms i = 1,2.661

         Consumer demand across platforms 1 and 2 is described by the following equations:662


                                                              q~ (P) = a- bpa + dp~


                                                           qa(P) = a- x- bp2 + dp~


         These demand curves allow for the publisher’s price on one platform to impact consumer

         demand on the other platform, without assuming that buyers would choose only to purchase

         from the cheapest option.6e3 The x term allows for one platform to have a "lower-value offering,

         which results in a reduction in demand of x > 0 for any given [consumer] prices[.]"~64 Lower-

         value, in this case, does not imply that a platform is inferior; rather, lower-value refers to a

         "platform that faces lower demand at given [consumer] prices, but this may be accompanied

         by lower variable or fixed costs that make the entrant quite a viable competitor and a potential

        contributor to total welfare."6~s               This asymmetric demand assumption in my model better

        aligns with consumer demand in the real world, in which consumer quantity demanded may

        vary across platforms even if a game is listed at the same consumer price.


(254)   In this asymmetric demand model, a single PMFN can be binding (i.e., consumer prices on the

        PMFN-bearing platform sets a floor on consumer prices on other platforms). This is the case

        when the established, high-fee platform (e.g., Steam) implements a PMFN--prices on other




        660     In this model, there is only one good on each platform. That is, the seller lists a single game on each platform. This can
                be seen from the fact that there is a single demand function for each platform. Boik and Corts discuss this, saying the
                following "Finally, our main model features a single seller doing business through multiple platforms. In our examples,
                typically many sellers sell through a similar set of multiple platforms. We believe that our results apply qualitatively to this
                setting as well, though of course the modeling of multiproduct, multiplatform demand would make formal modeling of
                this case much more difficult." See:

                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Low end Economics 59(1 ): 105-134, at 117.

        661
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Low ond Economics 59(1 ): 105-134, at 110.

        662
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 123.

        663
                In particular, demand for games from platform i decreases by b when the price on i increases, and demand on i increases
                by d when the price on the alternative platform increases.

        664
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law ond Economics 59(1 ): 105-134, at 123.

        665
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law ond Economics 59(1 ): 105-134, at 123.




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 platforms are raised to those seen on the high-fee, PMFN-holding platform.                                          Intuitively,

 competing platforms would choose to set publisher fees below the level set by Steam to

 encourage publishers to price lower on their platform to attract users; however, publishers

 are restricted by Steam’s PMFN.                  If competing platforms implemented a PMFN as well, that

 would prevent publishers from charging a lower consumer price on Steam, but because Steam

 is   the   high     transaction       fee    option,     this    is    a non-binding         constraint       on    publishers.

 Consequently, whether the competing lower transaction fee platform (or platforms) employs a

 PMFN does not impact the consumer price that a publisher chooses on that platform. Thus,

in the asymmetric model, the existence of a single PMFN set by the established platform forces

all consumer prices to the higher prices set by the high transaction fee platform.66a This is

true so long as demand is "asymmetric enough that the fee-setting equilibrium behaves as if

there are two PMFN agreements."667 It is clear that demand is asymmetric in the real world

because when a PMFN is in place and binding, the consumer prices will be equal across

platforms. That is p~ = p~ where the superscript denotes that there are two PMFNs in place

(or one binding PMFN).              I can subtract the two demand equations above to show that x =

 q~(p)_ q~(p).6~8        Since Steam sells larger quantities at the same price, this indicates x is

positive.6~9




666
        Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
        The Journal of Law cmd Economics 59(I ): 105-I 34, at 123.
667
        Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
        The Journal‘ of Law ond Economics 59(I ): 105-I 34, at 123.

668
         q~(P) - q~(P) = x + b(p~ - p~) + d(p~ - p~)

        ~ q~(P) - q~(P) = x

669
        Note that Steam charging a higher fee than competitors with the PMFN in place also indicates asymmetric demand. While
        it may seem that firms could simply leave the high fee platform (Steam), Boik and Corts address this concern in their paper.
        Saying "Our main model also assumes that the seller sells through both platforms, even when it is charged (or can
        anticipate being charged) a very high fee because of PMFN agreements. It is natural to expect that if PMFN agreements
        raise fees sufficiently, the seller may wish to drop one platform and sell instead through a single platform, which would
        render the PMFN agreement moot and therefore potentially reduce fees (though it now pays fees to a monopolist
        platform, so this is by no means certain). We show in Appendix B that even with PMFN agreements in place, there exist
        parameter values for which the 2PMFN equilibrium is preferred by the seller over dealing with a monopoly platform, which
        implies that the seller would in those cases not drop a platform even though it anticipated high 2PMFN fees." See:

        Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
        The Journal of Law end Economics 59(1): 105-134, at 117.




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         PMFNs increase fees by decreasing elasticity of demand

         The asymmetric demand functions allow the derivation of "implied demand as a function of

         transaction fees[.]’’67°        It is referred to as an "implied demand function" because it models

         quantity demanded as a function of platform fees rather than the consumer price of the

         goodfi71 The platform fees on each platform i are, as before, denoted as 1~. The seller’s constant

         marginal and average production cost is denoted cs.672 How a seller sets their consumer prices,

         and by extension how a platform’s fees impact demand on its platform, depends on whether

         a PMFN is in placefi73           Below are the implied demand functions for the established platform

         (e.g., Steam), denoted as q~o,2(i~) where 0 and 2 denote whether or not there are PMFNs in

         place. 674


                                                             1



                                                           1
                                                   q~(f) = ~ [2a + 2dcs + d(L + f2) - b(2cs + ~ + f2) + x]



(250)   These implied demand functions show that removing the PMFN increases the responsiveness

        of the established platform’s quantity sold to platform fee changes.                                   That is, the change

        (mathematical derivative) in quantity with respect to the established platform’s fee,

        becomes more negative without a PMFN, meaning that quantity demanded will decrease more

        with an increase in platform fees. Below, I show the resulting derivatives with respect to the

        established platform’s fee for each implied demand curve:~Ts



        670
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 112, 133.

        67!
                This is the relevant demand from the perspective of the platform. The platform sets fees, and those fees determine the
                quantity of sales on their platform.

                Boik, Andre and Kenneth 5. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 111.

        672     Balk, Andre and Kenneth S. Carts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal o[ Law and Economics 59(1 ): 105-134, at 110.

        673
                Balk, Andre and Kenneth S. Carts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal o[ Law and Economics 59(1 ): 105-134, at 111-112.

        674     As discussed above, whether there are one or two PMFNs the results are equivalent. For clarity, I keep the notation from
                the Balk and Carts paper and label the outcome with any PMFNs with a 2. See:

                Balk, Andre and Kenneth S. Carts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal o[ Law and Economics 59(1 ): 105-134, at 133.

        675
                Balk, Andre and Kenneth S. Carts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 114.    ("[I]n essence, implied demand is made more inelastic by the
                adoption of PMFN agreements since it limits the seller’s incentive to pass through fee increases.")




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                                                                    --      --           b
                                                                      of~            2

                                                                    oq~(D            1
                                                                    -- -                 (b - d)
                                                                     Of~             4


(257)    Using the definition of elasticity of demand (the relationship between a change in price and

         the resulting change in quantity demanded) and the above equations, I derive the established

         platform’s elasticity of implied demand with and without a PMFN:676




(258)    These equations show that a PMFN reduces the established platform’s elasticity of implied

         demand (i.e., demand is more inelastic with the PMFN).677 This can be seen from the following.




                                                                                 b           2



(259)   Per Boik-Corts, since b > d > 0, the following inequality holds:


                                                                            b   2
                                                                           -->l>-
                                                                           b-d  4




        676
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 114. ("Recall that the responsiveness of implied demand to own fee
                is smaller in absolute value (less negative) under the 2PMFN regime than under the 0PMFN regime (aq~(f)/a/~ <
                aq~([)/a~ < 0): in essence, implied demand is made more inelastic by the adoption of PMFN agreements since it limits
                the seller’s incentive to pass through fee increases. ")

                Also note that b, d > 0 and b > d. See:

                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 111.

        677     The elasticity with a PMFN, ~(f), has a larger denominator (4>2) and a smaller numerator. I know b-d < b because
                b >d>0. See:

                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 111.




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(260)     Thereby proving:


                                                                                >

          As Boik and Corts point out, "It]he fundamental mechanism at work in raising [platform] fees

          and [consumer] prices in our model is that PMFN agreements reduce the elasticity of implied

         demand for a platform when considering its fee[.]’’aTa In other words, with a PMFN in place,

         the high-fee established platform can charge a higher fee and, even if that fee increase leads

         to higher consumer prices, consumers will not have the option to switch to a platform with a

         lower consumer price (since it is not allowed by the PMFN).                          Since the same fee increase will

         result in fewer consumers leaving the platform (since consumers cannot get lower prices

         elsewhere), the established platform will implement higher transaction fees with the PMFN in

         place.679 Per Boik and Corts, "the basic intuition is that a firm seeking to compete on the basis

         of low price (typically, a demand-disadvantaged or marginal-cost-advantaged firm) has a hard

         time    competing when the possibility of undercutting the higher-value,                                   or higher-cost

         incumbent is precluded."68°



         Steam’s PMFN deters entry

         As a result of inflated platform fees and potentially consumer prices (depending on pass-

         through), PMFNs in general deter entry of platforms with a "sufficiently large difference in

        position."6a As I showed above, the level of differentiation when a binding PMFN is in place is

        measured by x = q~(P)- q~(p).~2                     Steam’s large market share relative to its competitors
        demonstrates that x is large in this case.


        The impact of a PMFN on a platform’s decision to enter the market depends on the difference

        between a potential platform entrant’s demand and preferred fee and the incumbent platform’s




        678
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                 The Journal of Law and Economics 59(1): 105-134, at 118.
        679     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 114.

        680
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 123.

        681
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 125-126.        ("As a result, whether the incumbent’s PMFN policy
                encourages or discourages entry depends on the exogenous demand disadvantage x of the entrant and its associated
                fixed cost k2(x).")

        682     q~(P) - q~(P) = x + b(p~ -p~) + d(p~ -p~)

                ~q~(P) - q~(P) = x




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          demand and fee.          A PMFN raises platform fees, so other platforms that want to charge high

          fees may benefit from the PMFN (as they would benefit from the same lack of competition on

          fees as would the established platform).                    However, in the more typical case, if an entrant

          expects to sell less at the same consumer price (as would be the case here, given Steam’s

          dominant market position), a PMFN discourages entry.683                              The PMFN prevents potential

         entrants from competing on the consumer price of games (that is, allowing sellers to list

         products at a lower price and maintain profit margins by offering sellers lower fees), so these

         low-fee platform entrants cannot effectively compete with the high-fee (high-cost) incumbent

         platform.


(264)    In the context of the actual PC game platform market, entrants competing with Steam

         generally charge lower fees than Steam, even after entering and in the presence of the PMFN.684

         Hence, Steam’s competitors are of the ~’low-fee" type, and disadvantaged by the PMFN.


(265)    This effect is illustrated in Figure 4 below.                 The vertical axis is the fixed cost of entering the

         market, and the horizontal axis is the demand disadvantage faced by the potential entrant

         platform relative to the incumbent platform (Steam).6ss The two lines show the variable profits

         for each degree of differentiation x such that a platform will enter if ~{*{x) - k~(x) _> 0 where

        j = 0,2 indicates whether PMFN policies are adopted.6~6                            The negative slope of the profit

        functions indicate that a potential entrant’s variable profit ~ (x~ decreases with the platform’s

        demand disadvantage. The steeper line in the presence of the PMFN reflects that the presence

        of the PMFN causes the potential entrant’s variable profits to decline more quickly as the

        demand disadvantage grows.6~7




        683     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 124-128.

        684     See Section 6.1. I am unaware of any major platforms entering with fees greater than steams.

        685     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at t 25.

        686     Recall that in the asymmetric model two PMFNs is equivalent to one binding PMFN.       While this case involves a single
                binding PMFN, t follow the convention of the paper and refer to the PMFN scenario with a 2.

                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 124.

        687     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 125.




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                                                      Figure 4: PMFN Entry Graph68~




                                                                                                             x

(266)    In the PC game distribution market, competing platforms fall on the right side of the graph in

         the blue shaded oval (with a large x value), meaning their profits fall as their demand

         disadvantage grows. There are three types of platforms in the oval. The first type of platform,

         characterized by large ftxed costs and a large demand disadvantage relative to the established

        platform, never enters the market.                  The second type of platform always enters the market,

        despite the presence of the PMFN, but to limited success (see Section 4.1 and Section 6.2). In

        Figure 4, the green point illustrates where a platform of this type may fall on the graph. These

        competing platforms can afford to enter and do so despite the PMFN but would still receive

        higher profits in the absence of the PMFN since their variable profits are higher without a

        PMFN, i.e., the r[~°*(x) is above the ~*(x) line for this platform at this level ofx.


(267)   The third type of platform would enter absent the PMFN but does not enter in the presence of

        the PMFN.        In Figure 4, the yellow point illustrates where a platform of this type may fall on

        the graph.       These platforms would enter and compete with Steam (driving down fees) if the

        PMFN were not in place but do not enter because of the PMFN.


(268)   Note that while the effect of the PMFN on overall entry depends on the entrant platform’s type

        (where they fall on the graph), the PMFN increases fees across all of the possible scenarios on




        688     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Lew end Economics 59(1 ): 105-134, at 125.




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          the graph. This is because a PMFN decreases the established platform’s elasticity of demand

          which increases the established platform’s prices, as explained above. If there were "similar"

          platforms on the left-hand side of the graph, the PMFN would only encourage them to enter

          because the PMFN increases platform fees. The fact that in the real world the PMFN reduces

          overall entry is an additional harm to game publishers beyond the increase in fees and the

         general conclusion that the PMFN reduces platform variety.


(269)    Other economic literature on PMFNs supports these insights.689 Jonathan Baker and Fiona

         Scott Morton explain how entrants to a market typically benefit from a low-price strategy and

         how that strategy is disrupted by a traditional MFN:69°

                   An MFN can raise the costs of current or potential competitors by negotiating
                   lower prices from suppliers of critical inputs. For example, suppose an entrant
                   wishes to gain customers by charging a lower price (perhaps because it has no
                   established brand name or installed base}.                     It can profitably sell at a low price
                   by undertaking selective contracting with suppliers [(here, publishers)] wi!ling
                   to offer a discount in exchange for more volume or other favorable terms.                                  If
                   those suppliers also supply the incumbent [(here, Steam)], however, an MFN
                   imposed by the incumbent would require the supplier to charge the same price
                   to the entrant.          This parity undermines the entrant’s business model by
                   preventing it from making an attractive offer to customers. The symmetry that
                   MFNs impose on the marketplace thus can prevent new competition that would
                   lower prices.

(270)   While this narrative treats platform characteristics as f~ed, it is likely that platforms have

         some control over their type. Platforms can choose to add features that could increase demand

        at a given price, allowing the platform to compete more effectively at a high-fee equilibrium.

        To the extent that platforms have any contro! over the nature of their operation (including

        pricing and fee structure), a PMFN imposed by an entrenched platform will push any entrants

        into the market to choose a higher-cost, higher-fee version of their platform, minimizing cross-

        platform differentiation.6~             This results in a reduction in platform variety, impacting both

        publishers and users negatively. See discussion in Section 6.3.




        689
                Other work corroborates the harmful impact of PMFNs on competition.          Professors Baker and Scott Morton find that
                "platform MFNs generally harm competition, except in narrow circumstances in which freeriding concerns are especially
                strong." See Section 7.5.3 for further discussion regarding freeriding. See also:

                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale LawJourna1127(7):
                2176-2202, at 2178.

        690
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal 127(7):
                2176-2202, at 2180.

        691     Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134 at 126-128.




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(271)    As I discuss in Section 6.3 a reduction in platform variety in the video game distribution

         market in turn reduces the variety of PC games.                        A PMFN pushes platforms towards a high-

         fee model.       This, in turn, will push up retail prices as developers pass through part of the

         (relatively higher) fee to consumers. Developers, then, wil! only produce game types that will

         do well on a high-fee platform model.                    Games that might be developed for sale on low-fee

         platforms might not generate enough profits to surpass development costs on high-fee

         platforms.      Such games may systematically differ from high margin games in type of content

         they offer (for example the genre of the game or amount and quality of content included).



         7.2.2.      Numeric analysis

(272)   To further illustrate the impact of Steam’s PMFN on developers, I calibrate the model outlined

         above to case-specific parameters.                  The model as presented above uses demand and cost

        parameters a, b, d, x, cl, c~, cS to determine prices, fees, and quantities with and without a PMFN

        on both platforms.69~ I determine a set of model parameters a, b, d, x, cl, c~, cs that correspond

        to the case specific values forp~, p2,
                                            ~ qt,
                                               2 q~,
                                                  ~ [{,
                                                      ~ [~,
                                                          2 q, c~. Using this set of model parameters, I can

        then model the corresponding fees, prices, and quantities absent the PMFN; that is, the impact

        of eliminating the PMFN.693 My model considers a competing platform to Steam; I illustratively

        use EGS. I find that without the PMFN, the seller’s economic profits would increase from $0

        to approximately~. My results are below.


(273)   I use case-specific parameters to calibrate the model. First, the price of a game in the presence

        of a PMFN, p~,p~,
                    ~ ~ is normalized to $60.                         Steam’s quantity and EGS’s quantity, q~,q~, are

        determined from Steam’s market share of~ over the period of 2017-2021 and the total

        market revenue of ~ over the period 2017-2021, giving quantities for Steam

        (q~) and EGS (q~)of approximately~ units and approximately ~ units,

        respectively, using a normalized price of $60 per game.6~4 The commission rate for Steam with

        the PMFN in place, [~, is set to ~ (see Section 8.3),.6% I use Epic’s and Microsoft’s 12%




        692
                For the full list of equations identified by the asymmetric Boik-Corts model, see:

                Boik, Andre and Kenneth $. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 133-134.

        693
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1 ): 105-134, at 133-134.

        694
                gee: Attachment E-1 and "09b_corner_ld.R".

        695
                Valve Transaction Data, 1/28/2017-12/31/2022. See: "05_Damages.R."




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         commission rate for/~ ((see Section 6.1).                   I set cl to ~ (see Section 8.3) and c2 to ¯ of

         transaction value (see Section 4.2.4).


(274)    I use the R package nloptr, which solves constrained optimization problems, to find model
         parameters a, b, d, x, c1, c2, cs that minimize the sum of the squared difference between the real-
         world values I outline above, and the corresponding values the model produced by the inputs.

         For a given set of model inputs, the values for the outputs pl,p~,
                                                                      ~ 2 q~, qz,J~,J~,q,c2
                                                                              -2 ,:~ ,:~    are
         determined via a two-step process described in appendix A. 1. The constraints from the model
         are imposed on the solution, that is that b > d and c1 > c~, along with constraints that
         quantities, fees, and platform profits with and without the PMFN all must be positive.6% The
         full analysis is available in available in the provided R code.697 The result of this process is
         shows in Table 3 below, along with Figure 5. Some of the figures below may not match the
         case-specific parameters exactly as a result of the model calibration.




        696     These constraints ensure both platforms want to be in the market with the PMFN in place which ensures the example
                matches reality.

        697     See: "09b_corner_ld.R" and "10_BC_tables.R"




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                                Table 3: Platform Competition Model Calibrated Results



                                                                  With PMFN              Without PMFN


                       Metric                               Steam             EGS     Steam         EGS


                        Fee

                       Fee %

                        Price

            Quantity (units, millions)

                       Share

      Platform economic profits (millions)

       Seller economic profits (millions)

              Seller profits per unit

       Weighted price across all games

        Weighted fee across all games

 Weighted commission rate across all games




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                                            Figure 5: Transaction Fee and Quantity Shifts




                                                                                  Steam’s shift
                                                                                from PMFN removal           ¯   No PMFN
                                                                   ¯
                                                                                                            ¯   PMFN




                                                                                                                Steam
                                                                                                                EGS




(27s)   Absent the PMFN, many users switch from Steam to EGS, with Steam’s unit share changing

        from ~ Ultimately, total quantity sold increases, Steam’s profits decrease, and

        EGS’s profits increase. Profits for developers increase, as they are paying a lower weighted

        commission rate (weighted by units sold across platforms) and selling more units. Consumers

        are paying a lower total weighted price per game.


(276)   One might notice that prices on Steam increase absent the PMFN.                           While in the presence of

        the PMFN, developers were required to set constant prices between Steam and EGS, without

        the PMFN they are free to set separate prices between platforms, and this is what happens:

        prices absent the PMFN on Steam and EG$ shift to $61.05 and $58.37, respectively.

        Developers increase the relative price on Steam to maximize profits across the two platforms;

        a relative price decrease on EGS will push users to EGS, allowing developers to earn greater

        profits through paying reduced fees per game. However, this still results in users paying less

        per game overall and buying more units overall.


(277)   I note that comparing per-unit prices to consumers, fees to developers, or developer profits

        within a platform from the PMFN scenario to the non-PMFN scenario is an incomplete




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         analysis. Developers optimize total profits in each scenario. Doing so requires a consideration

         of how consumers behave in the presence of pricing across the two platforms; indeed, my

         model includes a term relating demand on one platform to pricing on the other platform. 698

         So while fees paid on each unit on EGS may increase, developers pay a lower weighted

         commission rate across all games and generate significantly more profits overall, from $0 in

         the PMFN scenario to                     er~ in the non-PMFN scenario.


(27s)    I also note that the sellers’ economic profits on Steam are negative when the PMFN is in place

         (but seller profits across both platforms are zero).                       In a monopolistic setting, the monopoly

         sets price and quantity to capture surplus of its customers (relative to a competitive setting).69~

        However, Steam’s fee on its platform is constrained by the economic profits of sellers. Sellers

        optimize profits across both platforms; these profits are dependent on Steam’s fee.                                 If Steam

        sets its fee too high, causing the seller’s total economic profits across both platforms to be

        negative, the seller would exit the market. Therefore, Steam’s fee cannot rise above the level

        where the seller’s total economic profits are zero. See Appendix A. 1.


(279)   Lastly, I note that non-PMFN scenario is a transitional state in which platforms, sellers, and

        consumers are transitioning from a world with a Valve PMFN in place to a world without a

        Valve PMFN in place. There are only two platforms in this market; however, both are earning

        economic profits, indicating that in the long run, there would be additional entrants, which

        would likely cause fees to decrease even more.7°° As discussed above, the PMFN policy has

        deterred entry of competing platforms.                     In a but-for world, more platforms would enter and

        there would be additional price competition putting downward pressure on Steam’s fees and

        likely further reducing the quantity sold on Steam at Steam’s higher price level.                                   In these

        calibrated results, both Steam has more market power absent the PMFN than they would in

        a true but-for scenario where Steam had not benefited from anticompetitive conduct and more

        platforms competed in the market.                   This contrasts with my analysis in Section 8, in which I

        analyze a but-for world not in the short run after the PMFN is eliminated, but in the long run

        after the PMFN is eliminated. The period between the two would allow additional platforms to

        enter the market and prices and quantities to adjust to those entrances.




        698     In particular, demand for games from platform i decreases by b when the price on i increases, and demand on i increases
                by d when the price on the alternative platform increases.

        699
                Varian, Hal R. (2014), Intermediate Microeconomics: A Modern Approach, 9th ed., New York: W.W. Norton & Company, at
                466.

        700     Varian, Hal R. (2014), Intermediate Microeconomics: A Modern Approach, 9th ed., New York: W.W. Norton & Company, at
                434. ("Similarly, if a firm is making profits we would expect entry to occur.")




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(280)    By calibrating the model on the current market conditions, the parameters and results reflect

         Steam’s advantage gained through years of Valve’s anticompetitive conduct via its PMFN

         Policy.       Over time, or in the but-for world where this conduct had not taken place, Steam’s

         advantageous position gained through the wrongful conduct would decrease and the

         competition it faced from the competing platforms would be even more vigorous.                                            Also, this

         model shows a near-term response to the removal of the PMFN Policy based on the real world

         (i.e., one influenced by Steam’s anticompetitive conduct), rather than the end-state market in

         the but-for world in which the PMFN Policy never existed. Thus, these estimates do not fully

         model the end-state impact of the absence of the PMFN Policy on all parameter values in the

         but-for market.            To model the competitive equilibrium reached after Valve’s PMFN is

         removed--an equilibrium reached before the start of the class period--I use the LandesPosner

         model, as discussed in Section 8.


        As shown above, when I apply my Platform Competition Model to the facts and circumstances

        of the relevant market, it shows all class members are better off in the but-for world without

        the PMFN.          The commission rates publishers pay on Steam alone, and collectively across

        Steam and EGS (or another platform), decrease in the but-for world, generating higher market-

        wide seller profits in the but-for world (at increased quantity).                             This is compelling economic

        evidence that Valve’s PMFN Policy is harming all or virtually all members of the class.




        7.3.           Yardstick approach

{282}   A yardstick approach is a standard economic method for comparing one business/market to

        another        business/market           that    is   similar      in   important        respects,       often    as    a tool     for

        understanding how a business may have performed "but for" certain actions or events.7°1 This

        approach assumes that in the but-for world, the "business would have performed as the one

        to which it is being compared, thereby providing a measure (or yardstick)" of the injury.7°2 To

        implement a yardstick approach, a comparison is made between a focal firm and "a different



        701
                Blair, Roger D. and Amanda Kay Esquibel (!994), "Yardstick Damages in Lost Profit Cases: An Econometric Approach,"
                Denver University Low Review 72(1 ): 113-136, at 113-114.

                Evans, A. Elizabeth, Phil J. Innes, and Daniel G. Lentz (2017), "Damages Theories and Causation Issues," in Roman Weil, et
                al., ed., Litigation Services Handbook: The Role of the Financial Expert, Hoboken, N J: John Wiley & Sons, Inc., at 23.

        702
                Blair, Roger D. and Amanda Kay Esquibel (1994), "Yardstick Damages in Lost Profit Cases: An Econometric Approach,"
                Denver University Law Review 72(1 ): 113-136, at 114.

                Blair, Roger D. and William H. Page (t995), "’Speculative’ Antitrust Damages," Washington Law Review 70(2): 423-463, at
                451.

                Evans, A. Elizabeth, Phil J. Innes, and Daniel G. Lentz (2017), "Damages Theories and Causation Issues," in Roman Weil, et
                al., ed., Litigation Services Handbook: The Rote of the Financial Expert, Hoboken, N J: John Wiley & Sons, Inc., at 23.




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         firm from itself, or of a different market from its market, or both."7°~                                A yardstick approach

         may also entail creating an index of similar firms and comparing the performance of the

         company at-issue with the performance of the index.7°4                                Importantly, "[d]epending on the

         allegations and the evidence, courts sometimes seek adjustments for comparability based on

         the number of customers, purchase volume, product characteristics, competition, role of

         technology, capitalization, barriers to entry, and established history."7°s


         In an antitrust analysis, a yardstick approach is one way to understand how a market would

         have been structured and/or the prices that would have been charged but for the alleged

         anticompetitive conduct. For example, a yardstick approach may be used to estimate the but-

         for pricing structure.7°6 As one method of determining what Steam’s take-rate would be in the

         but-for world, I use a yardstick approach to compare Valve’s commission rate on Steam to

        platforms in other comparable marketplaces.



        7.3.1.       Identification of benchmarks

(284}   The potential benchmark marketplaces I consider are primarily two-sided digital platforms.T°7

        I consider a variety of criteria, including but not limited to industry timing, i.e., when firms

        first entered the marketplace, platform structure, geography, monetization structure, product

        characteristics, and other platform characteristics, such as potential network effects. Below,

        I discuss benchmark marketplaces that I deem comparable according to these measures.7°s




        703
                Blair, Roger D. and William H. Page (1995), "’Speculative’ Antitrust Damages," Washington Law Review 70(2): 423-463, at
                453. The comparison may also be based on time periods, as in before-and-after-analysis.

                Home Placement Serv., Inc. v. Providence Journal Co., 819 F.2d 1199, 1206 (1st Cir. 1987). (Plaintiff must show "product,
                firm, and market comparability[.]’)

        704
                Evans, A. Elizabeth, Phil J. Innes, and Daniel G. Lentz (2017), "Damages Theories and Causation Issues," in Roman Well, et
                al., ed., Litigation Services Handbook: The Rote of the Financial Expert, Hoboken, N J: John Wiley & Sons, Inc., at 35.

        705
                Ray, Amy W. and Christopher D. Wall (2017), "Antitrust," in Well, Roman L. et al., ed., Litigation Services Handbook,
                Hoboken, New Jersey: Wiley & Sons, Inc., at 19.

        706     McCrary, Justin and Daniel L. Rubinfeld (2014), "Measuring Benchmark Damages in Antitrust Litigation," Journal of
                Econometric Methods 3(1): 63-74, at 63. ("The two most common approaches to evaluating damages involve the use of
                yardsticks and benchmarks. In a typical yardstick approach, one compares prices during the period in which the antitrust
                violation is believed to have had an effect (the "impact period") to prices in other markets that are deemed to be reasonably
                comparable to the market at issue.")

        707
                Here, I am not using market in the formal, antitrust sense, as I have not done a market definition analysis in any of these
                benchmark industries.

        708
                Note that I also considered digital ride sharing platforms and mobile app stores. These two markets fail to meet a variety
                of the comparability criteria. For example, for ride sharing the platform facilitates transportation-as-a-service rather than
                digital transactions as its market product; operates under a different pricing model--utilizing a wholesale pricing model




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(285)    Valve’s experts may point to Apple or Google’s app stores as benchmarks, given that they

         charge similar commission rates as Steam.                                  But Valve may have been the reason these app




                 rather than an agency pricing model; and does not operate globally in the way that third-party digital PC game distribution
                 platforms can. See:

                 Transportation-as-a-service: Lyft, Form 10-K, 2022, at 56. ("We earn service fees and commissions from the drivers either
                 as the difference between an amount paid by a rider based on an upfront quoted fare and the amount earned by a driver
                 based on actual time and distance for the trip or as a fixed percentage of the fare charged to the rider.")

                 Wholesale pricing: Uber Website, Pricing, https://www.uber.com/us/en/ride/how-it-works/upfront-pricing/ (accessed
                 12/20/2023). ("Many data points go into calculating an upfront price, including the estimated trip time and distance from
                 origin to destination, as well as demand patterns for that route at that time. It also includes any applicable tolls, taxes,
                 surcharges, and fees (with the exception of wait time fees).")

                 Global operations: Uber, Form 10-K, 2022, at 120.

                 In the mobile app stores marketplace, key companies (e.g., Apple, Google) are facing significant anticompetitive scrutiny,
                and as such, is not a reliable measure of a but-for commission rate in a competitive market. See:

                Apple App Store: Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898, (N.D. Cal. 2021). ("Plaintiff Epic Games, Inc. sued Apple,
                 Inc. alleging violations of federal and state antitrust laws and California’s unfair competition law based upon Apple’s
                operation of its App Store.")

                Google      Play   Store:   Epic   Website,   "Epic      v    Google     Trial    Verdict,   a   Win      for    All        Developers,"     12/11/2023,
                https://www.epicgames.c~m/site/en-Us/news/epic-v-g~~g~e-tria~-verdict-a-win-f~r-a~~-deve~~pers~

                Business    of Apps     Website,    App    Store   Data       (2022),   https://www.businessofapps.com/data/app-stores/                        (accessed
                9/16/2022). ("Outside of China, Apple and Google control more than 95 percent of the app store market share through
                lOS and Android, respectively.")

                Note that lOS and Android do not compete with each other at the app store level.                                According to the U.S. House of
                Representatives Subcommittee on Antitrust, Commercial and Administrative Law, "It]he App Store and the Play Store do
                not compete against one another.          Android users cannot access the Apple App Store, and lOS users cannot access the
                Google Play Store, so the dominance of the Play Store is not constrained by the App Store and vice versa." Instead, each
                operates in its own ecosystem. See:

                U.S. House of Representatives Subcommittee on Antitrust, Commercial and Administrative Law of the Committee on the
                Judiciary, "Investigation of Competition in Digital Markets: Majority Staff Report and Recommendations," 2020, at 95,
                available at: https://judiciary.h~use.g~v/up~~adedfi~es/c~mpetiti~n-in-digita~-markets.pdf?utm-campaign=4493-519.

                In the lOS ecosystem, the Apple App Store is the only store available. See:

                Screen     Rant,   "Apple   Says   lOS    Users    are       Not   Limited   to    The   App     Store,     But        is    That   True,"   3/26/2021,
                https://screenrant.c~m/apple-i~s-app-st~re-a~ternatives~iph~ne~user-dev-restricti~ns/. ("In short, lOS app competition is
                limited by the Apple App Store. It’s the only application storefront that iPhones can use without being jailbroken,
                developers can’t publish lOS apps through any other medium, and there’s no way for developers to go around the App
                Store by offering their application directly.")

                In the Android ecosystem, the Google Play Store has a significant share of the market. See:

                Business    of Apps     Website,    App   Store    Data       (2022),   https://www.businessofapps.com/data/app-stores/                       (accessed
                9/16/2022). ("Outside of China, Apple and Google control more than 95 percent of the app store market share through
                lOS and Android, respectively.")




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         stores launched with a 30% commission rate.7°9 Apple’s and Google’s app store practices are

         also subject to antitrust challenges.



         Online retail marketplaces


(2s6)    A potentially comparable benchmark is the broad universe of online retail ("e-commerce")

         marketplaces.           This marketplace includes online retailers across various subdivisions, with

         some selling all types of products and others playing a role in only niche product categories.


(2s7)    With a similar timeline to that of the PC game distribution market, general e-commerce

         marketplaces saw increasing popularity in the mid-1990s and 2000s.711 For example, Amazon

         became a public company in 1997 and did not became profitable until 2003.712 In 2000, only

         22% of Americans had made purchases online, and this rose to 79% by 2015.~13


(2ss)   This marketplace mirrors the third-party digital PC game distribution via platforms market

        across several different characteristics. Retail e-commerce marketplaces are two-sided digital

        platforms, with sellers of goods on one side, buyers on the other, and transactions between

        the two sides facilitated through the platform. Though Amazon is a significant player in the

        marketplace, it faces competition from other online retail stores, such as e-commerce sites for

        Walmart, eBay, and Etsy, among others.714




        709
                Engadget       Website,     "Apple’s   App    Store   antitrust     questions        will   be     uncomfortable     for   Valve,"   07/29/2020,
                https://www.engadget.c~m/app~e-g~~g~e-va~ve-steam-antitrust-hearings-app-st~re-221442~66.htm~.                                CIn    fact,   Steam
                may be the reason Apple and Google launched their marketplaces with a revenue-sharing model that takes 30 percent of
                an app’s earnings, a rate that many developers argue is unnecessarily high.")

        710
                AP News Website, "Google to Pay $700 Million to US States, Consumers in App Store Settlement," 12/19/2023,
                https://apnews.com/article/g~~g~e-andr~id-play-st~re-apps-antitrust-settlement-e4e2f422baa846c66deac9~c7866c5fd.

                Top    Class      Actions     Website,       "Apple       App     Developer      $100M            Calls   Action     Settlement,"     1/20/2022,
                https://t~pc~assacti~ns.c~m/~awsuit-sett~ements/c~~sed-sett~ements/app~e-app-devel~per-antitrust-1~~m-class-acti~n-
                settlement/.

        711
                BBC, "The Curious Origins of Online Shopping," 7/26/2020, https://www.bbc.com/worklife/article/20200722-the-curious-
                origins-of-online-shopping.
        712
                Britanica Website, Amazon.com, https://www.britannica.com/topic/Amazoncom (accessed 1/4/2024).

        713
                Pew Research Center, "Online Shopping and E-Commerce," 12/19/2016,
                https://www.pewresea rch.org/internet/2016/12/19/online-shopping-and-e-commerce/.

        714
                Webretailer,     "Online     Marketplaces      in   the    USA:    Amazon       is     Not       the   Only   Show    in   Town,"     5/25/2023,
                htt ps://www.webretailer.com/ma rketplaces-worldwide/online-ma rketplaces-usa/.




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(289)    The online retail industry generally operates globally.7~s                             As with the market for third-party

         digital PC game distribution via platforms, these platforms also operate under an agency

         pricing model, whereby sellers will set the retail price and the platform will set commissions

         or take rates on each sale. 716 Platforms in this marketplace typically receive revenue by taking

         a percentage of each transaction plus, in many instances, a small, fixed fee per transaction. 717

         While fees often vary depending on both the platform and the product, they typically fall within

         the 8% to 15% range.7~8


(290)    Thus, the e-commerce retail marketplace operates with similar product characteristics,

         platform characteristics, geographic scope, and monetization structure as the third-party

         digital PC game distribution via platforms market.


(291}    I am aware.that Amazon has been sued by the FTC alleging violations of the antitrust laws for

         behaviors that are at least partially analogous to the PMFN conduct challenged here. 719 I take

        no position on whether the allegations against Amazon are supported by the facts or whether

        Amazon has violated the antitrust laws, as alleged by the FTC.                                To the extent the commission




        715
                 For example, see:

                 Amazon, Form 10-K, 2022, at 4. ("The worldwide marketplace in which we compete is evolving rapidly and intensely
                 competitive, and we face a broad array of competitors from many different industry sectors around the world.")

        716
                 Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                 The Journal of Law and Economics 59(1): 105-134, at 109.
        717
                 For example, see:

                Amazon, Form t0-K, 2022, at 42. ("Third-party seller services - We offer programs that enable sellers to sell their products
                in our stores, and fulfill orders through us. We are not the seller of record in these transactions. The commissions and any
                related fulfillment and shipping fees we earn from these arrangements are recognized when the services are rendered,
                which generally occurs upon delivery of the related products to a third-party carrier or, in the case of an Amazon delivery,
                to the customer.")
        718
                Etsy charges a 6.5% fee with a 3% + $0.25 payment processing fee per sale and a $0.20 listing fee. See:

                Etsy Website, Sell, Etsy.com/sell (accessed 10/30/2023).

                eBay charges a 3-15% fee + $0.30 per transaction. For the portion of a sale above a certain threshold, eBay often charges
                a lower commission fee. See:

                eBay Website, Selling       Fees,   https://www.ebay.com/help/selling!fees-credits-invoices/selling-fees?id=4822 (accessed
                1/31/2024).

                Amazon charges 8-20% + either $0.99 per item sold or $39.99 per month. Amazon Device Accessories have a 45%
                commission. See:

                Amazon Website, Pricing, https://sell.amazon.com/pricing (accessed 9/25/2023).

                Walmart charges 6-20%. See:

                Walmart Website, Referral Fees, https://marketplace.walmart.com/referral-fees/(accessed 1/31/2024).

        719     See,   e.g.,   JD   Supra   Website,   "FTC   Sues   Amazon   for   Illegally   Maintaining   Monopoly   Power,"   9/29/2023,
                https://wwwjdsupra.com/legalnews/ftc-sues-amazon-for-illegally-3560920/.




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         rate in this benchmark marketplace reflects anticompetitive conduct, it is a conservative

         benchmark for purposes of this case.



         Online vacation home rental

(292)    Another potential comparable marketplace is for online vacation home rentals. This consists

         of two-sided digital platforms with property owners and guests on either side of the

         marketplace transacting with one another as facilitated by the platform.                                Companies that

         operate in this marketplace include Airbnb and VRBO, among others.


(293)    The marketplace timing and growth for online vacation home rentals accommodations in the

         late   1990s and 2000s also make the industry a suitable comparison to the relevant

        .marketplace in this case.72°             The vacation home rental marketplace VRBO started in 1995,

         eventually followed by HomeAway and Airbnb’s launches in 2005 and 2008, respectively.721


(294)   While a vacation rental home is a physical good/service and a digital PC game is a digital

        good, the similarities between the marketplace characteristics outweigh that difference.

        Platforms in the vacation rental home booking marketplace monetize by taking a service fee

        from hosts, the guests, or a combination of the two.


(295)   For example, Airbnb takes a 3% service fee from the property host and adds on a 14% service

        fee to guests.722 This differs slightly from the payment model present in the market for third-

        party digital PC game distribution via platforms, where the platform only takes a service fee

        one side of the market, yet still represents a monetization structure whereby the platform

        operates as a distribution agent and does not set the price, instead collecting a fee from

        platform transactors.




        720
                The Guardian, "How 25 Years of the Web Inspired the Travel Revolution," 3/12/2014,
                https://www.theguardian.c~m/trave~/2~14/mar/12/h~w- 25-years-~f ~the-web-inspired-trave~-rev~~uti~n.

        721
                Seattle Times, "Expedia buys HomeAway for $3.9 billion," 11/4/2015, https://www.seattletimes.com/business/expedia-
                buys- homeaway-for-39-billion/.

                The Guardian, "How 25 Years of the Web Inspired the Travel Revolution," 3/12/2014,
                https://www.thegua rdia n.co m/t ravel/2014/mar/12/how-25-years-of-the-web-inspired-travel-revolution.

                Vrbo Website, About Page, https://www.vrbo.com/about/(accessed 1/4/2024).

        722     Airbnb, "How much does Airbnb charge Hosts?" 3/t4/2023, https://www.airbnb.com/resources/hosting-homes/a/how-
                much-does-airbnb-charge-hosts-288.




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 7.3.2.        But-for take rate

 Based on the above discussion, I conclude that the reasonably comparable benchmarks for

 the market for third-party digital PC game distribution via platforms are e-commerce

 marketplaces and vacation home rental marketplaces.723 By analyzing the take rates in these

 marketplaces, I am able to draw reasonable inferences about the commission structure on the

 Steam platform. Below, I have shown the take-rates of competitors in these marketplaces.


                                      Table 4: Take Rates in Benchmark Markets724



                 Market                      Competitor             Take rate         Additional fees                 Notes


       E-commerce marketplaces                   eBay                3-15%        + $0.30 per transaction


                                                                                    + $0.99 per item or
       E-commerce marketplaces                 Amazon                8-20%
                                                                                     $39.99 per month


       E-commerce marketplaces                 Walmart               6-20%

                                                                                   3% + $0.25 payment

       E-commerce marketplaces                    Etsy                6.5%         processing fee; $0.20

                                                                                         listing fee


                                                                                                                3% to host, 14%
      Vacation home marketplaces                Airbnb                17%
                                                                                                                    to guests

         Vacation home rental                                                           3% payment               5% to host, 6-
                                                VRBO                11-20%
             marketplaces                                                             processing fee             15% to guests




723
          I do not opine to whether or not there are anticompetitive implications in these comparable marketplaces. Should there
          be anticompetitive concerns in any of these comparable marketplaces, utilizing the take rates would represent an upper-
          bound on a competitive but-for commission.

724
          Etsy takes 9.5% + $0.45 per sale. Sellers pay a $0.20 listing fee, a 6.5% transaction fee, a 3% payment processing fee, and
         an added $0.25 payment processing fee per sale. See:

         Etsy Website, Sell, Etsy.com/sell (accessed 10/30/2023).

         eBay takes anywhere from 3-15%, with an additional $0.30 per sale. For most product categories, if the sale is upwards of
         $7,500, the listed percentage applies to the portion of the sale up to $7,500 and there is an additional 2.35-3% for the
         portion of the sale above $7,500. See:

         eBay Website, Selling Fees, https://www.ebay.com/help/selling/fees-credits-invoices/selling-fees?id=4822 (accessed
         1/31/2024).

         Amazon takes 8-20% + $0.99 per item sold or $39.99 per month. Amazon takes 45% for Amazon device accessories. See:

         Amazon Website, Pricing, https://sell.amazon.com/pricing (accessed 9/25/2023).




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(297)    As discussed above, some of the major industry participants in the online retail marketplace

         include eBay, Amazon, Etsy, and Walmart. These firms monetize their platforms by charging

         a percentage fee of anywhere between 3% and 20% from the seller side and charge nothing

         directly to the buyer side.


         The majority of take rates for Etsy, eBay, Amazon, and Waimart fail between 8% and 15%,

         with select product categories such as jewelry, fine art, and gift cards at 20% on various

         sites.7~s On eBay, Amazon, and Walmart, the rate structure is tiered, where the percentages

         decrease for higher priced goods (for example, 15% for the first portion of the sale up to a

         specific value and then a lower percentage, such as 2.35%, for the remainder of the purchase

         price over a certain number).7~6 This means the effective take rate is actually lower than the

         rate listed.


(299)    In the vacation home rental marketplace, the two principal market participants for vacation

         home rentals, VRBO and Airbnb, operate under a slightly different business model where they

         charge both sides of the market, however, both take approximately 17-20% from both sides

        of the platform collectively. 727




                 Walmart takes 6-20%. Walmart takes 6% for personal computers. See:

                Walmart Website, Referral Fees, https://marketplace.walmart.com/referral-fees/(accessed 1/31/2024).

                 Similarly, VRBO charges a 5% commission fee with a 6-15% service fee for guests, totaling 11%-20%. See:

                 Upgraded Points, "VRBO vs. Airbnb for Guests & Hosts [Comparing Fees, Listings, Cancellation Policies]," 8/22/2023,
                https://upgradedpoints.com/travel/vrbo-vs-airbnb-for-guests-and-hosts/.

        72S
                Amazon Website, Pricing, https://sell.amazon.com/pricing (accessed 9/25/2023).

                eBay Website,     Selling   Fees,   https://www.ebay.com/help/selling/fees-credits-invoices/selling-fees?id=4822   (accessed
                1/31/2024).

                Walmart Website, Referral Fees, https://marketplace.walmart.com/referral-fees/(accessed 1/31/2024).

        726
                eBay   Website,   Selling   Fees,   https://www.ebay.com/help/selling/fees-credits-invoices/selling-fees?id=4822   (accessed
                1/31/2024).

                Amazon Website, Pricing, https://sell.amazon.com/pricing (accessed 9/25/2023).

                Walmart Website, Referral Fees, https://marketplace.walmart.com/referral-fees/(accessed 1/31/2024).

        727
                Airbnb takes a 3% service fee from the property owner and adds on a 14% service fee to guests, for a total of 17%. See:

                Airbnb, "How much does Airbnb charge Hosts?" 3/14/2023, https://www.airbnb.com/resources/hosting-homes/a/how-
                much-does-airbnb-charge-hosts-288.

                Similarly, VRBO charges a 5% commission fee with a 6-15% service fee for guests, totaling 11%-20%. See:

                Upgraded Points, "VRBO vs. Airbnb for Guests & Hosts [Comparing Fees, Listings, Cancellation Policies]," 8/22/2023,
                https://upgradedpoints.com/travel/vrbo-vs-airbnb-for-guests-and-hosts/.




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(300)    As the above take rates in the retail e-commerce and vacation home rental marketplaces also

         generally fall within the 15% to 20% range, this range of rates suggests that platforms in these

         marketplaces compete in part through pricing.                           As such, a but-for take rate in the relevant

         market would likely conservatively fall somewhere between 15% and 20%.


(301)    Because a yardstick approach indicates that the market but-for commission rate would be

         between 15% and 20%--below Valve’s 30% commission rate and effective rates from its tiered

         commission system--all or virtually all putative class members were impacted by the

         supracompetitive fees charged by Valve.




         7.4.        Empirical approach

(3o2)    I also deploy an empirical approach, which looks to the actual-world facts and circumstances

         to see if any economic insights can be gleaned from Valve’s reactions and responses to real-

        world events. When possible, economists often turn to "natural experiments" to assess what

        would happen in the absence of certain conduct.728 One way a natural experiment can occur

        is when one observes two different time periods, one with specific conduct and one without. 729

        By examining the difference between the two time periods, all else equal, one can infer the




        728
                ThoughtCo,      "What    Are    Natural    Experiments     and     How    Do    Economists     Use    Them?,"     4/10/2019,
                https://www.thoughtco.com/natural-experiments-in-economics-1146134. ("A natural experiment is an empirical or
                observational study in which the control and experimental variables of interest are not artificially manipulated by
                researchers but instead are allowed to be influenced by nature or factors outside of the researchers’ control. Unlike
                traditional randomized experiments, natural experiments are not controlled by researchers but rather observed and
                analyzed."; "In the social sciences, particularly economics, the expensive nature and limitations of traditionally controlled
                experiments involving human subjects has long been recognized as a limitation for the development and progress of the
                field. As such, natural experiments provide a rare testing ground for economists and their colleagues. Natural experiments
                are used when such controlled experimentation would be too difficult, expensive, or unethical as is the case with many
                human experiments.")

        729
                The Royal Swedish Academy of Sciences, "Natural Experiments Help Answer Important Questions," 2021, at 1, available at:
                https://www.n~be~prize.~rg/up~~ads/2~21/1~/p~pu~ar-ec~n~micsciencesprize2~21-3.pdf.          ("One way of establishing
                causality is to use randomised experiments, where researchers allocate individuals to treatment groups by a random draw.
                This method is used to investigate the efficacy of new medicines, among other things, but is not suitable for investigating
                many societal issues - for example, we cannot have a randomised experiment determining who gets to attend
                upper-secondary school and who does not. Despite these challenges, the Laureates have demonstrated that many of
                society’s big questions can be answered. Their solution is to use natural experiments - situations arising in real life that
                resemble randomised experiments. These natural experiments may be due to natural random variations, institutional rules
                or policy changes.")

                The Royal Swedish Academy of Sciences, "Answering Causal Questions Using Observational Data," 10/11/2021, at 1,
                available at: https://www.n~be~prize.~rg/up~~ads/2~21/1~/advanced-ec~n~micsciencesprize2~21‘pdf.             ("David Card
                began to analyze a number of core questions in labor economics using ’natural experiments’, i.e., a study design in which
                the units of analysis are exposed to as good as random variation caused by nature, institutions, or policy changes.")




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         causal effect of the conduct.73° Valve’s PMFN Policy has been in place for many years. Thus,

         there is no pre- and post-PMFN time period that could lead to a reasonable natural

         experiment. Nonetheless, some platforms did enter the marketplace during the class period,

         e.g., EA, Ubisoft, Epic, and others.731                       While meaningfully effective entry was rendered

         impossible by Valve’s conduct (see Section 6.2), studying the economic effects of these entry

         attempts sheds some light into what a but-for world free of Valve’s anticompetitive parity

         enforcement may look like.


(303)    Epic launched EGS on December 6, 2018.732                          Epic’s goal in launching the platform was "to

         bring [gamers] great games, and to give game developers a better deal [than Steam’s

         commission system.]"733                 Valve documents identified Epic as a Steam competitor.734                            Rather




        730
                 ThoughtCo,       "What     Are    Natural    Experiments   and    How     Do    Economists        Use   Them?,"    4/10/2019,
                 https://www.thoughtco.com/natural-experiments-in-economics-1146134. ("Natural experiments are most effective when
                 they mimic as closely as possible the existence of test and control groups of controlled experiments, which is to say that
                 there is a clearly defined exposure to some condition in a clearly defined population and the absence of that exposure in
                 another similar population for comparison. When such groups are present, the processes behind natural experiments are
                 said to resemble randomization even when researchers do not interfere. Under these conditions, observed outcomes of
                 natural experiments can feasibly be credited to the exposure meaning that there is some cause for belief in a causal
                 relationship as opposed to simple correlation. It is this characteristic of natural experiments -- the effective comparison
                 that makes a case for the existence of a causal relationship -- that distinguishes natural experiments from purely non-
                 experimental observational studies.")

                The Royal Swedish Academy of Sciences, "Natural Experiments Help Answer Important Questions," 2021, at 3, available at:
                 https://www.n~be~prize.~rg/up~~ads/2~21/1~/p~pu~ar-ec~n~micsciencesprize2~21-3.pdf.           ("It would be easy to believe
                that situations which enable natural experiments are very unusual, especially those that can be used to answer important
                questions.     Research conducted over the past 30 years has shown that this is not the case: natural experiments occur
                frequently. For example, they may arise due to policy changes in some regions of a country, admission cut-offs in higher
                education, or income thresholds in tax and benefit systems, which mean that some individuals are exposed to an
                intervention while other, similar, individuals are not. There is thus unintended randomness that divides people into control
                and treatment groups, providing researchers with opportunities for uncovering causal relationships.")

        731
                See Section 4.1.2.

        732
                Epic Games, "The Epic Games Store is Now Live," 12/6/2018, https://store.epicgames.com/en-US/news/the-epic-games-
                store-is-now-live.

        733
                Epic Games, "The Epic Games Store is Now Live," 12/6/2018, https://store.epicgames.com/en-US/news/the-epic-games-
                store-is-now-live. CQur goal is to bring you great games, and to give game developers a better deal: they receive 88% of
                the money you spend, versus only 70% elsewhere. This helps developers succeed and make more of the games you love.")

                The   Verge,    "Valve’s   New    Steam   Revenue   Agreement   Gives   More   Money   to   Game    Developers,"   11/30/2018,
                https://www.t heverge.com/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-new-rutes-com petition.
                ("Normally, Valve takes around 30 percent of all game sales on Steam, with some exceptions for games from smaller
                developers in its Steam Direct program.       That will remain the case for the first $10 million in sales a game maker or
                publisher earns.")

        734
                Valve, "Steam Biz - 2019 Recap," 2019 (VALVE_ANT_0019719-721, at VALVE_ANT_0019721).

                Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE_ANT_0019400-02, at VALVE_ANT_0019400-01), available at Scott
                Lynch, Dep. Tr., 10/13/2023, Exhibit 156.

                Valve, "2021 Competitor Analysis," 2021 (VALVE_ANT_0019716-18, at VALVE_ANT_0019717).




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         than entering the market as a price-taker, Epic’s strategy was, and remains, to try to attract

         developers and publishers to EGS by offering a lower commission rate and initial free use of

         Epic’s gaming engine.73s             Specifically, Epic charges developers and publishers a commission

         rate of 12%, compared to Valve’s 30%.736 Epic also offers developers free use of Epic’s Unreal

         Engine until the gross revenue of the product exceeds $1 million.737 When a product exceeds

         $! million in gross revenue, Epic charges developers a 5% royalty for use of its engine.738

         Deposition testimony from Mr. Lynch indicates that Epic’s revenue share "was a selling point

         for some developers" and "was one of the things that piqued their interest.’’739


(304)    Because of the Valve PMFN, Epic was also forced to use non-price inducements to attempt to

         compete against Steam.                One strategy was to implement exclusive deals with developers,

         cutting out Steam and its users for the initial release of a game.                                 These exclusive offerings

        include high-profile games such as Metro Exodus, The Division 2, Red Dead Redemption 2, and

         Borderlands 3 and smaller indie-developed games such as Ooblets, No Straight Roads,




                 Valve, Competitive Landscape Analysis, undated (VALVE_ANT_1221442-44, at VALVE_ANT_1221442). ("We’re seeing a lot
                 of competing stores surface on the PC - Apple Arcade, Google Stadia, Epic Game                    Discord, Konc
                                                                                                                              ngregate, to sa,,
                 nothin(     3ublishers runninc their own stores like                 ’ and Bethesda.net


        735
                Valve, "GDC 2020 - Competitor Analysis," 2020, (VALVE_ANT_0019400-02, at VALVE_ANT_0019400-01                 available at Scott
                                  10/13/2023 Exhibit 156.




                                                       2021             ANT_0019716-18, at VALVE_ANT_0019716). ~



                Game Informer, "Epic Launches Digital Games Store with 88 Percent Revenue Going to Developers," 12/4/2018,
                https://www.ga meinformer.com/2018/I 2/04/epic-launches-digital-games-store-with-88-percent-revenue-going-to-
                developers.

                Teknos Associates, The Battle for Digital Gaming Distribution, https://www.teknosassociates.com/the-battle-for-digital-
                gaming-distribution/(accessed 1/30/2023).

        736
                Teknos Associates, The Battle for Digital Gaming Distribution, https://www.teknosassociates.com/the-battle-for-digital-
                gaming-distribution/(accessed 1/30/2023).

        737
                Epic Games, Unreal Engine Download Instructions, https://www.unrealengine.com/fr/download (accessed 5/17/2023).

        738
                Epic Games, Unreal Engine Download Instructions, https://www.unrealengine.com/fr/download (accessed 5/17/2023).

        739
                Scott b          3. Tr., 10/13/2023, at 174:18-175:5.


                                                 Q. And that was a thing that developers liked, was Epic’s revenue share, right? A. I think
                that one of the -- I think that was one of the things that piqued their interest. Q. It was a selling point for some developers?
                A. Yeah.’)




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         Manifold Garden, Superliminal, and Wattam.74°                                     According to Epic CEO Tim Sweeney, these

         exclusives "significantly assist developers with product funding and invest in marketing and

         awareness" and "these efforts bring in new customers to [the Epic Games] store."741


(305)    Epic has also attempted to compete with Valve’s platform by acquiring other game studios,

         thereby shifting popular games from Steam to EGS.~42                                             In 2019, Epic acquired Psyonix, the

         developers of Rocket League.7~3 In 2020, Rocket League became free to play on EGS and was

         no longer available for new users to download on Steam.~4                                                        In 2021, Epic acquired Tonic

         Games Group, the developers of Fall Guys.z4s                                      As with Rocket League, Fall Guys was later

         offered as a free-to-play game on EGS and was no longer available for new users to download

         on Steam.746 The threat from EGS elicited a reaction from Valve.




        740
                 Insider, "The Creator of ’Fortnite’ is Trying to Shake Up the PC Gaming Industry - Here’s Why a Lot of Folks are Furious
                 About It," 8/19/2019, https://www.businessinsider.c~m/epic-games-st~re-situati~n-2~19-4#4~the-back~ash-t~~the-epic-
                 games-st~re_has-stirred-criticism-~f-epics-re~ati~nship-with-tencent-a.maj~r-chinese.stakeh~~der-4.

                 Tech      Radar,        "Epic     Games          Store     Snatches        Up         Eight          Exclusive         Indie      Games,"        8/30/2019,
                 https://www.techradar.c~m/news/epic-games~st~re-snatches-up-eight-exc~usive-indie-games.

                 PC    Garner,   "Epic    Isn’t   Done     with    Epic    Games   Store     Exclusives,       It’s    Just     Focused     on     Big   Ones,"    3/9/2023,
                 https://www.pcgamer.c~m/epic-isnt-d~ne-with-epic-games-st~re-exc~usives-its-just-f~cused~n-big-~nes/.

        741
                 Forbes,     "Epic   Games        Stores     Has     Hit    $680   Million       in    Revenue,           108     Million        Customers,"      1/14/2020,
                 https://www.forbes.com/sites/mattperez/2020/O 1/14/epic-games-store-has-hit-680-million-in-revenue-108-million-
                customers/?sh=da7f96d4b99a, efforts bring in new customers to our store, rather than just sending more business to the
                incumbent.’")

        742
                Variety, "Epic Games to Acquire ’Rocket League’ Developer Psyonix, Game Shifts to Epic Game Store," 5/1/2019,
                htt ps://vadety.co m/2019/gaming/news/epic-games-to-acquire-psyonix-1203202663/.

                Rocket League, "Rocket League Going Free to Play This Summer," 7/21/2020, https://www.rocketleague.com/news/rocket-
                league-going-free-to-play-this-summer/.

                IGN,     "Fall   Guys      Has    Been      Removed        from    Steam,        But    Will      Still       Receive     Full     Support,"      6/21/2022,
                https://www.ig n.com/a rticles/fall-guys-steam-delisted-will-still-recieve-full-su pport.

        743
                The Verge, "Epic Buys Rocket League Developer Psyonix, Strongly Hints it Will Stop Selling the Game on Steam," 5/1/2019,
                htt ps://www.t heverge.com/2019/5/1/18525842/epic-games-psyonix-acquisition-rocketqeague-fortnite-unreal-deal.
                ("Fortnite creator Epic Games announced today that it’s acquired the independent game development studio Psyonix,
                makers of the massively popular vehicular soccer game Rocket League.")

        744
                Rocket League, "Rocket League Going Free to Play This Summer," 7/21/2020, https://www.rocketleague.com/news/rocket-
                league-going-free-to-play-this-sum mer/.

        745
                Epic Games, "Tonic Games Group, Makers of ’Fall Guys’, Joins Epic Games," 3/2/2021, https://www.epicgames.com/site/en-
                US/news/tonic-games-group-makers-of-fall-guys-joins-epic-games.

        746
                Epic Games, "Tonic Games Group, Makers of ’Fall Guys’, Joins Epic Games," 31212021, https://www.epicgames.com/site/en-
                US/news/tonic-games-group-makers-of-fall-guys-joins-epic-games.

                IGN,    "Fall    Guys     Has     Been     Removed         from    Steam,      But      Will     Still     Receive        Full    Support,"       6/21/2022,
                https://www.ig n.co m/a rticles/fall-g uys-stea m-delisted-will-still- recieve-full-su p port.




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(306)    Months before the EGS’s launch, Valve held internal discussions regarding changing its

         revenue share.747               Mr. Lynch testified that the motivation for the revenue share change was



                                                            A key publisher Valve was targeting to stay on Steam was

         Ubisoft; however Valve failed.                     In 2019, Ubisoft announced that it would stop releasing new

         games on Steam and put Division 2 exclusively on EGS.749 On November 26, 20 18, Valve had

         learned from multiple sources about EGS’s possible launch within the following week and



                                          Valve remarked that it ~



        I"751            The next day, Epic’s CEO, Tim Sweeney, wrote to Valve, confirming the launch of

         EGS in the first week of December.752 In the same email, Mr. Sweeney told Valve that a "timely




        747      See, for example:

                 Scott Lynch, Dep. Tr., 10/12/2023, at 96:10-14. CO. Also in late 2018, specifically November 26th, Steam is discussing a
                 change to their revenue sharing; right? A. We had been discussing a change for a long time, but we were also discussing
                 it in November.")

                 Valve, "Steam Rev Share - Group Update," c. 10/2018 (VALVE_ANT_0046076.pptx, at slide 4).

                 Valve, "Policy Proposal- Refresh," c. 9/2018 (VALVE_ANT_0058993.pptx, at slide 1).

        748
                 Scott                     10/12/2023                  96:10-97:12.




        749
                Dark     Catt,   "Epic   Boss   Say   Exclusives   Policy    Will   Change    If    Steam    Adjust   Their   Revenue   Share,"    4/29/2019
                (DarkCatt_0001084-86, at DarkCatt_0001085).             ("Ubisoft has entered into a partnership with the Epic Games Store and
                move most of its PC releases over from Steam to Epic, starting with The Division 2 and extending to Anno 1800 as well.")

                GameSpot,          "Ubisoft      Explains      Why          It      Doesn’t        Release     Games          On   Steam,"        8/29/2019,
                https://www.gamesp~t.c~m/artic~es/ubis~ft-exp~ains-why-it-d~esn~t-re~ease~games-~n-st/11~~-6469~~2/.                              ("’It was   a
                business decision to not put new releases on Steam and focus on the Epic Store and Ubisoft Store[.]’")

        750
                Valve, Emails Regarding New Revenue Share Communication, 11/26/2018-12/1/2018 (VALVE_ANT_0415674-684, at
                VALVE_ANT_0415679-680, VALVE_ANT_0415683-84).
        751
                Valve, Emails Regarding New Revenue Share Communication, 11/26/2018-12/1/2018 (VALVE_ANT_0415674-684, at
                VALVE_ANT_0415674).
        752
                Valve, Email Regarding EGS Launch, 11/27/2018 (VALVE_ANT_0059658).




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         move by Valve to improve Steam economics for all developers would make a great difference[,]"

         hinting at Valve’s revenue share.TS3


(307)    On November 30, 2018, shortly before the launch of EGS, but after learning that EGS was

         coming on market with a commission rate lower than 30%,754 Valve announced "new revenue

         share tiers for games that hit certain revenue levels.’’75s Instead of taking 30% of all revenue

         for a given game, Valve announced it would take 30% of lifetime revenues up to $10 million,

         25% of lifetime revenues between $10 million and $50 million, and 20% of all lifetime revenues

         over $50 million.756 See discussion in Section 3.3.4.


(308)    Concern over Epic’s entry and threat of potential competition in the third-party digital PC

         game distribution via platforms market directly led to Valve’s tiered commission rate change.

         Steam’s tiered commission structure represents a limited response to the competitive

         challenge it perceived in 2018, limiting the benefits to a relatively small number of publishers

        while changing nothing for the vast majority of publishers. Valve responded to the perceived

        competition without altering its rate structure for the overwhelming proportion of publishers.

        More importantly, the tiered structure introduced kept commission rates at supracompetitive,

        albeit somewhat lower, levels. In fact, Steam’s effective commission rate across all developers

        from November 30, 2018 through December 31, 2022 was still ~ according to Valve’s
        transaction data, still above any potential but-for commission rate, as determined in Section

        7.3 or from the more formal but-for rate analysis outlined below.757




                Forbes   Website,   About    Tim    Sweeney,      https://www.forbes.com/profile/tim-sweeney/?sh=7d9a03ef67b3          (accessed
                2/6/2024).

        753
                Valve, Email Regarding EGS Launch, t 1/27/2018 (VALVE_ANT_0059658).

        754
                Valve, Emails Regarding New Revenue Share Communication,                  11/26/2018-12/1/2018 (VALVE_ANT_0415674-84, at
                VA LVE_AN T_0415683-84).

        755
                Steam,   "New   Revenue     Share   Tiers   and    Other   Updates   to   the   Steam   Distribution   Agreement,"   11/30/2018,
                https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838.

        756
                Lifetime revenue towards each commission tier includes any revenue on or after October 1, 2018. See:

                Steam, "New Revenue Share Tiers and Other Updates to the Steam Distribution Agreement," 11/30/2018,
                https://steamcommunity.com/groups/steamworks/announcements/detail/169 7191267930157838.

        757
                Valve Transaction Data, 11/30/2018-12/31/2022. "See: 06_Effective_rates_after_tiers.R"
                A small share of revenue is associated with outlier calculated commission rates due to the timing of recorded partner
                payments or rounding error from small transactions. To be conservative, I calculate the above effective rate usinc the
                top 15 calculated commission rates between November 30’2018 and December 31, 2022, which account for                      of
                revenue in Valve’s transaction data over this time. The effective rate for all calculated commission rates associated with
                positive revenue over this time is modestly higher, at~




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(309)    In the but-for world, where there was no PMFN, Steam would have likely faced a more

         expansive competitive threat and likely much earlier than Epic’s entrance. Steam would have

         faced multiple credible competitors, who would have sought to attract the largest games to

         their platforms to attract users and build network effects, as Steam did.                                                    Once those

         competitors had succeeded in building network effects, they would then become more

         attractive options for publishers of smaller games and those smaller games would in turn be

         more attractive to competitors.                      In such a competitive context, Steam would likely face

         pressures to both (1) further lower its commission rate for the largest games that entered

         Steam’s tiered commission structure and (2) lower its commission rates for smaller games

         that did not enter Steam’s tiered commission structure.7s8


(310)    As I discussed above, despite both Valve’s initial reaction to Epic’s entry and Epic’s strategies

         to compete with Steam, EGS has been largely unsuccessfu! as a direct result of Valve’s

         monopoly power and the PMFN Policy. See discussion in Section 6.2. In the framing of Boik

         and Corts, because Epic entered as a low-cost alternative, its strategy of competing on price

        is thwarted by Steam’s monopoly power and PMFN policy; consumer price has to be equal,

         and thus, users want to be on Steam where there are better features, more users, more

        developers, and more games.                      Because of Valve’s expansive base of users, developers, and

        publishers, Epic has had to focus on growth as opposed to profitability,7s9 all the while

        accomplishing neither to a meaningful degree.                                  As discussed in Section 6.2, Epic has been

        unprofitable and has failed to command a meaningful share of the relevant market.

        Additionally, many publishers who left Steam and signed exclusive deals with Epic have done

        so because of Epic’s advances and money guarantees that were sometimes ~

                                                                                       However, these movers were quintessential
        "hit and run" shifts; many of these publishers have since returned back to Steam after the

        expiration of their exclusive deals with Epic. See Section 4.1.3.



        758
                Mankiw, N. Gregory (2012), "The Market Forces of Supply and Demand," in N. Gregory Mankiw, ed., Principles of
                Microeconomics, Mason, Ohio: South-Western Cengage Learning, at 66.                    C[W]e assume that markets are perfectly
                competitive. To reach this highest form of competition, a market must have two characteristics: (1) the goods offered for
                sale are all exactly the same, and (2) the buyers and sellers are so numerous that no single buyer or seller has any influence
                over the market price. Because buyers and sellers in perfectly competitive markets must accept the price the market
                determines, they are said to be price takers.")
        759
                WCCF    Tech,   "Epic   Games    Store    Still   Isn’t   Profitable   Despite   Promises   It   Would   Be   By   2023,"   11/7/2023,
                https://wccftech.com/epic-games-store-not-profitable-2023/. ("Yesterday, Epic Games Store boss Steve Allison took the
                stand, and admitted the storefront still wasn’t turning a profit. At this point, Allison says the main aim is still to grow the
                store’s userbase, rather than turn big profits (or any profits at all).")

        760     Scott
                ~cott L~vnch, Dep.
                                3. Tr., 10/12/2023, at 163:3-9.




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(31!)    While Epic has failed to meaningfully compete with Steam, its                                                         12% commission rate

         represents a realistic floor on a competitive but-for commission rate that is both sustainable

         and profitable.            As discussed above, Epic’s inability to compete is not as a result of its

         commission rate.              In fact, Epic has indicated publicly that the 12% commission rate is

         profitable and sustainable.761                   Epic’s court documents reveal that Epic determined the 12%

         rate to be "competitive, sufficient to cover its costs of distribution and allow for further

         innovation and investment in EGS."762 Additionally, according to an internal Epic email, Epic

         determined that even dropping the percentage split that Epic takes on each sale to 10% would

         have still allowed the company to be operate that portion of the business profitably.763                                                          In a

         Q&A discussion in December 2018, Tim Sweeney stated that "[i]n [Epic’s] analysis, stores

         charging 30% are marking up their costs by 300% to 400%. But with developers receiving

         88% of revenue and Epic receiving 12%, this store will be a profitable business for us."764


(312)   Additional evidence indicates a 12% (or lower) take-rate would be sustainable for other

         platforms. In response to the launch of the EGS, Discord announced that it would only charge

         a 10% commission rate, allowing developers to keep 90% of revenue from their games.76s

        Discord’s CEO stated that ~it does not cost 30 percent to distribute games in 2018," and that

        ~’[a]fter doing some research, we discovered that we can build amazing developer tools, run

        them, and give developers the majority of the revenue share."766                                                Discord’s response to the




        761      PC Garner0 "Most Game Devs Don’t Think Steam Earns its 30% Revenue Cut," 4/28/2021, https://www.pcgamer.com/most-
                game-devs-dont-think-steam-earns-its-30-revenue-cut/. ("Epic maintains that its 12% cut will be enough to profit in the
                 long term, challenging the idea that game distributors need to take 30% to be viable.")

                Ars     Technica,    "How     Long      Can   Epic   Afford     to    Throw   Money         at    the   Epic    Games      Store,"    4/12/2021,
                https://a rstech nica.com/gami ng/2021/04/how-long-can-epic-afford-to-throw-money-at-the-epic-games-store/.                                ("You
                might think Epic is incurring those losses because it only takes a 12 percent cut of third-party game revenues, compared
                to the industry-standard 30 percent cut on other digital storefronts. On the contrary, though--in its own court filings, Epic
                says that 12 percent revenue chunk has been "sufficient to cover its costs of distribution and allow for further innovation
                and investment in EGS.")

        762     Epic Games, Inc v. Apple Inc, No. 4:20-cv-05640-YGR-TSH, Findings of Fact and Conclusions of Law Proposed by Epic
                Games, inc., at ~111 399, 405 (N.D. Cal. 2021). ("Prior to deciding on the 12% revenue share, EGS considered its own costs
                and revenues and studies the revenue shares of competing distributors of PC games. Epic decided to charge developers
                a 12% revenue share after it concluded that 12% would be competitive, sufficient to cover its costs of distribution and
                allow for further innovation and investment in EGS."; "EGS’s 12% transaction fee is sufficient to cover the variable costs of
                running EGS, including payment processing, customer service and bandwidth.")

        763     Epic, Internal Emails re: Costs of Running Diesel Business, 6/6/2018 (EPIC_ VALVE_0000004-06, at EPIC_ VALVE_0000004).

        764     Epic,   "Diesel     Q&As    for   Tim    from     Embargoed      Media     Outlets,"   c.        12/4/2018     (EPIC_VALVE_0000058-72,        at
                EPIC_VALVE_0000059).

                Gameslndustry.biz,          "Discord      store      offering        developers    a         90/10       revenue        split,"      12/14/2018,
                https://www.gamesindust ry.biz/discord-store-offering-developers-a-90-10-revenue-split.

        766     The Verge, "Discord’s game store tries to top Steam and Epic by offering developers more money," 12/14/2018,
                https://www.theverge.com/2018/12/14/18139843/discord-pc-games-store-revenue-split.




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         commission rates announced by Epic reflects the behavior of a third-party digital PC game

         distribution platform lowering prices in response to increased competitive pressure. Microsoft

         similarly announced a lower commission rate following Epic’s entry. In an April 2021 post on

         Xbox Wire, Microsoft stated that "the developer share of Microsoft Store PC games sales net

         revenue will increase to 88%, from 70%. A clear, no-strings-attached revenue share means

         developers can bring more games to more players and find greater commercial success from

         doing so."767       Similarly to EGS, Discord and Microsoft’s lack of success came as a result of

         Steam’s monopoly power and PMFN policy, as opposed to the commission rate they charged.

         See discussion in Section 6.2.


(313)    Thus, in the but-for world, Steam’s advertised commission rate would be lower than the lowest

         tier rate of 20% that Steam adopted for high-revenue games. The Platform Competition Model

         approach, yardstick approach, and empirical approach conducted above suggest a but-for

         take rate of between 12% and 20%. Epic’s 12% commission rate represents an effective floor

         that would still allow for Steam and other platforms to operate profitably, while the platform

         competition model approach and yardstick approach suggest a commission rate between 15%

         and 20%. Together, all three approaches provide complementary and consistent evidence that

         all or virtually all members of the class were injured by Valve’s conduct.




         7.5.        Assessment of potential counterarguments

(314)   I conclude that Valve’s conduct has harmed all or virtually all putative class members.

        Potential arguments that the conduct only harmed a subset of developers are unavailing.                                   I

        address these below.



        7.5.1.       Publishers with                                                       are impacted

(31S}   I have reviewed and analyzed hundreds of Valve’s ~ agreements with developers
        and publishers.          For a list of these agreements, see Attachment C-1.                In my review of these

        agreements, I have identified three common types ~




(316)




        767
                Microsoft Xbox Wire, "Continuing Our PC Gaming Journey in 2021 and Beyond," 4/29/2021, https://news.xbox.com/en-
                us/2021/04/29/continuing-our-pc-gaming-journey-in-2021 -and-beyond/.




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 768
         ~                                                                . See:

         Valve          reement with       10/10/2006           ANT 0040950-91        at VALVE ANT




                 SDA Amendment No. 5 with                 7 VALVE ANT 0040969-970 at VALVE
                                                          V~_~ANT_0040969-970,             ANT 0040969
                                                                                     VALVE_ANT_0040969).




                 SDA Amendment No. 7 with                           ANT                at VALVE ANT




                       reement with                                     ANT              at VALVE ANT 0042639




                       reement with             10/20/2008          ANT 0038485-499 at VALVE ANT 00384913




769
        See, for example:

                 SDA     reement with        10/10/2006           ANT 0040950-964       at VALVE ANT




        Valve          reement with              10/10/2006             ANT 00426.:       at VALVE ANT 0042639




        Valve, SDA     reement with              10/20/2008             ANT 0038485-499, at VALVE ANT




770
        Valve, SDA Addendum with                             ., 6/26/2017 VALVE ANT 0058418-19 VALVE ANT 005841~




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         Additional examples include agreements with




(317)    Under various SDAs, Valve has executed technology license addendums.                                         In addition to

         distributing these publishers’ games, Valve agreed to license its game engine and game

         content (Valve game(s)’s 3D model, textures, animations, and sound files).




        771
                 Valve, SDA Addendum with                           6/29/2016 ~         ANT 0044249-250, at VALVE ANT 004424’




                 Valve, SDA Addendum with                                   11/10/2015          ANT 0037958-5c~ at VALVE ANT 0037958




                         SDA Addendum with                   2/6/2018             ANT               at VALVE ANT 047597
                                                                                                       VALVE_ANT_0475973). ]




                Valve, SDA Addendum with                                                        ANT 0475957-58 at VALVE ANT 0475957




        772
                Valve,   Technology    License   Addendum     with                             11/13/2013   (VALVE ANT 0033173-186,    at
                VALVE AN" 0033178




                Valve, Technology     License    Addendum    with                                3/3/2016         ANT 0035565-578     at
                VALVE ANT




                Valve, Technology License Addendum with                                                            ANT 0026942-955, at
                VALVE ANT




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(318)    Valve has entered into some SDAs wherein it has agreed to~




(319)    Even with these ~ agreements, these publishers are impacted by the PMFN Policy.
         As discussed above in Section 7.2, the fees associated with a high-cost platform with a PMFN

         are higher than would be the case absent the PMFN. Thus, ~

        ~ because they are based on the supracompetitive rates set by Valve,                                              are

         themselves supracompetitive. Any~ agreement on fees would still be higher than

         if all fees~--were based on a competitive commission rate.

         Further,




                Valve,                        Addendum with                              11/5/2015        ANT 0020330-343   at
                VALVE ANT 0020335




        773     See, for example:

                Valve, SDA Amendment No. 15 with                   5/1/2012     ANT 0042576-580 at VALVE ANT 0042




                       SDA Amendment No. 17 with                   5/1/2013     ANT 0042571-75   at VALVE ANT




        774
                Valve, SDA     reement with                                      ANT 0021209-225, at VALVE ANT 002121!




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                                                                                 None of those situations speak to the underlying

         commission structure.



         7.5.2.      Selective enforcement of PMFN impacts all publishers

(a2o)    Valve may argue that it has only sporadically enforced the PMFN, only against certain

         publishers and in certain discrete situations. However, as an economic matter, this argument

         misses the mark.            Valve’s PMFN Policy enforcement has reduced platform competition.                                                     By

         blocking the emergence of viable alternative platforms,                                           all publishers were denied the

         opportunity        to   utilize      those        alternative             platforms--not             only      those      who       faced     direct

         enforcement.         This view misses the practical impact of even selective enforcement as a

         signaling device and as presenting a credible threat to any publisher considering violating the

         PMFN policy in order to charge consumers lower prices.


(321)    PMFN Policy enforcement against high-revenue publishers limits the ability of rival platforms

         to compete effectively with Steam.                      Valve may prioritize efforts among its highest drivers of

         revenue, which, consequently, have the most visibility in the relevant market. As discussed

        above in 5.2, large publishers such as ~, and
        others experienced Valve’s PMFN enforcement, and thus put on first-hand notice of Valve’s

        PMFN Policy.          Even if only these large publishers were directly impacted by Valve’s PMFN

        Policy, that would take a major portion of the available commerce off the market for alternative

        platforms, depriving those alternative platforms of the volume they would need to succeed

        against Valve.           Moreover, when Steam enforces the PMFN against some of its largest

        publishers, it sends a strong signal to all publishers of its willingness to take significant steps

        to enforce the policy.            Put differently, if publishers such as ~ and others are

        vulnerable to punishment for violating the PMFN, no publisher is safe.


(322)   Clearly, publishers knew of Valve’s parity rules and abided by them. 77s                                                 Speculation around

        cross-platform PMFN enforcement occurs in industry news outlets.776                                                          Beyond publicly




        775     Interview with David Rosen, 2/1/2024.
        776     See, for example:

                GameRant,     "Valve’s    ’Pricing     Parity’   Is        Why    Hitman   3     Is   No      Longer    Being     Discounted,"    1/28/2022,
                https://gamerant.c~m/hitman-3-sa~e-steam-epic-games-va~ve-pricing-parity-st~re-terms/.                          ("It basically has to do with
                Steam’s pricing parity and PC gaming dominance. Essentially, Valve has the monopoly on PC gaming, with a controversial
                business practice that ’unofficially’ makes it so that Epic, and likely GOG and Humble Bundle, can’t sell a game at a
                discounted price if Steam isn’t, essentially meaning that no other platform can undercut the PC gaming giant.")

                Game     Informer,       "Valve      Tightens         Up     Guidelines    for        Steam     Early    Access       Titles,"   11/21/2014,
                https://www.gameinformer.com/b/news/archive/2014/11/21/valve-tightens-up-guidelines-for-steam-early-access-




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 available outlets, developers frequently communicate with each other regarding Steam’s

 policies. For example, developers have access to Steamworks Discussions where they can ask

 questions and communicate about distribution and Steam policies.777                                              In one thread,

 developers discuss pricing on Steam and Valve’s enforcement of price parity.7~8 In response

 to discussion regarding if the SDA applies only to Steam Keys, a developer notes: "What is

 written there does NOT only apply to keys, going by Valves words. How much more proof do

 we need than [V]alve telling another dev ’that they remove their game if the pricing isn[’]t

 equal’.., and then getting sued for it? ’It is important that you don’t give Steam customers a

 worse deal.’           This applies to everything, not just keys."7~9                       Another developer’s comment

 demonstrates the compliance that may result from the threat of price parity enforcement: ~’I

 wouldn[’]t gamble on it by setting a lower price on another store.                                   What I mean is: Every

 sane/reasonable person would treat it as ’it[’]s the rule’ until proven otherwise.., since the

 alternative is to get kicked from IS]team.’’78° As another example, in a 2018 email thread, indie




         titles.aspx. ("Valve confirmed to us updated rules for developers seeking to distribute games using this mechanism and
         provided the full text of the notification .... 4. Don’t overcharge Steam customers. We expect Steam customers to get a
         price for the Early Access game no higher than they are offered on any other service or website. Please make sure that’s
         the case.")

         GameRant, "Steam Is Changing How Players Pay for Games Around the World," 10/26/2023, https://gamerant.com/steam-
         regional-pricing-us-dollars/. ("Not only do storefronts have to take regional currencies into consideration, but also
         competitor pricing. This became apparent a couple of years ago when Epic Games Store’s sale of Hitman 3 ended abruptly
        due to Valve’s ’pricing parity’ requirement, which means developers can’t lower a game’s price on other storefronts without
        doing the same on Steam.")

        The      Game    DiscoverCo   Newsletter,   "Valve’s   New   Stance   on    Steam    Keys:    What   to   Know?,"   2/27/2023,
         https://newsletter.gamediscover.co/p/valves-new-stance-on-steam-keys-what.           ("There’s even more emphasis on ’no
        worse deal for Steam customers’: the phrasing: ’You should use Steam Keys to sell your game on other stores in a similar
        way to how you sell your game on Steam’ stays in there, but now this second phrase is underlined: ’It is important that
        you don’t give Steam customers a worse deal than Steam Key purchasers.’... Valve seems more determined to crack
        down on low-cost Steam key hawkers: there’s new language here: ’If you request an extreme number of keys and you are
        not offering Steam customers a comparable deal, or if your sole business is selling Steam Keys and not offering value to
        Steam customers, your request may be denied and you may lose the privilege to request keys.’ (Some small companies
        have been buying out old games with achievements/cards, just to sell their keys in bulk, right?)")

777
        Steam Website, Steamworks Development, https://steamcommunity.com/groups/Steamworks (accessed 12/20/2023).
        ("This community of Steamworks developers is intended for sharing information regarding Steam and Steamworks
        development.      Please use the Discussions to ask Steam and Steamworks related questions. You’ll also find FAQs and
        responses to other common questions in there.")

        Valve, Discussion Relating to Steam Development Landscape, 8/2015 (VALVE ANT DB 0017081.html)                ("Valve does not
        communicate with developers at all really, you can try sending them emails or leaving a post on the forums but they do
        not tend to respond. On the forums in particular it tends to be other developers answering a question.")

778     Valve, Steamworks General Discussion - Pricing on Other Stores, 5/2021 (VALVE_ANT_2174032-048).

779     Valve,    Steamworks    General   Discussion   -   Pricing   on   Other    Stores,   5/2021   (VALVE_ANT_2174032-048,      at
        VALVE_ANT_2174037).

780
        Valve,    Steamworks    General   Discussion   -   Pricing   on   Other    Stores,   5/2021   (VALVE_ANT_2174032-048,      at
        VALVE_ANT_2174038).




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         developers discuss Valve’s commission rate and price parity enforcement.781                                          One developer

         shares a response from Valve regarding Steam Key pricing.7a                                    Other developers discuss the

         existence of price parity policies and the threat of Valve delisting games if developers do not

         comply. 783


(a2a)    Valve has also told individual publishers that Steam will often choose to stop selling content

         where price parity is not met on other platforms.784 For publishers that need access to Steam’s

         user base, these indirect threats create pressure to comply and the enforcement actions make

         those threats credible.                Thus, whether Valve intends to enforce pricing parity against an

         individual publisher, the threat of that enforcement is enough to influence publisher behavior

         and yield compliance.



         7.5.3.       Freeriding and showrooming

(324)   While economics literature generally finds PMFN provisions to be welfare reducing.~85 PMFNs

         may be justified to protect a platform’s investments and prevent freeriding by individual




        781
                 Wolfire, Emails Between Indie Developers, 11/19/2018-11/21/2018 (WOLFIRE_00035624-633).

        782
                 Wolfire, Emails Between Indie Developers, 11/19/2018-11/21/2018 (WOLFIRE_00035624-633, at WOLFIRE_00035627-28).
                 ("Here’s the response I got from folks over there.      Either they’re being coy about the shift or this was always policy and
                 someone over there is just finally encouraging others to enforce it? Or maybe I just got a response from the pro-denying-
                 keys faction, who knows. The total refusal of giving extra visibility for a discount is... dense, though, and suggests they
                don’t especially care about the developer in question or why they do bundles in the first place. Maybe a bigger fish can
                 leverage them harder there, no idea.       [Valve’s response was;] "Sure, happy to explain our thinking around keys!       There
                 really hasn’t been a sea change in relation to keys, we just ask that all of our partners treat Steam customers fairly and give
                them the same deal that you’re offering bundle customers .... This is something we apply equally to all partners big and
                small, and it isn’t tied to visibility or placement on the store so we don’t offer guaranteed featuring or anything like that.
                We just ask that if you plan to use Steam keys to distribute your game, that you give Steam folks a fair deal.’")

        783
                Wolfire, Emails Between Indie Developers, 11/19/2018-11/21/2018 (WOLFIRE_O0035624-633, at WOLFIRE_00035624-25).
                ("IT]here should be a lot of push back against this from devs when [V]alve asks.          Even something as simple as ’Humble
                paid $xxx, xxx for that deal, we’d do 90% off on IS]team if you offered that for it as well[.]’ I like this idea, and am tempted
                to try it.   But I don’t see Valve’s incentive, as they hold all of the (literal and figurative) keys. The thing that scares me is
                that Valve could simply say, ’You didn’t play by the rules and give us similar discount within x months, so we’re going to
                delist your game.’ And that would be that."; "It’s not about wanting [V]alve to offer buyouts (they won’t), just a counter
                for price parity.    Put up or shut up, offer a similar deal as we’re getting on other platforms or price parity doesn’t (and
                shouldn’t) apply. [A]lso I reread their distribution contract, and it says nothing about price parity[.]")

        784
                See Section 5.2.1.

        785
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal,
                127(7): 2176-2202, at 2201. ("This Feature has explained why MFNs employed by online platforms can harm competition
                by keeping prices high and discouraging entry, notwithstanding the possibility that some MFNs may reduce inefficient
                freeriding. The prevalence of MFN contract terms on online platforms and the steadily growing share of GDP spent on
                such platforms suggest that greater antitrust enforcement against anticompetitive platform MFNs could have noticeable
                benefits for productivity and consumer welfare.")




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         sellers.786 For example, consider an online travel agency like Booking.corn that has invested

         in building a platform that allows travelers to compare hotels and then book at the one that

         best suits their needs.             If individual hotels could offer lower prices on their own websites,

         travelers could use Booking.com to find the best match and then book at the lowest rate on

         the hotel’s website.           This type of freeriding by the hotel (or "showrooming" by the platform)

         would reduce the incentive for the platform to invest in the valuable service of matching

         travelers to hotels.787 That could potentially provide a pro-competitive justification for a parity

         clause, at least on a temporary basis until the platform were able to recoup its initial

         investment.


(325)    The argument does not fit the facts here. Steam was able to recoup the costs of implementing

         any valuable fixed investment costs (such as a search mechanism) ~. While Steam’s

         reported after-tax net profit was negative in each year from ~, lifetime after-tax net

         profits turned positive ~, finishing the year with ~ in lifetime after-

         tax net profits.78~ Thus Steam was able to recoup its initial investments by~ at the latest,

         and the investment justification would not apply as an empirical matter after ~.




                 Calzada, Joan, Ester Manna, and Andrea Mantovani (2021), "Platform Price Parity Clauses and Market Segmentation,"
                Journal of Economics & Management Strategy, 31 (3): 609-637, at 626. ("In general, our model confirms the general wisdom
                 that price restrictions such as PPCs [price parity clauses] are detrimental to social welfare.")

                 Wang, Chengsi and Julian Wright (2020), "Search Platforms: Showrooming and Price Parity Clauses," RAND Journal of
                 Economics, 51(1): 32-58, at 32. ("Platform fees raise the possibility of showrooming, in which consumers search on a
                 platform but then switch and buy directly to take advantage of lower direct prices. In settings like this, search platforms
                 like Booking.cam have adopted price parity clauses, requiring firms to offer their best prices on the platform, arguing this
                 is needed to prevent showrooming. However, despite allowing for showrooming in our model, we find that price parity
                clauses often harm consumers.")

                 Heresi, Jose Ignacio (2023), "Platform Price Parity Clauses and Consumer Obfuscation," Journal of Industrial Economics,
                71(1): 291-322, at 314. ("When price parity clauses are endogenously chosen by platforms, I find that the unique
                equilibrium involves price parity clauses being set if and only if this leads to higher obfuscation and prices. This result
                supports the notion that PPCs are likely to increase prices and harm consumers.")

        786
                Wang, Chengsi and Julian Wright (2020), "Search Platforms: Showrooming and Price Parity Clauses," RAND Journal of
                Economics, 51 (1): 32-58, at 33. ("The main defense put forward for PPCs is that they are needed to prevent ’showrooming.’
                Consumers might use the platform to search for a suitable firm, but then complete their purchase on the firm’s own
                website if the firm offers a lower price when it sells directly (which it may do to avoid the platform’s fee). Showrooming,
                which is a form of free-riding, may therefore undermine a platform’s ability to operate. A PPC (either narrow or wide)
                eliminates the restriction on the platform’s fee implied by such showrooming.")

        787
                Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal,
                127(7): 2176-2202, at 2183, Fn 22. ("Online platform MFNs in particular have been justified as protecting investment
                incentives by preventing freeriding (or ’showrooming’)."; "Buyers ’showroom’ when they visit a store to examine a product
                before buying online at a discount. This type of practice is a type of freeriding.")

                Wang, Chengsi and Julian Wright (2020), "Search Platforms: Showrooming and Price Parity Clauses," RAND Journal of
                Economics, 51 (1): 32-58, at 33. (’Showrooming, which is a form of free-riding, may therefore undermine a platform’s ability
                to operate.")

        788
                See Attachment D-1.




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(326)    Further, while the potential for procompetitive effects exists theoretically, at least when a

         platform first launches, academic literature suggests that the harmful effects of PMFNs are

         more significant than the potential procompetitive effects. Wang and Wright (2020) find that

         "despite allowing for showrooming in [their] model .... price parity clauses often harm

         consumers."789          Baker and Scott Morton (2018) similarly conclude that "platform MFNs

         generally harm competition, except in narrow circumstances in which freeriding concerns are

         especially strong.’’79°


(327)    The availability of other PC game platforms and discrepancies in the size of game libraries

         make it unlikely that users would choose to switch between platforms to search and then

         purchase a game. As discussed in Section 4.1.2, many competing platforms were established

        years after Steam.            Therefore, for many years since Steam’s launch, users would not have a

        viable alternative platform to purchase a game on after finding it on Steam. Steam also offers

        many more games compared to competing platforms.                             For example, as discussed in Section

        6.2, EGS offered 1,548 games in 2022, compared to Steam offering approximately 90,000

        games as of early 2024.                    As another example, in 2020, GOG had over 4,700 products,

        compared to Steam’s 43,798 games.7~1 This discrepancy means that for tens of thousands of

        games, users could not purchase a game found on Steam on another platform and there is no

        free-riding risk.


(328)   Users may not have the same incentive, described above, of only using Steam for its searching

        functionality. While users can search for games on Steam, Steam provides other features and

        functionalities that at least some users find valuable.~2 Steam’s primary service is to provide




        789
                Wang, Chengsi and Julian Wright (2020), "Search Platforms: Showrooming and Price Parity Clauses," RAND Journal of
                Economics, 51 (1): 32-58, at 32.
        790     Baker, Jonathan B. and Fiona Scott Morton (2018), "Antitrust Enforcement Against Platform MFNs," Yale Law Journal 127(7):
                2176-2202, at 2178.

        791
                GOG.com,        "Check       These        Facts      and        Numbers            About         GOG,"        4/27/2021,
                https://www.gog.co m/news/check_these_facts_a nd_num bers_a bout_gog.

                See Attachment G-t.

        792
                Steam Website, Store Search, https://store.steampowered.com/search/?term= (accessed 11/1/2023).

                Steam Website, About, https://store.steampowered.com/about/(accessed 1/12/2024). (Features listed on an About Steam
                webpage include Steam Chat, Game Hubs, Steam Broadcast, Steam Workshop, and Early Access to Games.)

                Epic, "Steam User and Epic Games Store User Profile Survey July 2019," 7/2019 (EPIC_VALVE_0000073-0308, at
                EPIC_VALVE_0000088-89, EPIC_VALVE_0000121). (Lists the features that users find to be influential when deciding whether
                to purchase a game on Steam and shows that "[m]ost Steam features have high usage and all are highly rated[.]")




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         users with a platform to purchase and play games.793 As such, users who use Steam to search

         ultimately become integrated into the Steam platform.                              In this case, the free-riding risk is

         ultimately mitigated.


(a29)    Due to the reasons described above, the potential procompetitive effects of Valve’s PMFN are

         relatively small (if they exist at all) compared to the anticompetitive effects as described in

         Section 5.1.



         7.5.4.      Consumer regret

(330)    Valve may justify its PMFN Policy by claiming that users may experience regret when they

         purchase a game on Steam and then see the game offered for a lower price on another

         platform.794        Valve considers consumer regret to be detrimental to a user’s experience on

         Steam, and as such, uses it as a justification to enforce its PMFN Policy.7~s For example, Valve

         employee Kassidy Gerber, informs ~ in an email that Valve will be delisting




        793
                 Valve Corporation Website, About Us, https://www.valvesoftware.com/en/about (accessed 10/t7/2023).              ("We created
                 Steam in 2003 to serve as a digital content distribution channel, before app stores existed. It’s since grown and evolved
                 into a platform for thousands of creators and publishers to deliver content and establish direct relationships with their
                 customers. The Steam Community enables millions of players to do likewise, sharing entertainment and ideas, and making
                friends.")

                Steam Website, About, https://store.steampowered.com/about/(accessed 1/12/2024). ("Steam is the ultimate destination
                for playing, discussing, and creating games.")

        794
                 DJ Powers, Dep. Tr., 9/29/2023, at 57:5-24. ("Q. Well, here what we’re talking about is refusing to provide Steam keys
                because there is some sort of disadvantage for Steam customers, and Mr. Giardino here is saying Steam keys are kind of
                a distraction here. It’s more about the broader practice of offering a better deal elsewhere. So what I’m trying to
                understand is why is Valve’s policy that we’re not going to grant Steam keys if you’re offering better prices elsewhere,
                regardless of whether you’re using Steam keys? A. Are we talking about this specific example? Q. Sure. A. Okay, in this
                specific example, we’re having a conversation with a partner because we believe they’re offering the product for a better
                price elsewhere. Q. And that’s a problem? A. As I’ve described before, when a game is offered for a better price elsewhere,
                we believe that customers that purchase that game on Steam are likely to regret that purchase.")

        795
                DJ Powers, Dep. Tr., 9/29/2023, at 120:22-121:22. (’Q. And am I right that the conversations that you’ve testified about
                today, about discounting elsewhere and the, quote, unquote, regret that Valve is trying to prevent form Steam users is
                meant to help preserve Valve’s share of all revenues derived from Steam sales? A. No. Q. Not at al!? A. No, we’d be
                perfectly happy if the -- in a situation like we’ve discussed, if the partner said, okay, well we will lower the price on Steam
                to match the price as it is elsewhere. That lower price would result in less revenue share for us. Q. Well, you actually
                participated yourself in one of the documents I looked at in literally removing a Triple-A title from the Steam store because
                it was priced lower elsewhere? A. Uh-huh. Q. That is completely eliminating any revenue that Valve could derive from
                sales of that title? A. That’s true. Q. So Valve was completely willing to just forsake all that revenue because that title was
                being sold for lower elsewhere? A. It’s important to us that customers have a good experience on Steam.")

                Jason Ruymen, Dep. Tr., 9/19/2023, at 35:13-17. ("Q. And customers are disadvantaged on Steam if the price on Steam is
                higher than the price at another - another retailer; is that right? A. One of the things we try not to do on Steam is have a
                customer regret their purchase.")




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         one of its games due to price discrepancies between Steam and other platforms.7%                                             When

         describing Valve’s decision, she states: "Ultimately~] retail strategy is yours

         to control in whatever way you see fit.                   However, it is our job as stewards of the platform is

         [sicI to protect Steam customers and to ensure that they are being treated fairly. We will not

         knowingly invite customer regret by offering your game at a premium to other retailers."797 As

         another example, when reaching out to a developer regarding price parity, a Valve employee

         states: "[P]art of running our store and our sales is treating Steam customers well. We’re not

         really interested in running a store where customers regret their purchases or wish they

         bought somewhere else.              Our general attitude historically has been that if Steam customers

         don’t get a fair shake from a publisher or developer, we just opt not to sell the game in

         question, rather than make a bad offer that erodes user trust in the store."7~8


(331}    In the examples above, Valve frames enforcement of its PMFN Policy as a way to protect its

         users from regretting Steam purchases and to ensure users have a good experience on Steam.

         However, as discussed in Section 6 and above in Section 7, consumers are worse off and not

         protected as Valve suggests, due to Steam’s monopoly power and the maintenance of that

        monopoly power through Valve’s PMFN Policy. ~




                                                                                              .,,7~ Steam’s monopoly power has
        limited the number of viable alternative platforms available to users and has resulted in a lack

        of innovation and improvement of Steam features, impacting consumers’ ability to choose a




        796
                Valve, Emails Regarding ~ on Steam, 10/9/2017 (VALVE_ANT_2565882-84, at VALVE_ANT_2565883-84),
                                          .r, De
                available at Kassidy Gerber,  Dep. Tr.,10/5/2023,
                                                       10/5/2023, ExhiL
                                                                  Exhibit 107. ("We are writing to let you know that, as of 10am this morning,
                we are no longer selling                                on Steam. We did this because, was offering the preorder at a
                price on Steam that was significantly higher than what was available at other retailers for the same version of the game.")

        797
                Valve, Emails Regarding~, 10/9/2017 (VALVE_ANT_2565882-84, at VALVE_ANT_2565884), available
                at Kassidy Gerber, Dep. Tr., 10/5/2023, Exhibit 107.

        798
                Valve, Emails Regarding ~, 12/22/2016 (VALVE_ANT_0127888-89, at VALVE_ANT_0127888).

                See also:

                Valve, Emails Regarding LNY Loyalty Prog ram, 1/17/2019-1/19/2019 (VALVE_ANT_0053488-390, at VALVE ANT 0053489),
                available at DJ Powers, Dep. Tr., 9/28/2023, Exhibit 45. ("One of the ongoing issues we struggle with is how do we react
                when games run significant discounts on competing stores, but do not make those discounts available on Steam .... In
                this situation, we usually reach out to the developer and explain that the price on~ makes the price on Steam look
                high.   We believe this will result in regret purchases by Steam customers when that customer realizes they could have
                bouc     the same product elsewhere for less money. The ask from us to the partner is to match the lower price running
                         ..)
                on

        799
                Valve, Emails Regarding Steam Key BIog Post, 1/11/2018-1/13/2018 (VALVE_ANT_0499430-34, at VALVE_ANT_0499433).




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 platform that best fits their needs.8°°                 Further, Valve’s high commission rate also leads to

 inflated consumer prices, as developers compensate for the high commission rate by passing

 through part of the commission to consumers.8°1 Valve’s PMFN Policy maintains these inflated

 consumer prices on alternative platforms in the relevant market and forces alternative

 platforms to shift their platform design and business models closer to Steam’s high fee

 model.8°2 As detailed below in Sections 8.3.5 and 8.4, absent Steam’s PMFN Policy, Steam’s

 but-for commission rate would be lower than the effective commission rate, and those savings

 would be at least partially passed through to the consumer, leading to lower consumer prices.

 Thus, despite Valve’s claim that their PMFN Policy can limit consumer regret to promote a

 positive experience on Steam, consumers would ultimately benefit from the removal of the

 PMFN Policy and a more competitive market. Indeed, a possible "consumer regret" argument

 would mean little more than Valve regrets that consumers learn that lower prices are available

 from other stores.




800     See Section 6.3.

8Ol     See Section 7.2,1.

802     See Sections 5.1 and 7.2.1




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         8.           Economic Quantification of Class-Wide Damages


         8.1.         Overview

(aa2)    Below, I review the literature on one-sided and two-sided platforms, and in that context, I

         examine Steam’s pricing behavior and conclude that, while it acts as a two-sided platform in

         facilitating transactions between publishers and users, its pricing structure is implemented

         on only one side of the platform.                 This allows me to apply economic models focusing on a

         single price.      While the direct pricing on the Steam platform is one-sided in that Valve only

         collects fees from publishers, the commission rate charged impacts consumer prices, as

         discussed above and in this section. As such, Valve’s pricing to publishers affects both sides

         of the market.


(333)    I introduce the Landes and Posner model8°3 to demonstrate how Steam’s price and quantity

         would be lower in the but-for world under a shifted firm-specific demand curve.                                  Using the

         intuition from Landes and Posner, I describe my model for determining the but-for price. First,

         I calculate real-world values that correspond to the various inputs of the model. Using these

        real-world input values and an estimate of the but-for market share using shares by publisher,

        I determine Steam’s commission rate in the but-for world, and therefore have a methodology

        to determine damages for each putative class member based on the available transaction data.


(334)   My model derived from Landes and Posner confirms my conclusion that all or virtually all

        class members are impacted.                    Specifically, my model describes the but-for competitive

        equilibrium reached after platforms enter the market during the period of time after Valve’s

        PMFN is eliminated.              In that competitive equilibrium, Valve’s but-for commission rate is

        substantially lower than in the real world, and lower even than the commission rate in the

        interim state market described by my Platform Competition Model.                               In this way, my impact

        analysis and my damages analysis together describe the transition from a market dominated

        by Valve, to one with increased competition, reduced pricing, and increased output (Platform

        Competition Model), to a fully competitive market with much lower pricing (Landes and Posner

        model) and increased output.                But for Valve’s PMFN Policy, the market would have reached

        this end state by no later than January 28, 2017 and likely earlier.




        803
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996.




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(335)    Rochet and Tirole (2006) define a two-sided platform as:8°4

                    ¯ . . one in which the volume of transactions between end-users depends on the
                   structure and not only on the overall level of the fees charged by the platform.
                   A platform’s usage or variable charges impact the two sides’ willingness to trade
                   once     on    the     platform and,        thereby,         their net   surpluses       from potential
                   interactions; the platforms’ membership or fixed charges in turn condition the
                   end-users’ presence on the platform. The platforms’ fine design of the structure
                   of variable and fixed charges is relevant only if the two sides do not negotiate
                   away the corresponding usage and membership externalities.


(336)    A key feature of Rochet and Tirole (2006)--and the one that makes my analytic approach

         appropriate for analyzing a platform such as Steam--is that a market is defined as one-sided

         if the quantity of transactions depends only on price leve! and not price structure across the

         two sides:8°s

                   Consider a platform charging per-interaction charges aB and as to the buyer
                   and seller sides.         The market for interactions between the two sides is one-
                   sided if the volume V of transactions realized on the platform depends only on
                   the aggregate price level

                                                                  a = aB + as


                   i.e., it is insensitive to reallocations of this total price a between the buyer and
                   the seller. If by contrast Vvaries with a~ while a is kept constant, the market
                   is said to be two-sided.

(337)   Per Rochet and Tirole, Steam’s pricing model is one-sided. Steam has historically only priced

        on one side of the market (that is, to developers).                            Steam’s headline commission rate,

        historically set to a fiat 30% and more recently tiered according to game revenues, is directly

        charged to publishers and is deducted by Valve from the price charged by publishers to

        consumers.8o~


(338)   Steam calculates its commission as a percentage of revenue, and not a fixed amount per unit

        sold; 807 thus it qualifies as an ad valorem fee on the revenues generated by developers.                                   In a




        804
                Rochet, Jean-Charles and Jean Tirole (2006), "Two-Sided Markets: A Progress Report," The RAND Journal of Economics,
                37(3): 645-667, at 646.

        805
                Rochet, Jean-Charles and Jean Tirote (2006), "Two-Sided Markets: A Progress Report," The RAND Journal of Economics,
                37(3): 645-667, at 648.
        806
                While the price Steam charges to publishers may impact publisher’s pricing to consumers (this is referred to as "marginal
                price pass through"), the only direct price charged by the platform (Le., Steam) is the commission rate to publishers. For
                further discussion on pass through, see Section 8.4.

        807
                The Economist, "Video Games: Ahead of Steam?" 3/15/2019, at 1. ("[Steam] takes a 30% cut of each game sold.")




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         paper from 2003, Rochet and Tirole describe three conditions under which a system such as

         Steam’s should be considered price-neutral, all of which apply here.8°8

              Lack of transaction costs.             Neutrality of pricing requires a lack of "frictions that make it
              costly for one side of the market to pass through a redistribution of charges to the other
              side.     Often these transaction costs are associated with small stakes for individual
              transactions[.]" Such frictions are not present on Steam.

         bo   Lack of volume-insensitive costs.                 Neutrality of pricing requires that there are no costs
              "that a) are influenced by the platform and b) are not proportional to the number of
              transactions on the platform." Such costs are not present on Steam.8°9

         Co   Lack of constraints on pass-through. Neutrality of pricing requires that the platform not
              "limit the extent of pass-through." Valve does not actively manage pass-through.

(339)    Rather than pricing separately on both sides of the market, Steam has opted for an agency

        model in which a supplier sets the final retail price for its good or service and the online

        retailer keeps a share of the revenue generated by a transaction between a supplier and a

        consumer,a° Products such as "e-books, applications for mobile devices . .., car insurance,

        and hotel reservations have been sold online using the agency model."~!1                                The agency model

        is also used in the Boik-Corts model of platforms, described above. Boik and Corts include a

        single platform fee and derive implied demand for transactions as a function of a platform’s

        fees and their competitor’s fee.a12                  This contrasts with the ’~wholesale model" in which

        "suppliers set wholesale prices and retailers set retail prices[.]"a3




        808
                Rochet, Jean-Charles and Jean Tirole (2003), "Platform Competition in Two-sided Markets," Journal of the European
                Economic Association 1 (4): 990-1029, at 1019-1020.

        809
                Though Valve charges a $100 submission fee to developers, this is recouped by developers after the game reaches $1,000
                in adjusted gross revenues across game purchases and in-app purchases. See:

                Steam, "Steam Direct Product Submission Fee on Steam," https://store.steampowered.com/sub/163632 (accessed
                1/5/2024).

                I also understand that the software development required for a PC game is not platform specific, that is, the game can be
                easily ported from one platform to another. See:

                GOG Developer Docs, Steam SDK Wrapper, https://docs.gog.com/steam-sdk-wrapper (accessed 8/29/2023). ("If you
                already have a Steam version of your product, you can get it up and running on our platform within minutes, not hours.")

        810
                Johnson, Justin P. (2017), "The Agency Model and MFN Clauses," The Review of Economic Studies, 84(300): 1151-1185, at
                1151.

        811
                Johnson, Justin P. (2017), "The Agency Model and M FN Clauses," The Review of Economic Studies, 84(300): 1151-1185, at
                1151.

        812
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Most-Favored-Nation Clauses on Competition and Entry," The
                Journal of Law and Economics 59(1 ): 105-134, at 112.

        813
                Johnson, Justin P. (2017), "The Agency Model and MFN Clauses," The Review of Economic Studies, 84(300): 1151-1185, at
                1152.




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(340)    I model the but-for world by assuming that Steam would continue to use an agency model,

         pricing to one side of the market as a share of retail price. This allows publishers to set prices

         for their products and decide how much (if any) of Steam’s fees to pass through to consumers.

         Indeed, when faced with the option to switch to a wholesale model for a particular publisher,

         Valve rejected this option and retained its agency pricing model.34 Thus, I evaluate Steam’s

         but-for price under models with a single, direct price to one side of the platform.




         8.2.         The Landes and Posner (1981) model

(341)    Landes and Posner present a model that relates firm market power to the price it sets (relative

         to marginal cost).          Landes and Posner define market power as "the setting of price in excess

         of marginal cost" and formalize their measure of market power using the Lerner Index, as

         expressed below:81s




        814
                 Valve, Emails Regarding~ Pricing, 8/15/2014-9/26/2014 (VALVE_ANT_2814337-343, at VALVE_ANT_2814341),
                 available at Connor Malone, Dep. Tr., 11/8/2023, Exhibit 249. ("We understand that the retailers are cutting in to their own
                 margins with their pricing based on a wholesale price. As Steam does not operate on a wholesale model, those practices
                 are not an option, and a different approach is needed.")

                 Connorm Malone, Dep. Tr., 11/8/2023, at 108:7-109:23. ("Q. And at the bottom you say, ’We understand that the situation
                 with. retailers is tricky and we are encouraged by your efforts to help establish price parity.’ Right? A. t did write that.
                 Q. And that’s consistent with Valve’s policy seeking price parity before providing curated marketing or listing the game,
                 right?~A. 1 wouldn’t say that it -- I wouldn’t           it in terms of a Valve policy. Q. Well, it was your practice at least here
                 that~ needed to achieve price parity for                          or Valve will have to take the game down until that happens,
                 right? A. In this specific case, yes, that is I think how it played out. Q. Now, if you look at page 341, at the bottom there’s
                a reference to WSP again. Do you see that? A. 1 do. Q. And then your response, you say, ’We understand that the retailers
                are cutting into their own margins with their pricing based on a wholesale price.’ Right? A. Yes, I see that. Q. And that’s
                indicating that WSP stands for wholesale price, right? A. Yes, I think so. Q. And you say, ’As Steam does not operate on a
                wholesale model, those practices are not an option.’ Right? A. Correct. Q. Why was it not an option? A. It was not an option
                because Valve -- we were not interested in changing our revenue share model at that time. Q. When you say ’not
                interested,’ does that mean it was impossible or just Valve didn’t want to do it? A. That we were not interested in doing it
                at that time.")
        815
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 940.

                Landes and Posner (1981) explain that the "the Lerner index is a measure of a firm’s market power." See:

                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 941, fn 8.

                Li is the Lerner Index for firm i, Pi and C~ are respectively price and marginal cost at the firm’s profit-maximizing output,
                and ~ is the firm’s elasticity of demand, See:

                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Hc~rvard Law Review 94(5): 937-996,
                at 940.

                Per the equation above, a higher firm demand elasticity means that the quantity the firm sells is more responsive to the
                price they set.   If the quantity reduces more in response to a price increase (demand elasticity is higher), firms that are
                maximizing their profits will not mark up their prices to the same extent.

                Lerner, A. P. (1934), "The Concept of Monopoly and the Measurement of Monopoly Power," The Review of Economic Studies
                1 (3): 157-175.




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                                                                     (Pi - q’)


(342)    Landes and Posner explain that the Lerner Index, Li, of firm i indicates the relative size of the

         monopoly mark-up of price, Pi, over marginal cost, C[, by firm i.816 The Lerner Index illustrates

         the relationship of the firm’s market power to the firm’s price elasticity of demand, ~.37 Firm
         i’s price elasticity of demand quantifies the relationship between the quantity demanded of

         firm i’s output and the price that firm i charges; more formally, it is the percentage change in

         quantity demanded for firm i’s output in response to a given percentage change in firm i’s

         price,a~     Landes and Posner explain that "[s]ince the Lerner [I]ndex is a measure of a firm’s

         market power, the relevant elasticity is the firm elasticity of demand, for it is the response of

         the firm’s output to change in its price that determines the degree to which it has market

         power."a9


(343)   The Lerner Index is inversely related to a firm’s price elasticity of demand and shows that a

         higher price elasticity of demand for the firm’s product will result in a lower profit-maximizing

         mark-up over cost (and vice versa). This makes intuitive sense, as a high elasticity of demand

        indicates consumers are more sensitive to price changes, all else equal.


(344)   The Lerner Index is regarded by many as the "best-known measure of monopoly power."82° As

        discussed above, Steam’s pricing model is price neutral, meaning that no matter who

        ultimately remits the fee to Valve, the amount the consumer ultimately pays for a game is not

        affected.         This is because the pass-through of the fee adjusts based on who remits the

        payment,s2~          When such neutrality holds, two-sided markets can be treated as one-sided




        816
                Landes, William M and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 939.

        817
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 940-41.

        818
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 940-41, fn 8.

        819
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 940-41, fn 8.

        820
                Elzinga, Kenneth G. and David E. Mills (2011), "The Lerner Index of Monopoly Power: Origins and Uses," The American
                Economic Review 101(3): 558-564, at 560. ("It is the conventional practice for textbooks in microeconomics and
                industrial organization to describe the Lerner Index as ’the best-known’ measure of monopoly power.")

        821
                This is analogous to the neutrality of tax remittance often covered in introductory economics textbooks. See for example,
                the discussion of how taxes levied on sellers are equivalent to taxes levied on buyers:

                Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 123.




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         markets.822 This approach is consistent with the Boik-Corts model discussed in Section 7.2

         where a single fee is used, just like Steam’s actual pricing strategy. In the Boik-Corts model,

         the platform maximizes its implied demand function with respect to the fee, which means the

         Lerner Index holds. In fact, I show in Appendix A.3 that the equations used in the Boik-Corts

         model can be combined and simplified to the Lerner equation, giving the same value for

         Steam’s real-world elasticity of transaction with respect to fees in both approaches.


(345)    Landes and Posner expand on the standard Lerner Index formula by explaining that the firm

         elasticity of demand--and by extension the firm’s market power--can be derived using firm i’s

         market share (Si), the market elasticity of demand (~a~), and the supply elasticity of competing

         (or "fringe") firms (~js).823        The supply elasticity of fringe firms is defined as the percentage

         increase in the quantity supplied by fringe firms in response to a one percent change in the

         market price.~24 Landes and Posner derive the following equation:



                                                                            Si

(346)    Using the above expression, Landes and Posner rewrite the Lerner equation, demonstrating

        that market power is a function of firm i’s market share (St), the market elasticity of demand

         (~am), and the supply elasticity of fringe firms (eT).82s




(347)   Landes and Posner observe the following:8~

              Holding all else constant, higher market demand elasticity yields higher firm elasticity of
              demand, resulting in a lower Lerner Index and lower mark-up over cost.

        bo    Holding all else constant, higher elasticity of supply of fringe firms yields higher firm
              elasticity of demand, resulting in a lower Lerner Index and lower mark-up over cost.




        822
                Rochet, Jean-Charles and Jean Tirole (2003), "Platform Competition in Two-sided Markets," Journal of the European
                Economic Association 1 (4): 990-t029, at 1018. (See also proposition 1 on page 997.)

        823
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 944-945.   (They note that "it]his formula, like the Lerner index, has long been a part of the industrial organization
                literature" and derive both equations in their appendix.)

        824
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Low Review 94(5): 937-996,
                at 944.

        825
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 943.

        826
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 945-46.




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         c.   Holding all else constant, higher market share yields a lower firm elasticity of demand,
              resulting in a higher Lerner Index and a higher mark-up over cost.

(348)    This model identifies two mechanisms that will act to increase Steam’s firm demand elasticity

         and lower its but-for price. First, absent the PMFN, Steam’s market share, $i, would be lower,

         leading to a greater firm-specific elasticity of demand. See further discussion and calculation

         of that market share in Section 8.3.4.


(349)    Second, without the PMFN, fringe elasticity of supply would be higher, all else equal.                                    In the

         presence of a PMFN, fringe firms have a harder time attracting new game developers to their

         platforms than they would absent a PMFN. In the real world, while fringe platforms can offer

         discounted commission rates relative to Steam, because of the PMFN, game deve!opers cannot

         pass through savings to consumers via lower retail prices if they are also distributing through

         Steam. Without the ability to compete on price, fringe platforms have a harder time attracting

         consumers to their platforms and, in turn, this leads to difficulty in attracting developers. In

         the but-for world, with meaningful competition possible between platforms, developers would

         be able to use lower commission rates offered by fringe platforms to cut retail prices and

         attract customers, resulting in both an increase in profit margin and quantity sold.                                       This

        would be attractive to publishers, meaning publishers would more readily supply their games

        to those platforms that are part of the fringe.                    Thus, the fringe elasticity of supply would be

        higher in the but-for world.




        8.3.         Estimation of the but-for price

(350)   I combine the insights gleaned from the Landes and Posner model with assumptions regarding

        the demand curve for Steam’s digital third-party distribution services to calculate Steam’s

        commission rate in the but-for world. I start by evaluating the elasticity of demand for Steam’s

        digital third-party distribution services in the real world.                      Using that elasticity as an input, I

        model Steam’s demand based on a linear demand curve.                                Assuming that Steam’s demand

        curve in the but-for world would be parallel to its demand curve in the real world, I then use

        my estimated Steam but-for market share to calculate Steam’s but-for commission rate.827




        827
                As discussed in Section 3.3.5, there are instances in which users gain access to a game played through Steam through the
                acquisition of a Steam Key rather than the purchase of the game directly on Steam. In such instances, those purchases
                are not subject to the Valve commission charge. In the but-for world, I assume that Steam Keys would have been provided
                and used in the same manner as in the real world and focus my determination of the but-for price solely on those purchases
                made through Steam and thus subject to the Valve commission charge.




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         8.3.1.       Steam’s real-world Lerner Index

(351)    I first evaluate Steam’s Lerner Index in the real world. Recall that the firm’s Lerner Index is a

         function of its pricing and its marginal costs.

                                                                         - c[)


(352)    Valve has had a historic headline commission rate of 30% on sales of third-party PC content.

         From January            28,    2017     through      December 31,         2022,     Steam      generated       an    effective

         commission rate of~,828 a rate that includes periods before and after the implementation

         of the tiered commission rate.~29 For purposes of this analysis, I conclude that the ~ rate

         is a reasonable proxy for the effective market commission rate, given Steam’s dominance in

         the marketplace; the effective market rate charged by Valve is what is relevant, rather than

         the specific rate paid by each publisher.


(353)    I similarly use Valve’s P&Ls over the period of 2017 through 2021 to determine Steam’s

         costs.83°    I convert these costs to a share of transaction value for easy comparison to the

         commission rate set by Valve. Steam’s total cost of sales during this time were approximately

        ~ of transaction value;s31 Steam’s total operating expenses during this time (including

        allocated administrative expenses) were approximately~ of transaction value,s~2 Steam’s

        total taxes (including allocated admin taxes) were × of transaction value. Steam’s cost of

        sales plus its total operating expenses plus its taxes represent approximately ~ of
        transaction value from 2017 through 2021. See Attachment D-7.




        828
                The calculations presented in this section use rounded values, though I use more precise values in my attachments. Thus,
                they may differ slightly.

        829
                Valve Transaction Data, 1/28/2017-12/31/2022. See: "0S_Damages.R"

        830
                Valve’s P&L data is set forth on an annual basis and is available through 2021, and this calculation and all subsequent
                calculations can be performed on such a basis.

        831

                                                                                                                                  ¯ See:

                Valve, Valve P&L Statements, c. 2022 (VALVE_ANT_2755012_HIGHLY CONFIDENTIAL_ATTORNEY EYES ONLY.xlsx.)

        832

                               See:

                Valve, Valve P&L Statements, c. 2022 (VALVE_ANT_2755012_HIGHLY CONFIDENTIAL_ATTORNEY EYES ONLY.xlsx.)




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(354)    The Lerner Index is predicated on firms profit maximizing, that is, pricing based on marginal

         costs.833       Rather than calculating Steam’s marginal economic costs, I adopt a conservative

         approach and use all of the accounting costs outlined above.                                    In platform firms like Valve,

         high fixed costs and low marginal costs are common and result in average total costs that are

         higher than marginal costs.834 Using a higher cost as the basis for price setting will result in

         a higher but-for commission rate.83s The Lerner Index relates price to marginal costs through

         a scaling factor, and thus a greater cost will result in a greater but-for price, all else equal.


(355)    The resulting Lerner Index for Steam from January 28, 2017 through December 31, 2022 is

        ~; Valve’s resulting firm elasticity of demand for its distribution services is approximately

               .
                   836




         8.3.2.          Linear demand modeling

(356)    I model Steam’s demand as linear and use Steam’s real-world firm elasticity of demand to

         calculate the slope of Steam’s demand curve,s37 An assumption of linear demand is standard




        833
                   The Lerner Index is derived using the equation for firm profits and by assuming firms try to maximize their profits. A firm’s
                   profit-maximizing price is established when the firm sets its marginal revenue equal to marginal cost. See:

                   Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvord Low Review 94(5): 937-996,
                   at 984-985.

        834
                   Baumol, William, and Daniel Swanson (2003), "The New Economy and Ubiquitous Competitive Price Discrimination:
                   Identifying Defensible Criteria Of Market Power," Antitrust L.J. 661-686, at 661. ("The industries that are the hallmark of the
                   "new economy" are characterized by a special cost structure. From software to semiconductors, digital entertainment to
                   biotechnology, and in innovative fields more generally, the standard cost pattern entails sunk outlays that are large and
                   must be incurred over and over again, but the marginal cost of serving an additional customer-is virtually negligible. As
                   economists are well aware, this is only a special case of a more general circumstance, the case of scale economies, where
                   the prices of a firm’s products, if set equal to the corresponding marginal costs, will condemn the enterprise to losses.")

        835
                   Note that in cases where average total costs are higher than marginal costs, the competitive price is equal to the average
                   total cost, because "a firm that prices at marginal cost cannot cover its fixed costs (costs that do not vary with output),
                   such as plant and equipment or research and development (’R&D’)." See:

                   Kirkwood, John (2018), "Market Power and Antitrust Enforcement," Boston University Law Review 98:1169-1227, at 1175-
                   1176.

                   While this changes the interpretation of the markup over marginal costs, it does not impact my use of the markup over
                   marginal cost in the model, because the derivation of the Lerner Index comes from the profit maximizing condition (which
                   is unchanged in a high fixed cost market) and not the competitive price. See:

                   Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvord Law Review 94(5): 937-996,
                   at 984-985.

        836              the Lerner Index formula, I obtain a Lerner Index of~. This gives a firm elasticity of demand
                   of

        837
                   Demand functions define the "relationship between the price of a good and the quantity demanded[,]"where the quantity
                   demanded is the "amount of a good that buyers are willing and able to purchase."

                   Mankiw, N. Gregory (2018), Principles of Economics, 8th ed., Boston, MA: Cengage Learning, at 67.




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         practice in the economics literature.                  For example, Boik and Corts employ a linear demand

         framework and show that it satisfies all the assumptions maintained in the general demand

         framework.838        Chone and Linnemer provide a detailed history of the extensive use of linear

         demand models in economics, noting that "[s]ome researchers find it so natural to use linear

         (direct or inverse} demands (and to derive them from a [Quasilinear Quadratic Utility Model])

         that they do not try to give a source[.]"839


(357)    The standard formula for firm-specific demand elasticity for firm i is as follows.84°


                                                                             Pi aQ



(358)    In a linear demand model, ---  - m, where m is a constant.841 Thus,
                                     0P --

                                                                                Pi
                                                                     qa=m--


(359)    Plugging the linear elasticity of demand into the Lerner Index found above results in the

        following equation.

                                                                 (Pi - C[)       1       1
                                                                     Pi         ~       P~
                                                                                      m -~




        838
                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journal of Law and Economics 59(1): 105-134, at 111. CBoik and Corts (2014) shows that in fact the main results of
                Section 2 also hold in a more general demand model.")

                Boik, Andre and Kenneth S. Corts (2014), "The Effects of Platform MFNs on Competition and Entry: General and Linear
                Demand," Working Poper, 1-31, at 6-7. ("We analyze this model under two different scenarios for demand: ’general’ and
                ’linear’. We first assume that an unspecified underlying general demand function induces a unique optimal pricing rule for
                the single multi-product seller, yielding a differentiable and well-behaved implied demand function on transaction fees,
                q~"(f). We later assume that the underlying demand function is a familiar linear differentiated-products demand function,
                which we show satisfies all of the assumptions we maintain in the general demand case.")

        839
                Chone, Philippe and Laurent Linnemer (2020), "Linear Demand Systems for Differentiated Goods: Overview and User’s
                Guide," Internationat Journal of Industrial Orgenizetion 73: 1-25, at 1. ("The usage of a Linear Demand System for
                differentiated goods (henceforth LDS) is widespread in oligopoly theory, especially when closed-form solutions are
                needed.")

                Similarly, they say: "By analogy, no sane economist would look for a reference when using a linear demand like D (p) = a
                - bp."

        840
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 985.

        841
                In this case, the linear demand for firm i takes the form qi(P) = A - mpi + d~(pj), where ¢(pj) is a general function allowing
                me to be somewhat agnostic to the impact of the opposing firms’ price on quantity since I only need the derivative with
                                     ¯    a~?
                respect to pi. This gives ~-~ = -m. As an example, Boik and Corts use qi(P) = A- mpi + dPj. See:

                Boik, Andre and Kenneth S. Corts (2016), "The Effects of Platform Most-Favored-Nation Clauses on Competition and Entry,"
                The Journo! of Law ond Economics 59(1): 105-134, at 111.




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(360)    This can then be simplified (dropping the subscripts for readability) as follows.

                                                                                  Q
                                                                        (P - C) = --


(361)    In the real world, Steam’s effective commission rate is ~, and its firm elasticity of demand

         is approximately ~.                I quantify Q (quantity) as a market share rather than transacted

         dollars; this will not affect the result, it simply results in a different interpretation of m.842 I

         use ~ as Steam’s real-world market share, as found in Attachment E- 1. Therefore, m is

         equal to approximately ~. 843



         8.3.3.      Parallel shift in Steam demand

(362)    Next, I use the properties of linear demand and assume demand curves in the but-for world

         are parallel to demand curves in the real world. This simplifies the Landes and Posner model

         and enables the calculation of Steam’s but-for commission rate.


(363)   To find the but-for price, I must determine m, the inverse slope of Steam’s but-for demand

        curve, C, Steam’s but-for marginal costs, and Q, Steam’s but-for quantity.


(364)   I assume that m is the same in the real and but-for worlds.                            This is equivalent to assuming

        that the absence of the PMFN shifts Steam’s demand curve so that it is parallel to its real-

        world demand curve. Removing the PMFN would decrease the (absolute value of the) slope of

        the firm demand curve (e.g., a linear firm demand curve would become flatter), which implies

        an increase in (the absolute value of) m, because the quantity sold on a platform is more

        responsive to fees without a PMFN.                   By instead holding the slope (and by extension m) fixed,

        I am underestimating the but-for (absolute) value of m, therefore overestimating the mark-up

        over cost in the but-for world (and thus overestimating the but-for commission rate). That is,

        my estimate of the but-for commission rate is necessarily conservative.




        842
                Dividing Q by the market quantity converts it into a market share.

                To see this more explicitly, let Qm be the current market quantity in dollars; the market share for Steam then is Qi = ~m’


                NOW let the value of m calculated with market shares be defined as mi = ~-~ - --~-. Together, this gives the following.


                                                               Q          Q     1
                                                        Q~   Q--~        Q--~ ....
                                                                               Q--m Q Q
                                                       rn~   OQ---AOP                   (p - c)
                                                                        0      Om OP
                                                                         oP


        843




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(a6s)    Multiple models applicable to this case show that in the but-for world, m would be greater

         than in the real world. As I discussed above in Section 8.2, in the Landes and Posner (1981)

         model, the fringe elasticity of supply would increase without a PMFN.                              That same intuition

         applies directly to the change in both Valve and fringe firm quantities with respect to the price.

         The following equation shows how, according to the Landes and Posner (198!) model, m is

         related to the change in market demand with respect to the price and the change in quantity

         supplied with respect to price.844




                                                                   OP             OP   OP


(366)    This equation demonstrates why if m were not held constant, and, instead, I calculated a but

         for value mb[ and a real-world value mrw it would be the case that rn~[ > mrw. First, without

         a PMFN, fringe firms will increase their quantity supplied by more for a given price change

         since they would be able to compete on price. This implies ~ is larger in the but-for world.

        Together, these two points imply m is larger in the but for world or mb[ > mrw.                                  My linear

        model with a parallel shift in demand holds m constant, which is conservative.                                This can be

         seen from the equation above P - C = o__                  a larger value for m leads to a smaller markup over

        cost and so a lower price.


(367)   The Landes and Posner model is not the only model that leads me to the conclusion that

        rnW > mr% In Appendix A.4 I show that in the Boik- Corts model, removing PMFNs more than

        doubles the change in Steam’s quantity with respect to price k-~-}’ which implies rn would

        more than double in the but-for world without a PMFN in place.


(368}   I assume that Steam’s costs in the but-for world as a share of transaction value are equivalent

        to those in the real world, that is, ~. See Attachment D-7.


(369)   Lastly, I analyze Steam’s but-for market share be!ow in detail.




        844
                Landes, William M. and Richard A. Posner (1981), "Market Power in Antitrust Cases," Harvard Law Review 94(5): 937-996,
                at 985.




                                                                           a Qi


                                                                         Pi oQ Q~
                                                                         0.~ oP P~




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          8.3.4.      But-for market share

(370)     Steam’s but-for market share can be evaluated using a framework based on real-world

         outcomes from the relevant market. Below, I describe a method for determining Steam’s but-

         for market share based on Steam revenues generated by Valve-published games and Steam

         revenues generated by other publishers that later engaged in digital PC game distribution.~45


(371)    Successful games can drive platform adoption and ultimately platform success.                                        Valve used

         its highly popular game, Half-Life 2, to attract users to Steam in the platform’s early years,

         that is, around 2004.            See Section 3.3.          Similarly, Epic leveraged the success of Fortnite to

         accelerate consumer uptake of its Epic Game Store, which launched in late 2018. See Section

         7.4. The benefits to a game distribution platform offering exclusive, popular titles have been

         acknowledged by numerous industry participants.                          For example, a 2022 presentation from

         publisher 2K--in which the company considers the business case for operating a stand-alone

         launcher--notes          that    "[e]xclusivity      can     be   highly    effective     at    ’drawing’ users         to   the

         platform[.]"~46      The presentation also noted that, "[wlithout exclusivity, or other offers, our

         Launcher offers limited value proposition over Steam/Epic[.]"~7                                A presentation from Epic

         Games about EGS listed Epic’s ability to secure major timed exclusives as one of two elements

         of Epic’s "[s]trategy to building a $1-2 billion PC games business fast"~                                 A 2018 internal

         presentation on EGS stated that "exclusive 2nd Party titles" would be "meaningfu! in the long

        run[.]"~9      A 2021 internal Activision-Blizzard presentation on battle.net’s platform strategy

        listed first- and third-party "premium, exclusive PC & mobile games" as an element of

        battle.net’s platform strategy."5° A 2015 document in which Amazon presents its plan to "build

        a PC game store on Twitch[,]" states that "content is the most important factor in the success

        of a gaming platform" and that "exclusive games from Amazon Games Studios" would help

        differentiate Amazon’s offering.~51




        845
                TO demonstrate how this method generates a but-for market share for Steam, it is necessary to adopt assumptions about
                which publishers are included in the calculation as well as the relevant time period.     I reserve the right to alter the
                assumptions presented below in a subsequent report in which I evaluate the merits issues in further detail.

        846
                2K, "2K Stand-Alone Launcher Business Case," 2/2022 (TAKE2-00000066-094, at TAKE2-00000086).

        847
                2K, "2K Stand-Alone Launcher Business Case," 2/2022 (TAKE2-00000066-094, at TAKE2-O0000086).

        848
                Epic, Epic Games Store Presentation, c. 2019 (EPIC_VALVE_0000013-057, at EPIC_VALVE_0000025).

        849     Epic, Diesel Update, 6/5/2018 (EPIC_VALVE_0000338-362, at EPIC_VALVE_0000361).

        85o
                Activision-Blizzard, Battle.net / Platform Strategy, 2/2021 (AB-VALVE-000072-093, at AB-VALVE-000073).

        8sl     Amazon, Respawn, 12/2015 (AMZ00000384-403, at AMZ00000384, AMZ000000388).




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(372)    Multiple      publishers--generally            those    with     several   popular   titles   and   franchises--have

         attempted to transition from successful game developer and publisher to distributor of PC

         gaming content.           These publishers include Activision (battle.net), Bethesda (Bethesda.net),

         CD Projekt (GOG), EA (Origin), Epic (EGS), Microsoft (Microsoft Store), Rockstar (Rockstar

         Games Launcher), and Ubisoft (Uplay).                    However, as described in Section 6.2, most of these

         entrants in the market did not succeed or have struggled to build their market share.


(373)    In the but-for world, the newly entering or existing fringe platforms would have been able to

         better attract third-party PC content by offering publishers a greater share of transaction value

         so that such publishers could offer their games at lower prices on these platforms.                            These

         lower prices would, in turn, help to attract gamers to the platform.                          But for Valve’s alleged

         anticompetitive conduct, publishers that continue to operate their distribution platforms

         would likely have garnered a larger share of the market, and it is likely that at least some of

         the publishers that stopped operating their distribution platforms would have continued to

         operate their platforms.             Therefore, the but-for world would also include publishers that

         operate or previously operated PC game distribution platforms as competitors to Steam.


(374)   Valve’s     ability to attract gamers to                Steam through its first-party game offerings also

        contributed to the platform’s ability to attract third-party developers (that is, build network

        effects).    As I note above, other publishers have attempted to utilize a similar model to build

        their own digital PC game distribution platforms. I thus model the but-for market shares for

        Valve as well as the publishers that engaged in digital PC game distribution based on the

        relative success of their games on Steam. To quantify the success of publishers’ games, I use

        a given publisher’s share of revenues on Steam among the publishers that have attempted to

        create distribution platforms as a proxy for the market share of their platforms in the but-for

        world.      However, to the extent that these publishers also publish elsewhere, this approach

        would likely bias the publishers’ shares downward and thus Steam’s share upward. Hence, I

        focus on a period in which publishers likely would have begun to develop their own platforms

        in the but-for world, but where none had yet done so in the real world, likely generating all or

        most of their revenues through Steam.


(375)   To calculate each publisher’s share of revenues on Steam, I focus on the period between 2008

        and 2012.         The year 2008 is used as the starting point to calculate revenues, as large

        publishers such as EA (2008) and Ubisoft (2008) did not offer games on Steam during the

        platform’s initial years. The year 2012 is used as the ending point to calculate revenues, as

        publishers such as EA began to launch new titles exclusively on their own platforms beginning

        in 2012. Figure 6 below shows the publishers’ shares of revenue on Steam.




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              Figure 6: Share of Steam Revenues Among Selected Publishers, January 2008-December 2012


                                      Publisher                    Steam Revenue                Steam Revenue Share




(376)    Steam’s share of revenues among publishers that operate or operated a PC game distribution

         platform was ~ between January 2008 and December 2012.852                                              As I note above, the

        presence of successful games is a key driver of platform success.                                 The publishers shown in

        Figure 6 above released ¯ of the top-50 best-selling games on Steam between January 2010

        and December 2012.853                 However, because other factors likely also contribute to platform

        success, e.g., the user experience, social features, discovery tools, etc., I adopt Valve’s ~

        share of revenues as Steam’s but-for market share.



        8.3.5.       But-for commission rate

(377)   I now have the information I need to solve for Steam’s but-for commission rate.                                        I calculate

        the but-for effective commission rate to be 17.7%,8s4 representing a~ decrease from the

        effective Steam commission rate during the period from January 28, 2017 through December




        852
                 Note that these shares do not consider revenue for titles by Epic Games.         My estimate for Steam’s market share is
                 necessarily conservative--meaning that it is higher in this but-for consideration--because it excludes Epic’s position in the
                 market,

        853
                 Valve Transaction Data, 1/1/2008-12/31/2012, See: "02_Publisher_shares.R."

        854




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         31, 2022. In addition to the steps laid out above, the algebraic steps are detailed in Appendix

         A.2.sss


(378}    The estimate of the but-for commission rate is conservative for several reasons. First, I use a

         conservatively high estimate for marginal costs.                          Steam faces high fixed costs, so its average

         costs are higher than its marginal costs.8s6 As illustrated by the Lerner Index, higher costs

         imply that a smaller portion of Steam’s current price is a result of its market power, leading

         to an artificially lower level of estimated market power. With lower estimated market power,

         my model shows that changes in Steam’s market share would have less of an impact on the

         price it charges. When considering the impact of a decrease in Steam’s market share, as I am

         in this case, higher costs would result in a smaller change in price, and so a higher but-for

         price.8s7     Additionally, my estimate is conservative because I hold the slope of the demand

         curve fixed, rather than following the Boik and Corts model which finds that Steam’s but-for

         quantity demanded would be more responsive to fee changes than its current demand.                                                  A

         more thorough analysis of this point is done in Appendix A.4.as8




         8.4.         Pass-through rate(s)

        8.4.1.        Overview

{a79}   Above, I present an approach for computing but-for take rates, or commission rates.                                           Game

        publishers in the but-for world compete against each other in the retail market in which PC

        games are sold.              All else equal, game publishers should ordinarily respond to a decrease in

        the commission rate by decreasing their game price. That would result in a lower end price for

        the game purchaser, thus benefiting both "sides" of the Steam platform.                                        As a preliminary

        matter, I understand that for purposes of assessing class-wide impact in this case, there is no




        855
                The but-for effective commission rate varies slightly according to the but-for market share used. For example, if I instead
                use a but-for Steam market share of 50%, the but-for effective commission rate equals 20.5%.


                ~ i~1~~~. See Appendix A.2 for an explanation of the equations.

                I reserve the right to calculate the but-for market share through alternative methods.

        856
                Attachment D-6 shows that both gross margin and operating margin are relatively flat despite changes in Steam’s
                commission revenue over time.

        857
                This intuition can be seen by rearranging the equation for the but for price from Appendix A.2 to get pbf

                C’ (1 - Q--~,~j.   Since the quantity is decreasing, the term in front of the marginal costs is positive meaning that as costs

                increase, the but for price increases.

        858
                Appendix A.4 shows that the Boik-Corts model can place a more precise bound on the but for slope of demand that results

                a but for price o~.




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         need to consider the consumer "side" of the platform. Unless game publishers pass-through

         100% (or more) of the commission savings, which is highly unlikely to begin with and is a

         proposition for which there is no evidence, game publishers will suffer some injury from the

         inflated commission rates, that is, the overcharge.                            Thus, the matter of pass-through is

         relevant only to the estimation of damages.


(380)    In this case, ’~pass-through" is the dollar change in price divided by the dollar change in cost.

         A seller’s price is determined, in part, by the costs that the seller incurs to make and/or sell

         the good in question. If costs change, pass-through measures how much of that cost change

         is passed on to the consumer as a change in price.                           Consider a seller of widgets, where the

         price set is $10 when the cost of creating that good by the seller is $5. If the cost of the widget

         decreased to $4, a decrease in the price to $9 would reflect a 100% pass-through rate ($1/$1).

         On the other hand, if the price did not change despite the decrease in the cost, this would

        represent a 0% pass-through rate ($0/$1).                            If the price decreased by $0.50, this would

        represent a 50% pass-through rate ($0.50/$1).


(381)   Commissions such as the one imposed by Steam are akin to an ad valorem tax. This tax levies

        a fee as a percentage of the price of a product when it is sold.8s9                                Steam’s commission rate

        qualifies as an ad valorem fee, because Steam calculates its commission rate as a percentage

        of revenue. As such, Steam’s commission rate is effectively an ad valorem tax on the revenues

        generated by developers. This echoes conclusions by researchers such as Rochet and Tirole

        (2003), who characterize video game platforms’ business models of extracting deve!opers’

        revenues as a tax on developers.86°


(382)   Numerous studies have explored the theoretical conditions and settings that influence pass-

        through rates. These include, but are not limited to, the slope of the demand curve, the shape

        of the demand curve, the slope of the supply curve, and the degree of market competition.~61

        Given the variety of factors that can have an impact, pass-through rates can range widely.

        The     actual     pass-through          rate     can     further       be   affected      by    other     real-world   market




        859
                Keen, Michael (1998), "The Balance Between Specific and Ad Valorem Taxation," Fiscal Studies 19(1): 1-37, at 1-2. ("There
                are two main ways in which commodities are generally taxed: by a specific (or ’unit’) tax.., and/or by an ad valorem tax,
                specified as a proportion of the product price and so, in effect, a tax on the value of sales.")

        860
                Rochet, Jean-Charles and Jean Tirole (2003), "Platform Competition in Two-sided Markets," Journal of the European
                Economic Association 1(4): 990-1029, at 1016. ("Although the [video game] industry’s business model involves drawing
                revenue from developers, platforms can only go so far in taxing the latter.")

        861     Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121(3): 528-583, at 530-531,551.




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         considerations, such as network effects, and real-world market frictions, such as menu costs,

         that limit price changes, despite potential changes in costs.862


(383)    Weyl and Fabinger (2013) outline factors that influence the pass-through of unit taxes in a

         variety of market settings.°63 They show that pass-through depends on a firm’s market power,

         the shape of the demand curve (i.e., convex or not), as well as elasticity of supply. First, they

         show that a higher degree of market power moves a firm more toward the monopoly case

         where pass-through tends to be smaller.°64 Second, they show that when elasticity of supply

         is smaller, pass-through tends to be smaller as well.~6s Third, they show that in a monopoly,

         when the demand curve is more convex, pass-through tends to be greater.866                                       Finally, the

         authors add that in platform markets, suppliers must weigh the potential loss of network

         benefits when passing through higher taxes to consumers in the form of higher prices.867 This

         suggests that in the presence of network effects, pass-through of higher costs to consumers

         is likely to be lower than that predicted by standard theoretical models.


(384)    Hackner and Herzing (2016) impose structure on demand by assuming it to be linear and

        theoretically derive how pass-through rates relate to key market characteristics.86~                                         In

        particular, they find that pass-through of an ad valorem tax increases as the product

        variety/range of firms increases, as the degree of market concentration decreases, and as the

        degree of product differentiation decreases.~9                        As a smaller product range, higher market

        concentration,         and      greater      product       differentiation       are    characteristics      of   imperfectly

        competitive        markets,       this    suggests       that    pass-through          rates   are   lower   in   imperfectly




        862
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 567.

        863
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Com petition," Journal of Political Economy 121 (3): 528-583, at 528.

        864
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 549.

        865
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 535.

        866
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 541.

        867
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Corn petition," Journal of Political Economy 121 (3): 528-583, at 567.

        868
                H~ckner, Jonas and Mathias Herzing (2016), "Welfare Effects of Taxation in Oligopolistic Markets," Journal of Economic
                Theory 163: 141-166.

        869
                H~ickner, Jonas and Mathias Herzing (2016), "Welfare Effects of Taxation in Oligopolistic Markets," Journal of Economic
                Theory 163: 141-166, at 147.




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         competitive markets compared to perfectly competitive markets when product demand is

         linear. 870


(a85)    Overall, many factors influence pass-through, including the slope and shape of the demand

         curve, the slope and shape of the supply curve, and the degree of market competition. 871 When

         product markets are perfectly competitive, theory predicts that pass-through rates will be near

         100%.872      As markets become more imperfectly competitive or monopolistic, theory predicts

         that pass-through rates will tend to fall, especially when elasticity of supply is small and the

         demand curve is concave, linear, or not highly convex.873



         8.4.2.        Empirical estimate

(386)    In the economics literature, it is well documented that pass-through rates can be impacted by

         economic conditions such as the competitive pressures faced by firms, the presence of

         substitutes, and consumer demand. Other real-world effects, such as a firm’s strategic desire

         to price at focal points--such as setting prices that end in .99--can also affect pass-through

        rates by reducing the number of prices a firm is willing consider when setting prices.                                         For

        example, if a firm experiences a small marginal cost decrease, the firm may be unwilling to

        lower its prices if doing so results in a new price that is not one of the firm’s focal point prices

         (e.g., $5.99 to $5.74).         As focal point prices may constrain a firm’s decision to pass through

        marginal cost savings, I first consider the evidence of focal point pricing on Steam.


(387)   I first consider the possibility that video games sold on Steam are subject to industry focal

        pricing points, such as $59.99 for a triple-A game.


(388)   Figure 7 below shows the top-10 transactions prices observed on the Steam platform.                                           The

        top ten sale prices are associated with ~ of revenues from the platform and ~ of

        transactions on the platform. Furthermore, prices ending in .99 are associated with~ of

        revenues and ~ of transactions on the Steam platform. These results suggest that focal




        870
                H~ckner, Jonas and Mathias Herzing (2016), "Welfare Effects of Taxation in Oligopolistic Markets," Journal of Economic
                Theory 163: 141-166, at 147.

        871
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 530, 531,551.

        872
                Besley, Timothy J. and Harvey S. Rosen (1999), "Sales Taxes and Prices: An Empirical Analysis," National Tax Journal 52(2):
                157-78, at 158.

        873
                Weyl, E. Glen and Michal Fabinger (2013), "Pass-Through as an Economic Tool: Principles of Incidence Under Imperfect
                Competition," Journal of Political Economy 121 (3): 528-583, at 535, 541,549.




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         point pricing is likely a consideration for a substantial number of publishers on Steam, with

         the most popular base prices being those one cent shy of integer dollar values.


                                          Figure 7: Top-lO Transaction Prices on Steam874


                                    Price (USD)                 Share of Revenue             Share of Transactions


                                       59.99


                                       19.99


                                       29.99


                                       39.99


                                       14.99


                                       9.99


                                       24.99


                                       49.99


                                       4.99


                                       17.99


                                 All other prices



(389)   Applying this to the present case, video game publishers’ and developers’ use of focal point

        pricing would likely impact the pricing mechanism by which a marginal cost savings may be

        passed through to video game purchasers.                      As an illustrative example, suppose a game that

        has a base price of $9.99 on Steam has historically been subject to Steam’s 30% commission

        rate, but eventually hits $10 million in sales after October 1, 2018 so that the game qualifies

        for a drop in the applicable commission rate to 25% on subsequent sales (see Section 3.3.4).

        Such a drop represents a marginal cost savings of approximately $0.50 to the game publisher.

        Focal point pricing could lead a publisher to reduce the price through promotional activities

        and sales as opposed to changing list prices so that the focal point price can be maintained.




        874     Shares are limited to non-Valve, non-hardware transactions that are recorded in USD and took place in the US on or after
                January 28th, 2017. In-app purchases are not associated with native sale price fields and are excluded.




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(390)    Steam’s pricing data enable a reasonable estimate of pass-through.87s                                        These data cover

         transactions on Steam from March 11, 2004 to December 31, 2022 and contain the following

         fields relevant for my analysis:




(391)


                                                                                                              .87~ I use these data to
        construct daily summaries, by package, that reflect the weighted average price of transactions

        on a given day using only data entries that reflect net positive transaction amounts and

        revenues. I exclude net return transactions from this calculation since Steam’s policy allows

        a user to seek a refund days after an initial transaction occurred, thus, net return transactions

        may reflect pricing that is no longer in effect.




        875
                Valve Transaction Data., 3/11/2004-12/31/2022. See: "04_Passthrough.R."

        876



        877




        878     Steam, Common      Refund Questions,     https://help.steampowered.com/en/faqs/view/SFDE-BA65-ACCE-A411             (accessed
                12/17/2023). ("Valve will, upon request via help.steampowered.com, issue a refund for any title that is requested within
                14 days of purchase and has been played for less than 2 hours (this includes online, offline and shared library playtime).
                Even if you fall outside of the refund rules we’ve described, you can submit a request and we’ll take a look at it.")




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(392)    The only systematic change in Steam’s commission rate I am aware of is its introduction of a

         tiered commission system in late 2018 (see Section 3.3.4). Accordingly, my analysis focuses

         on base game packages (i.e. the package associated with the game itseli) that have qualified

         for a reduction in the applicable commission rate on Steam from 30% to 25% (i.e.~ base games

         associated with a title that has had at least $10 million in revenue since October 1, 2018). I

         find that, in total, 434 games qualified for Steam’s reduced 25% commission rate.879                                        This

         change in commission rate functions as a reduction in a publisher’s marginal cost to

         distribute on Steam and thus is a reasonable way to assess potential pass-through by

         publishers. To isolate the impact from a single commission rate reduction, I exclude from the

         sample base games that subsequently transitioned to the 20% commission rate tier (i.e., base

         games associated with a title that has had at least $50 million in revenue since October 1,

         2018).88°


(393)    To account for the use of publisher focal point pricing and discounting as a possible pass-

         through mechanism (as described above), my analysis focuses on effective price changes over

         an extended period of time.              Specifically, using the daily weighted average transaction prices

         described above, I calculate the average effective daily price over the 360 days preceding the

        commission rate reduction and the first 360 days following the commission rate reduction. I

        remove base games from the sample that have revenues beginning less than 360 days before

        the commission change or revenues ending greater than 360 days after the commission

        change.       I also remove base games from the sample that have pricing/transaction data

        available for less than 50% of the days in the 720-day window around the commission rate

        change. Note that my analysis also excludes titles that may have reached the 25% commission

        rate tier soon after launch (i.e., in less than 360 days).


(394)   There are 124 base game packages that meet the above criteria.8a                                     For each base game

        package, I use the 360-day average daily price after the commission rate change to calculate

        the percentage price decrease from the 360-day average daily price prior to the commission

        rate change.882 Using the full sample, the average effective price reduction was ~ and the




        879
                Valve Transaction Data, 3/11/2004-12/31/2022. See: "04_Passthrough.R."

                This excludes titles published by Valve.

        88o
                ¯ games from publishers other than Valve transitioned to the 20% commission tier rate in Valve’s transaction data.

                Valve Transaction Data, 3/11/2004-12/31/2022. See: "04_Passthrough.R."

        881     Valve Transaction Data, 3/11/2004-12/31/2022. See: "04_Passthrough.R,"

        882     In the event that the average effective daily price increased after the commission rate change, this would be reflected by
                a negative percent (i.e., a negative decrease).




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         median effective price reduction was ~.aa3 Here. I use the median as a sample statistic

         since it is less susceptible to extreme outlier influence.


(395)    To examine the potential impact of outliers, I recalculate the average and median price

         reductions excluding games from the sample where the magnitude of the percentage price

         reduction is at least 10% in absolute value (i.e., less than or equal to -10% or greater than or

         equal to 10%). I then repeat this process using threshold values of 15%, 20%, 25%, and 30%,

         calculating the average and median price reductions in each instance. The results are shown

         in Figure 8 below.884


                                            Figure 8: Average and Median Price Changes




(396)   As can be seen above, the median value exhibits less volatility than the average value across

        samples. Thus, the use of the median values is appropriate and reasonable given the potential

        impact of price change outliers on the average values. The median price change values in the

        samples above range from ~ implying pass-through rates of approximately 20%

        to 25%.




        883
                Valve Transaction Data, 3/11/2004-12/31/2022. See: "04_Passthrough.R."

        884
                Valve Transaction Data, 3/11/2004-12/31/2022. See: "04_Passthrough.R."




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(397)    The pass-through rate of 20% to 25% on the but-for commission rate would imply an

         approximately~ consumer price reduction.88s The models I use to estimate these

         values are agnostic to the process by which one would get to this average value over time. In

         the but-for world, Valve would face increased competition. Therefore, to consider the but-for

         world, one must trace out a world in which competing platforms would have offered developers

         lower commission rates, and developers would have passed some portion of those savings on

         to consumers. This would have started long ago, when Steam did not enjoy the network effects

         or any first-mover advantage. Thus, it is not appropriate to consider whether this change in

         prices would cause users now to switch platforms. Rather, it is more appropriate to consider

         whether Steam users in the but-for world would have switched earlier on in the growth of the

         relevant market, and whether new PC gamers would have started on a lower-cost platform

         rather than join Steam.




         8.5.        Overcharge and damages

(a98)   The total overcharge imposed on game publishers by Steam is different than class-wide

         damages in this matter. Total overcharge refers to all commissions taken by Valve in excess

         of a competitive commission rate. Some publishers who are not part of the putative class may

        be included in a calculation of total overcharge, e.g., foreign publishers who sold only to

        foreign customers.


(399)   To estimate class-wide damages in this matter, I include all transactions occurring on Steam,

        except that I exclude transactions for foreign publishers who only transacted with foreign

        consumers.          That is, if a publisher based in Canada had any sales recorded with U.S.

        customers, all revenue associated with that publisher would be included. However, if another

        Canadian publisher only had charge volume within Canada, that publisher and its related

        sales would be excluded.               For U.S. publishers, all global sales are considered.                  There are

        ~ publishers meeting these criteria that also have positive net revenue over the damages

        period in Valve’s transaction data.88e Given the scope of this litigation, I limit my estimate of

        aggregate class-wide damages to transactions involving games, DLC, or in-app purchases.8~7




        88s     Calculated as:




        886
                Valve Transaction Data, 1/28/2017-12/31/23. See "05_Damages.R."

        887
                Sales associated with hardware products, undetermined product types, or Valve as a publisher are excluded from this
                aggregation.




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         8.5.1.       Overcharge and damages are calculated formulaically to estimate
                      individual putative class member damages

(400)    To estimate the damages associated with an individual putative class member, I apply a

         consistent methodoloKy to all putative class members. I begin with a given publisher’s dollar

         transaction volume (i.e., revenues) between January 28, 2017 and December 31, 2022 on the

         Steam platform as recorded in Steam’s transaction data. Because Valve has not yet produced

         data for 2023, I estimate 2023 revenues by assuming they are equal to those in 2022.                                          My

         methodoloKy is replicable and can be expanded to address later years when Valve produces

         additional transaction records in later stages of this litigation.                            This assumption is likely

         conservative, as the                                                                                     .   See Attachment

         D-5.


(401)   To determine the overcharge associated with a given commission rate, I scale the commission

        rates calculated in the transaction data by a ratio of the but-for commission rate to the overall

        effective commission rate in the damages period. 880 The effective commission rate from Valve’s

        transaction data is ~.8~9                   The but-for commission rate I calculate above is 17.7% (see

        Section 8.3.5).         Next, I multiply commissions paid to Valve by ~ to arrive at a but-for

        commission for a given commission rate.~ga Finally, to determine overcharge at a given

        commission rate,             I   subtract the       scaled but-for commission rate from the                          calculated

        commission rates.                This is equivalent to calculating the overcharge as 33.2% of the

        commissions paid.


(402)   To calculate Valve’s overcharge for an individual publisher, I begin by calculating the percent

        overcharge for that publisher.              I then apply that percent overcharge to the actual associated

        revenues. For instance, if a publisher faced a 30% commission rate for $10 million sales and




        888
                The calculations presented in this section use rounded values, though I use more precise values in my attachments. Thus,
                they may differ slightly.

        889
                Valve Transaction Data, 1/28/2017-12/31/2022. See: "05_Damages.R."

                A small share of revenue is associated with outlier calculated commission rates due to the timing of recorded partner
                payments or rounding error from small transactions. To be conservative, I calculate the above effective rate using the top
                I 5 calculated commission rates between January, 28 2017 and December 31, 2022, which account for~ of revenue in
                Valve’s transaction data over this time. The effective rate for all calculated commission rates associated with positive
                revenue is modestly higher, ate.
        890
                Valve Transaction Data, 1/28/2017-12/31/2022. See: "05_Damages.R."

                For nearly all revenue in the transaction data, this ratio is applied to the exact rate calculated using I     er payment
                information available in Valve’s transaction data.   This includes commission rates between ¯ and               as well as
                commission calculated as                  For the small share of revenue associated with outlier commission rates, rates
                below ¯ are floored at           and remain~rates are           )laced with the effective commission rate from the overall
                damages period. Rates within       ofI and~ are set              and¯, respectively.




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         a 25% commission rate for $20 million in sales, the overcharge would be ~



         ~, respectively.891 Damages for a publisher in this matter are not equal to the entire

         amount of overcharge associated with each of their titles.                        In Section 8.4.2 above, I describe

         the concept of pass-through and estimate that publishers would pass between 20% and 25%

         of savings to consumers. The remaining portion of the overcharge by Valve, between 75% and

         80%, reflects the actual harm to publishers.892


(403)    Below, I present a formula for computing the putative class members’ overcharges by Valve.

         The publishers’ overcharge is equal to the fo!lowing equation, where i indicates publisher and

        j indicates product sold:



               Overcharge = ~, Revenuei,j x (Actual Commission Ratei,j - But- For Commission Ratei,j)



(404)   The total overcharge for the entire putative class is the sum of each member’s individualized

         overcharges, which reflect their sales volume for specific product offerings.                               Consequently,

        publishers with low sales volume are associated with low overcharge estimates. Commission

        rates can vary among the titles offered by an individual publisher based on Steam’s actual

        commission structure; this calculation necessarily considers an actual and but-for rate for

        each product sold.


(405)   Note that this overcharge calculation, and thus the associated damages calculation, is

        conservative, as it only accounts for the lower commission rate.                             This calculation does not

        consider the change in quantity of sales as a result of the lower commission rate (and resulting

        lower     consumer price).             As    discussed       in   Section 4.2.2,       the    supracompetitive          Steam

        commission fee is passed through to consumers in higher game prices, reducing the volume

        of purchases made. With a lower commission rate, and thus lower game prices to consumers,

        publishers would be able to sell more games, increasing revenues through higher volume in

        addition to savings on costs.




        891




        892
                Note that I round these estimates here for simplicity. I use exact and unrounded results from my passthrough analysis in
                all calculations below. See: "04.Passthrough.R" and "05_Damages.R".




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         8.5.2.       Estimation of overcharge


         Sample calculation for Dark Catt


(406)    Dark Catt generated ~ in global revenue for its games since January 28, 2017, with a

         30% commission rate to Valve over the same time period.893 Using the calculation above, I

         calculate ~ in overcharge associated with its sales on Steam.894 Because Dark Catt is a

         US-based publisher, I only calculate one global value.



         Sample calculation for Wolfire


(407)    Wolfire Games generated $2.1 million between January 28, 2017 and December 31, 2022.89s

         Assuming 2023 revenues are equal to those in 2022, I estimate that Wolfire Games, a US-

         based publisher, generated $2.4 million in global revenues for its games between January 28,

         2017 and December 31, 2023, with a 30% commission rate to Valve over the same time

        period.~6 Using the calculation above, I calculate ~ in overcharge associated with its

         sales on Steam.~97 Because Wolfire is a US-based publisher, I only calculate one global value.



        Sample calculation for all publishers


(408)   Between January 28, 2017 and December 31, 2022, I calculate that sales involving a U.S.

        publisher or foreign publisher with any US sales generated~ in app sales and~

        ~ of in-app revenue,s~8 Assuming 2023 revenues are equal to those in 2022, I estimate

        an additional ~ and ~ in app sale and in-app revenues, respectively. At
        the varying individual commission rates determined using Valve’s transaction data, I calculate

        that the overcharge associated with these sales total to ~ and ~,

        respectively. ~99




        893
                Attachment G-6. Dark Catt did not generate revenue in 2023. See: "0S_Damages.R"

        894
                Attachment G-6.

        895
                Attachment G-6.

        896
                Attachment G-6.

        897
                Attachment G-6.

        898
                Valve Transaction Data, 1/28/2017-12/31/2022. See: "0S_Damages.R."

                Over the damages period, approximately~ of revenue was generated by packages that cannot be mapped to a valid
                ApplD using tables provided by Valve. I exclude this revenue from my overcharge calculations to be conservative.

                Attachment

        899
                Attachment




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                                                 HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY




(409)    I also calculate overcharge for all global transactions.                   From January 28, 2017 through

         December 31, 2022, publishers on Steam generated~ in app sales and~

         of in-app revenue globally.9°° Assuming revenues 2023 revenues are equal to those in 2022,

         I estimate an additional ~ and ~ in app sale and in-app revenues,

         respectively.9°1         At the     varying individual commission rates              determined using Valve’s

         transaction data, I calculate that the overcharge associated with these sales total to ~

        ~ and ~ respectively. 902



         8.5.3.      Estimation of damages

(410)    For Dark Catt, I estimate damages to be between~.9°3 Similarly, for Wolfire Games,

         I estimate damages to be between ~. 904                                              For all publishers who are

         either based in the U.S. or have any sales with U.S. customers, I estimate damages to be

         between $2.9 billion and $3.1 billion. 90s See Figure 9 below.




        9oo     Attachment G-5.

        9m
                Attachment G-5.

        9o2     Attachment G-5.

        903     Attachment G-7.

        904     Attachment G-7.

        9os     Attachment G-7.




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                             Figure 9: Estimated Damages for All Relevant Publishers

                                 and Named Plaintiffs (1/28/2017-12/31/2023) 906


                                                       Estimated Damages        Estimated Damages   Estimated Damages
          Publisher            Passthrough rate
                                                          (Package Sales)          (In-App Sales)        (Total)

        US-based or                   25%

      Foreign with Any

          US Sales                   20%



      Dark Catt Studios
                                     25%
                                                                                         I
       Holdings, Inc.
                                     20%
                                                                                         I
       Wolfire Games
                                     25%
                                                                                         I
                                     20%
                                                                                         I




906
         Attachment G-7,

         Note that results are rounded to the nearest dollar, and columns may not sum exactly.




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                                                                                              INTENSITY, LLC

OOOC I NTENSITY
              a Secretariat company
                                                                                                  Dallas, Texas

                                                                                                  469.257.5580

                                                                                                intensity.com


                                          Attachment A-1
                                                                                        Februa~ 2024


   Steven Schwartz, Ph.D.
   Managing Director


   Dr. Steven Schwartz is a Managing Director at Intensity, a Secretariat Company. With extensive
   experience in economic consulting, he has been retained as an economic expert in numerous
   litigation and non-litigation matters and has provided testimony before the U.S. International
  Trade Commission and the U.S. Tax Court, federal and state courts.


   Dr. Schwartz has over 35 years of economic consulting experience and has applied his expertise
  in high-stakes disputes related to commercial success, irreparable harm, lost profits, reasonable
  royalties, economic domestic industry considerations, and unjust enrichment.          His areas of
  expertise include:


      ¯    Antitrust and Competition

      ¯    Intellectual Property Damages and Valuation

      ¯    Damages Assessment in Complex Commercial Disputes

      ¯    Class Certification

      ¯    Securities and Finance Litigation


  Examples of Dr. Schwartz work include:

           Analysis of pricing behavior by a company that pled guilty to price fixing as a part of a
           larger conspiracy to determine the impact on the firm and to assess the portion of its
           price increases attributable to the conspiracy as opposed to non-collusive factors such
           as cost increases.

           Assessment to the damages suffered by a residential home builder and land developer as
           a result of alleged breaches of contracts and fraud by another home builder. The analysis
           included a determination of the number of homes the Plaintiff would have built and sold
           in the absence of the alleged breaches and fraud, as well as the losses the firm would
           incur as it attempted to re-enter the market, post-fraud.

           Analysis of the commercial success of a branded drug in the context of a Hatch-Waxman
           dispute; the branded drug was a late entrant into the market, i.e., after the entry of
           competitors selling generic versions of first and second-generation drugs, and Dr.
           Schwartz provided an assessment of the drug’s performance and success in the context
           of a market dominated by generic competitors.

           Analyzed the damages suffered by an aircraft manufacturer as a result of a patent
           infringement by a rival manufacturer of a component of the aircraft at issue. The royalty
           analysis considered the appropriate royalty in a case in which the infringing product was
           never sold.
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 Dr. Schwartz’s consulting background spans many industries, such as hospitality, consumer
 goods, electronics, gaming, and pharmaceuticals, among others.           He has also consulted in a
 variety of business, valuation and strategic planning issues.



 Education

 Ph.D., Economics, University of Maryland

 M.A., Economics, University of Maryland

 B.A., Economics, Wesleyan University



 Professional Experience

 Intensity, a Secretariat Company (formerly Intensity, LLC). Managing Director, 2021 to present.

 Charles River Associates, Vice President, 2015 to 2020.

Alvarez & Marsal, Global Forensic and Dispute Services, Managing Director, 2011 to 2015.

NERA Economic Consulting, Senior Vice President (Final Position}, 1984 to 2011.

Miami University, Assistant Professor of Economics, 1980 to 1984.

Federal Trade Commission, Economist, 1979 to 1980.



Publications and Papers

~’An Overview of Market Definition in the 2023 Merger Guidelines" with Jason Albert, Jessica

Dutra, Richard Manning, Anushree Subramaniam, Wei Tan, Pablo Varas and Keith Waehrer,

Secretariat Client Alert available at https: / / secretariat-intl.com/insights / an-overview-of-market-

definition-in-the-2023-merger-guidelines/, December 2023 (update to July 2023 version).


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Dutra, Richard Manning, Anushree Subramaniam, Wei Tan, Pablo Varas and Keith Waehrer,

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"The Use of Econometric and Statistical Analysis in Damages" with Jennifer Vanderhart, Richard

Brady and Aminta Raffalovich, The Guide to Damages in International Arbitration-Fifth Edition,

available      at    https://globalarbitrationreview.com/guide/the-guide-damages-in-international-

arbitration/5th-edition, December 2022.




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 "An Overview of Trade Secret Misappropriation Damages." With Christopher Gerardi and Hong

 Qiao. Trade Secret Protection: A Global Guide, 2na ed., edited by Trevor Cook, Globe Law and

 Business, June 2022.


 "Antitrust Analysis of FRAND Licensing Post-FTC v. Qualcomm," The Journal of the Antitrust and

 Unfair Competition Section of the California Lawyers Association, Volume 31, No. 1, Spring 2021

 (with Aminta Raffalovich).


 "Pricing Challenges for Hotels in a Price Parity World." The Price Point, Volume 17, Issue 2, Spring

 2017.




 Speaking Engagements

 "Don’t Squat on Your Spurs: Ethical Issues in Class Actions Involving Injury and Experts"

American Bar Association Class Action Institute, April 13, 2022.


"What Can You Prove with Statistical Evidence, or How Do I Know if All Those Numbers Are Good

or Bad", ABA Webinar Series, March 14, 2022.


"Valuing Intellectual Property in the Case of Free-to-Consumer Goods, Webinar, April 6, 2021,

and June 29, 2021.


Panelist, "Cyber Breach Aftermath: Civil Litigation, Insurance Risks and SEC Perspective",

American Bar Association Annual Meeting, Chicago, IL, August 2, 2018.


"Dealing with a Breach’s Long-Term Fallout" Corporate Counsel, March 2018.


Panel Presentation "Cyber Breach Aftermath: Civil Litigation, Insurance Claims and Regulatory

Perspective" Association of Corporate Counsel CLE Program, Chicago, IL, January 2018.


Presentation to McGuire Woods LLP, Dallas, TX, August 8, 2017.


Public Symposium, Developments in Trade Secret Protection, sponsored by United States Patent

and Trademark Office, Washington, D.C., May 8, 2017.




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 Testimony and Affidavits
            Deposition Testimony in Apple, Inc. v. Masimo Corporation and Sound United, LLC and
            Masimo Corporation and Ceracor Laboratories, Inc. v. Apple, Inc., United States District
            Court for the District of Delaware, C.A. No. 1:22-cv-01378-MN, January 2024.

      o     Trial Testimony in In the Matter of Certain Bio-Layer Interferometers and Components
            Thereof, United States International Trade Commission, Inv. No. 337-TA-1344, November
            2023.

      o     Deposition Testimony in In the Matter of Certain Bio-Layer Interferometers and
            Components Thereof, United States International Trade Commission, Inv. No. 337-TA-
            1344, May 2023.

            Deposition Testimony in World Champ Tech LLC v. Peloton Interactive, Inc., United States
            District Court, Northern District of California, San Francisco Division, Case No. 3:21-cv-
            03202-LB, April 2023

           Deposition Testimony in In Re: Google Play Store Antitrust Litigation: Match Group, LLC,
           Humor Rainbow, Inc., PlentyOfFish Media ULC, and People Media, Inc. v. Google LLC,
           GoogIe Ireland Limited, Google Commerce Limited, GoogIe Asia Pacific PTE. Limited, and
           Google Payment Corp. United States District Court, Northern District of California, Case
           Nos. 3:21-md-02981 and 3:22-cv-02746, March 2023.

           Deposition Testimony in Healthcare Recovery Group, LLC v. Coresource, Inc., In the Circuit
           Court of Cook County, Illinois, County Department, Law Division, Case No. 07-CH-
           016360, October 2022.

  o        Declaration of Steven Schwartz, Ph.D., Barrientos et al. v. CoreCivic, Inc., United States
           District Court, Middle District of Georgia, Case No. 4:18-cv-00070, October 2022.

  o        Deposition Testimony in PureCircle USA Inc. and PureCircle SDN BHD v. Sweegen, Inc.
           and Phyto Tech Corp. d/b/a Blue California, Case No. 8:18-cv-1679 JVS (JDE), United
           States District Court, Central District of California, Southern Division, January 2022.

           Deposition Testimony in BaxaIta Incorporated and BaxaIta GmbH v. Genentech Inc. and
  0
           Chugai Pharmaceutical Co., Ltd., District of Delaware, C.A. No. 17-509-TBD, August 2021.

10.        Deposition Testimony in Panasonic Corporation v. Getac Technology Corporation and
           Getac, Inc., Central District of California, Case No. 8:19-CV-01118-DOC-DFM, March
           2021.

11.        Deposition Testimony in In re. Aetna Litigation, Central District of California, Case No.
           19-cv-04035, February 2020. (Retained by counsel to KCC Class Action Services, LLC
           and Kurtzman Carson Consultants, LLC)

12.        Deposition Testimony in Impax Laboratories, Inc. v. Zydus Pharmaceuticals (USA) Inc., et
           al., United States District Court, District of New Jersey, Civil Action No. 2:17-cv-13476
           (SRC)(CLW), January 2020. (Retained by counsel to Impax Laboratories)




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 Reports

 13.       Report of Steven Schwartz, Ph.D. in Gerald Hayden v. International Business Machines
           Corporation, Pablo Suarez and St~ankar Ramamurthy, United States District Court for the
           Southern District of New York, Case No, 7:210CV-02485-VB, February 2024.

 14.       Reply Report of Steven Schwartz, Ph.D. in Apple, Inc. v. Masimo Corporation and Sound
           United, LLC and Masimo Corporation and Ceracor Laboratories, Inc. v. Apple, Inc., United
           States District Court for the District of Delaware, C.A. No. l:22-cv-01378-MN, January
           2024.

 15.       Report of Steven Schwartz, Ph.D. in Allergan, Inc., AlIergan Pharmaceuticals Ireland
           Unlimited Company, and AlIergan USA, Inc. v. Revance Therapeutics, Inc. and Ajinomoto
           Althea, Inc. d/b/ a Ajinomoto Bio-Pl~arma Services, Civil Action No. 21-1411-RGA in the
           United States District Court for the District of Delaware, December 2023.

 16.       Rebuttal Report of Steven Schwartz, Ph.D. in Apple, Inc. v. Masimo Corporation and Sound
           United, LLC and Masimo Corporation and Ceracor Laboratories, Inc. v. Apple, Inc., United
           States District Court for the District of Delaware, C.A. No. 1:22-cv-01378-MN, December
           2023.

 17.       Report of Steven Schwartz, Ph.D. in AlIergan, Inc., Allergan Pharmaceuticals Ireland
           Unlimited Company, and AIlergan USA, Inc. v. Revance Therapeutics, Inc. and Ajinomoto
           Althea, Inc. d/b/a Ajinomoto Bio-Pharma Services, Civil Action No. 21-1411-RGA in the
           United States Distriuct Court for the District of Delaware, December 2023.

 18.      Opening Report of Steven Schwartz, Ph.D. in Apple, Inc. v. Masimo Corporation and Sound
          United, LLC and Masimo Corporation and Ceracor Laboratories, Inc. v. Apple, Inc., United
          States District Court for the District of Delaware, C.A. No. 1:22-cv-01378-MN, November
          2023.

 19.      Supplemental Report of Steven Schwartz, Ph.D., Barrientos et al. v. CoreCivic, Inc. United
          States District Court, Middle District of Georgia, Case No. 4:18-cv-00070, July 2023.

20.       Report of Steven Schwartz, Ph.D., In the Matter of Certain Bio-Layer Interferometers and
          Components Thereof, United States International Trade Commission, Inv. No. 337-TA-
          1344, April 2023.

21.       Expert Report of Steven Schwartz, Ph.D., World Champ Tech LLC v. Peloton Interactive,
          Inc., United States District Court, Northern District of California, San Francisco Division,
          Case No. 3:21-cv-03202-LB, February 2023.

22.       Rebuttal Report of Steven Schwartz, Ph.D., In Re: Google Play Store Antitrust Litigation:
          Match Group, LLC, Humor Rainbow, Inc., PlentyOfFish Media ULC, and People Media, Inc.
          v. GoogIe LLC, GoogIe Ireland Limited, Google Commerce Limited, Google Asia Pacific PTE.
          Limited, and Google Payment Corp. United States District Court, Northern District of
          California, Case Nos. 3:21-md-02981 and 3:22-cv-02746. November 2022.

23.       Expert Report of Steven Schwartz, Ph.D., In Re: Google Play Store Antitrust Litigation:
          Match Group, LLC, Humor Rainbow, Inc., PlentyOfFish Media ULC, and People Media, Inc.
          v. Google LLC, Google Ireland Limited, GoogIe Commerce Limited, Google Asia Pacific PTE.
          Limited, and Google Payment Corp. United States District Court, Northern District of
          California, Case Nos. 3:21-md-02981 and 3:22-cv-02746. October 2022.



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 24.       Expert Report of Steven Schwartz, Ph.D., Healthcare Recovery Group, LLC v. Coresource,
           Inc., In the Circuit Court of Cook County, Illinois, County Department, Law Division, Case
           No. 07-CH-016360, August 2022.

 25.       Report of Steven Schwartz, Ph.D., in Between Farmers Edge, Inc. and Precision Weather
           Solutions Inc., and Between Precision Weather Solutions Inc., and Farmers Edge Inc., Wade
           Barnes, Curtis Mackinnon, and Trevor Armitrage, The Queen’s Bench Winnipeg Center,
           File No. CI 15-01-99336, March 28, 2022.

 26.       Report of Steven Schwartz, Ph.D., PureCircle USA Inc. and PureCircIe SDN BHD v.
           Sweegen, Inc. and Ptwto Tech Corp. d/b/a Blue California, United States District Court,
           Central District of California, Southern Division, Case No. 8:18-cv-1679 JVS (JDE},
           December 2021.

 27.       Expert Report of Steven Schwartz, Ph.D., Barrientos et aI. v. CoreCivic, Inc. United States
           District Court, Middle District of Georgia, Case No. 4:18-cv-00070, December 2021.

 28.       Rebuttal Expert Report of Steven Schwartz, Ph.D., Baxalta Incorporated and Baxalta
           GmbH v. Genentech Inc. and Chugai Pharmaceutical Co., Ltd., District of Delaware, C.A.
           No. 17-509-TBD, June 2021.

29.        Report of Steven Schwartz, Ph.D., Panasonic Corporation v. Getac Technology Corporation
           and Getac, Inc., Central District of California, Case No. 8:19-CV-01118-DOC-DFM, March
           2021.

30.       Rebuttal Economist’s Report of Steven Schwartz, Ph.D., In re. Aetna Litigation, Central
          District of California, Case No. 19-cv-04035, February 2020.

31.       Economist’s Report of Steven Schwartz, Ph.D., In re. Aetna Litigation, Central District of
          California, Case No. 19-cv-04035, February 2020.

32.       Expert Report of Steven Schwartz, Ph.D., Impax Laboratories, Inc. v. Zydus
          Pharmaceuticals {USA) Inc., et aI., United States District Court, District of New Jersey,
          Civil Action No. 2:17-cv- 13476 (SRC)(CLW), November 2019.

33.       Expert Report of Steven Schwartz, Ph.D., in Rebuttal to the June 14, 2019 Report of
          Matthew Hoelle and to the July 15, 2019 Report of David W. DeRamus Rockwell
          Automation, Inc., v. Radwell International, Inc., U.S. District Court, District of New Jersey,
          Case No. 1:15-cv-05246-RBK-JS, October 2019.

34.       Supplement to June 14, 2019 Expert Report of Steven Schwartz, Ph.D., Rockwell
          Automation, Inc., v. Radwell International, Inc., U.S. District Court, District of New Jersey,
          Case No. l:15-cv-05246-RBK-JS, October 2019.

35.       Expert Report of Steven Schwartz, Ph.D., in Eli Lilly and Company v. Eagle
          Pharmaceuticals, Inc., United States District Court, District of Delaware, Case Mo. 17-cv-
          1293 (MSG), June 2019.

36.       Expert Report of Steven Schwartz, Ph.D., in Rockwell Automation, Inc., v. Radwell
          International, Inc., U.S. District Court, District of New Jersey, Case No. l:15-cv-05246-
          RBK-JS, June 2019.




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 37.       Economist’s Report in Connection with Plaintiff’s Motion for Class Certification in Medbor
           Chavez, individually and on behalf of all others similarly situated v. FBL Financial Group,
           Inc., Farm Bureau Property & Casualty Ins. Co., Farm Bureau Life Insurance and Western
           Agricultural Insurance Company, U.S. District Court for the District of Kansas at Kansas
           City, Case No. 2:17-02393-DDC-ADM, May 2019.

 38.       Rebuttal Expert Witness Statement and Report of Steven Schwartz, Ph.D., in Connection
           with Hibernia v. Teza, Hibernia Express (Ireland) Limited, successor to Hibernia Atlantic
           U.S. LLC v. Teza Technologies LLC, International Chamber of Commerce, ICC Case No.
           22784/MK, June 2018.

 39.       Expert Witness Statement and Report of Steven Schwartz, Ph.D., in Connection with
           Hibernia v. Teza, Hibernia Express (Ireland) Limited, successor to Hibernia Atlantic U.S.
           LLC v. Teza Technologies LLC, International Chamber of Commerce, ICC Case No.
           22784/MK, April 2018.

 40.       Update to Expert Report of Steven Schwartz, Ph.D., D.R. Horton, Inc.-Huntsville; D.R.
           Horton, Inc. vo BreIand Homes, LLC, et aI. and Louis W. Breland, et al. v. D.R. Horton, Inc.-
           Huntsville, et al., In the Circuit Court of Baldwin County, Alabama, Case No.: 2014-cv-
           901450.00, April 2018.

41.        Rebuttal Expert Report of Steven Schwartz, Ph.D., D.R. Horton, Inc.-Huntsville; D.R.
           Horton, Inc. v. Breland Homes, LLC, et al. and Louis W. Breland, et al. v. D.R. Horton, Inc.-
           Huntsville, et al., In the Circuit Court of Baldwin County, Alabama, Case No.: 2014-cv-
           901450.00, January 2018.

42.        Rebuttal Expert Report in Connection with a Confidential Arbitration in Stockholm,
           Sweden, December 2017.

43.       Expert Report in Connection with a Confidential Arbitration in Stockholm, Sweden,
          November 2017.

44.       Expert Report of Steven Schwartz, Ph.D., D.R. Horton, Inc.-Huntsville; D.R. Horton, Inc. v.
          BreIand Homes, LLC, et al. and Louis W. Breland, et al. v. D.R. Horton, Inc.-Huntsville, et
          al., In the Circuit Court of Baldwin County, Alabama, Case No.: 2014-cv-901450.00,
          November 2017.

45.       Expert Report of Steven Schwartz, Ph.D., Boehringer IngeIheim Pharmaceuticals, Inc. et
          aI. v. HEC Pharm Co., Ltd et al., United States District Court, District of New Jersey, Civil
          Action No. 3:15-cv-05982-PGS-TJB (consolidated), October 2017.

46.       Expert Report of Steven Schwartz, Ph.D. Regarding Validity of U.S. Patent Nos.
          8,557,283; 9,089,608, 9,463,246, and 9,533,046, Impax Laboratories, Inc. v. Actavis
          Laboratories FL, Inc. and Actavis Pharma Inc., United States District Court, District of New
          Jersey, Civil Action No. 15-6934 (SRC) (CLW), September 2017.

47.       Supplemental Economist’s Report in Connection with Perrigo Company, Sergeant’s Pet
          Care Products, Inc. d/ b/ a Perrigo Animal Health, Velcera, Inc. and FidoPharm, Inc. v. Merial
          Limited d/b/a MeriaI LLC, United States District Court for the Northern District of Georgia
          (Atlanta Division), Civ. Action No.: 1:15-cv-03674 (SCJ), August 2017.




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 48.       Economist’s Report in Connection with Perrigo Company, Sergeant’s Pet Care Products,
           Inc. d/ b/ a Perrigo Animal Health, Velcera, Inc. and FidoPharm, Inc. v. Merial Limited d/ b/ a
           Merial LLC, United States District Court for the Northern District of Georgia (Atlanta
           Division), Civ. Action No.: 1:15-cv-03674 (SCJ), May 2017.

 49.       Initial Report of Steven Schwartz, Ph.D., in Connection with Select Comfort v. Tempur
           Sealy International, Inc., d/b/a Tempur-Pedic, United States District Court, District of
           Minnesota, 14-CV-00245-JNE-JSM, May 2016.

 50.       Report of Steven Schwartz, Ph.D., in Connection with Airbus Helicopters S.A.S. and Bell
           Helicopter Textron Canada Limitee, Federal Court, Docket: T-737-08, April 2016.

 51.       Initial Report in Connection with Steven C. Jacobs v. Las Vegas Sands Corp., et aI.,
           District Court, Clark County, Nevada, Case No; A-10-627691, Dept. No. XI., March 2016.

 52.       Expert Report in Thomas Skold v. GaIderma Laboratories, L.P., Galderma Laboratories,
           Inc., and Galderma, S.A., United States District Court, Eastern District of Pennsylvania,
           Case No. 2:14-cv-05280-TJS, October 2015.

 53.       Expert Report in connection with Timberline Energy, LLC v. Waste Connections of Kansas,
           Inc., Case No. 2014CV03269, District Court, City and County of Denver, State of
           Colorado, August 2015.

 54.       Expert Report in TrueCar, Inc. v. Sonic Automotive, Inc. and Sonic Divisional Operations,
           LLC, United States District Court, Central District of California (Western Division) Case
           No. 2:13-cv-05812-CBM-FFM, April 2015.

 55.       Expert Report in Virginia Forklift, Inc. v. Crown Equipment Corporation in Arbitration
           before JAMS, January 2015.

56.       Expert Report in M.B. Signal, Inc. v. AT&T/Cingular Wireless, American Arbitration
          Association Case No. 54 494 Y 00237 09, January 2014.

57.       Expert Report in Cellular Cellutions, Inc. et al. v. AT&T/Cingutar Wireless, American
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CV of Steven Schwartz, Ph.D.                                                                       Page 8
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                                    Materials Considered



     Pleadings and filings

     4/27/2021       FED. R. CIV. P. 7.1 Statement of Wolfire Games, LLC.

     6/28/2021       Class Action Complaint for Damages and Injunctive Relief.

     6/28/2021      Plaintiff Dark Catt Studios Holdings, Inc.’s and Dark Catt Studios
                    Interactive LLC’s Corporate Disclosure Statement Pursuant to FED.
                    R. CIV. P. 7.1 and LCR 7.1.

     7/6/2021       Civil Docket for Case #: 2:21-cv-00872-DWC.

     11/19/2021     Order.

     12/2o/2o21     Second Amended Consolidated Class Action Complaint.

     12/20/2021     Amended Class Action Complaint.

     3/11/2022      Dark Catt Plaintiffs’ Opposition to Motion to Dismiss Amended
                    Class Action Complaint.

     5/6/2022       Order.

     6/10/2022      Answer        and   Affirmative   Defenses     to    Amended   Class   Action
                    Complaint.

    6/10/2022       Defendant Valve Corporation’s Answer and Affirmative Defenses to
                    Second Amended Consolidated Class Action Complaint.

    7/22/2022       Civil Docket for Case #: 2:21-cv-00563-JCC.

    7/22/2022       Stipulated Motion to Consolidate Related Actions Under Local Civil
                    Rule 42.

    8/5/2022        Plaintiffs’ First Set of Requests for the Production of Documents on
                    Defendant Valve Corporation.

    8/12/2022       [Proposed] Order Regarding LCR 37 Submission RE Case Schedule
                    and Valve’s Response to Consolidated Class Action Complaint.

    8/17/2022       Plaintiffs’    First   Set   of   Interrogatories     to   Defendant   Valve
                    Corporation.




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     8/22/2o22      Stipulated Motion for Entry of Case Schedule.

     8/26/2o22      Consolidated Amended Class Action Complaint.

     9/16/2022     Valve Corporation’s Responses and Objections to Plaintiffs’ First Set
                   of Interrogatories.

     9/20/2022     Valve Corporation’s Responses and Objections to Plaintiffs’ First Set
                   of Requests for Production of Documents.

     9/23/2o22     Defendant Valve Corporation’s Answer and Affirmative Defenses to
                   Consolidated Amended Class Action Complaint.

     11/29/2o22    Plaintiffs’ Second Set of Requests for the Production of Documents
                   on Defendant Valve Corporation.

     1/13/2023     ArenaNet, LLC Subpoena to Produce Documents, Information, or

                   Objects or to Permit Inspection of Premises in a Civil Action.

     1/13/2023     Electronic Arts, Inc. Subpoena to Produce Documents, Information,
                   or Objects or to Permit Inspection of Premises in a Civil Action.

     1/13/2023     NC Interactive, LLC Subpoena to Produce Documents, Information,
                   or Objects or to Permit Inspection of Premises in a Civil Action.

     1/13/2023     Roblox Corporation Subpoena to Produce Documents, Information,
                   or Objects or to Permit Inspection of Premises in a Civil Action.

     1/13/2023     Ubisoft, Inc. Subpoena to Produce Documents, Information, or
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     1/17/2023     Notice of Subpoenas to Produce Documents.

     1/17/2023     NC   West      Holdings,     Inc.    Subpoena          to   Produce   Documents,
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                   Action.

     1/17/2023     Riot Games, Inc. Subpoena to Produce Documents, Information, or
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     1/17/2023     Take-Two       Interactive     Software,      Inc.      Subpoena      to   Produce
                   Documents, Information, or Objects or to Permit Inspection of
                   Premises in a Civil Action.

    1/2o/2o23      Nexon America, Inc. Subpoena to Produce Documents, Information,
                   or Objects or to Permit Inspection of Premises in a Civil Action.



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      1/20/2023    Nintendo      of America        Inc.    Subpoena        to   Produce   Documents,
                   Information, or Objects or to Permit Inspection of Premises in a Civil
                   Action.

     1/20/2023     Smilegate       Megaport        US     Subpoena        to    Produce   Documents,
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                   Action.

     1/20/2023     Sony Corporation of America Subpoena to Produce Documents,
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     1/27/2023     Plaintiffs’    Second     Set    of    Interrogatories       to   Defendant    Valve
                   Corporation.

     1/27/2023     Valve Corporation’s Supplemental Response to Interrogatory No. 1.

     1/30/2023     Notice of Issuance of Subpoenas to Produce Documents.

     3/13/2023     Valve Corporation’s Responses and Objections to Plaintiffs’ Second
                   Set of Interrogatories.

     3/23/2023     Consolidated Second Amended Class Action Complaint.

     5/1/2023      Stipulated Motion to Modify Case Schedule.

     5/8/2o23      Email Regarding Valve’s Interrogatory Objections and Responses.

     6/9/2023      Plaintiffs’ Third Set of Requests for the Production of Documents on
                   Defendant Valve Corporation.

    6/20/2023      Plaintiffs’   Third     Set     of    Interrogatories        to   Defendant   Valve
                   Corporation.

    7/5/2023       Valve Corporation’s Supplemental Responses and Objections to
                   Plaintiffs’ Second Set of Interrogatories.

    7/12/2023      Plaintiffs’ Fourth set of Requests for the Production of Documents
                   on Defendant Valve Corporation.

    7/14/2023      Plaintiffs’   Fourth     Set    of     Interrogatories       to   Defendant   Valve
                   Corporation.

    7/14/2023      Plaintiffs’ Fourth Set of Requests for the Production of Documents
                   on Defendant Valve Corporation.




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     7/20/2023     Valve Corporation’s Responses and Objections to Plaintiffs’ Third
                    Set of Interrogatories.

     8/14/2023     Valve Corporation’s Responses and Objections to Plaintiffs’ Fourth
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     8/23/2023     Plaintiffs’ Notice of FED. R. CIV. P. 30(B)(6) Deposition to Defendant
                   Valve Corporation.

     9/15/2023     Valve Corporation’s Supplemental Responses and Objections to
                   Plaintiffs’ Third Set of Interrogatories.

     9/15/2023     Valve    Corporation’s      Second      Supplemental         Responses       and
                   Objections to Plaintiffs’ Second Set of Interrogatories.

     10/31/2023    Plaintiffs’ First Set of Requests for Admission to Defendant Valve
                   Corporation.

     10/31/2023    Plaintiffs’ Fifth Set of Requests for the Production of Documents to
                   Defendant Valve Corporation.

     11/30/2023    Valve Corporation’s Responses and Objections to Plaintiffs’ First Set
                   of Requests for Admission.

     1/12/2o24     Stipulated Motion to Modify Case Schedule.


    Valveletters

     i/6/2023      Valve   Corporation’s      Letter   Regarding       Plaintiffs’   Requests    for
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    3/10/2023      Valve Corporation’s Letter Regarding Plaintiffs’ Remaining Issues
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    3/22/2023      Valve Corporation’s Letter Regarding Transactional Data.

    3/31/2023      Valve Corporation’s Letter Regarding Production of Transactional
                   Data.

    6/2/2023       Valve Corporation’s Letter Regarding Summary of Transactional
                   Data Negotiations.

    10/6/2023      Valve   Corporation’s      Letter   Regarding       Plaintiffs’   Request     for

                   Production and Request for Answers.

    10/17/2023     Valve Corporation’s Letter Regarding Confidentiality Breach.



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     Undated          Valve Corporation’s Package Rollup Finance Daily List.


     Interviews

     Joost Rietveld, Ph.D., Associate Professor at University College London School of
     Management, 1/26/2024.

     David Rosen, Wolfire Games, CEO and Lead Programmer, 2/1/2024.

     John Robb, Dark Catt Studios, Chief Executive Officer, 2/5/2024.


     Deposition testimony

     Nathaniel Blue         Valve   Corporation,      Steam     Business       Team,    10/4/2023,
                            Exhibits 76-96.

     Antal Bokor            Third Coast Review, Games and Tech Editor, 10/17/2023,
                            Exhibits 1-27.

     Chris Boyd             Valve    Corporation,       Software         Developer,    11/17/2023,
                            Exhibits 309-313.

     Chris Boyd 30(b)(6}    Valve Corporation, Software Developer, 11/! 7/2023, Exhibit
                            314.

    Tom Bui                 Valve Corporation, Developer,           11/6/2023, Exhibits 205-
                            227.

    Augusta Butlin          Valve   Corporation,     Steam Business Team,              10/11/2023,

                            Exhibits 59, 119-131.

    A1 Farnsworth          Valve Corporation, Software Engineer, 11/7/2023, Exhibits
                            228-242.

    A1 Farnsworth 30(b)(6} Valve Corporation, Software Engineer, 11/7/2023, Exhibit

                            53.

    Adam Fossa             Microsoft Corporation, Director and General Manager of the

                           Microsoft Store, 1/29/2024.

    Kassidy Gerber         Valve    Corporation,     Steam      Business      Team,    10/5/2023,
                           Exhibits 97-118.

    Tom Giardino           Valve    Corporation,     Steam      Business      Team,    11/2/2023,
                           Exhibits 178-199.



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     Erik Johnson           Valve Corporation, N/A, 9/26/2023, Exhibits 22-28.

     Adam Klaff             Valve Corporation, Steam Business Team, 11/14/2023.

     Alden Kroll            Valve    Corporation,     Steam Business Team,         11/16/2023,
                            Exhibits 242-304.

     Tyler Leutner          Dark Catt, former Sound Engineer, 10/16/2023, Exhibits 1-
                            6.

     Jane Lo                Valve Corporation, Finance, 11/28/2023.

     Andrew Loomer 30(b){6)Valve Corporation, Business Support, 11/3/2023, Exhibits

                            200-204.

     Scott Lynch            Valve Corporation, Chief Operating Officer,            10/12/2023,
                            Exhibits 132-144.

     Scott Lynch 30(b)(6)   Valve Corporation, Chief Operating Officer,            10/13/2023,
                            Exhibits 145-160.

     ConnorMalone           Valve    Corporation,     Steam     Business   Team,    11/8/2023,
                            Exhibits 243-272.

     Kristian Miller        Valve Corporation, Data Science and Software Development,

                            10/3/2023, Exhibits 66-75.

    Merlyn Morgan-Graham Wolfire Games, former Producer, 11/15/2023.

    Gabe Newell             Valve Corporation, Chief Executive Officer,            11/21/2023,
                            Exhibits 349-366.

    Matt Nickerson          Devolver,    Head    of Business       Development,    11/20/2023,
                            Exhibit 337.

    Jason Owens             Dark Catt, Business Development, 12/5/2023, Exhibits 1-
                            41.

    Erik Peterson           Valve   Corporation,     Steam Business Team,          11/15/2023,
                            Exhibits 68-296.

    DJ Powers               Valve   Corporation,      Steam     Business   Team,   9/28/2023,
                            Exhibits 24-52.

    DJ Powers 30(b)(6)      Valve   Corporation,      Steam     Business   Team,   9/29/2023,
                            Exhibits 53-65.




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     John Robb                Dark Catt, Chief Executive Officer, 11/28/2023.

     David Rosen              Wolfire Games, CEO and Lead Programmer,                   12/1/2023,
                              Exhibits 64-82.

     David Rosen 30(b)(6)     Wolfire Games, CEO and Lead Programmer, 11/30/2023.

     Jeffrey Rosen            Wolfire Games, President, 11/17/2023, Exhibits 1-11.

     Jason Ruymen             Valve Corporation, Third-Party Games Support, 9/19/2023,
                              Exhibits 1-21.

     Chris Schenck            Valve Corporation, In-House Counsel, 12/8/2023, Exhibits

                              382,387.

     Lisa Strago              Valve Corporation, Finance Team (Tax), 12 / 12 / 2023.

     Jacob Troyer             Dark Cart, former Game Programmer, 11/27/2023.

     Ricky Uy                 Valve     Corporation,        former         Business   Development,

                              10/24/2023, Exhibits 161-177.


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    AB-VALVE-000036                                  EPIC_VALVE_0000364

    AB-VALVE-000072                                  EPIC_VALVE_0000390

    AB-VALVE-000117                                  EPIC_VALVE_0000391

    AMZ00000384                                      EPIC_VALVE_0000392

    AMZ00000433                                      EPIC_VALVE_0000393

    AMZ_VOL002                                       EPIC_VALVE_0000394

    DARKCATT_0000005                                 EPIC_VALVE_0000396

    DARKCATT_0000039                                 EPIC_VALVE_0000399

    DARKCATT_0000167                                 EPIC_VALVE_0000402

    DARKCATT_0000429                                 EPIC_VALVE_0000405

    DARKCATT_0000448                                 EPIC_VALVE_0000408

    DARKCATT_0001084                                 EPIC_VALVE_0000409

    DARKCATT_0006449                                 EPIC_VALVE_0000411

    DARKCATT_0010304                                 EPIC_VALVE_0000414

    DARKCATT_0019817                                 EPIC_VALVE_0000417

    EPIC_VALVE_0000001                               EPIC_VALVE_0000420

    EPIC_VALVE_0000002                               EPIC_VALVE_0000424

    EPIC_VALVE_0000004                               EPIC_VALVE_0000428

    EPIC_VALVE_0000007                               EPIC_VALVE_0000432

    EPIC_VALVE_0000009                               EPIC_VALVE_0000436

    EPIC_VALVE_0000013                               EPIC_VALVE_0000440

    EPIC_VALVE_0000058                               EPIC_VALVE_0000444

    EPIC_VALVE_0000073                               EPIC_VALVE_0000448

    EPIC_VALVE_0000309                               EPIC_VALVE_0000453

    EPIC_VALVE_0000336                               EPIC_VALVE_0000458

    EPIC_VALVE_0000338                               EPIC_VALVE_0000463



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     EPIC_VALVE_0000468                                EPIC_VALVE_0000658

     EPIC_VALVE_0000473                                EPIC_VALVE_0000666

     EPIC_VALVE_0000478                                EPIC_VALVE_0000673

     EPIC_VALVE_0000484                                EPIC_VALVE_0000681

     EPIC_VALVE_0000490                                EPIC_VALVE_0000682

     EPIC_VALVE_0000496                                EPIC_VALVE_0000689

    EPIC_VALVE_0000502                                 EPIC_VALVE_0000698

    EPIC_VALVE_0000508                                 EPIC_VALVE_0000701

    EPIC_VALVE_0000514                                 EPIC_VALVE_0000704

    EPIC_VALVE_0000521                                 EPIC_VALVE_0000705

    EPIC_VALVE_0000528                                 EPIC_VALVE_0000707

    EPIC_VALVE_0000535                                 EPIC_VALVE_0000712

    EPIC_VALVE_0000542                                 HB_WOLFIRE000002

    EPIC_VALVE_0000549                                 HB_WOLFIRE000004

    EPIC_VALVE_0000557                                 HB_WOLFIRE000005

    EPIC_VALVE_0000565                                 HB_WOLFIRE000006

    EPIC_VALVE_0000573                                 HB_WOLFIRE000007

    EPIC_VALVE_0000581                                 HB_WOLFIRE000008

    EPIC_VALVE_0000589                                 HB_WOLFIRE000009

    EPIC_VALVE_0000598                                 HB_WOLFIRE000445

    EPIC_VALVE_0000606                                 MSFT_VALVE_000000001

    EPIC_VALVE_0000614                                 MSFT_VALVE_000000016

    EPIC_VALVE_0000623                                 MSFT_VALVE_000000030

    EPIC_VALVE_0000630                                 MSFT_VALVE_000000036

    EPIC_VALVE_0000636                                 MSFT_VALVE_000000037

    EPIC_VALVE_0000644                                 MSFT_VALVE_000000038

    EPIC_VALVE_0000652                                 MSFT_VALVE_000000039



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     MSFT_VALVE_000000040                            MSFT_VALVE_000000082

     MSFT_VALVE_000000041                            MSFT_VALVE_000000084

     MSFT_VALVE_000000042                            MSFT_VALVE_000000086

     MSFT_VALVE_000000043                            MSFT_VALVE_000000088

     MSFT_VALVE_000000044                            MSFT_VALVE_000000090

     MSFT_VALVE_000000045                            MSFT_VALVE_000000092

     MSFT_VALVE_000000046                            MSFT_VALVE_000000094

    MSFT_VALVE_000000047                             MSFT_VALVE_000000096

    MSFT_VALVE_000000048                             MSFT_VALVE_000000098

    MSFT_VALVE_000000049                             M SFT_VALVE_000000100

    MSFT_VALVE_000000050                             MSFT_VALVE_000000102

    MSFT_VALVE_000000051                             MSFT_VALVE_000000104

    MSFT_VALVE_000000052                             MSFT_VALVE_000000106

    MSFT_VALVE_000000054                             MSFT_VALVE_000000108

    MSFT_VALVE_000000056                             MSFT_VALVE_000000110

    MSFT_VALVE_000000058                             MSFT_VALVE_000000112

    MSFT_VALVE_000000060                             MSFT_VALVE_000000114

    MSFT_VALVE_000000062                             MSFT_VALVE_000000116

    MSFT_VALVE_000000064                             MSFT_VALVE_000000118

    MSFT_VALVE_000000066                             M SFT_VALVE_000000120

    MSFT_VALVE_000000068                             MSFT_VALVE_000000122

    MSFT_VALVE_000000070                             MSFT_VALVE_000000124

    MSFT_VALVE_000000072                             MSFT_VALVE_000000126

    MSFT_VALVE_000000074                             MSFT_VALVE_000000128

    MSFT_VALVE_000000076                             MSFT_VALVE_000000130

    MSFT_VALVE_000000078                             MSFT_VALVE_000000132

    MSFT_VALVE_000000080                             MSFT_VALVE_000000134



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     MSFT_VALVE_000000136                           MSFT_VALVE_O00000198

     MSFT_VALVE_000000138                           MSFT_VALVE_000000200

     MSFT_VALVE_000000140                           MSFT_VALVE_000000202

     MSFT_VALVE_000000142                           MSFT_VALVE_O00000204

     MSFT_VALVE_000000144                           MSFT_VALVE_000000206

     MSFT_VALVE_000000146                           MSFT_VALVE_000000208

     MSFT_VALVE_000000148                           MSFT_VALVE_000000210

     MSFT_VALVE_000000150                           MSFT_VALVE_O00000212

     MSFT_VALVE_000000154                           MSFT_VALVE_000000214

     MSFT_VALVE_000000158                           MSFT_VALVE_000000216

     MSFT_VALVE_000000160                           MSFT_VALVE_000000218

    MSFT_VALVE_000000162                            MSFT_VALVE_000000220

     MSFT_VALVE_000000164                           MSFT_VALVE_000000222

    MSFT_VALVE_000000166                            MSFT_VALVE_000000224

    MSFT_VALVE_000000168                            MSFT_VALVE_000000226

    MSFT_VALVE_000000170                            MSFT_VALVE_000000228

    MSFT_VALVE_000000172                            MSFF_VALVE_000000230

    MSFT_VALVE_000000174                            MSFT_VALVE_000000232

    MSFT_VALVE_000000176                            MSFT_VALVE_000000234

    MSFT_VALVE_000000178                            MSFT_VALVE_000000236

    MSFT_VALVE_000000180                            MSFT_VALVE_000000238

    MSFT_VALVE_000000182                            MSFT_VALVE_000000240

    MSFT_VALVE_000000186                            MSFT_VALVE_000000242

    MSFT_VALVE_000000190                            MSFT_VALVE_000000244

    MSFT_VALVE_000000192                            MSFT_VALVE_000000246

    MSFT_VALVE_000000194                            MSFT_VALVE_000000248

    MSFT_VALVE_000000196                            MSFT_VALVE_000000250



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     MSFT_VALVE_000000252                            MSFT_VALVE_000000306

     MSFT_VALVE_000000254                            MSFT_VALVE_000000308

     MSFT_VALVE_000000256                            MSFT_VALVE_000000310

     MSFT_VALVE_000000258                            MSFT_VALVE_000000312

     MSFT_VALVE_000000260                            MSFT_VALVE_000000314

     MSFT_VALVE_000000262                            MSFT_VALVE_000000316

     MSFT_VALVE_000000264                            MSFT_VALVE_000000318

     MSFT_VALVE_000000266                            MSFT_VALVE_000000320

    MSFT_VALVE_000000268                             MSFT_VALVE_000000322

    MSFT_VALVE_000000270                             MSFT_VALVE_000000323

    MSFT_VALVE_000000272                             MSFT_VALVE_000000325

    MSFT_VALVE_000000274                             MSFT_VALVE_000000327

    MSFT_VALVE_000000276                             MSFT_VALVE_000000329

    MSFT_VALVE_000000278                             MSFT_VALVE_000000331

    MSFT_VALVE_O00000280                             MSFT_VALVE_000000333

    MSFT_VALVE_000000282                             MSFT_VALVE_000000335

    MSFT_VALVE_000000284                             MSFT_VALVE_000000337

    MSFT_VALVE_000000286                             MSFT_VALVE_O00000339

    MSFT_VALVE_000000288                             MSFT_VALVE_000000341

    MSFT_VALVE_000000290                             MSFT_VALVE_000000343

    MSFT_VALVE_000000292                             MSFT_VALVE_000000345

    MSFT_VALVE_000000294                             MSFT_VALVE_000000347

    MSFT_VALVE_000000296                             MSFT_VALVE_000000349

    MSFT_VALVE_000000298                             MSFT_VALVE_000000351

    MSFT_VALVE_000000300                             MSFT_VALVE_000000353

    MSFT_VALVE_000000302                             MSFT_VALVE_000000355

    MSFT_VALVE_000000304                             MSFT_VALVE_000000357



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     MSFT_VALVE_000000359                            MSFT_VALVE_000000412

     MSFT_VALVE_000000361                            MSFT_VALVE_000000413

     MSFT_VALVE_000000363                            MSFT_VALVE_000000414

     MSFT_VALVE_000000365                            MSFT_VALVE_000000415

     MSFT_VALVE_000000367                            MSFT_VALVE_000000416

     MSFT_VALVE_000000369                            MSFT_VALVE_000000417

     MSFT_VALVE_000000371                            MSFT_VALVE_000000418

     MSFT_VALVE_000000373                            MSFT_VALVE_000000419

     MSFT_VALVE_000000375                            MSFT_VALVE_000000420

     MSFT_VALVE_000000377                            MSFT_VALVE_000000421

     MSFT_VALVE_000000379                            MSFT_VALVE_000000422

     MSFT_VALVE_000000380                            MSFT_VALVE_000000423

     MSFT_VALVE_000000382                            MSFT_VALVE_000000424

     MSFT_VALVE_000000384                            MSFT_VALVE_000000425

    MSFT_VALVE_000000386                             MSFT_VALVE_000000426

    MSFT_VALVE_000000388                             MSFT_VALVE_000000427

    MSFT_VALVE_000000390                             MSFT_VALVE_000000428

    MSFT_VALVE_000000392                             MSFT_VALVE_000000429

    MSFT_VALVE_000000394                             MSFT_VALVE_000000430

    MSFT_VALVE_000000396                             MSFT_VALVE_O00000431

    MSFT_VALVE_000000398                             MSFT_VALVE_000000432

    MSFT_VALVE_000000400                             MSFT_VALVE_000000433

    MSFT_VALVE_000000404                             MSFT_VALVE_000000434

    MSFT_VALVE_000000405                             MSFT_VALVE_000000435

    MSFT_VALVE_000000406                             MSFT_VALVE_000000436

    MSFT_VALVE_000000410                             MSFT_VALVE_000000437

    MSFT_VALVE_000000411                             MSFT_VALVE_000000438



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     MSFT_VALVE_000000439                            MSFT_VALVE_000000466

     MSFT_VALVE_000000440                            MSFT_VALVE_000000467

     MSFT_VALVE_000000441                            MSFT_VALVE_000000468

     MSFT_VALVE_000000442                            MSFT_VALVE_000000469

     MSFT_VALVE_000000443                            MSFT_VALVE_000000470

     MSFT_VALVE_000000444                            MSFT_VALVE_000000471

     MSFT_VALVE_000000445                            MSFT_VALVE_000000472

     MSFT_VALVE_000000446                            MSFT_VALVE_000000473

     MSFT_VALVE_000000447                            MSFT_VALVE_000000474

     MSFT_VALVE_000000448                            MSFT_VALVE_000000475

     MSFT_VALVE_000000449                            MSFT_VALVE_000000476

     MSFT_VALVE_000000450                            MSFT_VALVE_000000477

     MSFT_VALVE_000000451                            MSFT_VALVE_000000478

    MSFT_VALVE_000000452                             MSFT_VALVE_000000479

    MSFT_VALVE_000000453                             MSFT_VALVE_000000480

    MSFT_VALVE_000000454                             MSFT_VALVE_000000481

    MSFT_VALVE_000000455                             MSFT_VALVE_000000482

    MSFT_VALVE_000000456                             MSFT_VALVE_000000483

    MSFT_VALVE_000000457                             MSFT_VALVE_000000484

    MSFT_VALVE_000000458                             MSFT_VALVE_000000485

    MSFT_VALVE_000000459                             MSFT_VALVE_000000486

    MSFT_VALVE_000000460                            MSFT_VALVE_000000487

    MSFT_VALVE_000000461                            MSFT_VALVE_000000488

    MSFT_VALVE_000000462                            MSFT_VALVE_000000489

    MSFT_VALVE_000000463                            MSFT_VALVE_000000490

    MSFT_VALVE_000000464                            MSFT_VALVE_000000491

    MSFT_VALVE_000000465                            MSFT_VALVE_000000492



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     MSFT_VALVE_000000493                           MSFT_VALVE_000000524

     MSFT_VALVE_000000494                           MSFT_VALVE_000000525

     MSFT_VALVE_000000495                           MSFT_VALVE_000000526

     MSFT_VALVE_000000496                           MSFT_VALVE_000000527

     MSFT_VALVE_000000497                           MSFT_VALVE_000000528

    MSFT_VALVE_000000498                            MSFT_VALVE_000000529

    MSFT_VALVE_000000499                            MSFT_VALVE_000000530

    MSFT_VALVE_000000500                            MSFT_VALVE_000000531

    MSFT_VALVE_000000501                            MSFT_VALVE_000000532

    MSFT_VALVE_000000502                            MSFT_VALVE_000000533

    MSFT_VALVE_000000503                            MSFT_VALVE_000000534

    MSFT_VALVE_000000504                            MSFT_VALVE_000000535

    MSFT_VALVE_000000505                            MSFT_VALVE_000000536

    MSFT_VALVE_000000506                            MSFT_VALVE_000000537

    MSFT_VALVE_000000507                            MSFT_VALVE_000000538

    MSFT_VALVE_000000508                            MSFT_VALVE_000000539

    MSFT_VALVE_000000510                            MSFT_VALVE_000000540

    MSFT_VALVE_000000511                            MSFT_VALVE_000000541

    MSFT_VALVE_000000512                            MSFT_VALVE_000000542

    MSFT_VALVE_000000514                            MSFT_VALVE_000000546

    MSFT_VALVE_000000515                            MSFT_VALVE_000000550

    MSFF_VALVE_000000516                            MSFT_VALVE_000000552

    MSF~_VALVE_000000518                            MSFT_VALVE_000000554

    MSFT_VALVE_000000520                            MSFT_VALVE_000000555

    MSFT_VALVE_000000521                            MSFT_VALVE_000000558

    MSFT_VALVE_000000522                            MSFT_VALVE_000000561

    MSFT_VALVE_000000523                            M SFT_VALVE_000000577



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     MSFT_VALVE_000000579                           NCI_VALVE_0000044

     MSFT_VALVE_000000593                           NCI_VALVE_0000045

     MSFT_VALVE_000000594                           NCI_VALVE_0000046

     MSFT_VALVE_000000596                           NCI_VALVE_0000047

     MSFT_VALVE_000000599                           NCI_VALVE_0000048

     MSFT_VALVE_000000603                           NCI_VALVE_0000049

     MSFT_VALVE_000000608                           NCI_VALVE_0000050

     MSFT_VALVE_000000610                           NCI_VALVE_0000051

     MSFT_VALVE_000000614                           NCI_VALVE_0000052

    MSFT_VALVE_000000618                            NCI_VALVE_0000053

    NCI_VALVE_002                                   NCI_VALVE_0000054

    NCI_VALVE_0000001                               NCI_VALVE_0000055

    NCI_VALVE_0000010                               NCI_VALVE_0000056

    NCI_VALVE_0000025                               NCI_VALVE_0000057

    NCI_VALVE_0000026                               NCI_VALVE_0000058

    NCI_VALVE_0000027                               NCI_VALVE_0000059

    NCI_VALVE_0000033                               NCI_VALVE_0000060

    NCI_VALVE_0000034                               NCI_VALVE_0000061

    NCI_VALVE_0000035                               NCI_VALVE_0000062

    NCI_VALVE_0000036                               NCI_VALVE_0000063

    NCI_VALVE_0000037                               NCI_VALVE_0000064

    NCI_VALVE_0000038                               NCI_VALVE_0000065

    NCI_VALVE_0000039                               NCI_VALVE_0000066

    NCI_VALVE_0000040                               NCI_VALVE_0000067

    NCI_VALVE_0000041                               NCI_VALVE_0000068

    NCI_VALVE_0000042                               NCI_VALVE_0000069

    NCI_VALVE_0000043                               NCI_VALVE_0000070



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     NCI_VALVE_0000071                                NCI_VALVE_0000098

     NCI_VALVE_0000072                                NCI_VALVE_0000099

     NCI_VALVE_0000073                                NCI_VALVE_0000100

     NCI_VALVE_0000074                                NCI_VALVE_0000101

     NCI_VALVE_0000075                                NCI_VALVE_0000102

     NCI_VALVE_0000076                                NCI_VALVE_0000103

     NCI_VALVE_0000077                                NCI_VALVE_0000104

     NCI_VALVE_0000078                                NCI_VALVE_0000105

     NCI_VALVE_0000079                                NCI_VALVE_0000106

     NCI_VALVE_0000080                                NCI_VALVE_0000107

    NCI_VALVE_0000081                                 NCI_VALVE_0000108

    NCI_VALVE_0000082                                 NCI_VALVE_0000109

    NCI_VALVE_0000083                                 NCI_VALVE_0000110

    NCI_VALVE_0000084                                 NCI_VALVE_0000111

    NCI_VALVE_0000085                                 NCI_VALVE_0000112

    NCI_VALVE_0000086                                 NCI_VALVE_0000113

    NCI_VALVE_0000087                                 NCI_VALVE_0000114

    NCI_VALVE_0000088                                 NCI_VALVE_0000115

    NCI_VALVE_0000089                                 NCI_VALVE_0000116

    NCI_VALVE_0000090                                 NCI_VALVE_0000117

    NCI_VALVE_0000091                                 NCI_VALVE_00001 t8

    NCI_VALVE_0000092                                 NCI_VALVE_0000119

    NCI_VALVE_0000093                                 NCI_VALVE_0000120

    NCI_VALVE_0000094                                 NCI_VALVE_0000121

    NCI_VALVE_0000095                                 NCI_VALVE_0000122

    NCI_VALVE_0000096                                 NCI_VALVE_0000123

    NCI_VALVE_0000097                                 NCI_VALVE_0000124



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    NCI_VALVE_0000125                                NCI_VALVE_0000152

    NCI_VALVE_0000126                                NCI_VALVE_0000153

    NCI_VALVE_0000127                                NCI_VALVE_0000154

    NCI_VALVE_0000128                                NCI_VALVE_0000155

    NCI_VALVE_0000129                                NCI_VALVE_0000156

    NCI_VALVE_0000130                                NCI_VALVE_0000157

    NCI_VALVE_0000131                                NCI_VALVE_0000158

    NCI_VALVE_0000132                                NCI_VALVE_0000159

    NCI_VALVE_0000133                                NCI_VALVE_0000160

    NCI_VALVE_0000134                                NCI_VALVE_0000161

    NCI_VALVE_0000135                                NCI_VALVE_0000162

    NCI_VALVE_0000136                                NCI_VALVE_0000163

    NCI_VALVE_0000137                                NCI_VALVE_0000164

    NCI_VALVE_0000138                                NCI_VALVE_0000165

    NCI_VALVE_0000139                                NCI_VALVE_0000166

    NCI_VALVE_0000140                                N CI_VALVE_0000167

    NCI_VALVE_0000141                                NCI_VALVE_0000168

    NCI_VALVE_0000142                                NCI_VALVE_0000169

    NCI_VALVE_0000143                                NCI_VALVE_0000170

    NCI_VALVE_0000144                                NCI_VALVE_0000171

    NCI_VALVE_0000145                                NCI_VALVE_0000172

    NCI_VALVE_0000146                                NCI_VALVE_0000173

    NCI_VALVE_0000147                                NCI_VALVE_0000174

    NCI_VALVE_0000148                                NCI_VALVE_0000175

    NCI_VALVE_0000149                                NCI_VALVE_0000176

    NCI_VALVE_0000150                                NCI_VALVE_0000177

    NCI_VALVE_0000151                                NCI_VALVE_0000178



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     NCI_VALVE_0000179                                NOA-VALVE-000252

     NCI_VALVE_0000180                                NOA-VALVE-000294

     NC[_VALVE_0000181                                TAKE2-00000002

    NCI_VALVE_0000182                                 TAKE2-00000045

    NCI_VALVE_0000183                                 TAKE2-00000066

    NCI_VALVE_0000184                                 VALVE_ANT_0000037

    NCI_VALVE_0000185                                 VALVE_ANT_0000072

    NCI_VALVE_0000186                                 VALVE_ANT_0000393

    NCI_VALVE_0000187                                 VALVE_ANT_0000396

    NCI_VALVE_0000188                                 VALVE_ANT_0000426

    NCI_VALVE_0000189                                 VALVE_ANT_0008336

    NCI_VALVE_0000190                                 VALVE_ANT_0019400

    NCI_VALVE_0000191                                 VALVE_ANT_0019410

    NCI_VALVE_0000192                                 VALVE_ANT_0019423

    NCI_VALVE_0000193                                 VALVE_ANT_0019532

    NCI_VALVE_0000194                                 VALVE_ANT_0019669

    NCI_VALVE_0000195                                 VALVE_ANT_0019671

    NCI_VALVE_0000196                                 VALVE_ANT_0019692

    NCI_VALVE_0000197                                 VALVE_ANT_0019696

    NCI_VALVE_0000198                                 VALVE_ANT_0019716

    NCI_VALVE_0000199                                 VALVE_ANT_0019719

    NCI_VALVE_0000200                                 VALVE_ANT_0019722

    NCI_VALVE_0000201                                 VALVE_ANT_0019732

    NCI_VALVE_0001245                                 VALVE_ANT_0019854

    NCI_VALVE_0001339                                 VALVE_ANT_0019872

    NCI_VALVE_0001340                                 VALVE_ANT_0019920

    NCI_VALVE_0006120                                 VALVE_ANT_0019961



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     VALVE_ANT_0019978                                 VALVE_ANT_0022975

     VALVE_ANT_0019979                                 VALVE_ANT_0023003

     VALVE_ANT_0019985                                 VALVE_ANT_0023865

     VALVE_ANT_0019991                                 VALVE_ANT_0023866

     VALVE_ANT_0020235                                 VALVE_ANT_0023868

     VALVE_ANT_0020270                                VALVE_ANT_0023870

    VALVE_ANT_0020330                                 VALVE_ANT_0023872

    VALVE_ANT_0020757                                 VALVE_ANT_0023882

    VALVE_ANT_0021027                                 VALVE_ANT_0023885

    VALVE_ANT_0021031                                 VALVE_ANT_0023896

    VALVE_ANT_0021035                                 VALVE_ANT_0023898

    VALVE_ANT_0021041                                 VALVE_ANT_0023900

    VALVE_ANT_0021042                                 VALVE_ANT_0024431

    VALVE_ANT_0021047                                 VALVE_ANT_0024464

    VALVE_ANT_0021080                                 VALVE_ANT_0024978

    VALVE_ANT_0021186                                 VALVE_ANT_0024989

    VALVE_ANT_0021199                                 VALVE_ANT_0025022

    VALVE_ANT_0021209                                 VALVE_ANT_0025529

    VALVE_ANT_0021295                                 VALVE_ANT_0026070

    VALVE_ANT_0022012                                 VALVE_ANT_0026679

    VALVE_ANT_0022178                                 VALVE_ANT_0026694

    VALVE_ANT_0022193                                 VALVE_ANT_0026942

    VALVE_ANT_0022207                                 VALVE_ANT_0027437

    VALVE_ANT_0022336                                 VALVE_ANT_0027452

    VALVE_ANT_0022858                                 VALVE_ANT_0027462

    VALVE_ANT_0022872                                 VALVE_ANT_0027492

    VALVE_ANT_0022964                                 VALVE_ANT_0027502



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     VALVE_ANT_0028052                               VALVE_ANT_0032190

     VALVE_ANT_0028054                               VALVE_ANT_0032203

     VALVE_ANT_0028056                               VALVE_ANT_0032213

     VALVE_ANT_0028058                               VALVE_ANT_0032216

     VALVE_ANT_0028060                               VALVE_ANT_0032223

     VALVE_ANT_0028062                               VALVE_ANT_0032242

     VALVE_ANT_0028064                               VALVE_ANT_0032245

     VALVE_ANT_0028078                               VALVE_ANT_0032261

     VALVE_ANT_0028080                               VALVE_ANT_0032273

    VALVE_ANT_0028105                                VALVE_ANT_0032274

    VALVE_ANT_0028480                                VALVE_ANT_0032277

    VALVE_ANT_0028963                                VALVE_ANT_0032290

    VALVE_ANT_0028974                                VALVE_ANT_0032292

    VALVE_ANT_0029074                                VALVE_ANT_0032305

    VALVE_ANT_0029429                                VALVE_ANT_0032857

    VALVE_ANT_0030479                                VALVE_ANT_0032878

    VALVE_ANT_0030484                                VALVE_ANT_0032947

    VALVE_ANT_0030668                                VALVE_ANT_0032953

    VALVE_ANT_0031061                                VALVE_ANT_0032955

    VALVE_ANT_0031124                                VALVE_ANT_0032957

    VALVE_ANT_0031242                                VALVE_ANT_0032964

    VALVE_ANT_0031254                                VALVE_ANT_0032981

    VALVE_ANT_0031730                                VALVE_ANT_0032991

    VALVE_ANT_0031742                                VALVE_ANT_0033116

    VALVE_ANT_0031745                                VALVE_ANT_0033119

    VALVE_ANT_0032187                                VALVE_ANT_0033131

    VALVE_ANT_0032188                                VALVE_ANT_0033134



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     VALVE_ANT_0033149                                VALVE_ANT_0035515

     VALVE_ANT_0033173                                VALVE_ANT_0035545

     VALVE_ANT_0033373                                VALVE_ANT_0035565

     VALVE_ANT_0033384                                VALVE_ANT_0035823

     VALVE_ANT_0033388                                VALVE_ANT_0035874

     VALVE_ANT_0033815                                VALVE_ANT_0035885

    VALVE_ANT_0033822                                 VALVE_ANT_0035889

    VALVE_ANT_0033830                                 VALVE_ANT_0035905

    VALVE_ANT_0033838                                 VALVE_ANT_0035918

    VALVE_ANT_0034182                                 VALVE_ANT_0036152

    VALVE_ANT_0034184                                 VALVE_ANT_0037133

    VALVE_ANT_0034186                                 VALVE_ANT_0037135

    VALVE_ANT_0034207                                 VALVE_ANT_0037146

    VALVE_ANT_0034209                                 VALVE_ANT_0037148

    VALVE_ANT_0034220                                VALVE_ANT_0037152

    VALVE_ANT_0034222                                VALVE_ANT_0037444

    VALVE_ANT_0034225                                VALVE_ANT_0037749

    VALVE_ANT_0034227                                VALVE_ANT_0037958

    VALVE_ANT_0034229                                VALVE_ANT_0038254

    VALVE_ANT_0034232                                VALVE_ANT_0038257

    VALVE_ANT_0034236                                VALVE_ANT_0038273

    VALVE_ANT_0034239                                VALVE_ANT_0038358

    VALVE_ANT_0034243                                VALVE_ANT_0038381

    VALVE_ANT_0034692                                VALVE_ANT_0038422

    VALVE_ANT_0034711                                VALVE_ANT_0038436

    VALVE_ANT_0035448                                VALVE_ANT_0038485

    VALVE_ANT_0035468                                VALVE_ANT_0038500



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     VALVE_ANT_0038504                                VALVE_ANT_0039414

     VALVE_ANT_0038508                                VALVE_ANT_0039417

     VALVE_ANT_0038509                                VALVE_ANT_0039435

     VALVE_ANT_0038512                                VALVE_ANT_0039439

     VALVE_ANT_0038516                                VALVE_ANT_0039440

     VALVE_ANT_0038519                                VALVE_ANT_0039445

     VALVE_ANT_0038523                                VALVE_ANT_0039446

     VALVE_ANT_0038527                                VALVE_ANT_0039452

    VALVE_ANT_0038529                                 VALVE_ANT_0039456

    VALVE_ANT_0038534                                 VALVE_ANT_0039460

    VALVE_ANT_0039323                                 VALVE_ANT_0039464

    VALVE_ANT_0039327                                 VALVE_ANT_0039468

    VALVE_ANT_0039331                                 VALVE_ANT_0039477

    VALVE_ANT_0039334                                 VALVE_ANT_0039485

    VALVE_ANT_0039342                                 VALVE_ANT_0039493

    VALVE_ANT_0039346                                 VALVE_ANT_0039497

    VALVE_ANT_0039360                                 VALVE_ANT_0039507

    VALVE_ANT_0039364                                 VALVE_ANT_0039518

    VALVE_ANT_0039369                                 VALVE_ANT_0039522

    VALVE_ANT_0039375                                VALVE_ANT_0039523

    VALVE_ANT_0039379                                VALVE_ANT_0039531

    VALVE_ANT_0039383                                VALVE_ANT_0039533

    VALVE_ANT_0039387                                VALVE_ANT_0039552

    VALVE_ANT_0039391                                VALVE_ANT_0039593

    VALVE_ANT_0039401                                VALVE_ANT_0039624

    VALVE_ANT_0039405                                VALVE_ANT_0039631

    VALVE_ANT_0039409                                VALVE_ANT_0039660



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     VALVE_ANT_0039673                               VALVE_ANT_0041265

     VALVE_ANT_0039790                               VALVE_ANT_0041681

     VALVE_ANT_0039791                               VALVE_ANT_0042139

     VALVE_ANT_0040284                               VALVE_ANT_0042484

     VALVE_ANT_0040288                               VALVE_ANT_0042519

    VALVE_ANT_0040292                                VALVE_ANT_0042522

    VALVE_ANT_0040301                                VALVE_ANT_0042523

    VALVE_ANT_0040305                                VALVE_ANT_0042546

    VALVE_ANT_0040310                                VALVE_ANT_0042548

    VALVE_ANT_0040312                                VALVE_ANT_0042550

    VALVE_ANT_0040316                               VALVE_ANT_0042551

    VALVE_ANT_0040331                               VALVE_ANT_0042555

    VALVE_ANT_0040687                               VALVE_ANT_0042559

    VALVE_ANT_0040688                               VALVE_ANT_0042567

    VALVE_ANT_0040707                               VALVE_ANT_0042571

    VALVE_ANT_0040941                               VALVE_ANT_0042576

    VALVE_ANT_0040943                               VALVE_ANT_0042601

    VALVE_ANT_0040946                               VALVE_ANT_0042603

    VALVE_ANT_0040949                               VALVE_ANT_0042605

    VALVE_ANT_0040950                               VALVE_ANT_0042610

    VALVE_ANT_0040965                               VALVE_ANT_0042615

    VALVE_ANT_0040967                               VALVE_ANT_0042630

    VALVE_ANT_0040969                               VALVE_ANT_0042636

    VALVE_ANT_0040971                               VALVE_ANT_0042649

    VALVE_ANT_0040977                               VALVE_ANT_0042652

    VALVE_ANT_0041100                               VALVE_ANT 0042655

    VALVE_ANT_0041245                               VALVE_ANT_0042659



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     VALVE_ANT_0042709                                VALVE_ANT_0045180

     VALVE_ANT_0042714                                VALVE_ANT_0045198

     VALVE_ANT_0042718                                VALVE_ANT_0045485

     VALVE_ANT_0042738                                VALVE_ANT_0045486

     VALVE_ANT_0042750                                VALVE_ANT_0045789

     VALVE_ANT_0042755                                VALVE_ANT_0045821

     VALVE_ANT_0042758                                VALVE_ANT_0045822

     VALVE_ANT_0042762                                VALVE_ANT_0045903

     VALVE_ANT_0042768                                VALVE_ANT_0045904

    VALVE_ANT_0043271                                 VALVE_ANT_0045920

    VALVE_ANT_.0043288                                VALVE_ANT_0045921

    VALVE_ANT_0043294                                 VALVE_ANT_0045923

    VALVE_ANT_0043864                                 VALVE_ANT_0045935

    VALVE_ANT_0043881                                 VALVE_ANT_0046060

    VALVE_ANT_0043938                                 VALVE_ANT_0046076

    VALVE_ANT_0043960                                VALVE_ANT_0046077

    VALVE_ANT_0043976                                VALVE_ANT_0046104

    VALVE_ANT_0044249                                VALVE_ANT_0046105

    VALVE_ANT_0044264                                VALVE_ANT_0046121

    VALVE_ANT_0044373                                VALVE_ANT_0046130

    VALVE_ANT_0044376                                VALVE_ANT_0046141

    VALVE_ANT_0044379                                VALVE_ANT_0046299

    VALVE_ANT_0044480                                VALVE_ANT_0046415

    VALVE_ANT_0044699                                VALVE_ANT_0046416

    VALVE_ANT_0045092                                VALVE_ANT_0046639

    VALVE_ANT_0045134                                VALVE_ANT_0048620

    VALVE_ANT_0045167                                VALVE_ANT_0048621



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     VALVE_ANT_0048944                               VALVE_ANT_0052615

     VALVE_ANT_0049209                               VALVE_ANT_0052623

    VALVE_ANT_0049218                                VALVE_ANT_0052707

    VALVE_ANT_0049236                                VALVE_ANT_0052710

    VALVE_ANT_0049267                                VALVE_ANT_0052713

    VALVE_ANT_0049416                                VALVE_ANT_0052760

    VALVE_ANT_0050936                                VALVE_ANT_0052780

    VALVE_ANT_0050975                                VALVE_ANT_O052792

    VALVE_ANT_0051083                                VALVE_ANT_O052960

    VALVE_ANT_0051162                                VALVE_ANT_0052972

    VALVE_ANT_0051337                                VALVE_ANT_0052986

    VALVE_ANT_0051383                                VALVE_ANT_0053002

    VALVE_ANT_0051532                                VALVE_ANT_0053020

    VALVE_ANT_0051534                                VALVE_ANT_0053063

    VALVE_ANT_0051680                                VALVE_ANT_0053192

    VALVE_ANT_0051718                                VALVE_ANT_0053196

    VALVE_ANT_0051858                                VALVE_ANT_0053201

    VALVE_ANT_0051888                                VALVE_ANT_0053212

    VALVE_ANT_0051892                                VALVE_ANT_0053218

    VALVE_ANT_0051958                                VALVE_ANT_0053239

    VALVE_ANT_0052011                                VALVE_ANT_0053255

    VALVE_ANT_0052045                                VALVE_ANT_0053262

    VALVE_ANT_0052488                                VALVE_ANT_0053283

    VALVE_ANT_0052510                                VALVE_ANT_0053333

    VALVE_ANT_0052574                                VALVE_ANT_0053339

    VALVE_ANT_0052597                                VALVE_ANT_0053357

    VALVE_ANT_0052606                                VALVE_ANT_0053365



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     VALVE_ANT_0053366                                VALVE_ANT_0054520

     VALVE_ANT_0053373                                VALVE_ANT_0054533

     VALVE_ANT_0053442                                VALVE_ANT_O054558

     VALVE_ANT_0053443                                VALVE_ANT_0054600

    VALVE_ANT_0053486                                 VALVE_ANT_0054668

    VALVE_ANT_0053488                                 VALVE_ANT_0054679

    VALVE_ANT_0053526                                 VALVE_ANT_0054709

    VALVE_ANT_0053535                                 VALVE_ANT_0054730

    VALVE_ANT_0053540                                 VALVE_ANT_0054738

    VALVE_ANT_0053552                                 VALVE_ANT_0054762

    VALVE_ANT_0053607                                 VALVE_ANT_0054766

    VALVE_ANT_0053615                                 VALVE_ANT_0054847

    VALVE_ANT_0053639                                 VALVE_ANT_0054850

    VALVE_ANT_0053659                                 VALVE_ANT_0054854

    VALVE_ANT_0053660                                 VALVE_ANT_0054861

    VALVE_ANT_0053662                                 VALVE_ANT_0054930

    VALVE_ANT_0053718                                 VALVE_ANT_0055021

    VALVE_ANT_0053721                                 VALVE_ANT_0055076

    VALVE_ANT_0053723                                 VALVE_ANT_0055101

    VALVE_ANT_0054388                                 VALVE_ANT_0055282

    VALVE_ANT_0054407                                 VALVE_ANT_0055664

    VALVE_ANT_O054409                                 VALVE_ANT_0055670

    VALVE_ANT_0054411                                 VALVE_ANT_0055796

    VALVE_ANT_0054412                                 VALVE_ANT_0056064

    VALVE_ANT_0054436                                 VALVE_ANT_0056080

    VALVE_ANT_O054439                                 VALVE_ANT_0056129

    VALVE_ANT_0054486                                 VALVE_ANT_0056144



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     VALVE_ANT_0056251                                VALVE_ANT_0058528

     VALVE_ANT_0056416                                VALVE_ANT_0058543

     VALVE_ANT_0056635                                VALVE_ANT_0058549

     VALVE_ANT_0056638                                VALVE_ANT_0058564

     VALVE_ANT_0056641                                VALVE_ANT_0058567

     VALVE_ANT_0056739                                VALVE_ANT_0058611

     VALVE_ANT_0056817                                VALVE_ANT_0058732

     VALVE_ANT_0057116                                VALVE_ANT_0058814

     VALVE_ANT_0057120                                VALVE_ANT_0058836

     VALVE_ANT_0057238                                VALVE_ANT_0058840

     VALVE_ANT_0057285                                VALVE_ANT_0058859

     VALVE_ANT_0057531                                VALVE_ANT_0058865

     VALVE_ANT_0057578                               VALVE_ANT_0058902

    VALVE_ANT_0057595                                VALVE_ANT_0058922

    VALVE_ANT_0057666                                VALVE_ANT_0058925

    VALVE_ANT_0057803                                VALVE_ANT_0058963

    VALVE_ANT_0057871                                VALVE_ANT_0058978

    VALVE_ANT_0057891                                VALVE_ANT_0058980

    VALVE_ANT_0057979                                VALVE_ANT_0058981

    VALVE_ANT_0057993                                VALVE_ANT_0058982

    VALVE_ANT_0058139                                VALVE_ANT_0058983

    VALVE_ANT_0058279                                VALVE_ANT_0058993

    VALVE_ANT_0058285                                VALVE_ANT_0058994

    VALVE_ANT_0058418                                VALVE_ANT_0058996

    VALVE_ANT_0058468                                VALVE_ANT_0059007

    VALVE_ANT_0058483                                VALVE_ANT_0059015

    VALVE_ANT_0058509                                VALVE_ANT_0059060



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     VALVE_ANT_0059065                                VALVE_ANT_0059788

     VALVE_ANT_0059094                                VALVE_ANT_0059794

     VALVE_ANT_0059102                                VALVE_ANT_0059800

     VALVE_ANT_0059115                                VALVE_ANT_0059808

     VALVE_ANT_0059186                                VALVE_ANT_0059816

     VALVE_ANT_0059293                                VALVE_ANT_0059878

     VALVE_ANT_0059425                                VALVE_ANT_0060030

    VALVE_ANT_0059427                                 VALVE_ANT_0060114

    VALVE_ANT_0059430                                 VALVE_ANT_0060120

    VALVE_ANT_0059435                                 VALVE_ANT_0060278

    VALVE_ANT_0059438                                 VALVE_ANT_0060299

    VALVE_ANT_0059440                                 VALVE_ANT_0060419

    VALVE_ANT_0059464                                 VALVE_ANT_0060421

    VALVE_ANT_0059482                                 VALVE_ANT_0060423

    VALVE_ANT_0059505                                 VALVE_ANT_0060429

    VALVE_ANT_0059525                                 VALVE_ANT_0060432

    VALVE_ANT_0059533                                 VALVE_ANT_0060453

    VALVE_ANT_0059565                                 VALVE_ANT_0060458

    VALVE_ANT_0059571                                 VALVE_ANT_0060465

    VALVE_ANT_0059644                                 VALVE_ANT_0060470

    VALVE_ANT_0059647                                 VALVE_ANT_0060482

    VALVE_ANT_0059650                                 VALVE_ANT_0060495

    VALVE_ANT_0059653                                 VALVE_ANT_0060511

    VALVE_ANT_0059658                                VALVE_ANT_0060548

    VALVE_ANT_0059662                                VALVE_ANT_0061386

    VALVE_ANT_0059733                                VALVE_ANT_0062227

    VALVE_ANT_0059785                                VALVE_ANT_0062229



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     VALVE_ANT_0062231                                VALVE_ANT_0112242

     VALVE_ANT_0062254                                VALVE_ANT_0113865

     VALVE_ANT_0062579                                VALVE_ANT_0114214

     VALVE_ANT_0065008                                VALVE_ANT_0115844

     VALVE_ANT_0066534                                VALVE_ANT_0116440

     VALVE_ANT_0070599                                VALVE_ANT_0120326

     VALVE_ANT_0071818                                VALVE_ANT_0121578

     VALVE_ANT_0072800                                VALVE_ANT_0121593

     VALVE_ANT_0072860                                VALVE_ANT_0121766

     VALVE_ANT_0074667                                VALVE_ANT_0122714

    VALVE_ANT_0074727                                 VALVE_ANT_0124949

    VALVE_ANT_0093947                                 VALVE_ANT_0127888

    VALVE_ANT_0094603                                 VALVE_ANT_0130557

    VALVE_ANT_0094629                                 VALVE_ANT_O 131026

    VALVE_ANT_0094642                                 VALVE_ANT_0134552

    VALVE_ANT_0094994                                 VALVE_ANT_0137254

    VALVE_ANT_0095261                                 VALVE_ANT_0157071

    VALVE_ANT_0095274                                 VALVE_ANT_O 164882

    VALVE_ANT_0095540                                 VALVE_ANT_0167817

    VALVE_ANT_0097254                                 VALVE_ANT_0168217

    VALVE_ANT_0097434                                 VALVE_ANT_0168370

    VALVE_ANT_0097480                                 VALVE_ANT_0168892

    VALVE_ANT_0097775                                 VALVE_ANT_0169017

    VALVE_ANT_0101344                                 VALVE_ANT_0170262

    VALVE_ANT_0102546                                 VALVE_ANT_0170294

    VALVE_ANT_0108946                                 VALVE_ANT_0170299

    VALVE_ANT_0111768                                 VALVE_ANT_0172321



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     VALVE_ANT_0172764                                VALVE_ANT_0205323

     VALVE_ANT_0173495                                VALVE_ANT_0206185

     VALVE_ANT_0174192                                VALVE_ANT_0207318

     VALVE_ANT_0174199                                VALVE_ANT_0208123

     VALVE_ANT_0174206                                VALVE_ANT_0208510

     VALVE_ANT_0174586                                VALVE_ANT_0213047

     VALVE_ANT_0180089                                VALVE_ANT_0213267

     VALVE_ANT_0189156                                VALVE_ANT_0213387

     VALVE_ANT_0190177                                VALVE_ANT_0215593

    VALVE_ANT_0190185                                 VALVE_ANT_0215669

    VALVE_ANT_0190198                                 VALVE_ANT_0215988

    VALVE_ANT_0190239                                 VALVE_ANT_0216661

    VALVE_ANT_0190559                                 VALVE_ANT_0217096

    VALVE_ANT_0190563                                 VALVE_ANT_0220476

    VALVE_ANT_0190856                                 VALVE_ANT_0220746

    VALVE_ANT_0191696                                 VALVE_ANT_0221846

    VALVE_ANT_0192567                                VALVE_ANT_0222059

    VALVE_ANT_0192572                                VALVE_ANT_0222060

    VALVE_ANT_0192577                                VALVE_ANT_0223399

    VALVE_ANT_0199540                                VALVE_ANT_0225630

    VALVE_ANT_0199576                                VALVE_ANT_0232126

    VALVE_ANT_0201376                                VALVE_ANT_0232966

    VALVE_ANT_0201398                                VALVE_ANT_0233018

    VALVE_ANT_0203447                                VALVE_ANT_0240203

    VALVE_ANT_0203592                                VALVE_ANT_0240238

    VALVE_ANT_0203597                                VALVE_ANT_0240248

    VALVE_ANT_0203602                                VALVE_ANT_0240280



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    VALVE_ANT_0240427                                 VALVE_ANT_0265527

    VALVE_ANT_0240870                                 VALVE_ANT_0265693

    VALVE_ANT~0243069                                VALVE_ANT_0265860

    VALVE_ANT_0243072                                VALVE_ANT_0266973

    VALVE_ANT_0244799                                VALVE_ANT_0273907

    VALVE_ANT_0247061                                VALVE_ANT_0275896

    VALVE_ANT_0247678                                VALVE_ANT_0278937

    VALVE_ANT_0251989                                VALVE_ANT_0285582

    VALVE_ANT_0252466                                VALVE_ANT_0286950

    VALVE_ANT_0252491                                VALVE_ANT_0288974

    VALVE_ANT_0252497                                VALVE_ANT_0289593

    VALVE_ANT_0254694                                VALVE_ANT_0289975

    VALVE_ANT_0257675                                VALVE_ANT_0290388

    VALVE_ANT_0257683                                VALVE_ANT_0293244

    VALVE_ANT_0258782                                VALVE_ANT_0293309

    VALVE_ANT_0259072                                VALVE_ANT_0293433

    VALVE_ANT_0259187                                VALVE_ANT_0293624

    VALVE_ANT_0259544                                VALVE_ANT_0293635

    VALVE_ANT_0260058                                VALVE_ANT_0293869

    VALVE_ANT_0260205                                VALVE_ANT_0293959

    VALVE_ANT_0261483                                VALVE_ANT_0294041

    VALVE_ANT_0261956                                VALVE_ANT_0295088

    VALVE_ANT_0262762                                VALVE_ANT_0295145

    VALVE_ANT_0263439                                VALVE_ANT_0295796

    VALVE_ANT_0264784                                VALVE_ANT_0295797

    VALVE_ANT_0265027                                VALVE_ANT_0295798

    VALVE_ANT_0265435                                VALVE_ANT_0295926



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     VALVE_ANT_0295933                                VALVE_ANT_0336399

     VALVE_ANT_0295988                                VALVE_ANT_0336929

     VALVE_ANT_0296012                                VALVE_ANT_0336935

     VALVE_ANT_0296074                                VALVE_ANT_0337587

    VALVE_ANT_0296336                                 VALVE_ANT_0338588

    VALVE_ANT_0296757                                 VALVE_ANT_0338596

    VALVE_ANT_0297327                                 VALVE_ANT_0338604

    VALVE_ANT_0299042                                 VALVE_ANT_0338619

    VALVE_ANT_0299064                                 VALVE_ANT_0338631

    VALVE_ANT_0299077                                 VALVE_ANT_0338635

    VALVE_ANT_0299506                                 VALVE_ANT_0338668

    VALVE_ANT_0301075                                 VALVE_ANT_0338689

    VALVE_ANT_0301372                                 VALVE_ANT_0339225

    VALVE_ANT_0303352                                 VALVE_ANT_0340706

    VALVE_ANT_0307257                                 VALVE_ANT_0340723

    VALVE_ANT_0309253                                 VALVE_ANT_0342336

    VALVE_ANT_0311248                                 VALVE_ANT_0342621

    VALVE_ANT_0311252                                 VALVE_ANT_0342968

    VALVE_ANT_031 !274                                VALVE_ANT_0344134

    VALVE_ANT_0311832                                 VALVE_ANT_0344325

    VALVE_ANT_0311845                                 VALVE_ANT_0348006

    VALVE_ANT_0313180                                 VALVE_ANT_0348143

    VALVE_ANT_0325057                                 VALVE_ANT_0356014

    VALVE_ANT_0333351                                 VALVE_ANT_0356373

    VALVE_ANT_0335343                                 VALVE_ANT_0366263

    VALVE_ANT_0335573                                 VALVE_ANT_0366715

    VALVE_ANT_0336156                                 VALVE_ANT_0367619



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     VALVE_ANT_0367956                               VALVE_ANT_0373088

     VALVE_ANT_0369095                               VALVE_ANT_0373108

     VALVE_ANT_0369323                               VALVE_ANT_0373595

     VALVE_ANT_0369508                               VALVE_ANT_0373634

     VALVE_ANT_0369554                               VALVE_ANT_0373867

     VALVE_ANT_0369762                               VALVE_ANT_0374077

     VALVE_ANT_0370114                               VALVE_ANT_0374262

     VALVE_ANT_0370238                               VALVE_ANT_0377497

     VALVE_ANT_0370252                               VALVE_ANT_0377572

     VALVE_ANT_0370255                               VALVE_ANT_0377640

    VALVE_ANT_0370303                                VALVE_ANT_0377758

    VALVE_ANT_0370344                                VALVE_ANT_0377759

    VALVE_ANT_0370349                                VALVE_ANT_0377763

    VALVE_ANT_0370368                                VALVE_ANT_0377767

    VALVE_ANT_0370497                                VALVE_ANT_0377786

    VALVE_ANT_0370611                                VALVE_ANT_0377795

    VALVE_ANT_0370730                                VALVE_ANT_0377811

    VALVE_ANT_0370768                                VALVE_ANT_0377908

    VALVE_ANT_0371494                                VALVE_ANT_0377924

    VALVE_ANT_0371553                                VALVE_ANT_0377980

    VALVE_ANT_0372326                                VALVE_ANT_0378494

    VALVE_ANT_0372868                                VALVE_ANT_0378508

    VALVE_ANT_0372890                                VALVE_ANT_0378515

    VALVE_ANT_0372900                                VALVE_ANT_0378533

    VALVE_ANT_0372909                                VALVE_ANT_0378566

    VALVE_ANT_0372917                                VALVE_ANT_0378578

    VALVE_ANT_0372929                                VALVE_ANT_0378587



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     VALVE_ANT_0378658                                VALVE_ANT_0407102

     VALVE_ANT_0378694                                VALVE_ANT_0407232

     VALVE_ANT_0378739                                VALVE_ANT_0407263

     VALVE_ANT_0380038                                VALVE_ANT_0407374

     VALVE_ANT_0380061                                VALVE_ANT_0407709

     VALVE_ANT_0389877                                VALVE_ANT_0407710

     VALVE_ANT_0389881                                VALVE_ANT_0407711

     VALVE_ANT_0391797                                VALVE_ANT_0407718

     VALVE_ANT_0391897                                VALVE_ANT_0407720

     VALVE_ANT_0393789                                VALVE_ANT_0413454

    VALVE_ANT_0398479                                 VALVE_ANT_0413459

    VALVE_ANT_0399857                                 VALVE_ANT_0415674

    VALVE_ANT_0400359                                 VALVE_ANT_0415712

    VALVE_ANT_0400901                                 VALVE_ANT_0415783

    VALVE_ANT_0403503                                VALVE_ANT_0415807

    VALVE_ANT_0403509                                VALVE_ANT_0415823

    VALVE_ANT_0403518                                VALVE_ANT_0415832

    VALVE_ANT_0403565                                VALVE_ANT_0415859

    VALVE_ANT_0403568                                VALVE_ANT_0415910

    VALVE_ANT_0404890                                VALVE_ANT_0416035

    VALVE_ANT_0405704                                VALVE_ANT_0417844

    VALVE_ANT_0405707                                VALVE_ANT_0418237

    VALVE_ANT_0405724                                VALVE_ANT_0419207

    VALVE_ANT_0406092                                VALVE_ANT_0419813

    VALVE_ANT_0406100                                VALVE_ANT_0420766

    VALVE_ANT_0406121                                VALVE_ANT_0422725

    VALVE_ANT_0406135                                VALVE_ANT_0422882



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    VALVE_ANT_0425001                                VALVE_ANT_0494013

    VALVE_ANT_0450746                                VALVE_ANT_0494691

    VALVE_ANT_0450915                                VALVE_ANT_0494713

    VALVE_ANT_0452901                                VALVE_ANT_0494715

    VALVE_ANT_0456205                                VALVE_ANT_0495189

    VALVE_ANT_0460560                                VALVE_ANT_0495360

    VALVE_ANT_0461777                                VALVE_ANT_0495397

    VALVE_ANT_0462106                                VALVE_ANT_0495452

    VALVE_ANT_0465238                                VALVE_ANT_0495455

    VALVE_ANT_0467616                                VALVE_ANT_0495457

    VALVE_ANT_0468992                                VALVE_ANT_0496030

    VALVE_ANT_0471777                                VALVE_ANT_0496278

    VALVE_ANT_0471781                                VALVE_ANT_0496438

    VALVE_ANT_0471786                                VALVE_ANT_0496443

    VALVE_ANT_0471790                                VALVE_ANT_0496490

    VALVE_ANT_0471861                                VALVE_ANT_0496585

    VALVE_ANT_0471938                                VALVE_ANT_0498342

    VALVE_ANT_0474933                                VALVE_ANT_0498941

    VALVE_ANT_0475957                                VALVE_ANT_0499430

    VALVE_ANT_0475973                                VALVE_ANT_0499433

    VALVE_ANT_0489566                                VALVE_ANT_0499612

    VALVE_ANT_0489698                                VALVE_ANT_0500185

    VALVE_ANT_0489705                                VALVE_ANT_0501377

    VALVE_ANT_0489863                                VALVE_ANT_0501839

    VALVE_ANT_0489959                                VALVE_ANT_0501886

    VALVE_ANT_0491867                                VALVE_ANT_0503432

    VALVE_ANT_0493329                                VALVE_ANT_0503642



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     VALVE_ANT_0503981                                VALVE_ANT_0598926

     VALVE_ANT_0505107                                VALVE_ANT_0599941

     VALVE_ANT_0505505                                VALVE_ANT_0600803

     VALVE_ANT_0506083                                VALVE_ANT_0600828

     VALVE_ANT_0512970                                VALVE_ANT_0601141

     VALVE_ANT_0514578                                VALVE_ANT_0601343

     VALVE_ANT_0514583                                VALVE_ANT_0601392

     VALVE_ANT_0514600                                VALVE_ANT_0601404

     VALVE_ANT_0514641                                VALVE_ANT_0601879

    VALVE_ANT_0516011                                 VALVE_ANT_0602212

    VALVE_ANT_0516708                                 VALVE_ANT_0602999

    VALVE_ANT_0517052                                 VALVE_ANT_0604768

    VALVE_ANT_0525339                                 VALVE_ANT_0605087

    VALVE_ANT_0525345                                 VALVE_ANT_0605735

    VALVE_ANT_0525484                                 VALVE_ANT_0605887

    VALVE_ANT_0527326                                 VALVE_ANT_0606053

    VALVE_ANT_0530426                                 VALVE_ANT_0606204

    VALVE_ANT_0531491                                 VALVE_ANT_0606283

    VALVE_ANT_0537011                                VALVE_ANT_0606794

    VALVE_ANT_0541138                                 VALVE_ANT_0610229

    VALVE_ANT_0557595                                VALVE_ANT_0610377

    VALVE_ANT_0557762                                VALVE_ANT_0610426

    VALVE_ANT_0558338                                VALVE_ANT_0610636

    VALVE_ANT_0561240                                VALVE_ANT_0610645

    VALVE_ANT_0561268                                VALVE_ANT_0610683

    VALVE_ANT_0588370                                VALVE_ANT_0610692

    VALVE_ANT_0598921                                VALVE_ANT_0610698



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     VALVE_ANT_0611118                               VALVE_ANT_0755795

     VALVE_ANT_0612175                               VALVE_ANT_0755819

     VALVE_ANT_0615878                               VALVE_ANT_0755832

     VALVE_ANT_0623323                               VALVE_ANT_0755937

     VALVE_ANT_0623408                               VALVE_ANT_0755939

     VALVE_ANT_0624130                               VALVE_ANT_0756043

     VALVE_ANT_0624913                               VALVE_ANT_0757296

     VALVE_ANT_0626226                               VALVE_ANT_0757757

     VALVE_ANT_0630716                               VALVE_ANT_0758082

     VALVE_ANT_0645165                               VALVE_ANT_0758390

    VALVE_ANT_0645674                                VALVE_ANT_0758846

    VALVE_ANT_0656376                                VALVE_ANT_0759257

    VALVE_ANT_0662989                                VALVE_ANT_0760593

    VALVE_ANT_0682608                                VALVE_ANT_0761512

    VALVE_ANT_0701558                                VALVE_ANT_0761602

    VALVE_ANT_0703915                                VALVE_ANT_0761606

    VALVE_ANT_0711725                                VALVE_ANT_0761610

    VALVE_ANT_0727834                                VALVE_ANT_0761614

    VALVE_ANT_0729861                                VALVE_ANT_0761662

    VALVE_ANT_0732727                                VALVE_ANT_0761733

    VALVE_ANT_0739198                                VALVE_ANT_0762039

    VALVE_ANT_0753183                                VALVE_ANT_0766576

    VALVE_ANT_0753830                                VALVE_ANT_0767167

    VALVE_ANT_0755733                                VALVE_ANT_0767631

    VALVE_ANT_0755734                                VALVE_ANT_0776939

    VALVE_ANT_0755737                                VALVE_ANT_0776953

    VALVE_ANT_0755749                                VALVE_ANT_0777034



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     VALVE_ANT_0777126                                 VALVE_ANT_0819547

     VALVE_ANT_0777372                                 VALVE_ANT_0819553

     VALVE_ANT_0782093                                 VALVE_ANT_0819559

     VALVE_ANT_0793665                                 VALVE_ANT_0819575

     VALVE_ANT_0801130                                 VALVE_ANT_0819586

     VALVE_ANT_0801131                                 VALVE_ANT_0819587

     VALVE_ANT_0801148                                 VALVE_ANT_0819646

     VALVE_ANT_0808808                                 VALVE_ANT_0819648

     VALVE_ANT_0810905                                 VALVE_ANT_0819654

     VA LVE_ANT_0810924                                VALVE_ANT_0819666

     VALVE_ANT_0810946                                 VALVE_ANT_0819678

     VALVE_ANT_0810951                                 VALVE_ANT_0819701

    VALVE_ANT_0811875                                  VALVE_ANT_0819703

    VALVE_ANT_0812763                                  VALVE_ANT_0820191

    VALVE_ANT_0812789                                  VALVE_ANT_0820212

    VALVE_ANT_0812795                                  VALVE_ANT_0820220

    VALVE_ANT_0812801                                 VALVE_ANT_0820442

    VALVE_ANT_0813844                                 VALVE_ANT_0820675

    VALVE_ANT_0813962                                 VALVE_ANT_0820679

    VALVE_ANT_0814643                                 VALVE_ANT_0820682

    VALVE_ANT_0817659                                 VALVE_ANT_0820698

    VALVE_ANT_0817665                                 VALVE_ANT_0820738

    VALVE_ANT_0818213                                 VALVE_ANT_0820756

    VALVE_ANT_0819274                                 VALVE_ANT_0823702

    VALVE_ANT_0819278                                 VALVE_ANT_0832349

    VALVE_ANT_0819367                                 VALVE_ANT_0838143

    VALVE_ANT_0819506                                 VALVE_ANT_0839607



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     VALVE_ANT_0845129                               VALVE_ANT_0897641

     VALVE_ANT_0845506                               VALVE_ANT_0897649

     VALVE_ANT_0847645                               VALVE_ANT_0898696

     VALVE_ANT_0847870                               VALVE_ANT_0898986

    VALVE_ANT_0847871                                VALVE_ANT_0899145

    VALVE_ANT_0848923                                VALVE_ANT_0899159

    VALVE_ANT_0849048                                VALVE_ANT_0899462

    VALVE_ANT_0849057                                VALVE_ANT_0900193

    VALVE_ANT_0849066                                VALVE_ANT_0900697

    VALVE_ANT_0849074                                VALVE_ANT_0900710

    VALVE_ANT_0849082                                VALVE_ANT_0900740

    VALVE_ANT_0849092                                VALVE_ANT_0900751

    VALVE_ANT_0849104                                VALVE_ANT_0901646

    VALVE_ANT_0849322                                VALVE_ANT_0907735

    VALVE_ANT_0849325                                VALVE_ANT_0918466

    VALVE_ANT_0849328                                VALVE_ANT_0918561

    VALVE_ANT_0849330                                VALVE_ANT_0918603

    VALVE_ANT_0854420                                VALVE_ANT_0920316

    VALVE_ANT_0854773                                VALVE_ANT_0920327

    VALVE_ANT_0856806                                VALVE_ANT_0920941

    VALVE_ANT_0857500                                VALVE_ANT_0923266

    VALVE_ANT_0884596                                VALVE_ANT_0923742

    VALVE_ANT_0894469                                VALVE_ANT_0923761

    VALVE_ANT_0894479                                VALVE_ANT_0923776

    VALVE_ANT_0895153                                VALVE_ANT_0923786

    VALVE_ANT_0896422                                VALVE_ANT_0929140

    VALVE_ANT_0897622                                VALVE_ANT_0929196



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     VALVE_ANT_0929220                                VALVE_ANT_ 1008958

     VALVE_ANT_0930751                                VALVE_ANT_ 1009360

     VALVE_ANT_0931150                                VALVE_ANT_ 1009892

     VALVE_ANT_0931313                                VALVE_ANT_I 010212

    VALVE_ANT_0931322                                 VALVE_ANT_ 1010513

    VALVE_ANT_0931342                                 VALVE_ANT_ 1010850

    VALVE_ANT_0931386                                 VALVE_ANT_ 1010912

    VALVE_ANT_0931495                                 VALVE_ANT_ 1010974

    VALVE_ANT_0931582                                 VALVE_ANT_ 1010991

    VALVE_ANT_0931899                                 VALVE_ANT_ 1011084

    VALVE_ANT_0932084                                 VALVE_ANT_1011190

    VALVE_ANT_0932349                                 VALVE_ANT_ 1011215

    VALVE_ANT_0933319                                 VALVE_ANT_ 1011222

    VALVE_ANT_0933612                                 VALVE_ANT_I 011246

    VALVE_ANT_0936576                                 VALVE_ANT_ 1011265

    VALVE_ANT_0941487                                 VALVE_ANT_ 1015797

    VALVE_ANT_0943488                                 VALVE_ANT_ 1017182

    VALVE_ANT_0951827                                 VALVE_ANT_ 1017188

    VALVE_ANT_0954016                                 VALVE_ANT_ 1017193

    VALVE_ANT_0954131                                 VALVE_A NT_ 1017356

    VALVE_ANT_0954259                                 VALVE_ANT_ 1017382

    VALVE_ANT_0955868                                 VALVE_ANT_ 1017598

    VALVE_ANT_0960908                                 VALVE_ANT_ 1017672

    VALVE_ANT_0961156                                 VALVE_ANT_ 1017689

    VALVE_ANT_0967621                                 VALVE_ANT_ 1017709

    VALVE_ANT_ 1003043                                VALVE_ANT_ 1017747

    VALVE_ANT_ 1008562                                VALVE_ANT_ 1018047



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     VALVE_ANT_ 1018332                                VALVE_ANT_ 1024137

     VALVE_ANT_ 1018757                                VALVE_ANT_ 1026948

     VALVE_ANT_ 1019320                                VALVE_ANT_ 1037048

     VALVE_ANT_ 1019473                                VALVE_ANT_ 1037135

     VALVE_ANT_ 1019482                                VALVE_ANT_ 1037337

     VALVE_ANT_ 1019493                                VALVE_ANT_1037457

    VALVE_ANT_ 1019524                                 VALVE_ANT_ 1037561

    VALVE_ANT_ 1020022                                 VALVE_ANT_ 1037598

    VALVE_ANT_ 1020053                                 VALVE_ANT_ 1038616

    VALVE_ANT_ 1020065                                 VALVE_ANT_ 1045749

    VALVE_ANT_ 1020238                                 VALVE_ANT_ 1046216

    VALVE_ANT_ 1020246                                 VALVE_ANT_ 1046771

    VALVE_ANT_ 1020369                                 VALVE_ANT_ 1053772

    VALVE_ANT_ 1020380                                 VALVE_ANT_ 1053852

    VALVE_ANT_ 1020526                                 VALVE_ANT_ 1054247

    VALVE_ANT_ 1020546                                 VALVE_ANT_ 1054624

    VALVE_ANT_ 1020559                                 VALVE_ANT_ 1055119

    VALVE_ANT_ 1020576                                 VALVE_ANT_ 1055486

    VALVE_ANT_ 1020815                                 VALVE_ANT_ 1055539

    VALVE_ANT_ 1020847                                VALVE_ANT_ 1055556

    VALVE_ANT_1020867                                 VALVE_ANT_ 1055571

    VALVE_ANT_ 1020921                                VALVE_ANT_ 1060484

    VALVE_ANT_ 1023887                                VALVE_ANT_1069062

    VALVE_ANT_ 1023908                                VALVE_ANT_ 1069485

    VALVE_ANT_ 1023956                                VALVE_ANT_ 1071269

    VALVE_ANT_ 1024005                                VALVE_ANT_ 1091637

    VALVE_ANT_ 1024062                                VALVE_ANT_ 1091732



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     VALVE_ANT_ 1112906                                VALVE_ANT_I 164557

     VALVE_ANT_ 1113721                                VALVE_ANT_ 1164570

     VALVE_ANT_ 1114241                                VALVE_ANT_ 1164814

     VALVE_ANT_ 1114419                                VALVE_ANT_ 1164818

     VALVE_ANT_ 1128567                                VALVE_ANT_ 1164821

     VALVE_ANT_ 1128844                                VALVE_ANT_ 1164824

     VALVE_ANT_ 1139670                                VALVE_ANT_ 1164827

     VALVE_ANT_ 1147801                                VALVE_ANT_1164829

     VALVE_ANT_ 1148097                                VALVE_ANT_ 1164831

    VALVE_ANT_ 1154275                                 VALVE_ANT_ 1164833

    VALVE_ANT_ 1159767                                 VALVE_ANT_ 1164835

    VALVE_ANT_ 1162937                                 VALVE_ANT_ 1164837

    VALVE_ANT_ 1162944                                 VALVE_ANT_ 1164839

    VALVE_ANT_ 1162959                                 VALVE_ANT_ 1164840

    VALVE_ANT_ 1162968                                 VALVE_ANT_ 1164864

    VALVE_ANT_ 1162984                                 VALVE_ANT_ 1164976

    VALVE_ANT_ 1163009                                 VALVE_ANT_I 164981

    VALVE_ANT_ 1163654                                 VALVE_ANT_ 1164985

    VALVE_ANT_ 1163840                                 VALVE_ANT_ 1165007

    VALVE_ANT_ 1163845                                 VALVE_ANT_ 1166796

    VALVE_ANT_ 1163985                                 VALVE_ANT_I 166846

    VALVE_ANT_ 1164064                                 VALVE_ANT_ 1166948

    VALVE_ANT_ 1164090                                VALVE_ANT_ 1166960

    VALVE_ANT_ 1164226                                 VALVE_ANT_I 167569

    VALVE_ANT_ 1164350                                VALVE_ANT_ 1167819

    VALVE_ANT_ 1164352                                VALVE_ANT_ 1168124

    VALVE_ANT_ 1164353                                VALVE_ANT_ 1168127



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     VALVE_ANT_ 1168232                               VALVE_ANT_ 1170738

     VALVE_ANT_ 1168675                               VALVE_ANT_ 1186787

     VALVE_ANT_ 1168698                               VALVE_ANT_ 1186801

     VALVE_ANT_ 1168963                               VALVE_ANT_ 1186814

     VALVE_ANT_ 1169065                               VALVE_ANT_ 1187995

     VALVE_ANT_ 1169080                               VALVE_ANT_ 1188138

     VALVE_ANT_ 1169222                               VALVE_ANT_ 1189015

     VALVE_ANT_ 1170256                               VALVE_ANT_ 1189044

     VALVE_ANT_ 1170265                               VALVE_ANT_ 1189080

    VALVE_ANT_ 1170274                                VALVE_ANT_ 1189161

    VALVE_ANT_ 1170289                                VALVE_ANT_ 1189344

    VALVE_ANT_ 1170304                                VALVE_ANT_ 1189526

    VALVE_ANT_ 1170318                                VALVE_ANT_ 1189698

    VALVE_ANT_ 1170332                                VALVE_ANT_ 1190769

    VALVE_ANT_ 1170345                                VALVE_ANT_ 1190893

    VALVE_ANT_ 1170358                                VALVE_ANT_1191414

    VALVE_ANT_ 1170370                                VALVE_ANT_ 1191591

    VALVE_ANT_ 1170383                                VALVE_ANT_1191983

    VALVE_ANT_ 1170396                                VALVE_ANT_ 1192020

    VALVE_ANT_ 1170409                                VALVE_ANT_ 1192150

    VALVE_ANT_ 1170421                                VALVE_ANT_ 1192194

    VALVE_ANT_ 1170433                                VALVE_ANT_ 1192254

    VALVE_ANT_ 1170445                                VALVE_ANT_ 1192276

    VALVE_ANT_ 1170457                                VALVE_ANT_ 1192307

    VALVE_ANT_ 1170468                                VALVE_ANT_ 1192321

    VALVE_ANT_ 1170665                                VALVE_ANT_ 1192339

    VALVE_ANT_ 1170732                                VALVE_ANT_ 1193115



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     VALVE_ANT_ 1193121                                VALVE_ANT_ 1198223

     VALVE_ANT_ 1193127                                VALVE_ANT_ 1198440

     VALVE_ANT_ 1193138                                VALVE_ANT_ 1198639

     VALVE_ANT_ 1193148                                VALVE_ANT_ 1198684

     VALVE_ANT_ 1193154                                VALVE_ANT_ 1198819

     VALVE_ANT_1193169                                 VALVE_ANT_ 1198972

     VALVE_ANT_ 1193170                                VALVE_ANT_1199074

     VALVE_ANT_ 1193209                                VALVE_ANT_ 1199081

    VALVE_ANT_ 1193244                                 VALVE_ANT_ 1199135

    VALVE_ANT_ 1193336                                 VALVE_ANT_ 1199162

    VALVE_ANT_ 1193445                                 VALVE_ANT_1199216

    VALVE_ANT_ 1193541                                 VALVE_ANT_ 1199870

    VALVE_ANT_ 1193915                                 VALVE_ANT_ 1199958

    VALVE_ANT_ 1193960                                 VALVE_ANT_ 1200182

    VALVE_ANT_1194122                                  VALVE_ANT_ 1200263

    VALVE_ANT_ 1194133                                 VALVE_ANT_1200520

    VALVE_ANT_ 1194786                                 VALVE_ANT_ 1200546

    VALVE_ANT_ 1194901                                VALVE_ANT_ 1204334

    VALVE_ANT_1195511                                 VALVE_ANT_ 1204851

    VALVE_ANT_ 1195921                                VALVE_ANT_ 1205770

    VALVE_ANT_ 1196602                                VALVE_ANT_ 1210287

    VALVE_ANT_ 1196685                                VALVE_ANT_ 1210533

    VALVE_ANT_ 1197568                                VALVE_ANT_ 1210649

    VALVE_ANT_ 1197640                                VALVE_ANT_ 1210654

    VALVE_ANT_ 1197652                                VALVE_ANT_ 1217134

    VALVE_ANT_ 1197800                                VALVE_ANT_ 1217253

    VALVE_ANT_ 1197817                                VALVE_ANT_ 1217317



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     VALVE_ANT_ 1219593                                VALVE_ANT_ 1284089

    VALVE_ANT_ 1219903                                 VALVE_ANT_ 1289351

    VALVE_ANT_ 1219925                                 VALVE_ANT_ 1299972

    VALVE_ANT_ 1220028                                 VALVE_ANT_ 1404091

    VALVE_ANT_ 1221288                                 VALVE_ANT_ 1404093

    VALVE_ANT_ 1221398                                 VALVE_ANT_ 1408620

    VALVE_ANT_ 1221442                                 VALVE_ANT_ 1408696

    VALVE_ANT_1221445                                  VALVE_ANT_ 1444184

    VALVE_ANT_ 1221448                                 VALVE_ANT_ 1444189

    VALVE_ANT_ 1221604                                 VALVE_ANT_ 1444738

    VALVE_ANT_ 1221606                                 VALVE_ANT_ 1445020

    VALVE_ANT_ 1222434                                 VALVE_ANT_ 1445886

    VALVE_ANT_ 1223567                                 VALVE_ANT_ 1473434

    VALVE_ANT_ 1225364                                 VALVE_ANT_ 1492328

    VALVE_ANT_ 1229059                                 VALVE_ANT_ 1493450

    VALVE_ANT_ 1232495                                 VALVE_ANT_ 1509600

    VALVE_ANT_ 1234500                                 VALVE_ANT_ 1544687

    VALVE_ANT_ 1243301                                 VALVE_ANT_ 1545731

    VALVE_ANT_ 1244145                                 VALVE_ANT_ 1545782

    VALVE_ANT_ 1244411                                 VALVE_ANT_ 1554250

    VALVE_ANT_ 1244412                                 VALV E_ANT_ 1555095

    VALVE_ANT_ 1244419                                 VALVE_ANT_ 1555727

    VALVE_ANT_ 1244449                                 VALVE_ANT_ 1558055

    VALVE_ANT_ 1253637                                 VALVE_ANT_ 1558973

    VALVE_ANT_1275298                                  VALVE_ANT_ 1568128

    VALVE_ANT_1275511                                  VALVE_ANT_ 1589681

    VALVE_ANT_ 1275525                                 VALVE_ANT_ 1589682



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     VALVE_ANT_ 1589683                               VALVE_ANT_ 1847812

     VALVE_ANT_ 1589684                               VALVE_ANT_ 1867767

     VALVE_ANT_ 1589685                               VALVE_ANT_ 1872100

     VALVE_ANT_ 1589686                               VALVE_ANT_ 1878220

     VALVE_ANT_ 1589687                               VALVE_ANT_2078524

     VALVE_ANT_ 1589688                               VALVE_ANT_2174032

     VALVE_ANT_ 1589689                               VALVE_ANT_2324356

     VALVE_ANT_ 1593057                               VALVE_ANT_2370753

     VALVE_ANT_ 1593083                               VALVE_ANT_2370759

     VALVE_ANT_ 1593085                               VALVE_ANT_2370979

     VALVE_ANT_ 1608725                               VALVE_ANT_2371141

     VALVE_ANT_ 1609490                               VALVE_ANT_2371174

    VALVE_ANT_ 1610129                                VALVE_ANT_2391840

    VALVE_ANT_ 1610444                                VALVE_ANT_2392038

    VALVE_ANT_ 1613909                                VALVE_ANT_2392320

    VALVE_ANT_ 1613914                                VALVE_ANT_2392385

    VALVE_ANT_ 1621658                                VALVE_ANT_2392461

    VALVE_ANT_ 1687802                                VALVE_ANT_2392481

    VALVE_ANT_ 1697413                                VALVE_ANT_2392544

    VALVE_ANT_ 1702259                                VALVE_ANT_2392564

    VALVE_ANT_ 1702737                                VALVE_ANT_2392782

    VALVE_ANT_ 1747246                                VALVE_ANT_2392791

    VALVE_ANT_ 1747293                               VALVE_ANT_2413338

    VALVE_ANT_ 1817158                               VALVE_ANT_2414752

    VALVE_ANT_ 1817480                               VALVE_ANT_2415364

    VALVE_ANT_ 1817621                               VALVE_ANT_2415442

    VALVE_ANT_ 1818477                               VALVE_ANT_2417091



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     VALVE_ANT_2417137                                VALVE_ANT_2579264

     VALVE_ANT_2417174                                VALVE_ANT_2579265

     VALVE_ANT_2417190                                VALVE_ANT_2579266

     VALVE_ANT_2417237                                VALVE_ANT_2579267

     VALVE_ANT_2417243                                VALVE_ANT_2579268

     VALVE_ANT_2417455                                VALVE_ANT_2593161

     VALVE_ANT_2417491                                VALVE_ANT_2602126

    VALVE_ANT_2417590                                 VALVE_ANT_2602214

    VALVE_ANT_2421303                                 VALVE_ANT_2602243

    VALVE_ANT_2422879                                 VALVE_ANT_2602440

    VALVE_ANT_2423103                                 VALVE_ANT_2604044

    VALVE_ANT_2423286                                 VALVE_ANT_2604202

    VALVE_ANT_2425032                                 VALVE_ANT_2604204

    VALVE_ANT_2425279                                 VALVE_ANT_2618062

    VALVE_ANT_2518356                                 VALVE_ANT_2620942

    VALVE_ANT_2528666                                 VALVE_ANT_2623962

    VALVE_ANT_2533059                                 VALVE_ANT_2637589

    VALVE_ANT_2533127                                 VALVE_ANT_2656022

    VALVE_ANT_2533446                                 VALVE_ANT_2661614

    VALVE_ANT_2535732                                 VALVE_ANT_2662420

    VALVE_ANT_2536289                                VALVE_ANT_2663665

    VALVE_ANT_2555007                                VALVE_ANT_2663781

    VALVE_ANT_2562228                                VALVE_ANT_2664182

    VALVE_ANT_2562251                                VALVE_ANT_2680734

    VALVE_ANT_2562961                                VALVE_ANT_2681402

    VALVE_ANT_2576464                                VALVE_ANT_2709918

    VALVE_ANT_2579263                                VALVE_ANT_2710938



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     VALVE_ANT_2711018                                 VALVE_ANT_2715886

     VALVE_ANT_2711685                                 VALVE_ANT_2717196

     VALVE_ANT_2711739                                 VALVE_ANT_2717683

    VALVE_ANT_2712194                                  VALVE_ANT_2730513

    VALVE_ANT_2712209                                  VALVE_ANT_2736859

    VALVE_ANT_2712237                                  VALVE_ANT_2736864

    VALVE_ANT_2712312                                  VALVE_ANT_2743834

    VALVE_ANT_2712363                                  VALVE_ANT_2755012

    VALVE_ANT_2712365                                  VALVE_ANT_2755013

    VALVE_ANT_2712368                                  VALVE_ANT_2755014

    VALVE_ANT_2712540                                  VALVE_ANT_2755015

    VALVE_ANT_2712557                                  VALVE_ANT_2761875

    VALVE_ANT_2712677                                  VALVE_ANT_2762761

    VALVE_ANT_2712798                                  VALVE_ANT_2762852

    VALVE_ANT_2712799                                  VALVE_ANT_2764356

    VALVE_ANT_2712829                                  VALVE_ANT_2768191

    VA LVE_ANT_2712832                                 VALVE_ANT_2770211

    VALVE_ANT_2712863                                  VALVE_ANT_2770270

    VALVE_ANT_2712930                                  VALVE_ANT_2770281

    VALVE_ANT_2712932                                  VALVE_ANT_2771516

    VALVE_ANT_2714225                                  VALVE_ANT_2773020

    VALVE_ANT_2714420                                  VALVE_ANT_2775220

    VALVE_ANT_2715162                                  VALVE_ANT_2775405

    VALVE_ANT_2715252                                  VALVE_ANT_2775408

    VALVE_ANT_2715478                                  VALVE_ANT_2775558

    VALVE_ANT_2715816                                  VALVE_ANT_2776325

    VALVE_ANT_2715858                                  VALVE_ANT_2776359



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     VALVE_ANT_2777116                                 VALVE_ANT_2805252

     VALVE_ANT_2781665                                 VALVE_ANT_2805278

     VALVE_ANT_2787206                                 VALVE_ANT_2807231

     VALVE_ANT_2787592                                 VALVE_ANT_2807442

     VALVE_ANT_2787925                                 VALVE_ANT_2807660

     VALVE_ANT_2788947                                 VALVE_ANT_2811212

     VALVE_ANT_2788756                                 VALVE_ANT_2813707

     VALVE_ANT_2788989                                 VALVE_ANT_2814301

    VALVE_ANT_2789490                                  VALVE_ANT_2820096

    VALVE_ANT_2790480                                  VALVE_ANT_2821078

    VALVE_ANT_2790580                                  VALVE_ANT_2824156

    VALVE_ANT_2791841                                  VALVE_ANT_2833589

    VALVE_ANT_2793183                                  VALVE_ANT_2836501

    VALVE_ANT_2800615                                  VALVE_ANT_2842645

    VALVE_ANT_2800766                                  VALVE_ANT_2845115

    VALVE_ANT_2800848                                  VALVE_ANT_2900275

    VALVE_ANT_2800876                                  VALVE_ANT_2906634

    VALVE_ANT_2800880                                  VALVE_ANT_2925530

    VALVE_ANT_2801422                                  VALVE_ANT_2925532

    VALVE_ANT_2801596                                  VALVE_ANT_2962207

    VALVE_ANT_2801709                                  VALVE_ANT_2964428

    VALVE_ANT_2801743                                  VALVE_ANT_2965644

    VALVE_ANT_2801769                                  VALVE_ANT_2966209

    VALVE_ANT_2801770                                  VALVE_ANT_2967949

    VALVE_ANT_2801787                                  VALVE_ANT_2968405

    VALVE_ANT_2801814                                  VALVE_ANT_2968410

    VALVE_ANT_2804689                                  VALVE_ANT_2970364



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     VALVE_ANT_2970482                                VALVE_ANT_2973988

     VALVE_ANT_2970785                                VALVE_ANT_2973989

    VALVE_ANT_2971242                                 VALVE_ANT_2974179

    VALVE_ANT_2971871                                 VALVE_ANT_2974294

    VALVE_ANT_2971872                                 VALVE_ANT_2974295

    VALVE_ANT_2971873                                 VALVE_ANT_2974315

    VALVE_ANT_2972499                                 VALVE_ANT_2974439

    VALVE_ANT_2972500                                 VALVE_ANT_2974554

    VALVE_ANT_2972501                                 VALVE_ANT_2974667

    VALVE_ANT_2972625                                 VALVE_ANT_2974830

    VALVE_ANT_2972738                                 VALVE_ANT_2975006

    VALVE_ANT_2972739                                 VALVE_ANT_2975169

    VALVE_ANT_2972740                                 VALVE_ANT_2975350

    VALVE_ANT_2972741                                 VALVE_ANT_2975538

    VALVE_ANT_2972742                                 VALVE_ANT_2975720

    VALVE_ANT_2972924                                 VALVE_ANT_2976079

    VALVE_ANT_2972925                                 VALVE_ANT_2976569

    VALVE_ANT_2973101                                 VALVE_ANT_2976575

    VALVE_ANT_2973102                                 VALVE_ANT_2976579

    VALVE_ANT_2973103                                 VALVE_ANT_2976583

    VALVE_ANT_2973104                                 VALVE_ANT_2976588

    VALVE_ANT_2973267                                 VALVE_ANT_2976592

    VALVE_ANT_2973454                                 VALVE_ANT_2976595

    VALVE_ANT_2973617                                 VALVE_ANT_2976599

    VALVE_ANT_2973618                                 VALVE_ANT_2976604

    VALVE_ANT_2973619                                 VALVE_ANT_2976608

    VALVE_ANT_2973800                                 VALVE_ANT_2976613



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     VALVE_ANT_DB_0017081                               VALVE_ANT0753569

     VALVE_ANT_DB_ 1500656                              VALVE_ANT0753570

     VALVE_ANT_DB_ 1817495                              VALVE_ANT0753571

     VALVE_ANT_DB_ 1818508                              VALVE_ANT0753572

    VALVE_ANT0753184                                    VALVE_ANT0753573

    VALVE_ANT0753185-416                                WOLFIRE_00000168

    VALVE_ANT0753417                                    WOLFIRE_00035624

    VALVE_ANT0753418-565                                WOLFIRE_00053407

    VALVE_ANT0753566                                    WOLFIRE_00053558

    VALVE_ANT0753567                                    WOLFIRE_00093646

    VALVE_ANT0753568


    Data without Bates stamps


    Target

    Target Sales Data - Confidential_80835351 (1)-c.

    Dept 207_Class 13 Year2019_79942004(1).

    Dept 207_Class 13 Year2020_20211231_79941963(1).

    Dept 207_Class 13 Year2022_20230815_79941902(1).


    Best Buy

    EDW_Purchase_Order_Details_Data.

    EDW_Sales_Summary_Data.

    EDW_Sale s_Summary_Data_Comergent.

    4427 22 85797_RMS_Product_Details_Data Convenience Copy.


    Ubisoft

    HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY - Valve Subpoena data 11Oct23.

    HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY Valve Subpoena data 29Nov23.




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     Humble

     humble sales revenue transaction data WOLFIRE SAMPLE 2022 August 2022
                   (monthly) - HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY.

     humble sales unit & price transaction data WOLFIRE SAMPLE August 2022
                   (monthly) - HIGHLY CONFIDENTIAL ATTORNEYS EYES ONLY.




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Attachment B-1
Third-Party Digital PC Game Distribution Platforms



  Platform


  Steam


  EGS                                    {B|            Epic and other publisl~ers     2018
  GOG Galaxy                             {q          CD Pfojekt and other publishers   2014
  EA App (f/k/a Origin)
  Ub{soft Connect (f/k/a Uplay)


  Microso(t Store (f/k/a Windows Sto~e


  [tch,io


  Discord Store




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 Attachment C-1

 Valve’s ~ Steam Distribution Agreements



  Bates Number                    Agreement Type                Agreement Date   Publ;sher/Developer


  VALVE_ANT_0040950               SDA                           10/!012006


  VALVE_ANT.00,1094t             SDA Amendment No. 1            1 tt16/2006


  VALVE_ANT_0040965              SDA Amendment NO. 2        i   4/612007


  VALVE.AN1"_00,10949            SDA Amendment No 3        :,   4/6/2007




  VALVE_ANT_0040971              SDA Amendment NO I0            10/12/2009




  VALVE.ANT.0042548              SOA Amendment No. 2



                                                                4/30/2007


 VALVE.ANT.O0~2SSO               SDA Amendmenl No. 4            7/19]~007


 VALVE.ANT.0042603               SDA Amendment No. 5            10/3112007


 VALVE_ANT_Q042649               SDA Amendment No. 6            111112007


 VALVE_ANT.0042610               SDA Amendment NO 7             10/30/2008
                                                       i


 VALVE_AN [_0042519              SDA Amendment No. 8            515/2009




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  Bates Number                     i   Agreement Type             Agreement Date



  VALVE_ANT_(~42567             i      SOA Amendment No. 9        10/14/2009




  VALVE_AN r.0~42652                   SOA Amendment No. I0       5/18/20t0
                               i




  VALVE.ANT_0042601




  VALVE_ANT_O042605                    SDA Amendment No, 11




  VALVE~ANT.2789490                    SDA Amendment No t 3




  VALVE.ANI_8042S76                    5DAAmendment No t S    ]   5/1/2012




  VALVE_ANT_00J2571                    SDA Amendment NO 17




  VALVE.A,~IT_O0426]0                  SOA Amendment No. 20       5111201




  VALV~.ANT.~42SSI                     SOA Amendmen{ NO, 21   ~ 9/~I/20t 6




 VALVE.AI~]t.0~I2S23                   SDA Amendmenl NO. 1        8/15/2022




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  VALVE_ANT_C03295S                SDA Amendmenl NO. 6    5/11/2012




  VALVE.ANT.O0]952]                SDA Amendment NO. ,I




 VALVE_AI~]T_O039409              SDA Amendment NO 10     8/2/201




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  8ares Number                      Agreement Type          Agreement Date   Publisher/Developer
                                i

  VALVE_AN]’_00~8500                SDA Amendment No. 1,1   7/3012012
                                i


  VALVE_ANt-_0038504                SDA Amendment No, I S



  VALVE_ANT_0058523                 SDA Amendment No. 16



  VALVE.ANT.0039375                 SOAAmendment No 17

  VALVE_ANT.O039,168                SDA Amendment No 18

  VALVE_ANI.00395~3                 SDA Amendmenl NO 19     121512012




  VALVE_ANT.0038512                 SDA Amendment No 23



                                                            6126/2013        IIIII


                                                            9/1912013        IIIII


                                                            512/2014
                                    No 26




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  ~ate$ Number                       Agreement Type              Agreement Date   Publisher/Developer
                                 i

  VALVE.ANT_0039,117                 SC’A Amendment NO 35        6/212015


  VALVE.ANT_0039460                  SDA Amendment No. 36




  VALVE.ANT.0039S]t                  SDA Amendmen~ No. 38        10/201201


  VALVE.ANT.(]039.|0S                SDA Amendment NO ~9     i   2/25!2016




  VALVE_ANT 0039391                  SDA Amendment NO 41         0/20/2016


  VALVE_ANT 0039522                  SDA Amendment No, 42        t 1/1/2016


  VALVE_AN[ 1~13933.t                SDA Amendment NO,



  VALWC.ANT 0a39369          ;       SDA Amendmenl No a4         91112011




  VALVE.ANT 2773020                  ~DA Amendment t, lo 1



  VALVE_ANT÷0041265                  SOA                         614/20t 2


  VALVE_ANt_ 1223~67                 SDA Addendum                7/6/20t6         I

 VALVE_ANT.~41245            ]       SOA                         6/2S120,9

                                                                                  i~
 VALVE_ANT_2715886                   SDA                         10/3~/2012




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  Bates Number                                             Publlsher/Oeveloper




  VALVE_ANT~2821078



  VALVE_ANT~0022178



  VAIVE.ANT_O02219~

  VALVE ÷ANT.0{~22207

  VALVE_ANT_P~27437



  VALVE .ANT_0021047



  VALVE _AN]’~¢021035



  VALV£_AN T_O021041



  VALVE_AN ~’_0021031



  VALVE_AN r_o02102 /




 VALVE_ANT.2807231               ~ Addendum   10/2512019




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8ares Number           Agreement Type                  Agreement Date   Publisher/Developer


VALVE_ANT.C039660      SOA Cloud Gaming Addendum       11/18/2020


VALVE.ANT_(.~039624    SDA Amendmen[ NO 2              7/4/2021


VALVE_ANT_003959]      SDA Amendment No. ~.            8!30/2021


VALVE_AN ]_0022872     SDA                             10/21/2016




VALVE~A~T_(]045789

VALVE.ANT_C045821

VALVE~ANT.277021 I

VALVE_ANT.2770271]     SDA Amendmenl NO, I         I   8/112019


VALVE_ANT_OD33373



VALVE.ANT_~03338,1     SDA Amendment NO. I             4/30/2007


VALVE .AN [_274383.1   SDA Amendmenl No. 2             8/18/2008


VALVE.AN$.2775220      SDA                         ~   10/101Z011


VALVE.ANT.2662420      re~rni~lation of SDA        .   3/I/2015



VALVE_ANT.00]]388      SDA                         [   3123/2015


VALVE_ANT.00421 ~9     SDA                             912012006
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  Bates Number                     Agreement Type           Agreement Date   Publisher/Developer




  VALVE_ANT_g03 $889           :   SDA



  VALVe.AN T.O0]8]S~{              SDA                  i   S120/2019


  VALVE_AN T.0044699               SDA
                                                        j   121t 112006




  VALVE_ANT_(~037133               SDA Amendment No 4       21812013




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  Bases Number                    Agreement Type                       Agreement Date   Publisher/Developer


  VALVE_ANT_(]0382S4              SDA Cloud Gaming Addendum


  VAEVE..ANT.0031242              red~e.ology License Addendum



  VALVE.AN TJ]024978              SDA



  VALVE.ANt’.0024989              SDA



  VALVE_ANI.~019722               SDA



  VALVE.ANT.(}045923              SDA



  VALVE.ANT.(~45921              SDA Amendment NO. |



  VALVE~ANT.0045935              SDA Amendmenl No. 4


  VALVE.ANT.(}045920             SDA Amendment NO 7


  VALVE ~ANT.004Sg04             SDA



  VALVE.ANT~O~)45903             SDA Amendment No. 8                 i2/4/2014


  VALVE.ANT .0~40707             SDA



  VALVE_ANT_0040688              Technola~ly License Agleement        511512013


  VALVE_ANT.00,10687             Telminalion af SDA



  VALVE.ANT_0025022              SDA



  VALVE.ANT_00207 ~7



  VALVE_ANT_2787925



  VALVE~ANT.2787592



  VALVE.AN LQ03S.t 6B            SDA
                                                                 j    3/2/2069


  VALVE .ANT.0035448             SDA                                  511/2020


 VALVE.ANt.0044249               SDA Addendum                         6/29/2016




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  Bates Number                         Agreement Type              Agreement Oate   Publlsher/Developer




  VALVE .ANT.(~045198                  ~and SOA



                                   ]   Amendment No, I




  VALVE.ANT_0O45134                ~   SOA




  VALV£.AN T_003,967~1                 SDA                         10/10/2013


  VALVE_ANT_0,t 75973                  SDA Addendum            :   216/20t 8


  VALVE_AI’J T_O019961                 SDA



 VALV~ .ANT.(~0t 9991                  SDA Amendment N~. I



 VALVE.ANT.0019985             !       SOA Amendmen~ NO. 2



 VALVE_ANT_00~9978                     SDA Amend~’~ent NO. 3       977/2007


 VALVE_ANT.0019979                     SDA Amendment No. 4         3/1012009




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  Bates Number                         Agreement Type                     Agreement Date   Publisher/Developer
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  VALVE_ANT=00~2878                i SDA                                  6/4/20~2

  VALVE_ANT_0032857                    Technology License Agreement       6/4/2012

  VALVE_ANT_0025529                    SDA                                7/23120t-t



  VALVE.ANT_O033119                    SDA                                12/15/2006



  VALVE_ANT.0033~31                    SOA Amendmen~ NO. ~                312012007




 VALVE~ANT.0020330                                                    ;   tt/S/20tS
                               i       Technologyl~censeAddendum




 VALVE.ANT_0021186                     SDA Amend .... No1             !   2!15/2019




 VALVE.ANT 0031730
                               i SDA




 VALVE_ANT_0031742                     SDA Amendment NO. 2



 VALVE_ANT_266161,~                    SDA
                                                                      [   71S/2012




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HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY                                                                         Page 1 t Of 1,1
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  Bates Numbe~’                   Agreement Type               Agreement Date   Publisher/Developer


  VALVE.ANT_0034209               SDA

  VALVE_ANT 0014227              SDA Amendment No I

  VALVE.ANT 0034222              SDA Amendment NO 2

  VALVE.ANT 0014184              SDA Amendment NO ]            7130/2009


  VALVE.ANT_0034220              SDA Amendment No. 4           7130/2009

  VALVE_ANT 003,1236             SDA Amendment No 5            1012712009


  VALVE.ANT 0034182              SDA Amendment No. 6           1111612009


  VALVE.ANT 0034225              SDA Amendment NO. 7           311512010


  VALVE.ANt 0034232              SDA Amendmenl NO, 8           5f201201t


  VALVE.AN r 003422,9            SDA Amendment NO. 9           12/11201


  VALVE_ANT 0034229              SDA Amendment No 10           10/24/2014


  VALVE.ANT.0034 86              SDA Amendment ,~Jo 11         319120t 7


  VALVE.ANT.0034243              SDA Amendment NO 12           61712018


  VALVE_ANT_0034207              SDA Cloud Gaming Addenclu m   5128/2020

  VALVE.AN 1.0040=~ 16           SDA



 VALVE.ANT_0040301               SDA Amendment NO. 1




 VALV[ .AN~’.OO40]0S



 VALVE.ANT_0040284




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Bates Number          Agreement Type         Agreement Date   Publlsher/Developer


                      SDA Amendment No 7     1/1/2009


VALVE_AN |_00402.88




                      SC’A Amendment NO. ~   1/4/2010




                                             8/4!20~6



                                             S/3/2007



                                             1/21/2011




VALVE_ANT_(~023866



VALVE_AN T_0023896



VALVE.ANT.OO23898     SDA Amendment NO, 6    61301201
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Bates Number          Agreement Type   Agreement Date
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 Attachment D-1

 Steam P&Ls. 2(303-2021



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HIGHLY CONFIDENTIAL - AT[ORNEY’S EYES ONLY                                                                                          Page 2 of 6
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HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ODDLY                                                                      Page
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Attachment D-2
Adjustments to Steam P&L for Contrlbu[ors Payments




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Attachment

Steam P&Ls Based on Commissions,


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  Metr{                                           2010          2011          2012          2013         2014          2015           2016




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                                                                                                              Total
  Metric                                      ;{017   2018   2019         2020         ;!021
                                                                                                           (2017-2021)




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Attachment D-S
~lm, 2003-2021


  Metric                                   SoLIrce       2003   2004   2005   2006   2007   2008   2009




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  Metric                                      Source   2010   2011   2012   2013   2014   2015   2016




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                                                                                                    Total
  Metric                                     Source   2017   2018   2019   2020   2021   Total
                                                                                                 (2017~2021)




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  Metric                                     Source   2003   2004          2005         2006         2007         2OO8   2009




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  Metric                                     Souse   2010   2011           2012           2013   2014   2015   2016




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                                                                                                                Attachment D-5
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                                             !                                                                                        Total
   Metric                                    !   Source i   2017         2018         2019         2020         2021       Total
                                                                                                                                   (2017-2021)




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Attachment D-6
Valve Profit Margins and Commission by Year, 2009-2021




See Attachment




                                                                                        Atta¢hment D-6
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                                                                                            Page 1 of 1
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 Attachment D-7
S~earn’s Costs per Transaction Revenues, 2017-2021


                                                                                                  Average cos~ per
  Metric                                       Source   20~7   i   2018   2019   2020   Average   total transaction

                                                                                                      revenue




                                                                                                                      Attachment
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Attachment D-8
Valve Employee Counts (2017-2021)



  Category                                                 Source            2017   i   2018   2019   2020   2021




                                                                                                                    ,.
[A], {B], [Cl, [D) Attachment X-6 at [DI for the corresponding Year and Category.
   Sum of [A], [BI, ICl. [D].




                                                                                                                         Attachment D-8
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 Attachment E-1
 Steam Market Share - Total Tic,f d-Party Transaction Value, 2017-2021



                                           Source           2017         2018           2019             2020                2021               Total




                                                                                                                         $

  Humble, i]undle

                                                                                5,878




                                                                                                            88.343~236 i S      SLB~S.sga   S     267.531.282

                                                                           90,0~.000      ~ 30,000.00o     130.000,000 i S                  S     6~0,0~,000

                                                                           52.000,0~0      52,000.000




  EA App (t’/k/a Odgin)                                                                           n/a              n/a
  Discord Sto{e                                                                                   n/a              n/a                n/a   S

                                                                                                  n/a                                 n/a   S




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Attachment E-2




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Figures are in millions of USD,

Epic, Epic P&L Data, c. 2022 (EPIC_VALVE_0000712_HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY.xlsx).




                                                                                                                     Attachment E-2
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Attachment E-4

Target Digital PC Sales Data, 2017-2023



  Description                                    Source :          2017                 2018                 2019               2020               2021               2022        2023

  Sales                                             [A]     $          39,07~    S               5,878   $          5,528   $          7,239 i $          4,063   $          S




     Sum of Attachment X-3 at store_s(s_dollaf~amt if PC? equals ’[RUE’ for corresponding yea~




                                                                                                                                                                                 Attachment E-4
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Attachment
 Best Buy Sales Data



  Description                         Source       2003         2004       200S         2006       2007       2008


  Ne~ sales                            [AI     S          i S          S          : S          S          $




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  Description                        Source ~,   2009   2010       2011   2012   2013   2014   2016
                                                               I




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  Description                         Source   2017   2018   2019   2020   2021   2022   2023




                                                                                                Atlachment E-S
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Attachment E-6

GOG,co m Revenue, 2017-2021



  Metric                                         Source i          2017                  2018                  2019                 2020                2021

  Revenues (PLN)                                    [A]         169.550,000 zl        144.~,17,000 z~       162,256.000 zl       343,748.000 zl i    199,983,000 zl

 Average Exchange Rate                              IB]                   0,27                  0,28                  0.26                 0.26 i               0.26

  Revenues(USD)                                     [CI     $      45.049,435     $      40,0t9,104     $      42,283,914    $      88,343,236 i $       51,835,594




   2020-2021: CD Proiekt Consolidated Financial Statemenl. 202t. at 29.


   2017: Exchange Rates Website, Polish Zloty to US Oo!lar Spot Exchange Rate to~ 20t7, https:l/www.exchangeratesorg,uk/PLN-USD-spot.exchange-rates-history,20t 7 h~m~ {accessed 2/2/2024)
   2018: Ex(hange Rates Website, Polish Zloty to US Ool~a~ Spot Exchange Rate for 20~ 8. https://we~,v exchange~ates org.uk/PLN-USD,spot-exchange-rates-hlstoq/-2018.html {accessed 2/2/20241
   2019: Exchange Rates Website, Palish ZIo~r tO US Dollar Spot Exchange Rate for 2019. https://wve,v,exchangerates org.uk/PLN~USD-spol-exchange-rates-history÷2019~hlml {accessed 2/2/2024)

   2020: Exchange Rates Webs~te. P~lish Zloty to US Dollar Spot Exchange Rate for 2020, https://wV~‘e×changerates‘~rguk/~L~‘US~-sp~t~exchange-~tes-hist~r~2~2~htm~ (accessed 2/2/2024}
   2021: Exchange Rates Website, P~lish ZIob, ~o US Dol~a~ Spot Exchange Rate for 2021~ httpsJ/,,’~’,,,,,,~exchangelateso~g uk/PLNoUSD-spot-exchange*~ates.h~sto~/-2021~html {accessed 212/2024)




                                                                                                                                                                                                   Attachment E-6
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Attachment E-7             =
Third-Party PC Market Share Data for Select Participants, 2018-2019



  Platform                                         Source                2018                          2019


  Ubisoft                                             [At                     90,000,000    $             130,000,000

  Green Man Gaming                                    [8]                     52,000,000    $              52,000,000

  GOG                                                 [C]                     34,000,000    $              34,000,000

  Gamersgate                                          [D]                      8,000,000 ! $




(A]-[D] Epic, "Presentation to the Board of Directors," 8/13/2019 (EPIC_VALVE.0000364-389, at EPIC_VALVE_0000369).
    ID] For 2019, I multiply the total market size by Gamersgate’s percentage share of 1.7%.
I understand these revenues to represent third-party PC sales only. For example, this presentation suggests that
Epic’s expected 2019 sales were $211 million. Using Epic’s publicly-released year-in-review. Epic’s actual third-party
sales were in the amount of $251 million, whereas total spend in the Epic Games Store including first-party sales was
$680 million. Thus, l understand this data to represent third-party sales only. See:
    Epic Games Store. "Epic Games Store Weekly Eree Games in 2020!" 1/14/2020, https://store.epicgames.com/en-
    US/news/epic-ga rues-store-weekly-free-games-in
    GameGrin. "Epic Games Store - How 2019 Compares to 2020." 1/29/2021, https://v.~vw.gamegrin.com/news/epic-
    games-store-how-2019-compares-to-20201.




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Attachment E-8
Microsoft PC Third-Party Revenue, 2017-2021



  Metric                                ~;ource ’       2017   2018   2019   2020   2021


  Microsoft PC thlrd-parly U.S. sales     [A]       $


  Mi¢~osofl PC thifd-pa~y ROW sales       [~J       $


  Microso~ PC th{rd-pa~y total sa~es      [C]   : $




[CI = {AI * IBI.




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                          Topic
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Atta¢hment G-1
Annual Count of Paid and Free Games as Identified in Valve Transaction Data, 2005-2022



                                            Unique Count of Paid         Unique Count of Free i Total Unique Count of

                   Year                              Games                        Games                Games



                   2005


                   2006


                   2007


                   2008


                  2009


                  2010


                  2011


                  2012


                  2013


                  2014


                  2015


                  2016


                  2017

                  2018


                  2019


                  2020


                  2021


                  2022


  Total Unique Games(2005-2022)




                                                                                                               2005 and 2022.
[AJ Unique c~nt of AppIOs that Valve has not designated as ’Free to play" or ’F2P’. See: tables                in Valve T~ansactian Data.
                                                                                                           in Valve Transaclion Data,


  See: "08_Annual_counts,R."




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 Attachment
 Count of Annual Game Releases in Valve T~ansaction Data, 2004-2022


                         Count of Games
         Year               Released

                               [A]
         2004
                                          i~

         2005

         2006                          ~
         2007


         2008                          :

         2009


         2010                          :
         2011

         2012                          :

         2013


        2014                           .

        2015

        2016


        2017


        2018


        2019                           .


        2020                           .

        2021


        2022




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Attachment G-3

Pubtisher Share of Steam Revenues, Janua~, 20OS-Oecember 2,012



                                   Steam Revenue      Steam Revenue Share
  Publisher




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Atlachment G.4
Top-I0 Transaction Prices on Steam, Januan/28, 2017-December 3 I, 2022



          Price (USD)           Share of Revenue   Share of Transactions




 $                      59 99                                      .

 $                      1999                                       .




 $                      39.99


 $

 $                       9,99


 $

 $                  49.99


 $

 s

     All other




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Attachment

Revenue and Overcharges for Global Publishers



                Geography                        Revenue Type                      Date Range                        Revenue                     Overcharge

                     {At
                                                                             1/28/2017-I 2/31/2022
                                                      In-App                           2023

                                                                                       Total
                  Global
                                                                             1128/2017-12/3112022

                                                     Package                           2023

                                                                                       Total

                                                                             1128/2017-1213112022

                                                      In-App                           2023

                                                                                       Total
        Global (foreign Exclusion)
                                                                             1/2812017-I 2/31/2022

                                                     Package                           2023

                                                                                       Total




Records are limited to transactions for non-Valve publishers that rook place on or after ~lanuary 28, 2017. Hardware sales and records with unknown app types are removed=

[A] Global (Foreign Exclusion) removes publishers who a~e not based in lhe US and have no US sales during the damages period.
[BJ ]n-App denotes transactions from Valve’s In-App data. and Package denotes transactions f~om Valve’s Package data. See: Valve Transaction Data.

ICl Records in Valve T~ansa¢~ion Data end on December 3 I, 2022. 2023 values are assumed to be equal to 2022. Total reflects a ~m throuRh 12(3 I/~3 includinq this assumption.
(D
                                                                                                     I                                       I     I          I          I   See: Valve [ransaction Data.
{E] Overcharge reflects transaction revenues mulliplied by the ove~charge ~ale determined ~or each commission rate.

                                                                              Rale x Calculated Commission Rate) / Effective Commission Rate).




        1"he remaining revenue is associated ~Mth outlier commission rates calculations, due to timing of partner payments or small transaction size.




      ~:or calculated commission {ates where an ApplD had net negative revenues, thal rate is dropped from the overcharge calculation
     See "05_Damages R."




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Attachment G-6

Revenue and Ovetchacges fop Dark Call Studios Holdings, Inc. and Wolfire Games



                                                                                 Estimated2023
                                                                                                 Total Revenue         Overcharge
 Publisher Name                                                                    Revenue
                                                          12131/2022)
                                                                                      ~Cl                                  [q
                                                30%:S

                                                                                                      2391,40579   S




 See’OSDam~gesR."




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Attachment G-7
Estimated Damages for Class, Dark Cart Studios Holdings, Inc. and Wolfire Games



                                                                                              Estimated Damages                  Estimated Damages                  Estimated Damages
  Publisher                                                  Passthrough Rate                    (Package Sales)                    (In-App Sales)                           (Total)



                                                                     25%
                                                                                          I
  US-based or Foreign with Any US Sales
                                                                     20%
                                                                                          I

                                                                     25%                  I
  Dark Cart Studios Holdings, Inc.



                                                                     25%
                                                                                        ! I
  Wolfire Games
                                                                     20%
                                                                                          I




Records are limited to transactions for non-Valve publishers that took place oll or after Janua,~/28. 2017. Hardware sales and records with unknown app ~’pes are removed.
Note thal "US,based or Foreign with Any US Sales" includes both Dark Catt Studios Holdings. Inc. and Wolfire Games,
[A} = (I - Passthrough Rate) x Publisher Overcharge.
[B] : (I , Passthrough Rate) x Publisher Overcharge.
[C] = [A) + {BI,


  See "05_Damages.R."




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Attachment X-1
Humble Sales Data, 2010-2023




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Notes end ~ources,
Data ate aggregated to the yearly level across all variables except ’payee’ and ’product’.
Data are from Humble, Sales Data, c. 2023




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Best Buy Summary Sales Data.




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HIGHLY CONFIDEN~3AL - ATTORNEY’S EYES ONLY
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HIGHLY CONFIDENTIAL - ATrORi’~ EYS EYES ONLY                                            Page
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HIGHLY CONFIDENTIAL -ATTORNEY’S EYES ONLY                                                 Page 6 of 8
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HIGHLY COi~IFIDENTIAL - AITORNEY’S EYES ONLY                                            Page 7 of B
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HIGHLY CONFIDENTIAL - AT[ORNEY’S EYES ONLY
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F~   ttachment




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HIGHLY CONFIDENTIAL - AT[ORNEY’S ~YES ONLY                                                  Page ; ot
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HIGHLY CO~|FIDENTIAL - A~ORNEY’S EYES ONLY                                             Page
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CONFIDENTIAL - ATTORNEY’S EYES ONLY                                                 Page 3 of 8
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HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY
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HIGHLY CON~:IDENTIAL - A~ORNEY’S ~YES ONLY                                             Page 8 of 8
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Attachment X-6
Employee Headcount and Gross Pay Data, 2003-2021


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                                                                                   Attachment X-6
HIGHLY CONFIDENTIAL - ATrORNEY’S EYES ONLY                                             Page I of 2
              Case 2:21-cv-00563-JCC Document 348-7 Filed 08/23/24 Page 908 of 909




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{AJ-[D] Valve. Employee Data, c. 2021 (HIGHLY CONFIDENTIAL_ATTORNEYS EYES ONLY_VALVE_ANT_27S5013 xlsx).




                                                                                                          Attachment X-6
HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY                                                                    Page 2 of 2
      Case 2:21-cv-00563-JCC Document 348-7 Filed 08/23/24 Page 909 of 909


                                                                                          INTENSITY, LLC

   INTENSITY                                                                                 858.876,9101
            a Secretariat company
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Schwartz Class Certification Report Errata

In Re: Valve Antitrust Litigation

March 21, 2024




Table 3 (Page 160)

At metric ’Platform economic profits (millions)’ has corrections in both columns (Steam, EGS) of

the ~vVith PMFN’ panel:


  ¯   With PMFN - Steam: Corrected from ~ to ~.

  ¯   With PMFN - EGS: Corrected from ~ to ~.

Table A.1 (Page A10)

At metric ’Platform economic profits (millions)’ has corrections in both columns (Steam, EGS) of

the ~vVith PMFN’ panel:


  ¯   With PMFN - Steam: Corrected from ~ to ~.

  ¯   With PMFN - EGS: Corrected from~ to~

Table A.2 (Page A11)

At metric ’Platform economic profits (millions)’ has corrections in both columns (Steam, EGS) of

the "With PMFN’ panel:


  ¯   With PMFN - Steam: Corrected from ~ to ~.

  ¯   With PMFN - EGS: Corrected from~ to~.




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